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 )LOOLQWKLVLQIRUPDWLRQ WRLGHQWLI\WKHFDVH

 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH
 :HVWHUQ
 BBBBBBBBBBBBBBBBBBBB                 1RUWK &DUROLQD
                      'LVWULFWRIBBBBBBBBBBBBBBBBB
                                       6WDWH 
                                                             
 &DVHQXPEHU If known  BBBBBBBBBBBBBBBBBBBBBBBBB&KDSWHUBBBBB                                                                      &KHFNLIWKLVLVDQ
                                                                                                                                            DPHQGHGILOLQJ




2IILFLDO)RUP
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         

,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWHWKHdebtor’sQDPHDQGWKHFDVH
QXPEHU LINQRZQ  )RUPRUHLQIRUPDWLRQDVHSDUDWHGRFXPHQWInstructions for Bankruptcy Forms for Non-Individuals,LVDYDLODEOH



   Debtor’s name                           2DNWUHH 0HGLFDO &HQWUH 3&
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



                                             DND )LUVW&KRLFH +HDOWKFDUH DND 3DLQ 0DQDJHPHQW $VVRFLDWHV DND 3DLQ 0DQDJHPHQW $VVRFLDWHV RI 1RUWK &DUROLQD
   $OORWKHUQDPHV GHEWRUXVHG            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     LQWKHODVW \HDUV                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     ,QFOXGHDQ\DVVXPHGQDPHV
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     WUDGHQDPHVDQG doing business
     as QDPHV                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




   Debtor’s fHGHUDO(PSOR\HU                                               
                                            BBBBBB±BBBBBBBBBBBBBBBBBBB   __
                                                                                           
     ,GHQWLILFDWLRQ1XPEHU (,1



   Debtor’s address                       3ULQFLSDOSODFHRIEXVLQHVV                                 0DLOLQJDGGUHVV LI GLIIHUHQW IURPSULQFLSDOSODFH
                                                                                                        RIEXVLQHVV

                                                      $LUSDUN &RXUW
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            1XPEHU    6WUHHW                                          1XPEHU    6WUHHW


                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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                                             *UHHQYLOOH                 6&       
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              *UHHQYLOOH                6&        
                                                                                                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            &LW\                       6WDWH   =,3&RGH             &LW\                     6WDWH     =,3&RGH

                                                                                                        /RFDWLRQRISULQFLSDODVVHWV LI GLIIHUHQW IURP
                                                                                                        SULQFLSDOSODFHRIEXVLQHVV
                                             *UHHQYLOOH
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            &RXQW\                                                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                        1XPEHU    6WUHHW

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                                                                                                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                        &LW\                     6WDWH     =,3&RGH




   Debtor’s website 85/                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


   7\SHRIGHEWRU                          &RUSRUDWLRQ LQFOXGLQJ/LPLWHG/LDELOLW\&RPSDQ\ //& DQG/LPLWHG/LDELOLW\3DUWQHUVKLS //3
                                             3DUWQHUVKLS H[FOXGLQJ//3
                                             2WKHU6SHFLI\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


2IILFLDO)RUP                                9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                            SDJH
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                1DPH



                                         $ Check one:
    'HVFULEHdebtor’s EXVLQHVV
                                          +HDOWK&DUH%XVLQHVV DVGHILQHGLQ86& $
                                          6LQJOH$VVHW5HDO(VWDWH DVGHILQHGLQ86& %
                                          5DLOURDG DVGHILQHGLQ86& 
                                          6WRFNEURNHU DVGHILQHGLQ86& $
                                          &RPPRGLW\%URNHU DVGHILQHGLQ86& 
                                          &OHDULQJ%DQN DVGHILQHGLQ86& 
                                          1RQHRIWKHDERYH

                                         % Check all that apply:

                                          7D[H[HPSWHQWLW\ DVGHVFULEHGLQ86&
                                          ,QYHVWPHQWFRPSDQ\LQFOXGLQJKHGJHIXQGRUSRROHGLQYHVWPHQWYHKLFOH DVGHILQHGLQ86&
                                             D
                                          ,QYHVWPHQWDGYLVRU DVGHILQHGLQ86&E D         


                                         & 1$,&6 1RUWK$PHULFDQ,QGXVWU\&ODVVLILFDWLRQ6\VWHP GLJLWFRGHWKDWEHVWGHVFULEHVGHEWRU6HH
                                             KWWSZZZXVFRXUWVJRYIRXUGLJLWQDWLRQDODVVRFLDWLRQQDLFVFRGHV
                                                         
                                            BBBBBBBBBBBB

    8QGHUZKLFKFKDSWHURIWKH         Check one:
      %DQNUXSWF\&RGH LVWKH
      GHEWRUILOLQJ"                      &KDSWHU
                                          &KDSWHU
                                          &KDSWHUCheck all that apply
                                                         'HEWRU¶VDJJUHJDWHQRQFRQWLQJHQWOLTXLGDWHGGHEWV H[FOXGLQJGHEWVRZHGWR
                                                             LQVLGHUVRUDIILOLDWHV DUHOHVVWKDQ DPRXQWVXEMHFWWRDGMXVWPHQWRQ
                                                             DQGHYHU\\HDUVDIWHUWKDW 
                                                         
                                                          7KHGHEWRULVDVPDOOEXVLQHVVGHEWRUDVGHILQHGLQ86& ' ,IWKH
                                                             GHEWRULVDVPDOOEXVLQHVVGHEWRUDWWDFKWKHPRVWUHFHQWEDODQFHVKHHWVWDWHPHQW
                                                             RIRSHUDWLRQVFDVKIORZVWDWHPHQWDQGIHGHUDOLQFRPHWD[UHWXUQRULIDOORIWKHVH
                                                             GRFXPHQWVGRQRWH[LVWIROORZWKHSURFHGXUHLQ86&  % 

                                                            $SODQLVEHLQJILOHGZLWKWKLVSHWLWLRQ

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                                                             FUHGLWRUVLQDFFRUGDQFHZLWK86& E 

                                                            7KHGHEWRULVUHTXLUHGWRILOHSHULRGLFUHSRUWV IRUH[DPSOH.DQG4 ZLWKWKH
                                                             6HFXULWLHVDQG([FKDQJH&RPPLVVLRQDFFRUGLQJWRRU G RIWKH6HFXULWLHV
                                                             ([FKDQJH$FWRI)LOHWKHAttachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 2IILFLDO)RUP$ ZLWKWKLVIRUP

                                                            7KHGHEWRULVDVKHOOFRPSDQ\DVGHILQHGLQWKH6HFXULWLHV([FKDQJH$FWRI5XOH
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    :HUHSULRUEDQNUXSWF\FDVHV         1R
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      ZLWKLQWKHODVW\HDUV"            <HV    'LVWULFW BBBBBBBBBBBBBBBBBBBBBBB :KHQBBBBBBBBBBBBBBB &DVHQXPEHU BBBBBBBBBBBBBBBBBBBBBBBBB
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      ,IPRUHWKDQFDVHVDWWDFKD
      VHSDUDWHOLVW                               'LVWULFW BBBBBBBBBBBBBBBBBBBBBBB :KHQBBBBBBBBBBBBBBB &DVHQXPEHU BBBBBBBBBBBBBBBBBBBBBBBBB
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   $UHDQ\EDQNUXSWF\FDVHV            1R
      SHQGLQJRUEHLQJILOHGE\D                           6HH DWWDFKHG
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      DIILOLDWH RIWKHGHEWRU"                     'LVWULFW BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB :KHQ          BBBBBBBBBBBBBBBBBB
      /LVWDOOFDVHV,IPRUHWKDQ                                                                                        00  '' <<<<
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2IILFLDO)RUP                         9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                               SDJH
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              1DPH




   :K\LVWKH FDVH ILOHG LQ this    Check all that apply:
      district"
                                        'HEWRUKDVKDGLWVGRPLFLOHSULQFLSDOSODFHRIEXVLQHVVRUSULQFLSDODVVHWVLQWKLVGLVWULFWIRUGD\V
                                          LPPHGLDWHO\SUHFHGLQJWKHGDWHRIWKLVSHWLWLRQRUIRUDORQJHUSDUWRIVXFKGD\VWKDQLQDQ\RWKHU
                                          GLVWULFW

                                        $EDQNUXSWF\FDVHFRQFHUQLQJGHEWRU¶VDIILOLDWHJHQHUDOSDUWQHURUSDUWQHUVKLSLVSHQGLQJLQWKLVGLVWULFW

   'RHVWKHGHEWRU RZQRUKDYH       1R
      SRVVHVVLRQRIDQ\UHDO            <HV$QVZHUEHORZIRUHDFKSURSHUW\WKDWQHHGVLPPHGLDWHDWWHQWLRQ$WWDFKDGGLWLRQDOVKHHWVLIQHHGHG
      SURSHUW\RUSHUVRQDOSURSHUW\
      WKDWQHHGVLPPHGLDWH                      :K\GRHVWKHSURSHUW\QHHGLPPHGLDWHDWWHQWLRQ" Check all that appO\ 
      DWWHQWLRQ"
                                                   ,WSRVHVRULVDOOHJHGWRSRVHDWKUHDWRILPPLQHQWDQGLGHQWLILDEOHKD]DUGWRSXEOLFKHDOWKRUVDIHW\
                                                    :KDWLVWKHKD]DUG"BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                   ,WQHHGVWREHSK\VLFDOO\VHFXUHGRUSURWHFWHGIURPWKHZHDWKHU

                                                   ,WLQFOXGHVSHULVKDEOHJRRGVRUDVVHWVWKDWFRXOGTXLFNO\GHWHULRUDWHRUORVHYDOXHZLWKRXW
                                                    DWWHQWLRQ IRUH[DPSOHOLYHVWRFNVHDVRQDOJRRGVPHDWGDLU\SURGXFHRUVHFXULWLHVUHODWHG
                                                    DVVHWVRURWKHURSWLRQV 

                                                   2WKHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



                                                :KHUHLVWKHSURSHUW\"BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                           1XPEHU        6WUHHW

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                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBB    BBBBBBBBBBBBBBBB
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                                                         &RQWDFWQDPH     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                         3KRQH            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




            Statistical and administrative information



   'HEWRU’s HVWLPDWLRQ RI           Check one:
      DYDLODEOHIXQGV                   )XQGVZLOOEHDYDLODEOHIRUGLVWULEXWLRQWRXQVHFXUHGFUHGLWRUV
                                        $IWHUDQ\DGPLQLVWUDWLYHH[SHQVHVDUHSDLGQRIXQGVZLOOEHDYDLODEOHIRUGLVWULEXWLRQWRXQVHFXUHGFUHGLWRUV

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ZĞůĂƚĞĚĐĂƐĞƐ͗

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                                                             ŽǁŶĞĚďǇKĂŬƚƌĞĞ
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                      UNITED STATES BANKRUPTCY COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

                                            )
IN RE: OAKTREE MEDICAL                      )       Case No:
       CENTRE, PC,                          )
                                            )       Chapter 7
                                            )
                      Debtor.               )
                                            )

                        CORPORATE OWNERSHIP STATEMENT
                          OAKTREE MEDICAL CENTRE, PC

Check one: X DEBTOR             PLAINTIFF       DEFENDANT          OTHER (specify):

Instructions: Fed. R. Bankr. P. 7007.1 requires corporate parties to an adversary proceeding,
other than the debtor or a governmental unit, to file a statement of corporate ownership with the
first pleading filed. Fed. R. Bankr. P. 1007(a)(1) requires corporate debtors to file with the
petition a Corporate Ownership Statement containing the information described in Fed. R.
Bankr. P. 7007.1. Check one of the statements set forth below and provide any information as
directed.

   1. The following corporations directly or indirectly own 10% or more of any class of
      the above named corporate debtor’s/party’s equity interests:



   2. There are no entities that directly or indirectly own 10% or more of any class of the
      above named corporate debtor’s/party’s equity interests.


Date: September 17, 2019
                                     Signature of     Authorized    Individual   for   Corporate
                                     Debtor/Party

                                     Aaron Kibbey
                                     Printed Name of Authorized Individual for Corporate
                                     Debtor/Party

                                     Chief Restructuring Officer
                                     Title of Authorized Individual for Corporate Debtor/Party
           Case
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                                                   Page 10 of 384
 Fill in this information to identify the case and this filing:


                2DNWUHH 0HGLFDO &HQWUH 3&
 Debtor Name __________________________________________________________________
                                         :HVWHUQ
 United States Bankruptcy Court for the: ______________________
                                                                            1 &DUROLQD
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔
              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔
              Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.

                       8  
        Executed on ______________                         8   _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 $DURQ .LEEH\
                                                                ________________________________________________________________________
                                                                Printed name

                                                                &KLHI 5HVWUXFWXULQJ 2IILFHU
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                          Document       Page 11 of 384
                                                         Page 11 of 384
 Fill in this information to identify the case:

                      Oaktree Medical Centre, P.C.
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                                       Western                                                  N Carolina
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:                                                                                                                                                                                       0.00
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B.....................................................................................................................................
                                                                                                                                                                                                   Plus Unknown

     1b.   Total personal property:                                                                                                                                                                  7,999,524.07
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................                      Plus Unknown

     1c. Total of all property:                                                                                                                                                                      7,999,524.07
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B.....................................................................................................................................                     Plus Unknown




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                    29,479,638.28
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................                                                  $ ________________
                                                                                                                                                                                                   Plus Unknown
3.   Schedule E/F: Creditors Who Have Unsecured Claims(Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                     2,692,466.17
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                  $ ________________
                                                                                                                                                                                                   Plus Unknown
     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:                                                                                                                       5,686,312.31
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +   $ ________________
                                                                                                                                                                                                    Plus Unknown



4.   Total liabilities...................................................................................................................................................................          37,858,416.76
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b                                                                                                                                                                              Plus Unknown




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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  Fill in this information to identify the case:

               Oaktree Medical Centre, P.C.
  Debtor name __________________________________________________________________

                                          Western
  United States Bankruptcy Court for the:_______________________              N Carolina
                                                                 District of ________
                                                                             (State)
  Case number (If known):     _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
   ✔
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                 Last 4 digits of account number
         See attached Rider 1.3
   3.1. _________________________________________________ ______________________               ____ ____ ____ ____                             35,860.97
                                                                                                                                 $______________________
   3.2. _________________________________________________ ______________________               ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
        None
   4.1. _____________________________________________________________________________________________________                    $______________________
   4.2. _____________________________________________________________________________________________________                    $______________________

5. Total of Part 1                                                                                                                             35,860.97
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
   ✔
         Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
        See attached Rider 2.7
   7.1. ________________________________________________________________________________________________________                                22,663.46
                                                                                                                                  $______________________
   7.2._________________________________________________________________________________________________________                  $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                   page 1
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Case Name: Oaktree Medical Centre, PC                                 Case Number:

Part 1:
          Schedule A/B: Assets - Real and Personal Property
            Cash and cash equivalents
3. Checking, savings, money market, or financial brokerage accounts

          Name of Institution (bank                                     Last 4 digits of   Current value of
            or brokerage firm)                   Type of Account       account number      debtor's interest

3.1       South State Bank              Checking                      3895                         $9,660.24
3.2       South State Bank              Savings                       0117                           $489.78
3.3       First Citizens Bank & Trust CoDepository                    5701                            $43.60
3.4       First Citizens Bank & Trust CoDepository                    6001                        $25,004.10
3.5       First Citizens Bank & Trust CoDepository                    4323                          $663.25

                                                                                   TOTAL           $35,860.97
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Part 2:
          Schedule A/B: Assets - Real and Personal Property
          Deposits and Prepayments
7. Deposits, including security deposits and utility deposits

                                                                                   CURRENT VALUE OF
                    DESCRIPTION               NAME OF HOLDER OF DEPOSIT            DEBTOR'S INTEREST

7.1       Two Park Trinity                  Security Deposit 545 N. Pleasantburg             $3,729.17
                                            Dr Suite 102
7.2       Lutheran Services Carolinas       Security Deposit for 2561                        $3,600.00
                                            Hendersonville Rd., Arden, NC 28704
                                            25H‐ARD/adm
7.3       SCE&G                             Utility Deposit ‐ Sunset Blvd West                 $319.29
                                            Columbia
7.4       Town of Waynesville               Utility Deposit ‐ Waynesville NC                   $240.00
7.5       SCE&G                             Utility Deposit ‐ Highland Drive                   $975.00
                                            Columbia
7.6       Magnolia Center One, LLC          Security Deposit on New MB Location             $13,800.00


                                                                         TOTAL $             22,663.46




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               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
        See attached Rider 2.8
   8.1.___________________________________________________________________________________________________________                             157,352.49
                                                                                                                                  $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                              180,015.95
                                                                                                                                 $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
    
    ✔ Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:       $2,745,114.41
                                 ____________________________     $1,669,378.18
                                                              – ___________________________          = ........ Î                           1,075,736.23
                                                                                                                                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:           $2,729,582.81
                                  ___________________________     $2,222,624.89
                                                              – ___________________________          = ........ Î                             506,957.92
                                                                                                                                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                         1,582,694.15
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
    ✔ Yes. Fill in the information below.
    
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
          None
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
         Pointe West Phase 2012, LLC
   15.1._______________________________________________________________               18
                                                                                   ________%            _____________________                    84,619.00
                                                                                                                                 $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________   $_______________________
   16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4                                                                                                                            84,619.00
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 2
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Case Name: Oaktree Medical Centre, PC                                                      Case Number:


Part 2:
          Schedule A/B: Assets - Real and Personal Property
          Deposits and Prepayments
8. Prepayments

                                                      NAME OF HOLDER OF                      CURRENT VALUE OF
                   DESCRIPTION                            PAYMENT                            DEBTOR'S INTEREST

8.1       Landmark American Insurance            Executive Risk Package ‐ Policy                          $17,666.66
          Company ‐ c/o Willis of North          LHP677660 ‐ Exp 1/9/20
          Carolina, Inc
8.2       Underwriters at Lloyd's London ‐ c/o   Executive Risk Package ‐ Policy                          $17,666.66
          Willis of North Carolina, Inc          DOH00746111 ‐ Exp 1/9/20
8.3       StarStone Specialty Insurance          Excess Private Management Liability ‐                    $14,133.34
          Company ‐ c/o Willis of North          Policy H70164180ASP ‐ Exp 1/9/20
          Carolina, Inc
8.4       Underwriters at Lloyd's London ‐ c/o   Endorsement Excess Liability ‐ Policy                    $53,000.00
          Willis of North Carolina, Inc          ANV122398A ‐ Exp 1/9/20
8.5       Crum and Forster Insurance             Endorsement Excess Liability ‐ Policy                    $12,366.66
          Company ‐ c/o Willis of North          EPP‐100004 ‐ Exp 1/9/20
          Carolina, Inc
8.6       Hiscox Inc ‐ c/o Willis of North       Business Crime Policy ‐                                   $6,233.50
          Carolina, Inc                          Policy # UC22283982 19 ‐ Exp 7/9/20

8.7       South Carolina Dept of Health          CLIA Laboratory Compliance Fee ‐                          $5,527.00
                                                 #42D0954666 ‐ 2020 to 2022
8.8       Coversys Medical Malpractice           Excess Malpractice Premiums 8/1/18 ‐                     $30,758.67
                                                 8/1/19



                                                                                   TOTAL                  $157,352.49
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Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    
    ✔ No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last     Net book value of     Valuation method used     Current value of
                                                    physical inventory   debtor's interest     for current value         debtor’s interest
                                                                         (Where available)
19. Raw materials
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________


23. Total of Part 5                                                                                                     $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    
    ✔ No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                Net book value of     Valuation method used     Current value of debtor’s
                                                                         debtor's interest     for current value         interest
                                                                         (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________         $________________     ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

   ______________________________________________________________         $________________     ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

   ______________________________________________________________         $________________     ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________         $________________     ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________         $________________     ____________________    $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                          page 3
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33. Total of Part 6.
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
    
    ✔ Yes. Fill in the information below.


   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture

   ______________________________________________________________              $________________   ____________________     $______________________

40. Office fixtures

   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
    Office Computers
   ______________________________________________________________                      Unknown
                                                                               $________________   ____________________                   Unknown
                                                                                                                            $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                                          Unknown
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?
    ✔ No
    
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

    
    ✔ No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                            page 4
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             Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
    
    ✔ Yes. Fill in the information below.


   General description                                                     Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

        2014 Land Rover Range Rover (VIN SALGS2EF9EA148594)                             0.00    KBB/Depreciation                    $25,413.00
   47.1___________________________________________________________          $________________   ____________________    $______________________

   47.2___________________________________________________________          $________________   ____________________    $______________________

   47.3___________________________________________________________          $________________   ____________________    $______________________

   47.4___________________________________________________________          $________________   ____________________    $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________    ____________________    $______________________

   48.2__________________________________________________________          $________________    ____________________    $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________    ____________________    $______________________

   49.2__________________________________________________________          $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________    ____________________    $______________________


51. Total of Part 8.                                                                                                                 $25,413.00
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
    
    ✔     No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
    
    ✔     No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
            Case
             Case19-05155-dd
                     19-31286 Doc        Doc1 1 Filed
                                                   Filed09/19/19
                                                           09/19/19 Entered
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                                                                                 10/01/1917:13:58 14:28:40 Desc   DescMainMain
              Oaktree Medical Centre, P.C.        Document           Page 20 of 384
Debtor
             Name
                                                  Document
             _______________________________________________________ Page 20 of 384
                                                                                Case number (if known)_____________________________________




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
    
    ✔ Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
         See attached Rider 9.55                                                                                                                    0.00
    55.1________________________________________            _________________     $_______________     ____________________     $_____________________

    55.2________________________________________            _________________     $_______________     ____________________     $_____________________

    55.3________________________________________            _________________     $_______________     ____________________     $_____________________

    55.4________________________________________            _________________     $_______________     ____________________     $_____________________

    55.5________________________________________            _________________     $_______________     ____________________     $_____________________

    55.6________________________________________            _________________     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                                              0.00
                                                                                                                                $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    
    ✔     No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
    
    ✔ Yes. Fill in the information below.
   General description                                                           Net book value of    Valuation method         Current value of
                                                                                  debtor's interest    used for current value   debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
     Various domains
    ______________________________________________________________                $_________________   ______________________                 Unknown
                                                                                                                                 $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
     Patient lists
    ______________________________________________________________                $_________________   ______________________                 Unknown
                                                                                                                                 $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
                                                                                        6,090,921.00
                                                                                   $________________   Unknown
                                                                                                       _____________________                6,090,921
    ______________________________________________________________                                                              $____________________

66. Total of Part 10.                                                                                                                     6,090,921.00
                                                                                                                                $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                            page 6
               Case
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                                       Document
                                        Document       Page 21 of 384
                                                       Page 21 of 384
Case Name: Oaktree Medical Centre, PC                                                             Case Number:

Part 9:
          Schedule A/B: Assets - Real and Personal Property
          Real property
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of property                  Nature and extent Net book            Valuation   Current value
          Include street address or other description such as   of debtor's interest value of         method used of debtor's
          Assessor Parcel Number (APN), and type of property
                                                                in property          debtor's         for current interest
          (for example, acreage, factory warehouse, apartment
          or office building) if available
                                                                                     interest         value
                                                                                     (Where
                                                                                     available)



55.1      Corporate Offices, 25 Airpark Court, Greenville,      Leased Office Space           $0.00                       $0.00
          SC
55.2      Lab Services, 777 Lowery Road, Building 2,      Leased Office/Lab                   $0.00                       $0.00
          Suite 102, Greenville, SC                       Space
55.3      Medical Clinic, 1005 Grove Road, Greenville, SC Leased Medical Office               $0.00                       $0.00
                                                          Space
55.4      Medical Clinic, 108 Montgomery Drive,           Leased Medical Office               $0.00                       $0.00
          Anderson, SC                                    Space
55.5      Medical Clinic, 115 Brushy Creek Road, Easley, Leased Medical Office                $0.00                       $0.00
          SC                                              Space
55.6      Medical Clinic, 1650 Skylyn Drive, Suite 210,   Leased Medical Office               $0.00                       $0.00
          Spartanburg, SC                                 Space
55.7      Medical Clinic, 120 Highland Center Park, Suite Leased Medical Office               $0.00                       $0.00
          105, (NE) Columbia, SC                          Space
55.8      Medical Clinic, 1920 2nd Loop Road, Florence, Leased Medical Office                 $0.00                       $0.00
          SC                                              Space
55.9      Medical Clinic, 4600 Oleander Drive, Suite 1,   Leased Medical Office               $0.00                       $0.00
          Myrtle Beach, CA                                Space
55.10     Medical Clinic, 10 Miller Road, Sumter, SC      Leased Medical Office               $0.00                       $0.00
                                                          Space
55.11     Medical Clinic, 2651 Hendersonville Road,       Leased Medical Office               $0.00                       $0.00
          Arden, NC                                       Space
55.12     Medical Clinic, 3410 Sunset Boulevard, West     Leased Medical Office               $0.00                       $0.00
          Columbia, SC                                    Space

                                                                                                      TOTAL       UNKNOWN
             Case
              Case19-05155-dd
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              _______________________________________________________ Page 22 of 384
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                                                                                 Case number (if known)_____________________________________
              Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
        No
    
    ✔    Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        No
    
    ✔    Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔    No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    
    ✔     No. Go to Part 12.
         Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                    _______________     –   __________________________         =Î   $_____________________
    ______________________________________________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                  $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                     $_____________________
   ____________________________________________________________                                                                     $_____________________
78. Total of Part 11.
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔    No
        Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 7
              Case
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                       19-31286 Doc       Doc1 1 Filed
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                                                             09/19/19 Entered
                                                                          Entered09/19/19
                                                                                   10/01/1917:13:58 14:28:40 Desc   DescMainMain
               Oaktree Medical Centre, P.C.         Document           Page 23 of 384
Debtor
               Name
                                                    Document
               _______________________________________________________ Page 23 of 384
                                                                                  Case number (if known)_____________________________________




Part 12:        Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property

                                                                                                              35,860.97
                                                                                                       $_______________
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.


81. Deposits and prepayments. Copy line 9, Part 2.                                                           180,015.95
                                                                                                       $_______________

                                                                                                            1,582,694.15
                                                                                                       $_______________
82. Accounts receivable. Copy line 12, Part 3.


83. Investments. Copy line 17, Part 4.                                                                        84,619.00
                                                                                                       $_______________

84. Inventory. Copy line 23, Part 5.                                                                   $_______________

85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                               Unknown
                                                                                                       $_______________
    Copy line 43, Part 7.
                                                                                                             $25,413.00
                                                                                                       $_______________
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

                                                                                                                                                          0.00
88. Real property. Copy line 56, Part 9. . .................................................................................. Î              $________________

                                                                                                            6,090,921.00
                                                                                                       $_______________
89. Intangibles and intellectual property. Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                                      +    $_______________


                                                                                                           7,999,524.07                                  0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................            7,999,524.07
                                                                                                                                                                 $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
                    Case 19-05155-dd
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                                            1             Doc 1 Filed
                                                                  Filed09/19/19
                                                                        09/19/19 Entered
                                                                                   Entered09/19/19
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                                                                                                     14:28:40 Desc
                                                                                                               DescMain
                                                                                                                    Main
 Fill in this information to identify the
                                                                Document
                                                                 Document       Page 24 of 384
                                                                                Page 24 of 384
Debtor name     Oaktree Medical Centre, P.C.
United States Bankruptcy Court for the:          Western                         District of    N Carolina
                                                                                                 (State)
Case number (If known):

                                                                                                                                                 Check if this is an
Official Form 206D                                                                                                                               amended filing

Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor’s property?
       No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.

Part 1:                                                                                                                  Column A                               Column B
             List Creditors Who Have Secured Claims
                                                                                                                                  Amount of Claim         Value of collateral
2. List in alphabetical order all creditors who have secured claims.                                                                                      that supports this
                                                                                                                                      Do not deduct
If a creditor has more than one secured claim, list the creditor separately for each claim.                                                the value                   claim
2. 1     Creditor's name                                          Describe debtor's property that is subject to a lien
                                                                                                                                     $29,354,194.18                UNKNOWN
         FIDUS INVESTMENT CORPORATION                             Substantially all assets of Oaktree Medical
s106
                                                                  Centre, P.C. and Labsource, LLC
         Creditor's Mailing Address

         AS LENDER AND COLLATERAL AGENT
         1603 ORRINGTON #810
         EVANSTON, IL 60201



         Creditor's email address, if known
                                                                  Describe the lien
                                                                  SECURED CLAIM
         Date debt was incurred
         5/6/2014

         Last 4 digts of account number
                                                                  Is the creditor an insider or related party?
                                                                       No
         Do multiple creditors have an interest in the                 Yes
         same property?                                           Is anyone else liable on this claim?
             No                                                       No.
             Yes. Have you already specified the                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             relative priority?

                No. Specify each creditor, including this         As of the petition filing date, the claim is:
                creditor and its relative priority.
                                                                  Check all that apply.
                                                                     Contingent
                Yes. The relative priority of creditors              Unliquidated
                is specified on lines s106
                                                                     Disputed




Official Form 206D                           Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 4
                 Case 19-05155-dd Doc
           OaktreeCase
                  Medical19-31286
                                   Doc1 1 Filed
                          Centre, P.C.
                                            Filed09/19/19
                                                  09/19/19 Entered
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                                                                                           DescMain  Main
Debtor                                    Document        Page 25 of 384
                                           Document       Page 25 of 384          Case Number (if known)
          Name

Part 1:                                                                                                                  Column A                           Column B
                                                                                                                                Amount of Claim      Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                                                            that supports this
                                                                                                                                    Do not deduct
sequentially from the previous page.                                                                                                                              claim
                                                                                                                                         the value
2. 2     Creditor's name                                        Describe debtor's property that is subject to a lien
                                                                                                                                    $125,444.10             UNKNOWN
         US BANK EQUIPMENT FINANCE                              GE Healthcare - CPS Prescription Software,
s107
                                                                Centricity Practice Solultion, CPS MU Software -
         Creditor's Mailing Address                             Related Medical Practice Software priority lien
                                                                over Fidus Investment Corporation lien on the
         1310 MADRID ST                                         software
         MARSHALL, MN 56258




         Creditor's email address, if known
                                                                Describe the lien
                                                                SECURED CLAIM
         Date debt was incurred
         4/13/2016

         Last 4 digts of account number
                                                                Is the creditor an insider or related party?
         8988
                                                                     No
         Do multiple creditors have an interest in the               Yes
         same property?                                         Is anyone else liable on this claim?
             No                                                     No.
             Yes. Have you already specified the                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             relative priority?

                No. Specify each creditor, including this       As of the petition filing date, the claim is:
                creditor and its relative priority.
                                                                Check all that apply.
                                                                   Contingent
                Yes. The relative priority of creditors            Unliquidated
                is specified on lines s107                         Disputed




Official Form 206D                           Schedule D: Creditors Who Have Claims Secured by Property                                               page 2 of 4
                  Case 19-05155-dd Doc
            OaktreeCase
                   Medical19-31286
                                    Doc1 1 Filed
                           Centre, P.C.
                                             Filed09/19/19
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                                                              Entered09/19/19
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                                                                                            DescMain  Main
Debtor                                     Document        Page 26 of 384
                                            Document       Page 26 of 384          Case Number (if known)
           Name

Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of
claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

    Name and address                                                                                     On which line in Part 1 did you                Last 4 digts of account
                                                                                                         enter the related creditor?                    number for this entity



     WEST CRT HEAVY, LLC                                                                                 s106
     1603 ORRINGTON #810
     EVANSTON, IL 60201

     WEST FAMILY INVESTMENTS, INC.                                                                       s106
     1603 ORRINGTON #810
     EVANSTON, IL 60201

     WEST INVESTMENT CORPORATION                                                                         s106
     1603 ORRINGTON #810
     EVANSTON, IL 60201

     WEST INVESTMENT HOLDINGS, LLC                                                                       s106
     1603 ORRINGTON #810
     EVANSTON, IL 60201




Official Form 206D                          Schedule D: Creditors Who Have Claims Secured by Property                                                       page 3 of 4
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                                                                                             Main
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Debtor                                   Document
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                                                         Page 27 of 384
          Name                                                                                  Case Number (if known)

Part 3:     Total Amounts of the Claims Secured by Property

                                                                                                      Total of Claim Amounts


3a. Total of the dollar amounts from Part 1, Column A,
including the amounts from the Additional Page, if any.                                 3a.                 $29,479,638.28
                                                                                               ____________________________




Official Form 206D                 Schedule D: Creditors Who Have Claims Secured by Property                         page 4 of 4
               Case 19-05155-dd
                Case 19-31286        Doccase:
                                          1 Filed Doc 1     Filed09/19/19
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                                                                                                         DescMain
                                                                                                              Main
Fill in this information to identify the
                                                           Document
                                                           Document       Page 28 of 384
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Debtor name   Oaktree Medical Centre, P.C.
United States Bankruptcy Court for the:      Western                      District of   N Carolina
                                                                                        (State)
Case number (If known):

                                                                                                                            Check if this is an
Official Form 206E/F                                                                                                        amended filing

Schedule E/F: Creditors Who Have Unsecured Claims                                                                            12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official
Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the
Additional Page of that Part included in this form.

Part 1:     All Creditors with PRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                    Total Claim          Priority Amount
2.1        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                      $600.08                     $600.08
s402       ALLSEP, JESSICA                                     Check all that apply.
           113 PERRY BEND CIRCLE                                  Contingent
           APT. 101                                               Unliquidated
           EASLEY, SC 29640                                       Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.2        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                      $179.10                     $179.10
s403       AMBROSE, CAROL                                      Check all that apply.
           113 OLD BETHLEHEM SCHOOL ROAD                          Contingent
           PICKENS, SC 29671                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.3        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                      $258.45                     $258.45
s404       ASHER COOPER, EMILY                                 Check all that apply.
           189 TWIN CREEK DRIVE                                   Contingent
           BOILING SPRINGS, SC 29316                              Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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                                                                              14:28:40 DescDescMain Main
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                                         Document
                                          Document       Page 29 of 384
                                                         Page 29 of 384
  Debtor Name                                                                   Case Number (if known)

Part 1:     All Creditors with PRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim     Priority Amount
2.4        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                               $10,897.44           $10,897.44
s425       ASHLEY CRISP                                        Check all that apply.
           1651 UNION SCHOOL RD                                   Contingent
           MCBEE, SC 29101                                        Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.5        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $271.18              $271.18
s405       BALDWIN, CARLY                                      Check all that apply.
           2194 OLD LIBERTY RD                                    Contingent
           LIBERTY, SC 29657                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.6        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $132.32              $132.32
s406       BARLOW, TIFFANY                                     Check all that apply.
           168 ENON CHURCH ROAD                                   Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.7        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $631.25              $631.25
s408       BLACK, MELISSA                                      Check all that apply.
           644 OLD CEDAR ROCK ROAD                                Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                    page 2 of 95
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                                                            Entered09/19/19
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                                         Document
                                          Document       Page 30 of 384
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  Debtor Name                                                                   Case Number (if known)

Part 1:     All Creditors with PRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim     Priority Amount
2.8        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $100.00              $100.00
s616       BOBBY BUFFKIN                                       Check all that apply.
           4864 JORDAN CIRCLE                                     Contingent
           TIMMONSVILLE, SC 29161                                 Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             PATIENT REFUND

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          7                         Yes


2.9        Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $9,923.08             $9,923.08
s503       BRADLEY SWENSON                                     Check all that apply.
           2900 RAMBLING PATH                                     Contingent
           ANDERSON, SC 29621                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.10       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $528.84              $528.84
s409       BRAILSFORD, DANIELLE                                Check all that apply.
           PO BOX 925                                             Contingent
           SUMMERTON, SC 29148                                    Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.11       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $416.95              $416.95
s410       BRAND, JENNIFER                                     Check all that apply.
           439 SOUTH BUNCOMBE ROAD                                Contingent
           APT #525                                               Unliquidated
           GREER, SC 29650                                        Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim     Priority Amount
2.12       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $1,504.27             $1,504.27
s507       BRANT TURNER                                        Check all that apply.
           1276 SHADOW WAY                                        Contingent
           GREENVILLE, SC 29615                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.13       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $908.16              $908.16
s411       BRINSTON, HILLARY                                   Check all that apply.
           103 AUGUSTA STREET                                     Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.14       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $198.00              $198.00
s412       BROWN, REGAN                                        Check all that apply.
           342 HARTVIEW CIRCLE                                    Contingent
           ANDERSON, SC 29625                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.15       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $1,854.05             $1,854.05
s413       BRYANT, KHAIRIYA                                    Check all that apply.
           2900 E NORTH ST                                        Contingent
           APT. 84                                                Unliquidated
           WADE HAMPTON, SC 29615-1880                            Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim     Priority Amount
2.16       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $306.90              $306.90
s414       BUCHANAN, MEGAN                                     Check all that apply.
           3365 POTTS LANE                                        Contingent
           DALZELL, SC 29040                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.17       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $285.75              $285.75
s415       CAPPS, LINDSEY                                      Check all that apply.
           1425 MASSEY RD                                         Contingent
           PENDLETON, SC 29670                                    Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.18       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $373.20              $373.20
s416       CARTER, KATHRYN                                     Check all that apply.
           504 SOUTH B ST                                         Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.19       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $333.80              $333.80
s417       CHILDERS, REBEKAH                                   Check all that apply.
           104 IVYWAY LANE                                        Contingent
           LIBERTY, SC 29657                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim     Priority Amount
2.20       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $740.81              $740.81
s418       CHRISLEY, DIANE                                     Check all that apply.
           1205 ROYAL SUMMIT DR                                   Contingent
           SENECA, SC 29678                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.21       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $3,437.90             $3,437.90
s419       COKER, SHANNON                                      Check all that apply.
           720 DIX LANE                                           Contingent
           FLORENCE, SC 29505                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.22       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $389.48              $389.48
s421       COOLEY, AMANDA                                      Check all that apply.
           1540 EBENEZER ROAD                                     Contingent
           DARLINGTON, SC 29532                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.23       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $389.48              $389.48
s420       COOLEY, KAYLA                                       Check all that apply.
           505 WEST MAIN STREET                                   Contingent
           APT. #5                                                Unliquidated
           EASLEY, SC 29640                                       Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim     Priority Amount
2.24       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $748.93              $748.93
s497       COREY SMITH                                         Check all that apply.
           111 BROOK STONE DR                                     Contingent
           EASLEY, SC 29642                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.25       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $162.55              $162.55
s423       COX, ELIZABETH                                      Check all that apply.
           219 LONGVIEW DR                                        Contingent
           WILLIAMSTON, SC 29697                                  Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.26       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $498.96              $498.96
s424       CRANE, ASHLEY                                       Check all that apply.
           105 WINSTON WAY                                        Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.27       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $486.77              $486.77
s426       CRUM, BRANDI                                        Check all that apply.
           1417 ZION SCHOOL ROAD                                  Contingent
           EASLEY, SC 29642                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim     Priority Amount
2.28       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                               $12,850.00           $12,850.00
s427       DALTON, MANDY                                       Check all that apply.
           247 AUDUBON ACRES DRIVE                                Contingent
           EASLEY, SC 29642                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.29       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                   $91.80                   $91.80
s428       DAMERON, DELAINA                                    Check all that apply.
           206 SPRING ESTATES DR                                  Contingent
           LIBERTY, SC 29657                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.30       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $294.48              $294.48
s430       EBENBOECK, JULIA                                    Check all that apply.
           16 PITTMAN ROAD                                        Contingent
           LYMAN, SC 29365                                        Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.31       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $218.28              $218.28
s431       EBERT, BRANDI                                       Check all that apply.
           171 HICKORY RD                                         Contingent
           WILLIAMSTON, SC 29697                                  Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim     Priority Amount
2.32       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $666.88              $666.88
s432       EDDINS, THOMAS                                      Check all that apply.
           70 CORNELIUS DRIVE                                     Contingent
           PISGAH FOREST, NC 28768                                Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.33       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $623.79              $623.79
s433       ELMORE, KYLE                                        Check all that apply.
           14 LAUREL DRIVE                                        Contingent
           TAYLORS, SC 29687                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.34       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $2,729.32             $2,729.32
s435       FOSTER, TRACY                                       Check all that apply.
           117 FRANCIS RD                                         Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.35       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $603.13              $603.13
s436       GALLANT, KRISTEN                                    Check all that apply.
           19 ALEXANDER ST.                                       Contingent
           LIBERTY, SC 29657                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.36       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $587.09               $587.09
s437       GALLMAN, TARA                                       Check all that apply.
           100 BROWN DRIVE                                        Contingent
           EASLEY, SC 29642                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.37       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $1,031.39              $1,031.39
s438       GILL, SABRINA                                       Check all that apply.
           228 HAYES ROAD                                         Contingent
           PICKENS, SC 29671                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.38       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $386.40               $386.40
s439       GILSTRAP, JULIE                                     Check all that apply.
           649 MASSINGILL MEMORIAL DR                             Contingent
           PICKENS, SC 29671                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.39       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $592.50               $592.50
s440       GOLDSMITH, HANNAH                                   Check all that apply.
           115 PEARSON TERRACE DR                                 Contingent
           APT. C                                                 Unliquidated
           EASLEY, SC 29642                                       Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.40       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $176.40               $176.40
s441       GREER, JODY                                         Check all that apply.
           112 FOLKSTONE CT                                       Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.41       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $166.32               $166.32
s443       HALTIWANGER, LESLYE                                 Check all that apply.
           208 LONGVIEW DRIVE                                     Contingent
           PIEDMONT, SC 29673                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.42       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                   $16.12                    $16.12
s444       HAMILTON, PURITY                                    Check all that apply.
           199 FAIR ORCHARD WAY                                   Contingent
           DUNCAN, SC 29334                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.43       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                   $83.33                    $83.33
s445       HANNIGAN, KAYLEE                                    Check all that apply.
           108 EDGEWOOD DRIVE                                     Contingent
           DUNCAN, SC 29334                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.44       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $597.63               $597.63
s446       HARE, ASHLEY                                        Check all that apply.
           301 MORNING CREEK DRIVE                                Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.45       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $373.62               $373.62
s447       HARTSELL, WINNON                                    Check all that apply.
           167 BAGWELL STREET                                     Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.46       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $172.80               $172.80
s448       HESS, NICHOLE                                       Check all that apply.
           891 SOUTH MECHANIC STREET                              Contingent
           PENDLETON, SC 29670                                    Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.47       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $222.17               $222.17
s449       HICKSON, RANDOLYN                                   Check all that apply.
           1558 RUGER DR                                          Contingent
           SUMTER, SC 29150                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.48       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $198.75               $198.75
s450       HILL, SAMUEL                                        Check all that apply.
           3944 FORRESTER ROAD                                    Contingent
           GREER, SC 29651                                        Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.49       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $102.52               $102.52
s451       HOOD, HALLE                                         Check all that apply.
           114 SNIPE LANE                                         Contingent
           EASLEY, SC 29642                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.50       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $275.00               $275.00
s452       HORTON, BRITTANI                                    Check all that apply.
           434 PLEASANT GREEN DR                                  Contingent
           INMAN, SC 29349                                        Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.51       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $398.55               $398.55
s454       HUBER, CHRISTA                                      Check all that apply.
           110 ROYAL COURT                                        Contingent
           GREENVILLE, SC 29611                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                   Total Claim      Priority Amount
2.52       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                     $43.12                    $43.12
s453       HUBER, MARGARET                                     Check all that apply.
           6780 RACKING LANE                                      Contingent
           WEDGEFIELD, SC 29168                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.53       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                    $107.18               $107.18
s455       HUGHES, KARLA                                       Check all that apply.
           131 SHARLA CT                                          Contingent
           LIBERTY, SC 29657                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.54       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                    $816.92               $816.92
s456       INGRAM, BROOKE                                      Check all that apply.
           1010 OLD HUNTS BRIDGE ROAD                             Contingent
           GREENVILLE, SC 29617                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.55       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                               $2,039,481.19        $2,039,481.19
s378       INTERNAL REVENUE SERVICE                            Check all that apply.
                                                                  Contingent
           KANSAS CITY, MO 64999-0202                             Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           12/31/2013                                          ASSESSMENT - FORM 1120

           Last 4 digts of account number
           2081
                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          8                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.56       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                               $412,159.14          $412,159.14
s772       INTERNAL REVENUE SERVICE                            Check all that apply.
                                                                  Contingent
           KANSAS CITY, MO 64999-0202                             Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           12/31/2013                                          ASSESSMENT - FORM 941

           Last 4 digts of account number
           2081
                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          8                         Yes


2.57       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $209.10               $209.10
s457       JACKSON, TAMEKA                                     Check all that apply.
           206 CATTERICK WAY                                      Contingent
           FOUNTAIN INN, SC 29644                                 Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.58       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                     $9.28                   $9.28
s458       JEFFERIES, ASHLEY                                   Check all that apply.
           140 MANOR HOUSE LANE                                   Contingent
           CHESNEE, SC 29323                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.59       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                 $8,653.85             $8,653.85
s434       JEFFREY FARRICIELLI                                 Check all that apply.
           3912 ASHTON SHORE LANE                                 Contingent
           MOUNT PLEASANT, SC 29466                               Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.60       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $558.63               $558.63
s459       JENKINS, KRYSTAL                                    Check all that apply.
           120 MERRITT DRIVE                                      Contingent
           EASLEY, SC 29642                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.61       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $1,200.50              $1,200.50
s621       JENNIFER TROISE                                     Check all that apply.
           101 MILLER SPRINGS DR                                  Contingent
           MOORE, SC 29369                                        Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             PATIENT REFUND

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          7                         Yes


2.62       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $8,653.85              $8,653.85
s407       JESSICA BELL                                        Check all that apply.
           210 CREEK FALLS XING                                   Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.63       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $4,700.85              $4,700.85
s461       JILL KESSLER                                        Check all that apply.
           109 WINDSONG COURT                                     Contingent
           ANDERSON, SC 29621                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.64       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $4,326.94              $4,326.94
s442       JOHN HAAS                                           Check all that apply.
           109 PEPPERWOOD DRIVE                                   Contingent
           GREENVILLE, SC 29611                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.65       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $823.05               $823.05
s460       JUSTICE, RAGEN                                      Check all that apply.
           508 TARRANT STREET                                     Contingent
           CENTRAL, SC 29630                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.66       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $1,225.96              $1,225.96
s475       KATHY MOTES                                         Check all that apply.
           260 BALLANTYNE COMMON CIRCLE                           Contingent
           APT. 204                                               Unliquidated
           HENDERSONVILLE, NC 28792                               Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.67       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $3,396.64              $3,396.64
s462       KING, NATASHA                                       Check all that apply.
           2784 CRICKINTREE LANE                                  Contingent
           DARLINGTON, SC 29532                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.68       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $636.30               $636.30
s463       KING, SHEMA                                         Check all that apply.
           706 FOUNTAINBROOK LN                                   Contingent
           FOUNTAIN INN, SC 29644                                 Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.69       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $114.92               $114.92
s464       LANCASTER, MEGAN                                    Check all that apply.
           36 RIDGE TOP ACRES                                     Contingent
           CANDLER, NC 28715                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.70       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $256.75               $256.75
s465       LAWTON, DESTINY                                     Check all that apply.
           1834 WESTRIDGE BLVD                                    Contingent
           CONWAY, SC 29527                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.71       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $900.60               $900.60
s466       LEE, KELLY                                          Check all that apply.
           PO BOX 271                                             Contingent
           VANCE, SC 29163                                        Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.72       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $468.00               $468.00
s622       LINDA SULLIVAN                                      Check all that apply.
           115 ODELL RD                                           Contingent
           LIBERTY, SC 29657                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             PATIENT REFUND

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          7                         Yes


2.73       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $6,089.74              $6,089.74
s422       MARY COX                                            Check all that apply.
           20 CHARTWELL CT                                        Contingent
           SUMTER, SC 29154                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.74       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                   $91.13                    $91.13
s467       MCGOWENS, MAKENZIE                                  Check all that apply.
           447 LATHAM ROAD                                        Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.75       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $244.62               $244.62
s468       MCKINNEY, LISA                                      Check all that apply.
           210 WINCHEST DRIVE                                     Contingent
           CENTRAL, SC 29630                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.76       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $897.05               $897.05
s623       MICHELE THOMSON                                     Check all that apply.
           963 MT SHOALS RD                                       Contingent
           ENOREE, SC 29335                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             PATIENT REFUND

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          7                         Yes


2.77       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                   $50.82                    $50.82
s469       MILES, TONYA                                        Check all that apply.
           113 SHELBY DRIVE                                       Contingent
           PICKENS, SC 29671                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.78       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $272.96               $272.96
s470       MILLER, JAKAILA                                     Check all that apply.
           129 NORFOLK CIRCLE                                     Contingent
           ANDERSON, SC 29625                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.79       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $169.83               $169.83
s471       MILLER, KAITLYN                                     Check all that apply.
           716 MEECE MILL ROAD                                    Contingent
           PICKENS, SC 29671                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.80       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $129.36               $129.36
s472       MOODY, KELSEY                                       Check all that apply.
           964 G W WHITMIRE ROAD                                  Contingent
           ROSMAN, NC 28772                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.81       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                   $87.78                    $87.78
s473       MOSES, ANGELA                                       Check all that apply.
           100 PRINCETON DR                                       Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.82       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $122.78               $122.78
s474       MOSS, KESHIA                                        Check all that apply.
           312 TERILYN COURT                                      Contingent
           GREENVILLE, SC 29611                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.83       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $293.76               $293.76
s476       MUMFORD, ANGEL                                      Check all that apply.
           621 ASPEN ST                                           Contingent
           FLORENCE, SC 29501                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.84       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $823.37               $823.37
s477       MUNEZA, SERAPHINE                                   Check all that apply.
           5300 AUGUSTA RD                                        Contingent
           APT 81                                                 Unliquidated
           GREENVILLE, SC 29605                                   Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.85       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $1,744.00              $1,744.00
s478       NEWCOMER, JOANNA                                    Check all that apply.
           18 MONTFORD CT                                         Contingent
           TRAVELERS REST, SC 29690                               Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.86       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $123.52               $123.52
s479       NEWMAN, MELANIE                                     Check all that apply.
           121 GRANT STREET                                       Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.87       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $9,254.81              $9,254.81
s773       O`QUINN, JOSEPH                                     Check all that apply.
           12 KETTERING COURT                                     Contingent
           EASLEY, SC 29642                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.88       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $9,112.98              $9,112.98
s480       OUELLETTE, CHRISTINE                                Check all that apply.
           7 STONO DRIVE                                          Contingent
           GREENVILLE, SC 29609                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.89       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $507.08               $507.08
s481       PARKER, SYLNOVIA                                    Check all that apply.
           457 MOORER RD                                          Contingent
           SAINT MATTHEWS, SC 29135                               Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.90       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $130.00               $130.00
s626       PATRICIA MINTLINE                                   Check all that apply.
           251 HICKS DR                                           Contingent
           INMAN, SC 29349                                        Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             PATIENT REFUND

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          7                         Yes


2.91       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $1,190.34              $1,190.34
s482       PATTERSON, BRANDON                                  Check all that apply.
           7 SANDRINGHAM ROAD                                     Contingent
           TAYLORS, SC 29687                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.92       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $436.50               $436.50
s483       PERKINS, CAROLINE                                   Check all that apply.
           433 HUNTER MILL RD                                     Contingent
           LIBERTY, SC 29657                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.93       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $630.50               $630.50
s484       PHILLIPS, CASSIE                                    Check all that apply.
           210 DANIEL STREET                                      Contingent
           ANDERSON, SC 29625                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.94       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $1,853.25              $1,853.25
s485       POSTON, MARIAN                                      Check all that apply.
           119 COPPERMINE DRIVE                                   Contingent
           EASLEY, SC 29642                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.95       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $225.44               $225.44
s486       RAMSAY, JILLIAN                                     Check all that apply.
           115 C DEERFIELD CT                                     Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.96       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $9,615.39              $9,615.39
s380       RE - BLAKE LECHE - KONIG DM, LLC                    Check all that apply.
           109 WAVERLY HALL LN                                    Contingent
           SIMPSONVILLE, SC 29681                                 Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           8/16/2019                                           1099 SALARY

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.97       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $176.54               $176.54
s487       REYNOLDS, DANIELLE                                  Check all that apply.
           116 WOODWARD WAY                                       Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.98       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $6,057.69              $6,057.69
s488       RICHARDS, DAWN                                      Check all that apply.
           126 MORNING LAKE DRIVE                                 Contingent
           MOORE, SC 29369                                        Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.99       Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $651.27               $651.27
s489       RICHEY, DIANNA                                      Check all that apply.
           200 WHITMIRE ROAD                                      Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.100      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                   $46.00                    $46.00
s490       RIGDON, JENNIFER                                    Check all that apply.
           5209 SLATER RD                                         Contingent
           ANDERSON, SC 29621                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.101      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                               $12,850.00            $12,850.00
s491       ROGERS, DAVID                                       Check all that apply.
           143 RICE`S CREEK CHURCH ROAD                           Contingent
           LIBERTY, SC 29657                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.102      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                   $20.57                    $20.57
s492       SALAS, BEATRIZ                                      Check all that apply.
           50 BELLWOOD FARM LANE                                  Contingent
           GREENVILLE, SC 29607                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.103      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                               $53,400.00            $53,400.00
s379       SC DEPARTMENT OF REVENUE WITHHOLDING -              Check all that apply.
           EFT                                                    Contingent
           WITHHOLDING                                            Unliquidated
           COLUMBIA, SC 29214-0004                                Disputed


           Date or dates debt was incurred                     Basis for the claim:
           3/31/2017                                           STATE WITHOLDING TAXES

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          8                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.104      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $2,730.79              $2,730.79
s493       SHEPPARD, SHERON                                    Check all that apply.
           105 HADDINGTON DR                                      Contingent
           COLUMBIA, SC 29229-8786                                Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.105      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $106.20               $106.20
s494       SILVA, CHRISTIANNA                                  Check all that apply.
           1013 SIOUX ST                                          Contingent
           ANDERSON, SC 29625                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.106      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $1,305.36              $1,305.36
s495       SIMS, ELIZABETH                                     Check all that apply.
           124 PALM BRANCH WAY                                    Contingent
           ANDERSON, SC 29621                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.107      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $2,100.01              $2,100.01
s498       SMITH, RITA                                         Check all that apply.
           125 QUIET LN                                           Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.108      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $306.30               $306.30
s496       SMITH, ROSA                                         Check all that apply.
           7903 E NATIONAL CEMETARY RD                            Contingent
           FLORENCE, SC 29506                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.109      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $3,024.02              $3,024.02
s499       SPINELLI, MICHAEL                                   Check all that apply.
           128 WILSHIRE DRIVE                                     Contingent
           GREENVILLE, SC 29609                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.110      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $638.40               $638.40
s500       STERLING, KRISTEN                                   Check all that apply.
           217 BARRED OWL DRIVE                                   Contingent
           FOUNTAIN INN, SC 29644                                 Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.111      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $213.40               $213.40
s501       STONELL, ELIZABETH                                  Check all that apply.
           801 OLD LIBERTY RD                                     Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.112      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                   $95.64                    $95.64
s502       SULLIVAN, SARAH                                     Check all that apply.
           376 HUNTS BRIDGE ROAD                                  Contingent
           FOUNTAIN INN, SC 29644                                 Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.113      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $404.94               $404.94
s504       TAYLOR, AMANDA                                      Check all that apply.
           2572 HILLDALE DR                                       Contingent
           SUMTER, SC 29154                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.114      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $391.30               $391.30
s505       TELLIS, GLORIA                                      Check all that apply.
           2069 PHILADELPHIA ST                                   Contingent
           DARLINGTON, SC 29532                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.115      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $375.44               $375.44
s506       THARP, JESSICA                                      Check all that apply.
           150 BROOKSTONE DRIVE                                   Contingent
           EASLEY, SC 29642                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.116      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $275.40               $275.40
s508       VANDEKERKHOVE, AMANDA                               Check all that apply.
           105 CONE RIDGE DRIVE                                   Contingent
           EASLEY, SC 29640                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.117      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $146.30               $146.30
s509       VANDETTE, AMBER                                     Check all that apply.
           104 DEERLAND DRIVE                                     Contingent
           PIEDMONT, SC 29673                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.118      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $236.64               $236.64
s510       VASQUEZ, GINA                                       Check all that apply.
           18 LA JUAN DR                                          Contingent
           GREENVILLE, SC 29617                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.119      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                   $36.16                    $36.16
s630       VERISA HOGLEN                                       Check all that apply.
           285 PISGAH VIEW RD                                     Contingent
           ASHEVILLE, NC 28806                                    Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             PATIENT REFUND

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          7                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.120      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $960.64               $960.64
s511       WALTERS, DEDRA                                      Check all that apply.
           639 BESSIE RD                                          Contingent
           PIEDMONT, SC 29673                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.121      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                   $17.36                    $17.36
s512       WATTS, ROXIE                                        Check all that apply.
           1741 SHAW ROAD                                         Contingent
           WOODRUFF, SC 29388                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.122      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $1,756.23              $1,756.23
s513       WEAVER, MICHAEL                                     Check all that apply.
           118 TREEBROOKE DR                                      Contingent
           GREENVILLE, SC 29607                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.123      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $1,114.20              $1,114.20
s514       WIGGINS, HEATHER                                    Check all that apply.
           1935 MCCLELLAN STREET                                  Contingent
           FLORENCE, SC 29505                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.124      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $151.64               $151.64
s515       WILHIDE, BETH                                       Check all that apply.
           130 FREDRICKSBURG WAY                                  Contingent
           COLUMBIA, SC 29210                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.125      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $107.53               $107.53
s631       WILLIAM GRAY                                        Check all that apply.
           209 RIVERBREEZE RD                                     Contingent
           GREENVILLE, SC 29611                                   Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             PATIENT REFUND

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          7                         Yes


2.126      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                   $34.16                    $34.16
s516       WILLIAMS, MILLICENT                                 Check all that apply.
           1323 DEENA LANE                                        Contingent
           FLORENCE, SC 29506                                     Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.127      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $233.40               $233.40
s517       WILSON, ASHLEY                                      Check all that apply.
           3633 WEST GEORGIA RD                                   Contingent
           PELZER, SC 29669                                       Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 1:     All Creditors with PRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                 Total Claim      Priority Amount
2.128      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $233.40               $233.40
s518       WILSON, CHRISSIE                                    Check all that apply.
           108 FOREST DR                                          Contingent
           LIBERTY, SC 29657                                      Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.129      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                $8,461.54              $8,461.54
s429       WOODWARD DIXON                                      Check all that apply.
           515 DOODLE HILL ROAD                                   Contingent
           ST. MATTHEWS, SC 29135                                 Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes


2.130      Priority creditor's name and mailing address        As of the petition filing date, the claim is:
                                                                                                                  $952.00               $952.00
s519       ZALDIVAR, JOCELYN                                   Check all that apply.
           5530 TERRI DRIVE                                       Contingent
           MYRTLE BEACH, SC 29588                                 Unliquidated
                                                                  Disputed


           Date or dates debt was incurred                     Basis for the claim:
           Various                                             UNPAID PTO

           Last 4 digts of account number

                                                               Is the claim subject to offset?
           Specify Code subsection of PRIORITY unsecured            No
           claim: 11 U.S.C. § 507(a) (________)
                                          4                         Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                          Amount of Claim

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
   unsecured claims, fill out and attach the Additional Page of Part 2.
3. 1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                      $4,579.00
s529       ABBOTT (FKA ST. JUDE)                                              Check all that apply.
           22400 NETWORK PLACE                                                   Contingent
           CHICAGO, IL 60673                                                     Unliquidated
                                                                                 Disputed


           Date or dates debt was incurred   Various                          Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes


3. 2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                      $1,555.53
s612       ACCENT                                                             Check all that apply.
           PO BOX 952366                                                         Contingent
           ST. LOUIS, MO 63195-2366                                              Unliquidated
                                                                                 Disputed


           Date or dates debt was incurred   Various                          Basis for the claim:    PATIENT REFUND

           Last 4 digts of account number
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes


3. 3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                      $8,966.89
s530       ACCOUNTEMPS - ROBERT HALF                                          Check all that apply.
           12400 COLLECTIONS CENTER DRIVE                                        Contingent
           CHICAGO, IL 60693                                                     Unliquidated
                                                                                 Disputed


           Date or dates debt was incurred   Various                          Basis for the claim:    CONSULTING

           Last 4 digts of account number
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes


3. 4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                       $195.00
s794       ACCURATE DIAGNOSTICS                                               Check all that apply.
           1635 E NORTH STREET                                                   Contingent
           GREENVILLE, SC 29607                                                  Unliquidated
                                                                                 Disputed


           Date or dates debt was incurred   Various                          Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 5       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $40.06
s531       ADT - 1108 M-AND - EFT                                         Check all that apply.
           PO BOX 371878                                                     Contingent
           PITTSBURGH, PA 15250-7878                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 6       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $48.72
s776       ADT - 2049 GR-GV - EFT                                         Check all that apply.
           PO BOX 371878                                                     Contingent
           PITTSBURGH, PA 15250-7878                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number    2049
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 7       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $90.42
s777       ADT - 7420 25 H-ARD - EFT                                      Check all that apply.
           PO BOX 371878                                                     Contingent
           PITTSBURGH, PA 15250-7878                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 8       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $8,150.35
s532       AGILENT TECHNOLOGIES, INC.                                     Check all that apply.
           4187 COLLECTIONS CENTER DRIVE                                     Contingent
           CHICAGO, IL 60693                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    2576
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 9       Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $908.88
s533       AIRGAS USA, LLC - 2865184                                      Check all that apply.
           PO BOX 734672                                                     Contingent
           DALLAS, TX 75373                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    5184
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 10      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $458.72
s534       AIRGAS USA, LLC - 2900062                                      Check all that apply.
           PO BOX 734672                                                     Contingent
           DALLAS, TX 75373                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    0062
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 11      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $3,143.79
s535       ALFONSO INTERPRETING & TRANSPORTING INC                        Check all that apply.
           PO BOX 27309                                                      Contingent
           GREENVILLE, SC 29616-2204                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 12      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $870.83
s536       ALHAMBRA US                                                    Check all that apply.
           8 GOVERNOR WENTWORTH HWY                                          Contingent
           WOLFEBORO, NH 03894                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 13      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           $52,711.00
s537       ALLERGAN USA, INC.                                             Check all that apply.
           12975 COLLECTIONS CENTER DR                                       Contingent
           CHICAGO, IL 60693-0129                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    9696
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 14      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:          $148,000.00
s538       ALLSCRIPTS LLC --6688 (FLORENCE)- EFT                          Check all that apply.
           24630 NETWORK PLACE                                               Contingent
           CHICAGO, IL 60673-1246                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    6688
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 15      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           UNKNOWN
s918       ALY ELLEITHEE                                                  Check all that apply.
           C/O JANET, JANET & SUGGS, LLC                                     Contingent
           GERALD DRAYTON JOWERS, JR                                         Unliquidated
           500 TAYLOR ST., STE 301                                           Disputed
           COLUMBIA, SC 29201

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  ELLEITHEE V. SOLIS
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 16      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           $69,406.92
s539       AMERICAN EXPRESS 1101                                          Check all that apply.
           PO BOX 650448                                                     Contingent
           DALLAS, TX 75265-0448                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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3. 17      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $361.18
s353       AMFIRST INSURANCE COMPANY                                      Check all that apply.
           PO BOX 211747                                                     Contingent
           EAGAN, MN 55121-3711                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 18      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $29,642.50
s540       ARNALL GOLDEN GREGORY LLP - #32386                             Check all that apply.
           171 17TH STREET NW                                                Contingent
           SUITE 2100                                                        Unliquidated
           ATLANTA, GA 30363                                                 Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    LEGAL SERVICES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 19      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $41.50
s542       ASHEVILLE FIRE PROTECTION CO., INC.                            Check all that apply.
           PO BOX 6798                                                       Contingent
           ASHEVILLE, NC 28816                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 20      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $713.34
s675       AT&T- FIRST CHOICE LAB EFT                                     Check all that apply.
           PO BOX 5019                                                       Contingent
           CAROL STREAM, IL 60197-5019                                       Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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3. 21      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $54.55
s354       AUSA MASTERCARE GROUP INSURANCE                                Check all that apply.
           PO BOX 1868                                                       Contingent
           GRAPEVINE, TX 76099-1868                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 22      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $28.63
s614       BCBS OF NC                                                     Check all that apply.
           FINANCIAL PROCESSING SERVICES                                     Contingent
           PO BOX 30048                                                      Unliquidated
           DURHAM, NC 27702                                                  Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    PATIENT REFUND

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 23      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $3,123.36
s613       BCBS                                                           Check all that apply.
           ATTN: REFUNDS                                                     Contingent
           PO BOX 6000                                                       Unliquidated
           COLUMBIA, SC 29260-6000                                           Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    PATIENT REFUND

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 24      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $290.83
s615       BCBSSC                                                         Check all that apply.
           ATTN:LOCKBOX, AX-A31                                              Contingent
           I-20 E AT ALPINE RD                                               Unliquidated
           COLUMBIA, SC 29219-0001                                           Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    PATIENT REFUND

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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3. 25      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $5,790.00
s643       BHHS JOHN M BRABHAM REAL ESTATE                                Check all that apply.
           DAVIS PROPERTIES                                                  Contingent
           1081 ALICE DRIVE                                                  Unliquidated
           SUMTER, SC 29151                                                  Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    RENT

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 26      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,335.42
s544       BIOCHEMICAL DIAGNOSTICS, INC                                   Check all that apply.
           180 HEARTLAND BOULEVARD                                           Contingent
           EDGEWOOD, NY 11717                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    0900
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 27      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $31,500.00
s545       BIOVENTUS LLC                                                  Check all that apply.
           PO BOX 732823                                                     Contingent
           DALLAS, TX 75373-2823                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 28      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              UNKNOWN
s955       BLAKE LECHE                                                    Check all that apply.
           DUNLAEVY LAW FIRM                                                 Contingent
           C/O JEFFREY P. DUNLAEVY                                           Unliquidated
           37 VILLA RD., STE. 440                                            Disputed
           GREENVILLE, SC 29615

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  LECHE V. EMERGENCYMD LLC
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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3. 29      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $169.13
s355       BOON ADMINISTRATIVE SERVICES                                   Check all that apply.
           ATTN CLAIMS                                                       Contingent
           AUSTIN, TX 78755                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 30      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $1,770.74
s546       BOSTON SCIENTIFIC CORP--#169041 - EASLEY                       Check all that apply.
           PO BOX 951653                                                     Contingent
           DALLAS, TX 75395-1653                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    9041
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 31      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $107.06
s547       BOSTON SCIENTIFIC CORP--#169768 GROVE                          Check all that apply.
           PO BOX 951653                                                     Contingent
           DALLAS, TX 75395-1653                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    9768
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 32      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $2,452.84
s548       BOSTON SCIENTIFIC CORP--#386416 - MB                           Check all that apply.
           PO BOX 951653                                                     Contingent
           DALLAS, TX 75395-1653                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    6416
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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3. 33      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  UNKNOWN
s920       BRANDY KNIGHT                                                  Check all that apply.
           C/O BLUESTEIN THOMPSON SULLIVAN, LLC                              Contingent
           ALLISON PAIGE SULLIVAN                                            Unliquidated
           PO BOX 7965                                                       Disputed
           COLUMBIA, SC 29202

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  UNITED STATES V. OAKTREE MEDICAL CENTRE, PC
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 34      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $769.40
s549       BULLINGTON ASSOCIATES INC.                                     Check all that apply.
           4240 N BLACKSTOCK ROAD                                            Contingent
           SPARTANBURG, SC 29301                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 35      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $1,419.12
s550       CADWELL LABORATORIES, INC.                                     Check all that apply.
           909 N KELLOGG ST                                                  Contingent
           KENNEWICK, WA 99336                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    3725
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 36      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $2,447.19
s617       CAINE & WEINER                                                 Check all that apply.
           PO BOX 5010                                                       Contingent
           WOODLAND HILLS, CA 91365-5010                                     Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    PATIENT REFUND

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 37      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           UNKNOWN
s921       CATHERINE THOMPSON AS PERSONAL REPRESENTATIVE                  Check all that apply.
           C/O WILLIAM J TUCK, P A                                           Contingent
           FOR THE ESTATE OF REBECCA MAYHEW CASSIDY                          Unliquidated
           WILLIAM J TUCK                                                    Disputed
           PO BOX 933
           DARLINGTON, SC 29540
           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  CASSIDY V. SOLIS
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 38      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           $13,118.00
s644       CCP HARBINGER, LLC - FCH LAB                                   Check all that apply.
           C/O COMMONWEALTH COMMERICAL PARTNERS, LLC                         Contingent
           PO BOX 71150                                                      Unliquidated
           RICHMOND, VA 23225                                                Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    RENT

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 39      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           $12,445.20
s551       CERILLIANT CORPORATION                                         Check all that apply.
           811 PALOMA DRIVE, SUITE A                                         Contingent
           ROUND ROCK, TX 78665                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    3105
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 40      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $386.77
s676       CITY OF ASHEVILLE WATER BILL ACCT# 0078                        Check all that apply.
           PO BOX 733                                                        Contingent
           ASHEVILLE, NC 28802-0733                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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3. 41      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   UNKNOWN
s956       CITY OF CHARLESTON                                             Check all that apply.
           ADDRESS UNAVAILABLE AT TIME OF FILING                             Contingent
                                                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  CITY OF CHARLESTON V. PURDUE PHARMA LO., ET AL
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 42      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                      $248.10
s677       CITY OF FLORENCE -8471 CC                                      Check all that apply.
           CITY SERVICES BILL                                                Contingent
           PO BOX 602756                                                     Unliquidated
           CHARLOTTE, NC 28260-2756                                          Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number    1491
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 43      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                      $360.00
s553       CLIA LABORATORY PROGRAM                                        Check all that apply.
           PO BOX 3056                                                       Contingent
           PORTLAND, OR 97208-3056                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 44      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                      $833.93
s554       CLINT PHARMACEUTICALS                                          Check all that apply.
           629 SHUTE LANE                                                    Contingent
           OLD HICKORY, TN 37138                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    0509
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 45      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $73.42
s778       CMI INC                                                        Check all that apply.
           2090 RELIABLE PARKWAY                                             Contingent
           CHICAGO, IL 60686                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 46      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           $81,373.96
s555       CMS IMAGING, INC.                                              Check all that apply.
           4050 AZALEA DR                                                    Contingent
           NORTH CHARLESTON, SC 29405                                        Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    4825
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 47      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $578.88
s563       COMCAST                                                        Check all that apply.
           PO BOX 105257                                                     Contingent
           ATLANTA, GA 30348-5257                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    01-2
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 48      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $400.00
s582       COMPANION (MCGEE)                                              Check all that apply.
           PO BOX 100102                                                     Contingent
           COLUMBIA, SC 29202                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                         Amount of Claim
3. 49      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                          $1,088.00
s556       COMTRON, INC.                                                  Check all that apply.
           11 GRACE AVE                                                      Contingent
           SUITE 208                                                         Unliquidated
           GREAT NECK, NY 11021                                              Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 50      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                           $878.86
s557       CONCUR / BAMBORA                                               Check all that apply.
           62157 COLLECTIONS CENTER DRIVE                                    Contingent
           CHICAGO, IL 60693                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 51      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     UNKNOWN
s922       COUNTY OF GREENVILLE                                           Check all that apply.
           C/O HARRISON WHITE, PC                                            Contingent
           JOHN B WHITE, JR                                                  Unliquidated
           178 W MAIN ST.                                                    Disputed
           SPARTANBURG, SC 29306

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  COUNTY OF GREENVILLE V. RITE AID OF SC, INC.
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 52      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                             $30.00
s558       COVERYS (MALPRACTICE)                                          Check all that apply.
           PO BOX 981024                                                     Contingent
           BOSTON, MA 02298                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    3997
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 53      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           UNKNOWN
s108       CREEKRIDGE CAPITAL, LLC                                        Check all that apply.
           7808 CREEKRIDGE CIRCLE                                            Contingent
           SUITE 250                                                         Unliquidated
           MINNEAPOLIS, MN 55439-2647                                        Disputed


           Date or dates debt was incurred   8/25/2014                    Basis for the claim:    TRADE DEBT

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 54      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $40.85
s559       CRYSTAL SPRINGS - 11357 - M-AND - EFT                          Check all that apply.
           PO BOX 660579                                                     Contingent
           DALLAS, TX 75266-0579                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    1357
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 55      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $413.92
s560       CRYSTAL SPRINGS VARIOUS                                        Check all that apply.
           PO BOX 660579                                                     Contingent
           DALLAS, TX 75266-0579                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    6528
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 56      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $948.70
s561       CSP INSURANCE SERVICES                                         Check all that apply.
           2420 HOFFMEYER RD, SUITE D                                        Contingent
           FLORENCE, SC 29501                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                          Amount of Claim
3. 57      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                       $1,395.00
s639       CUSTOM INDOOR SERVICES (CLEANING)                              Check all that apply.
           106 SHERBERT COURT                                                Contingent
           SPARTANBURG, SC 29303                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 58      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     UNKNOWN
s923       DAVID BRUCE COFFEY                                             Check all that apply.
           C/O CLINCH RIVER LAW, PLLC                                        Contingent
           ROBERT DZIEWULSKI                                                 Unliquidated
           300 MARKET ST.                                                    Disputed
           CLINTON, TN 37716

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  COFFEY V. COFFEY FAMILY MEDICAL, PC
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 59      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     UNKNOWN
s954       DIXON BOARD                                                    Check all that apply.
           OFFICE OF INVESTIGATIONS                                          Contingent
           ATTN: CARMEN FELTON–BARNER                                        Unliquidated
           SC DEPT. OF LABOR LICENSING & REGULATION                          Disputed
           P.O. BOX 11329
           COLUMBIA, SC 29211-1329
           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  DIXON BOARD COMPLAINT
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 60      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                         $497.46
s679       DOMINION ENERGY - 0386 (HIGHLAND) EFT                          Check all that apply.
           PO BOX 100255                                                     Contingent
           COLUMBIA, SC 29202-3255                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number    0386
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                      Amount of Claim
3. 61      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $947.68
s678       DOMINION ENERGY-COLA NE 1414 (SCE&G)                           Check all that apply.
           PO BOX 100255                                                     Contingent
           COLUMBIA, SC 29202-3255                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 62      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  UNKNOWN
s926       DONNA RAUCH                                                    Check all that apply.
           C/O BLUESTEIN THOMPSON SULLIVAN, LLC                              Contingent
           ALLISON PAIGE SULLIVAN                                            Unliquidated
           PO BOX 7965                                                       Disputed
           COLUMBIA, SC 29202

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  UNITED STATES V. OAKTREE MEDICAL CENTRE, PC
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 63      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  UNKNOWN
s925       DONNA RAUCH                                                    Check all that apply.
           C/O ROTHSTEIN LAW FIRM, P A                                       Contingent
           DAVID E ROTHSTEIN                                                 Unliquidated
           1312 AUGUSTA ST.                                                  Disputed
           GREENVILLE, SC 29605

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  RAUCH V. OAKTREE MEDICAL CENTRE, PC
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 64      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $11,258.27
s645       DOUBLE DUTCH - MYRTLE BEACH                                    Check all that apply.
           1801 NEW HANOVER MEDICAL PARK DRIVE                               Contingent
           WILMINGTON, NC 28403                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    RENT

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 65      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $4,688.35
s684       DUKE ENERGY - 2942-GR-GV EFT                                   Check all that apply.
           PO BOX 70516                                                      Contingent
           CHARLOTTE, NC 28272-0516                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number    2942
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 66      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $14.86
s683       DUKE ENERGY --0272 M-AND EFT                                   Check all that apply.
           PO BOX 70515                                                      Contingent
           CHARLOTTE, NC 28272-0516                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 67      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $850.72
s685       DUKE ENERGY PROGRESS-4782-ARDEN                                Check all that apply.
           PO BOX 1003                                                       Contingent
           CHARLOTTE, NC 28201                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number    4782
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 68      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $1,754.20
s686       DUKE ENERGY PROGRESS-6321-FLO EFT                              Check all that apply.
           PO BOX 1003                                                       Contingent
           CHARLOTTE, NC 28201-1003                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number    6321
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 69      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $1,092.29
s680       DUKE ENERGY---1408 M-AND EFT                                   Check all that apply.
           PO BOX 70516                                                      Contingent
           CHARLOTTE, NC 28272-0516                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number    1408
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 70      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $221.69
s682       DUKE ENERGY-3267-RICK ERWIN APT EFT                            Check all that apply.
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 71      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $467.14
s681       DUKE ENERGY---6376 GR-GV EFT                                   Check all that apply.
           PO BOX 70516                                                      Contingent
           CHARLOTTE, NC 28272-0516                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 72      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $3,314.51
s687       EASLEY COMB UTILITIES-64622001-BC-ES EF                        Check all that apply.
           PO BOX 619                                                        Contingent
           EASLEY, SC 29641-0619                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number    2001
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 73      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           $21,019.16
s564       ECLINICAL WORKS, LLC (ECW)                                     Check all that apply.
           PO BOX 847950                                                     Contingent
           BOSTON, MA 02284-7950                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    4142
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 74      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $79.35
s688       ELECTRIC CITY UTILITIES CC                                     Check all that apply.
           CITY OF ANDERSON                                                  Contingent
           PO BOX 63061                                                      Unliquidated
           CHARLOTTE, NC 28263                                               Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 75      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $3,591.00
s565       ELECTRODE STORE, THE                                           Check all that apply.
           PO BOX 188                                                        Contingent
           ENUMCLAW, WA 98022                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 76      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $4,445.16
s566       ELLIOTT DAVIS DECOSIMO, LLC-AUDIT                              Check all that apply.
           PO BOX 6286                                                       Contingent
           GREENVILLE, SC 29606-6286                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    ACCOUNTING SERVICES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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3. 77      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $7,100.00
s567       ELLIOTT DAVIS DECOSIMO, LLC-TAX                                Check all that apply.
           PO BOX 6286                                                       Contingent
           GREENVILLE, SC 29606-6286                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    ACCOUNTING SERVICES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 78      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $667.50
s568       EMPLOYMENT SCREENING SERVICES, INC                             Check all that apply.
           DEPT K, PO BOX 830520                                             Contingent
           BIRMINGHAM, AL 35283                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 79      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $60.00
s569       EVER GREEN ENVIROMENTAL, LLC                                   Check all that apply.
           PO BOX 25627                                                      Contingent
           GREENVILLE, SC 29616                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 80      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $4,711.13
s570       EXPERIAN HEALTH, INC.-BILLING                                  Check all that apply.
           PO BOX 886133                                                     Contingent
           LOS ANGELOS, CA 90088-6133                                        Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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3. 81      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           $18,768.75
s571       FAGRON STERILE SERVICES (JCB)                                  Check all that apply.
           8710 E 34TH ST. N                                                 Contingent
           WICHITA, KS 67226                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 82      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $1,025.00
s572       FIBRENEW                                                       Check all that apply.
           117 BOARDWALK RUN                                                 Contingent
           ROCK HILL, SC 29732                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 83      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           $13,485.87
s573       FIRST CITIZENS BANK-VISA                                       Check all that apply.
           PO BOX 63038                                                      Contingent
           CHARLOTTE, NC 28263-3038                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 84      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $7,679.98
s574       FISHER SCIENTIFIC                                              Check all that apply.
           ACCOUNT #038451-001                                               Contingent
           PO BOX 404705                                                     Unliquidated
           ATLANTA, GA 30384-4705                                            Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    8451
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                   Amount of Claim
3. 85      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $11.87
s618       FORETHOUGHT                                                    Check all that apply.
           PO BOX 16500                                                      Contingent
           CLEARWATER, FL 33766-6500                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    PATIENT REFUND

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 86      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                UNKNOWN
s953       FORGIONE                                                       Check all that apply.
           C/O DAVID GOULD                                                   Contingent
           DASH & ASSOCS.                                                    Unliquidated
           ATTN: MOLLY ROWAN                                                 Disputed
           ONE LIBERTY PLAZA, 165 BROADWAY, FL. 23
           NEW YORK, NY 10006
           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  FORGIONE PATIENT COMPLAINT
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 87      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $155.87
s576       GARFIELD SIGNS & GRAPHICS, LLC                                 Check all that apply.
           203 FORD STREET                                                   Contingent
           GREER, SC 29650                                                   Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 88      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $727,931.70
s779       GE HEALTHCARE IITS USA CORP                                    Check all that apply.
           15724 COLLECTIONS CENTER DR                                       Contingent
           CHICAGO, IL 60693                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                    Amount of Claim
3. 89      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $201,943.55
s577       GE HEALTHCARE-CHICAGO (SOFTWARE & TRAININ                      Check all that apply.
           C/O OEC MEDICAL SYSTEMS INC.                                      Contingent
           2984 COLLECTIONS CENTER DR                                        Unliquidated
           CHICAGO, IL 60693                                                 Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    5403
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 90      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $164.99
s619       GEHA                                                           Check all that apply.
           PO BOX 410014                                                     Contingent
           KANSAS CITY, MO 64179-9775                                        Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    PATIENT REFUND

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 91      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 UNKNOWN
s927       GEORGETOWN PHYSICIAN SERVICES LLC                              Check all that apply.
           C/O NELSON MULLINS RILEY & SCARBOROUGH LLP                        Contingent
           SUSAN P MACDONALD                                                 Unliquidated
           PO BOX 3939                                                       Disputed
           MYRTLE BEACH, SC 29578

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  GEORGETOWN PHYSICIAN SERVICES V. SNODERLY
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 92      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $1,626.73
s575       G-FIVE, INC.                                                   Check all that apply.
           297-H GARLINGTON RD                                               Contingent
           GREENVILLE, SC 29615                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 93      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $7,460.00
s646       GREAT HERON - W COLUMBIA EFT                                   Check all that apply.
           FRANK HAHNE                                                       Contingent
           208 BARNACLE CIRCLE                                               Unliquidated
           LEXINGTON, SC 29072                                               Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    RENT

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 94      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $7,952.25
s578       GREENVILLE OFFICE SUPPLY (GOS)                                 Check all that apply.
           PO BOX 3358                                                       Contingent
           GREENVILLE, SC 29602                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 95      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $28.94
s689       GREENVILLE WATER- RICK ERWIN APT- CC                           Check all that apply.
           PO BOX 687                                                        Contingent
           GREENVILLE, SC 29602-0687                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 96      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $211.83
s690       GREENVILLE WATER SYSTEM-5250-GR-GV CC                          Check all that apply.
           PO BOX 687                                                        Contingent
           GREENVILLE, SC 29602-0687                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number    5250
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 97      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $6.78
s691       GREENVILLE WATER SYSTEM-5252- GR-GV CC                         Check all that apply.
           PO BOX 687                                                        Contingent
           GREENVILLE, SC 29602-0687                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number    5252
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 98      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:          $151,047.42
s647       GROVE 1005 - GROVE RD GREENVILLE                               Check all that apply.
           25 AIRPARK COURT                                                  Contingent
           GREENVILLE, SC 29607                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    RENT

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 99      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $5,906.09
s579       HALYARD SALES, LLC (AVANOS)                                    Check all that apply.
           PO BOX 732583                                                     Contingent
           DALLAS, TX 75373-2583                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 100     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $200.00
s580       HATCHELL LANDSCAPE-FLO                                         Check all that apply.
           PO BOX 5320                                                       Contingent
           FLORENCE, SC 29502                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 101     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           $65,930.06
s581       HENRY SCHEIN- 4636 - EFT                                       Check all that apply.
           PO BOX 371952                                                     Contingent
           PITTSBURG, PA 15250-7952                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    4636
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 102     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $217.04
s780       HERALD 16297 (FLORENCE)                                        Check all that apply.
           PO BOX 1288                                                       Contingent
           DILLON, SC 29536                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    0001
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 103     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           $12,377.66
s648       HIGHLAND CENTER DRIVE-COLUMBIA                                 Check all that apply.
           C/O TRINITY PARTNERS MANAGEMENT - AR                              Contingent
           440 S CHURCH ST, STE 800                                          Unliquidated
           CHARLOTTE, NC 28202                                               Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    RENT

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 104     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $299.79
s620       HUMANA GOLD CHOICE                                             Check all that apply.
           PO BOX 14601                                                      Contingent
           LEXINGTON, KY 40512-4601                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    PATIENT REFUND

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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3. 105     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:        $1,034,223.00
s585       HURON CONSULTING SERVICES, LLC (DEFERRED)                      Check all that apply.
           4795 PAYSPHERE CIRCLE                                             Contingent
           CHICAGO, IL 60674                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    CONSULTING

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 106     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           $49,367.00
s584       HURON CONSULTING SERVICES, LLC                                 Check all that apply.
           4795 PAYSPHERE CIRCLE                                             Contingent
           CHICAGO, IL 60674                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    CONSULTING

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 107     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:          $150,000.00
s586       IMAGING SOLUTIONS, INC.                                        Check all that apply.
           3223 32ND AVE S, STE 201                                          Contingent
           FARGO, ND 58103-6278                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    LITIGATION JUDGMENT

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 108     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $4,865.40
s587       IMCS INTEGRATED MICRO-CHROMATOGRAPHY SYST                      Check all that apply.
           110 CENTRUM DRIVE                                                 Contingent
           IRMO, SC 29063                                                    Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 109     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:          $274,076.00
s649       INFINITY ENTERPRISES - FLORENCE                                Check all that apply.
           C/O DR DEAN BANKS                                                 Contingent
           9303 VENEZIA CIRCLE                                               Unliquidated
           MYRTLE BEACH, SC 29579                                            Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    RENT

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 110     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $1,800.00
s589       INTEGRA PAIN MANAGEMENT                                        Check all that apply.
           PO BOX 100416                                                     Contingent
           ATLANTA, GA 30384                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 111     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $5,100.00
s782       ION TECHNOLOGY SUPPORT INC                                     Check all that apply.
           1204 COPELAND OAKS DRIVE                                          Contingent
           MORRISVILLE, NC 27560                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 112     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $315.04
s590       IRON MOUNTAIN - SC77X                                          Check all that apply.
           PO BOX 27128                                                      Contingent
           NEW YORK, NY 10087-7128                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 113     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $290.54
s591       IRON MOUNTAIN - SC826-SHRED (SUMTER)                           Check all that apply.
           PO BOX 27128                                                      Contingent
           NEW YORK, NY 10087                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 114     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $1,134.02
s592       IRON MOUNTAIN - SR995-STORAGE                                  Check all that apply.
           PO BOX 27128                                                      Contingent
           NEW YORK, NY 10087-7128                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 115     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $7,000.00
s787       JAMES EARLE`S CLEANING SERVICE(1099)                           Check all that apply.
           PO BOX 251                                                        Contingent
           SANDY SPRINGS, SC 29677                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 116     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $520.56
s593       JANT PHARMACAL                                                 Check all that apply.
           16530 VENTURA BLVD                                                Contingent
           SUITE 512                                                         Unliquidated
           ENCINO, CA 91436                                                  Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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3. 117     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $749.73
s594       JOHNSON CONTROLS SECURITY SOLUTIONS                            Check all that apply.
           PO BOX 371967                                                     Contingent
           PITTSBURGH, PA 15250-7967                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 118     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           $1,867,873.44
s595       JONES DAY                                                      Check all that apply.
           1420 PEACHTREE STREET, N E , SUITE 800                            Contingent
           ATLANTA, GA 30309                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    LEGAL SERVICES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 119     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              UNKNOWN
s929       KONIG PM LLC                                                   Check all that apply.
           C/O DUNLAEVY LAW FIRM                                             Contingent
           JEFFREY P DUNLAEVY                                                Unliquidated
           37 VILLA RD , STE 440                                             Disputed
           GREENVILLE, SC 29615

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  LECHE V. EMERGENCYMD LLC
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 120     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $5,453.58
s596       KUDZU STAFFING, INC.                                           Check all that apply.
           PO BOX 51627                                                      Contingent
           POWDERSVILLE, SC 29673                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                         Amount of Claim
3. 121     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                      $1,931.86
s597       LABTECH DIAGNOSTICS                                            Check all that apply.
           1502 E GREENVILLE STREET                                          Contingent
           ANDERSON, SC 29621                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 122     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                      $7,817.54
s583       LINCOLN NATIONAL LIFE-DENTAL                                   Check all that apply.
           PO BOX 0821                                                       Contingent
           CAROL STREAM, IL 60132                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    7420
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 123     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                      $2,340.00
s598       LIPOMED                                                        Check all that apply.
           150 CAMBRIDGE PARK DRIVE                                          Contingent
           SUITE 705                                                         Unliquidated
           CAMBRIDGE, MA 02140                                               Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 124     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    UNKNOWN
s930       LUCIOUS DANA SAPP                                              Check all that apply.
           C/O PARHAM SMITH & ARCHENHOLD, LLC                                Contingent
           ASHLEE EDWARDS WINKLER                                            Unliquidated
           15 WASHINGTON PARK                                                Disputed
           GREENVILLE, SC 29601

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  SAPP V. FIRSTCHOICE HEALTHCARE, PC
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                Amount of Claim
3. 125     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $8,106.00
s650       LUTHERAN SERVICES - ARDEN, NC                                  Check all that apply.
           ATTN: KIRBY NICKERSON                                             Contingent
           PO BOX 947                                                        Unliquidated
           SALISBURY, NC 28145                                               Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    RENT

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 126     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $8,138.00
s599       MAG MUTUAL INSURANCE AGENCY, LLC                               Check all that apply.
           PO BOX 52979                                                      Contingent
           ATLANTA, GA 30355-0979                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 127     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $12.64
s356       MAGNACARE                                                      Check all that apply.
           PO BOX 1001                                                       Contingent
           GARDEN CITY, NY 11530                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 128     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                      $2.13
s600       MARION DAVIS INC.                                              Check all that apply.
           PO BOX 2429                                                       Contingent
           EASLEY, SC 29641-2429                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                         Amount of Claim
3. 129     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    UNKNOWN
s931       MARLENE SAPP                                                   Check all that apply.
           C/O PARHAM SMITH & ARCHENHOLD, LLC                                Contingent
           ASHLEE EDWARDS WINKLER                                            Unliquidated
           15 WASHINGTON PARK                                                Disputed
           GREENVILLE, SC 29601

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  SAPP V. FIRSTCHOICE HEALTHCARE, PC
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 130     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $49,533.68
s651       MARY BLACK HEALTH - SPARTANBURG                                Check all that apply.
           SRHS-ACCOUNTING                                                   Contingent
           ATTN: DANA HORTON                                                 Unliquidated
           SPARTANBURG, SC 29303                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    RENT

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 131     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $50,725.00
s601       MCGUIREWOODS LLP                                               Check all that apply.
           ATTN: ACCOUNTS RECEIVABLE                                         Contingent
           800 E CANAL STREET                                                Unliquidated
           RICHMOND, VA 23219-3916                                           Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    LEGAL SERVICES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 132     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $847.91
s602       MCKESSON MEDICAL-SURGICAL                                      Check all that apply.
           PO BOX 634404                                                     Contingent
           CINCINNATI, OH 45263-4404                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    6784
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                Amount of Claim
3. 133     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $2,942.50
s783       MEDICAL LABORATORY SOLUTIONS, INC.                             Check all that apply.
           270 RUTLEDGE RD, STE D                                            Contingent
           FLETCHER, NC 28732                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 134     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $276.77
s357       MEDIPLUS                                                       Check all that apply.
           PO BOX 9126                                                       Contingent
           DES MOINES, IA 50306                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 135     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $37,335.36
s603       MEDTRONIC INC. USA                                             Check all that apply.
           PO BOX 409201                                                     Contingent
           ATLANTA, GA 30384-9201                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 136     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $125.00
s604       MP COMPUTER SYSTEMS INC                                        Check all that apply.
           PO BOX 5752                                                       Contingent
           FLORENCE, SC 29502                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                      Amount of Claim
3. 137     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $306.58
s624       MSA CARE GUARD                                                 Check all that apply.
           PO BOX 827                                                        Contingent
           BURLINGTON, MA 01803                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    PATIENT REFUND

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 138     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  UNKNOWN
s932       MURIEL CALHOUN                                                 Check all that apply.
           C/O BLUESTEIN THOMPSON SULLIVAN, LLC                              Contingent
           ALLISON PAIGE SULLIVAN                                            Unliquidated
           PO BOX 7965                                                       Disputed
           COLUMBIA, SC 29202

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  UNITED STATES V. OAKTREE MEDICAL CENTRE, PC
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 139     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $1,920.00
s605       MY WEB NINJA LLC                                               Check all that apply.
           400 W LEGION BLVD                                                 Contingent
           OWENSBORO, KY 42303                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 140     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $166.06
s358       NALC - CIGNA                                                   Check all that apply.
           PO BOX 188004                                                     Contingent
           CHATTANOOGA, TN 37422                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 141     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $7,507.50
s606       NELSON MULLINS RILEY&SCARBOROUGH LLP EFT                       Check all that apply.
           104 SOUTH MAIN STREET                                             Contingent
           NINTH FLOOR                                                       Unliquidated
           GREENVILLE, SC 29601                                              Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    LEGAL SERVICES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 142     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           UNKNOWN
s951       NORMA LEE WILSON                                               Check all that apply.
           C/O GEORGE BROWN                                                  Contingent
           LOWE YEAGER & BROWN PLCC                                          Unliquidated
           900 S. GAY ST., STE. 2102                                         Disputed
           KNOXVILLE, TN 37902

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  WILSON V. LOWE
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 143     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           $22,579.09
s607       OGLETREE DEAKINS                                               Check all that apply.
           PO BOX 89                                                         Contingent
           COLUMBIA, SC 29202                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    LEGAL SERVICES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 144     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $6,124.80
s608       OTIS ELEVATOR COMPANY                                          Check all that apply.
           PO BOX 73579                                                      Contingent
           CHICAGO, IL 60673                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    1644
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 145     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $4,722.31
s625       PALMETTO GBA/MEDICARE - SC                                     Check all that apply.
           FINANCE & ACCOUNTING                                              Contingent
           PO BOX 100246                                                     Unliquidated
           COLUMBIA, SC 29202-3280                                           Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    PATIENT REFUND

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 146     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $549.16
s627       PERMA                                                          Check all that apply.
           PO BOX 183188                                                     Contingent
           COLUMBUS, OH 43218                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    PATIENT REFUND

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 147     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $3,943.34
s609       PHENOMENEX                                                     Check all that apply.
           411 MADRID AVENUE                                                 Contingent
           TORRANCE, CA 90501-1430                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 148     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $131.82
s692       PIEDMONT NATURAL GAS-7002-ANDERSON EFT                         Check all that apply.
           PO BOX 1246                                                       Contingent
           CHARLOTTE, NC 28201-1246                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                Amount of Claim
3. 149     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $10,302.72
s628       PIONEER CREDIT RECOVERY                                        Check all that apply.
           PO BOX 979113                                                     Contingent
           SAINT LOUIS, MO 63197-9000                                        Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    PATIENT REFUND

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 150     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $1,131.26
s610       PLATINUM CODE                                                  Check all that apply.
           8095 215TH STREET W                                               Contingent
           LAKEVILLE, MN 55044                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 151     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                      $1.91
s359       PLUMBERS AND PIPEFITTERS                                       Check all that apply.
           PO BOX 840                                                        Contingent
           MACON, GA 31202                                                   Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 152     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $85.86
s611       PMD - LAKESIDE                                                 Check all that apply.
           209 DEPOT STREET                                                  Contingent
           SUITE B                                                           Unliquidated
           GREER, SC 29651                                                   Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                Amount of Claim
3. 153     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                      $8.73
s360       POMCO                                                          Check all that apply.
           PO BOX 118                                                        Contingent
           SYRACUSE, NY 13206                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 154     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $5,852.25
s632       PRACTICE DIAGNOSTIC SYSTEMS, LLC (PDS)                         Check all that apply.
           PRACTICAL DATA SOLUTIONS                                          Contingent
           33 BULLET HILL RD                                                 Unliquidated
           SOUTHBURY, CT 06488                                               Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 155     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $3,347.46
s633       PRAXAIR, INC - 76578884-EQUIP LEASE                            Check all that apply.
           PO BOX 120812 DEPT 0812                                           Contingent
           DALLAS, TX 75312-0812                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    8884
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 156     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $38.92
s634       PRAXAIR, INC. - 71713891 SHARE LS                              Check all that apply.
           PO BOX 120812 DEPT 0812                                           Contingent
           DALLAS, TX 75312-0812                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    3891
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 157     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $723.74
s784       PRINTTEK                                                       Check all that apply.
           57 BATESVILLE COURT                                               Contingent
           GREER, SC 29650                                                   Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 158     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $255.00
s636       PRIORITY ONE SECURITY-GROVE                                    Check all that apply.
           PO BOX 602577                                                     Contingent
           CHARLOTTE, NC 28260-2577                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 159     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $8,787.28
s785       PURCHASE POWER - 0962-0380 CORP EFT                            Check all that apply.
           PO BOX 371874                                                     Contingent
           PITTSBURGH, PA 15250-7874                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    0380
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 160     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $117.70
s637       PYE-BARKER FIRE AND SAFETY LLC                                 Check all that apply.
           PO BOX 69                                                         Contingent
           ROSEWELL, GA 30077                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                Amount of Claim
3. 161     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                      $0.13
s361       QUALCARE, INC                                                  Check all that apply.
           PO BOX 249                                                        Contingent
           PISCATAWAY, NJ 08855-0241                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 162     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $1,231.32
s786       QUARTZY, INC.                                                  Check all that apply.
           DEPT 3895                                                         Contingent
           PO BOX 123895                                                     Unliquidated
           DALLAS, TX 75312-3895                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 163     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $181.27
s642       READYREFRESH BY NESTLE                                         Check all that apply.
           PO BOX 856192                                                     Contingent
           LOUISVILLE, KY 40285-6192                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 164     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $75.00
s640       REFLECTIONS MAINTENANCE SERVICES INC                           Check all that apply.
           PO BOX 2105                                                       Contingent
           LEICESTER, NC 28748                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                      Amount of Claim
3. 165     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $477.73
s638       REGISTERED AGENT SOLUTIONS INC                                 Check all that apply.
           1701 DIRECTORS BLVD                                               Contingent
           SUITE 300                                                         Unliquidated
           AUSTIN, TX 78744                                                  Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    2695
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 166     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $25,000.00
s653       RMG - OSTEOARTHRITIS CENTERS OF AMER                           Check all that apply.
           OSTEOARTHRITIS CENTERS OF AMERICA                                 Contingent
           1937 WEST PALMETTO ST.                                            Unliquidated
           FLORENCE, SC 29501                                                Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 167     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  UNKNOWN
s933       ROBERT MATHEWSON                                               Check all that apply.
           C/O LOUTHIAN LAW FIRM, P A                                        Contingent
           HERBERT W LOUTHIAN, JR                                            Unliquidated
           PO BOX 1299                                                       Disputed
           COLUMBIA, SC 29202

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  UNITED STATES V. OAKTREE MEDICAL CENTRE, PC
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 168     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $6,650.00
s652       ROBERTS DEVELOPMENT - ANDERSON                                 Check all that apply.
           PO BOX 393                                                        Contingent
           ANDERSON, SC 29622                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    RENT

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 169     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             Unknown
s788       ROBINSON BRADSHAW & HINSON, P A                                Check all that apply.
           101 N TRYON STREET                                                Contingent
           SUITE 1900                                                        Unliquidated
           CHARLOTTE, NC 28246                                               Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    LEGAL SERVICES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 170     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $3,950.00
s641       ROJAS LANDSCAPING, LLC (1099)                                  Check all that apply.
           228 OLD CEDAR ROCK RD                                             Contingent
           EASLEY, SC 29640                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 171     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $2,526.57
s654       SAFETY-KLEEN SYSTEMS, INC.                                     Check all that apply.
           PO BOX 650509                                                     Contingent
           DALLAS, TX 75265-0509                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    5078
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 172     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $772.11
s693       SANTEE COOPER-393782 EFT                                       Check all that apply.
           PO BOX 188                                                        Contingent
           MONCKS CORNER, SC 29461-0188                                      Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number    0000
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 173     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $450.00
s655       SC DEPARTMENT OF HEALTH & ENVIRONMENTAL                        Check all that apply.
           PO BOX 100103                                                     Contingent
           COLUMBIA, SC 29202-3103                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 174     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $100.00
s656       SCRUB SHOP, THE                                                Check all that apply.
           1000 N PINE ST #4                                                 Contingent
           SPARTANBURG, SC 29303                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 175     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $437.00
s657       SE CONSTRUCTION, LLC                                           Check all that apply.
           PO BOX 428                                                        Contingent
           PIEDMONT, SC 29673                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 176     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $210.00
s658       SECURITY CENTRAL                                               Check all that apply.
           PO BOX 602371                                                     Contingent
           CHARLOTTE, NC 28260-2371                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    0060
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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3. 177     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $1,112.00
s659       SELECT LABORATORY - SC                                         Check all that apply.
           PO BOX 13030                                                      Contingent
           GREENSBORO, NC 27415                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 178     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $1,423.38
s362       SFM RISK SOLUTIONS                                             Check all that apply.
           PO BOX 9416                                                       Contingent
           MINNEAPOLIS, MN 55440                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 179     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $3,335.80
s660       SHAUL LAW                                                      Check all that apply.
           3330 CUMBERLAND BLVD SE                                           Contingent
           SUITE 925                                                         Unliquidated
           ATLANTA, GA 30339                                                 Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 180     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $180.00
s662       SHRED A WAY - 25H-ARD                                          Check all that apply.
           PO BOX 161732                                                     Contingent
           BOILING SPRINGS, SC 29316                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 181     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $100.00
s663       SHRED A WAY - S-SP                                             Check all that apply.
           PO BOX 161732                                                     Contingent
           BOILING SPRINGS, SC 29307                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 182     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $2,648.00
s661       SHRED A WAY-OMC& ALL                                           Check all that apply.
           PO BOX 51132                                                      Contingent
           PIEDMONT, SC 29673                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 183     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $613.73
s664       SHRED IT                                                       Check all that apply.
           28883 NETWORK PLACE                                               Contingent
           CHICAGO, IL 60673                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 184     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $704.70
s665       SHUR SHRED                                                     Check all that apply.
           PO BOX 6776                                                       Contingent
           FLORENCE, SC 29502                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                Amount of Claim
3. 185     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $49,986.86
s666       SMITH JORDAN & LAVERY PA 18-0329E                              Check all that apply.
           PO BOX 1207                                                       Contingent
           EASLEY, SC 29641                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    LEGAL SERVICES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 186     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                      $3.32
s667       SMITH, JORDAN & LAVERY, PA                                     Check all that apply.
           ATTN: GRADY JORDAN                                                Contingent
           PO BOX 1207                                                       Unliquidated
           EASLEY, SC 29641                                                  Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 187     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $39.57
s363       SOUTHERN GUARANTY INS COMPANY                                  Check all that apply.
           PO BOX 14770                                                      Contingent
           LEXINGTON, KY 40512-4000                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 188     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $1,371.78
s364       SPECIAL FUNDS                                                  Check all that apply.
           60 E 42ND ST                                                      Contingent
           NEW YORK, NY 10165-2799                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 189     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $157.35
s668       SPECTRIO                                                       Check all that apply.
           PO BOX 890271                                                     Contingent
           CHARLOTTE, NC 28289-0271                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 190     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $1,888.29
s694       SPECTRUM BUSINES - MAIN CONTROL ACCOUNT                        Check all that apply.
           PO BOX 742614                                                     Contingent
           CINCINNATI, OH 45274-2614                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 191     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $399.00
s696       SPECTRUM BUSINESS -GROVE - 2319 EFT                            Check all that apply.
           PO BOX 742614                                                     Contingent
           CINCINNATI, OH 45274                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 192     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $3,265.36
s695       SPECTRUM BUSINESS- MAIN CONTROL 1901                           Check all that apply.
           PO BOX 70872                                                      Contingent
           CHARLOTTE, NC 28272-0872                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number    1901
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                        Amount of Claim
3. 193     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $108.00
s669       STANFORD DOSIMETRY LLC                                         Check all that apply.
           1204 RAYMOND ST.                                                  Contingent
           BELLINGHAM, WA 98229                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 194     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $180.64
s789       STAPLES BUSINESS ADVANTAGE                                     Check all that apply.
           PO BOX 105638                                                     Contingent
           ATLANTA, GA 30348-5638                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 195     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     UNKNOWN
s934       STATE OF GEORGIA EX REL TERRI NIX                              Check all that apply.
           C/O OFFICE OF THE ATTORNEY GENERAL                                Contingent
           SARA ELIZABETH VANN                                               Unliquidated
           GEORGIA MEDICAID FRAUD CONTROL UNIT                               Disputed
           200 PIEDMONT AVE. SE, WEST TOWER, FL 19
           ATLANTA, GA 30334
           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  UNITED STATES V. UNITED BIOLOGICS, LLC D.B.A. UNITED
           Last 4 digts of account number                                                         ALLERGY SERVICES F.K.A. UNITED ALLERGY LABS
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 196     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     UNKNOWN
s935       STEPHANIE WEBB                                                 Check all that apply.
           C/O RICHARDSON PLOWDEN & ROBINSON, P A                            Contingent
           C CLIFFORD ROLLINS                                                Unliquidated
           PO BOX 7788                                                       Disputed
           COLUMBIA, SC 29202

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  WEBB V. OAKTREE MEDICAL CENTRE, PC
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 197     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $197.38
s670       STERICYCLE INC-8270496                                         Check all that apply.
           PO BOX 6582                                                       Contingent
           CAROL STREAM, IL 60197-6582                                       Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    0496
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 198     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $3,490.69
s671       STERICYCLE INC-8290165                                         Check all that apply.
           PO BOX 6582                                                       Contingent
           CAROL STREAM, IL 60197-6582                                       Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    0165
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 199     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $170.00
s790       STONE`S PEST SERVICES, LLC                                     Check all that apply.
           PO BOX 13443                                                      Contingent
           FLORENCE, SC 29504                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    1041
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 200     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $2,828.41
s672       STRYKER SALES CORP (CACTUS)                                    Check all that apply.
           PO BOX 70119                                                      Contingent
           CHICAGO, IL 60673-0119                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                        Amount of Claim
3. 201     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     UNKNOWN
s936       TERRI NIX                                                      Check all that apply.
           C/O BRACKER & MARCUS LLC                                          Contingent
           JASON MARCUS                                                      Unliquidated
           3225 SHALLOWFORD RD , STE 1120                                    Disputed
           MARIETTA, GA 30062

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  UNITED STATES V. UNITED BIOLOGICS, LLC D.B.A. UNITED
           Last 4 digts of account number                                                         ALLERGY SERVICES F.K.A. UNITED ALLERGY LABS
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 202     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $292.75
s781       THE BENEFIT COMPANY, INC.                                      Check all that apply.
           PO BOX 211486                                                     Contingent
           COLUMBIA, SC 29221                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 203     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $400.86
s365       THRIVENT                                                       Check all that apply.
           PO BOX 14057                                                      Contingent
           CLEARWATER, FL 33766                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 204     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $303.90
s697       TIME WARNER - HIGHLAND EFT                                     Check all that apply.
           PO BOX 70872                                                      Contingent
           CHARLOTTE, NC 28272-0872                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number    -001
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                      Amount of Claim
3. 205     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $4,989.13
s673       TOTAL MEDICAL EQUIPMENT SALES INC                              Check all that apply.
           KYLE BLACKWELL                                                    Contingent
           3000 OLD ALABAMA RD 119-110                                       Unliquidated
           ALPHARETTA, GA 30022                                              Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 206     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $135.23
s698       TOWN OF WAYNESVILLE CC                                         Check all that apply.
           9 S MAIN STREET                                                   Contingent
           SUITE 110                                                         Unliquidated
           WAYNESVILLE, NC 28786                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 207     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  UNKNOWN
s937       TRACY HAWKINS                                                  Check all that apply.
           C/O KASSEL MCVEY                                                  Contingent
           JOHN D KASSEL                                                     Unliquidated
           PO BOX 1476                                                       Disputed
           COLUMBIA, SC 29202

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  UNITED STATES V. OAKTREE MEDICAL CENTRE, PC
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 208     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $2,313.75
s674       TRANSMED CO, LLC                                               Check all that apply.
           DRUG TESTING & LABORATORY SUPPLIES                                Contingent
           1595 PEACHTREE PKWY, SUITE 204-350                                Unliquidated
           CUMMING, GA 30041                                                 Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                      Amount of Claim
3. 209     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $101.15
s629       TRAVELERS INS PROPERTY CASUALTY                                Check all that apply.
           PO BOX 4614                                                       Contingent
           BUFFALO, NY 14240                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    PATIENT REFUND

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 210     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $979.50
s707       ULINE                                                          Check all that apply.
           ACCOUNTS RECEIVABLE                                               Contingent
           PO BOX 88741                                                      Unliquidated
           CHICAGO, IL 60680-1741                                            Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number    3101
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 211     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $574.93
s708       UNIFORM ADVANTAGE                                              Check all that apply.
           ATTN: ACCOUNTS RECEIVABLE                                         Contingent
           PO BOX 14190                                                      Unliquidated
           FORT LAUDERDALE, FL 33302                                         Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 212     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  UNKNOWN
s938       UNITED STATES OF AMERICA EX REL DONNA RAUCH                    Check all that apply.
           C/O OFFICES OF THE U S ATTORNEYS                                  Contingent
           ELIZABETH C WARREN                                                Unliquidated
           MURIEL CALHOUN, AND BRANDY KNIGHT                                 Disputed
           1441 MAIN ST., STE 500
           COLUMBIA, SC 29201
           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  UNITED STATES V. OAKTREE MEDICAL CENTRE, PC
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                        Amount of Claim
3. 213     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     UNKNOWN
s939       UNITED STATES OF AMERICA EX REL ROBERT MATHEWSON               Check all that apply.
           C/O OFFICES OF THE U S ATTORNEYS                                  Contingent
           ELIZABETH C WARREN                                                Unliquidated
           1441 MAIN ST., STE 500                                            Disputed
           COLUMBIA, SC 29201

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  UNITED STATES V. OAKTREE MEDICAL CENTRE, PC
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 214     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     UNKNOWN
s940       UNITED STATES OF AMERICA EX REL TERRI NIX                      Check all that apply.
           C/O OFFICE OF THE U S ATTORNEY—ATL600                             Contingent
           NEELI BEN–DAVID, NORTHERN DISTRICT OF GA                          Unliquidated
           600 U S COURTHOUSE, 75 TED TURNER DR SW                           Disputed
           ATLANTA, GA 30303

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  UNITED STATES V. UNITED BIOLOGICS, LLC D.B.A. UNITED
           Last 4 digts of account number                                                         ALLERGY SERVICES F.K.A. UNITED ALLERGY LABS
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 215     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     UNKNOWN
s941       UNITED STATES OF AMERICA EX REL TRACY HAWKINS                  Check all that apply.
           C/O OFFICES OF THE U S ATTORNEYS                                  Contingent
           ELIZABETH C WARREN                                                Unliquidated
           1441 MAIN ST., STE 500                                            Disputed
           COLUMBIA, SC 29201

           Date or dates debt was incurred                                Basis for the claim:    LITIGATION
                                                                                                  UNITED STATES V. OAKTREE MEDICAL CENTRE, PC
           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 216     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                        $450.00
s709       UPSTATE EXTERMINATING & PEST CONTROL, INC                      Check all that apply.
           324 OUR ROAD                                                      Contingent
           PICKENS, SC 29671                                                 Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 217     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           $19,530.00
s710       US COMPOUNDING                                                 Check all that apply.
           1270 DON`S LANE                                                   Contingent
           CONWAY, AR 72032                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 218     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $1,408.63
s699       VERIZON WIRELESS-9782-00001 EFT                                Check all that apply.
           PO BOX 660108                                                     Contingent
           DALLAS, TX 75266-0108                                             Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number    0001
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 219     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           $10,397.27
s711       V-SOFT CONSULTING GROUP, INC                                   Check all that apply.
           101 BULLITT LN, STE 205                                           Contingent
           LOUISVILLE, KY 40222                                              Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 220     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $336.78
s700       WASTE INDUSTRIES - 3843-GR-GV EFT                              Check all that apply.
           PO BOX 791519                                                     Contingent
           BALTIMORE, MD 21279-1519                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number    3843
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 221     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $149.60
s701       WASTE MANAGEMENT- ARDEN - EFT                                  Check all that apply.
           PO BOX 4648                                                       Contingent
           CAROL STREAM, IL 60197                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 222     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $506.24
s702       WASTE MANAGEMENT- BC-ES - EFT                                  Check all that apply.
           PO BOX 4648                                                       Contingent
           CAROL STREAM, IL 60197-4648                                       Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number    1054
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 223     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $187.15
s703       WASTE MANAGEMENT- L-FLO - EFT                                  Check all that apply.
           PO BOX 4648                                                       Contingent
           CAROL STREAM, IL 60197-4648                                       Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number    72-0
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 224     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $217.78
s704       WASTE MANAGEMENT- M-AND - EFT                                  Check all that apply.
           PO BOX 4648                                                       Contingent
           CAROL STREAM, IL 60197-4648                                       Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                Amount of Claim
3. 225     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $254.07
s705       WASTE MANAGEMENT-W COL - EFT                                   Check all that apply.
           PO BOX 4648                                                       Contingent
           CAROL STREAM, IL 60197-4648                                       Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 226     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $55.33
s366       WC BUNCH & ASSOCIATES                                          Check all that apply.
           PO BOX 32037                                                      Contingent
           LAKELAND, FL 33802-2002                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 227     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $329.46
s367       WC STATE OF CONNECTICUT                                        Check all that apply.
           55 ELM ST                                                         Contingent
           HARTFORD, CT 06106-1746                                           Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 228     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $751.86
s368       WCO BROADSPIRE/MEDCOR - WCO                                    Check all that apply.
           PO BOX 14645                                                      Contingent
           LEXINGTON, KY 40512                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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3. 229     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $0.02
s369       WCO CONNECTICUT INTERLOCAL RISK MANAGEMENT A                   Check all that apply.
           PO BOX 9558                                                       Contingent
           NEW HAVEN, CT 06535-0558                                          Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 230     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $2,071.59
s370       WCO GALLAGHER BASSETT SERVICES                                 Check all that apply.
           PO BOX 2831                                                       Contingent
           CLINTON, IA 52733-2801                                            Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 231     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $761.68
s371       WCO MEDIVEST                                                   Check all that apply.
           2100 ALAFAYA TRL                                                  Contingent
           OVIEDO, FL 32765                                                  Unliquidated
                                                                             Disputed


           Date or dates debt was incurred                                Basis for the claim:    CUSTOMER CREDIT BALANCE

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 232     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $750.00
s712       WESLEY JANITORIAL SERVICE LLC                                  Check all that apply.
           PO BOX 3553                                                       Contingent
           COLUMBIA, SC 29230                                                Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 233     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $393.46
s706       WINDSTREAM - 1517 EFT                                          Check all that apply.
           PO BOX 9001950                                                    Contingent
           LOUISVILLE, KY 40290-1950                                         Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    UTILITIES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 234     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           $80,000.00
s714       XACT DATA DISCOVERY                                            Check all that apply.
           DBA XACT DATA DISCOVERY                                           Contingent
           5800 FOXRIDGE DR, STE 406                                         Unliquidated
           MISSION, KS 66202                                                 Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 235     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $1,250.00
s713       X-RAY COMPLIANCE SOLUTION, LLC                                 Check all that apply.
           2080 OWENS RD                                                     Contingent
           LEESVILLE, SC 29070                                               Unliquidated
                                                                             Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes


3. 236     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $125.00
s715       YORK X-RAY--M498 - ANDERSON                                    Check all that apply.
           PO BOX 326                                                        Contingent
           20 HAMPTON ROAD                                                   Unliquidated
           LYMAN, SC 29365                                                   Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Amount of Claim
3. 237     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:             $1,554.48
s716       YORK X-RAY--M568 WEST COLUMBIA                                 Check all that apply.
           PO BOX 326                                                        Contingent
           20 HAMPTON RD                                                     Unliquidated
           LYMAN, SC 29365                                                   Disputed


           Date or dates debt was incurred   Various                      Basis for the claim:    TRADE PAYABLES

           Last 4 digts of account number
                                                                          Is the claim subject to offset?
                                                                               No
                                                                               Yes




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Part 3:      List Others to Be Notified About Unsecured Claims
List in alphabetical order any others who must be notified for claims already listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy this page.

    Name and address                                                                                     On which line in Part 1 or Part 2 did           Last 4 digts of account
                                                                                                         you enter the related creditor?                 number for this entity
     BLAKE LECHE                                                                                         s955
     109 WAVERLY HALL LN
     SIMPSONVILLE, SC 29681

     DAVID BRUCE COFFEY                                                                                  s923
     261 UNDERPASS DR.
     ONEIDA, TN 37841-5885

     GEORGETOWN PHYSICIAN SERVICES, LLC                                                                  s927
     NELSON MULLINS RILEY & SCARBOROUGH LLP
     C/O THOMAS F. MORAN
     3751 ROBERT GRISSOM PKY., FL. 3
     MYRTLE BEACH, SC 29577

     IMAGING SOLUTIONS HEALTHCARE LLC                                                                    s586
     ANDERSON, BOTTRELL, SANDEN & THOMPSON
     C/O MICHAEL J. HOFER
     5257 27TH ST. S., STE. 101
     FARGO, ND 58104

     IMAGING SOLUTIONS HEALTHCARE LLC                                                                    s586
     C/O ANDERSON, BOTTRELL, SANDEN & THOMPSON
     DAVID J HAUFF
     PO BOX 10247
     FARGO, ND 58104

     KONIG PM LLC                                                                                        s929
     C/O BLAKE LECHE
     109 WAVERLY HALL LN.
     SIMPSONVILLE, SC 29681




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Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                   Total of Claim Amounts



5a. Total Claims from Part 1                                                         5a.                   $2,692,466.17
                                                                                               ____________________________




                                                                                                           $5,686,312.31
5b. Total Claims from Part 2                                                         5b.   +   ____________________________
                                                                                                        PLUS UNKNOWN




5c. Total of Parts 1 and 2                                                           5c.                   $8,378,778.48
                                                                                               ____________________________
    Lines 5a + 5b = 5c.                                                                                 PLUS UNKNOWN




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  Fill in this information to identify the case:
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  Debtor name Oaktree Medical Centre, P.C.

  United States Bankruptcy Court for the:      Western                        District of   N Carolina
                                                                                            (State of)
  Case Number (if known):                                                       Chapter     7                                    Check if this is an
                                                                                                                                 amended filing

Official Form 206G
SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                                                                              12/15

  Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.
  1. Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the court with the debtor’s other schedules.
       Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
       (Official Form 206A/B).

2. List all contracts and unexpired leases                                                          State the name and mailing address for all
                                                                                                    other parties with whom the debtor has an
                                                                                                    executory contract or unexpired lease
           State what the contract or     EMPLOYMENT AGREEMENT -                                    ABHAY PATEL
2. 1       lease is for and the nature                                                              9 NEW ALTAMONT TERRACE
                                          DOCTOR OF CHIROPRACTOR (DC)
           of the debtor’s interest                                                                 GREENVILLE, SC 29609

           State the term remaining       UNKNOWN
          List the contract number of
          any government contract


           State what the contract or     WORKERS COMPENSATION                                      ACCIDENT FUND (WORKERS COMPENSATION)
2. 2       lease is for and the nature                                                              INSURANCE COMPANY OF AMERICA
                                          INSURANCE POLICY
           of the debtor’s interest                                                                 PO BOX, MI 48901-7990
                                          (ALL COMPANIES)
           State the term remaining
          List the contract number of
          any government contract


           State what the contract or     STAFFING AGENCY - AGREEMENT                               ACCOUNTEMPS - ROBERT HALF
2. 3       lease is for and the nature                                                              12400 COLLECTIONS CENTER DRIVE
           of the debtor’s interest                                                                 CHICAGO, IL 60693
           State the term remaining       UNKNOWN
          List the contract number of
          any government contract


           State what the contract or     SECURITY MONITORING CONTRACT                              ADT
2. 4       lease is for and the nature                                                              PO BOX 371878
                                          401497420
           of the debtor’s interest                                                                 PITTSBURGH, PA 15250-7878
           State the term remaining       UNKNOWN
          List the contract number of
          any government contract


           State what the contract or     SECURITY MONITORING CONTRACT                              ADT
2. 5       lease is for and the nature                                                              PO BOX 371878
                                          402041108
           of the debtor’s interest                                                                 PITTSBURGH, PA 15250-7878
           State the term remaining       UNKNOWN
          List the contract number of
          any government contract




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      Additional Page if Debtor Has More Executory Contracts or Unexpired Lease
 List all contracts and unexpired leases                                State the name and mailing address for all
                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
           State what the contract or    SECURITY MONITORING CONTRACT             ADT
2. 6       lease is for and the nature                                            PO BOX 371878
                                         401542049
           of the debtor’s interest                                               PITTSBURGH, PA 15250-7878
           State the term remaining      UNKNOWN
           List the contract number of
           any government contract


           State what the contract or    OXYGEN CYLINDER RENTALS                  AIRGAS USA, LLC
2. 7       lease is for and the nature                                            PO BOX 734672
                                         MULTIPLE LOCATIONS
           of the debtor’s interest                                               DALLAS, TX 75373
                                         2865184
           State the term remaining      UNKNOWN
           List the contract number of
           any government contract


           State what the contract or    OXYGEN CYLINDER RENTALS                  AIRGAS USA, LLC
2. 8       lease is for and the nature                                            PO BOX 734672
                                         MULTIPLE LOCATIONS
           of the debtor’s interest                                               DALLAS, TX 75373
                                         2900062
           State the term remaining      UNKNOWN
           List the contract number of
           any government contract


           State what the contract or    FAX SERVICES                             ALHAMBRA US
2. 9       lease is for and the nature                                            8 GOVERNOR WENTWORTH HWY
           of the debtor’s interest                                               WOLFEBORO, NH 03894
           State the term remaining      UNKNOWN
           List the contract number of
           any government contract


           State what the contract or    SOFTWARE CONTRACT                        ALLSCRIPTS LLC
2. 10      lease is for and the nature                                            24630 NETWORK PLACE
                                         10036688
           of the debtor’s interest                                               CHICAGO, IL 60673-1246
           State the term remaining      UNKNOWN
           List the contract number of
           any government contract


           State what the contract or    MASTER PURCHASE AGREEMENT                ALLSCRIPTS
2. 11      lease is for and the nature                                            24630 NETWORK PLACE
           of the debtor’s interest                                               CHICAGO, IL 60673-1246
           State the term remaining      UNKNOWN
           List the contract number of
           any government contract




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      Additional Page if Debtor Has More Executory Contracts or Unexpired Lease
 List all contracts and unexpired leases                                State the name and mailing address for all
                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    LEASE AGREEMENT – INTERFACE              ALLSCRIPTS
2. 12     lease is for and the nature                                            24630 NETWORK PLACE
                                        SOFTWARE SYSTEM
          of the debtor’s interest                                               CHICAGO, IL 60673-1246

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    ONLINE BACKUP ADDENDUM TO                ALLSCRIPTS
2. 13     lease is for and the nature                                            24630 NETWORK PLAE
                                        MASTER AGREEMENT
          of the debtor’s interest                                               CHICAGO, IL 60673-1246

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYEE BENEFITS CONTRACTS              AMERITAS LIFE INSURANCE CORP-DENTAL
2. 14     lease is for and the nature                                            PO BOX 81889
                                        010-39844
          of the debtor’s interest                                               LINCOLN, NE 68501-1889
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   AMY HANCOCK
2. 15     lease is for and the nature                                            5804 SPINETAIL DR
                                        PHYSICIAN ASSISTANT
          of the debtor’s interest                                               NORTH MYRTLE BEACH, SC 29582

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    ANSWERING SERVICES CONTRACT              ANSWERPROCOMMUNICATIONS, LLC
2. 16     lease is for and the nature                                            PO BOX 890340
          of the debtor’s interest                                               CHARLOTTE, NC 28289-0340
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    MEDICAL CONSULTING CONTRACT              ASBURY MED-SURE, LLC (ROGER YAPP)
2. 17     lease is for and the nature                                            1560 ASBURY AVE
          of the debtor’s interest                                               WINNETKA, IL 60093
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    EMPLOYMENT AGREEMENT -                   ASHLEY CRISP
2. 18     lease is for and the nature                                            1651 UNION SCHOOL RD
                                        PHYSICIAN ASSISTANT (PA)
          of the debtor’s interest                                               MCBEE, SC 29101

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMR AND BILLING SYSTEM                   ATHENAHEALTH –
2. 19     lease is for and the nature                                            311 ARSENAL STREET
          of the debtor’s interest                                               WATERTOWN, MA 02472
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    REAL ESTATE LEASE                        BHHS JOHN M BRABHAM REAL ESTATE
2. 20     lease is for and the nature                                            DAVIS PROPERTIES
          of the debtor’s interest                                               1081 ALICE DRIVE
          State the term remaining                                               SUMTER, SC 29151
                                        EXPIRES: 9/30/2019
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT CONTRACT                      BLAKE LECHE - KONIG DM, LLC (1099)
2. 21     lease is for and the nature                                            BLAKE LECHE
          of the debtor’s interest                                               109 WAVERLY HALL LN
          State the term remaining                                               SIMPSONVILLE, SC 29681
                                        UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   BLAKE LECHE
2. 22     lease is for and the nature                                            109 WAVERLY HALL LN
                                        MEDICAL DOCTOR (MD)
          of the debtor’s interest                                               SIMPSONVILLE, SC 29681

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYEE BENEFITS CONTRACTS              BLUECHOICE HEALTH PLAN
2. 23     lease is for and the nature                                            PO BOX 6000
                                        BAA98/BAA98
          of the debtor’s interest                                               COLUMBIA, SC 29260-6000
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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      Additional Page if Debtor Has More Executory Contracts or Unexpired Lease
 List all contracts and unexpired leases                                State the name and mailing address for all
                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    LEASE AGREEMENT / PRICING                BOSTON SCIENTIFIC CORP
2. 24     lease is for and the nature                                            PO BOX 951653
                                        AGREEMENT / REBATE AGREE
          of the debtor’s interest                                               DALLAS, TX 75395-1653
                                        164881
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   BRADLEY SWENSON
2. 25     lease is for and the nature                                            2900 RAMBLING PATH
                                        MEDICAL DOCTOR (MD)
          of the debtor’s interest                                               ANDERSON, SC 29621

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    1099 INDEPENDENT CONTRACTOR              BRANT TURNER -PRECISE HEALTH RES-BAM
2. 26     lease is for and the nature                                            BRANT TURNER
                                        AGREEMENT
          of the debtor’s interest                                               1276 SHADOW WAY
                                                                                 GREENVILLE, SC 29615
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   BRANT TURNER
2. 27     lease is for and the nature                                            1276 SHADOW WAY
                                        PHYSICIANS ASSISTANT (PA)
          of the debtor’s interest                                               GREENVILLE, SC 29615

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    JOB POSTING CONTRACT CT4278229           CAREER BUILDER LLC
2. 28     lease is for and the nature                                            13047 COLLECTION CENTER DRIVE
          of the debtor’s interest                                               CHICAGO, IL 60693-0130
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   CARLEE BRIGHT
2. 29     lease is for and the nature                                            115 ROSEBERRY HILL DRIVE
                                        CLINICAL LIAISON
          of the debtor’s interest                                               LYMAN, SC 29365

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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      Additional Page if Debtor Has More Executory Contracts or Unexpired Lease
 List all contracts and unexpired leases                                State the name and mailing address for all
                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    EMPLOYMENT AGREEMENT - FAMILY            CAROL BERRY
2. 30     lease is for and the nature                                            2843 HERMITAGE LANE
                                        NURSE PRACTITIONER (
          of the debtor’s interest                                               FLORENCE, SC 29501

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    REAL ESTATE LEASE                        CCP HARBINGER, LLC - FCH LAB
2. 31     lease is for and the nature                                            C/O COMMONWEALTH COMMERICAL
          of the debtor’s interest                                               PARTNERS, LLC
          State the term remaining                                               PO BOX 71150
                                        EXPIRES: 11/30/2022                      RICHMOND, VA 23225
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   CHRISTOPHER RUBEL
2. 32     lease is for and the nature                                            480 WEBBER ROAD
                                        MEDICAL DOCTOR (MD)
          of the debtor’s interest                                               SPARTANBURG, SC 29307

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       CITY OF ASHEVILLE WATER BILL ACCT# 0078
2. 33     lease is for and the nature                                            PO BOX 733
                                        1150078
          of the debtor’s interest                                               ASHEVILLE, NC 28802-0733
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       CITY OF FLORENCE -8471 CC
2. 34     lease is for and the nature                                            CITY SERVICES BILL
                                        34000149-448471
          of the debtor’s interest                                               PO BOX 602756
          State the term remaining                                               CHARLOTTE, NC 28260-2756
                                        UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       CITY OF WEST COLUMBIA CC
2. 35     lease is for and the nature                                            WATER COLLECTION DIVISION - CITY HALL
                                        85-009255-01
          of the debtor’s interest                                               PO BOX 4044
          State the term remaining                                               WEST COLUMBIA, SC 29171-4044
                                        UNKNOWN
          List the contract number of
          any government contract




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      Additional Page if Debtor Has More Executory Contracts or Unexpired Lease
 List all contracts and unexpired leases                                State the name and mailing address for all
                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    SC DEPT OF HEALTH LAB 1/20 TO 1/22       CLIA LABORATORY PROGRAM
2. 36     lease is for and the nature                                            PO BOX 3056
          of the debtor’s interest                                               PORTLAND, OR 97208-3056
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    SERVICES AGREEMENT                       CMS IMAGIN, INC. /AVREO, INC –
2. 37     lease is for and the nature                                            4050 AZALEA DR
          of the debtor’s interest                                               NORTH CHARLESTON, SC 29405
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    CT SCANNER - CONTRACT                    CMS IMAGING, INC.
2. 38     lease is for and the nature                                            4050 AZALEA DR
                                        201806-4825-FIRST CHOICE
          of the debtor’s interest                                               NORTH CHARLESTON, SC 29405
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    MANAGEMENT SERVICES                      COFFEY FAMILY MEDICAL
2. 39     lease is for and the nature                                            281 UNDERPASS DR
                                        AGREEMENT
          of the debtor’s interest                                               ONEIDA, TN 37841

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYEE BENEFITS CONTRACTS              COMPANION LIFE
2. 40     lease is for and the nature                                            PO BOX 100102
                                        GROUP #390 25 76179 0000
          of the debtor’s interest                                               COLUMBIA, SC 29202
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    LABGEN LABORATORY MANAGEMENT             COMTRON, INC.
2. 41     lease is for and the nature                                            11 GRACE AVE
                                        SYSTEM - MAINTENANCE
          of the debtor’s interest                                               SUITE 208
                                                                                 GREAT NECK, NY 11021
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    CONCUR EXPENSE REPORTING                 CONCUR / BAMBORA
2. 42     lease is for and the nature                                            62157 COLLECTIONS CENTER DRIVE
                                        CONTRACT (IN LABSOURCE N
          of the debtor’s interest                                               CHICAGO, IL 60693

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    MALPRACTICE INSURANCE                    COVERYS
2. 43     lease is for and the nature                                            PO BOX 981024
                                        CONTRACT
          of the debtor’s interest                                               BOSTON, MA 02298
                                        002PRM0000083997
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       CRYSTAL SPRINGS
2. 44     lease is for and the nature                                            PO BOX 660579
                                        638719616066528
          of the debtor’s interest                                               DALLAS, TX 75266-0579
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    INSURANCE CONTRACT                       CSP INSURANCE SERVICES
2. 45     lease is for and the nature                                            2420 HOFFMEYER RD, SUITE D
                                        WIND HAIL POLICY
          of the debtor’s interest                                               FLORENCE, SC 29501
          State the term remaining      EXPIRES: 8/6/2020
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   DAMIEN BAILEY
2. 46     lease is for and the nature                                            202 COBBLESTONE XING
                                        LICENSED NURSE PRACTITIONER
          of the debtor’s interest                                               GAFFNEY, SC 29341

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT - NURSE             DANIELLE CRAIS
2. 47     lease is for and the nature                                            113 HOLLY LEAF LANE
                                        PRACTITIONER
          of the debtor’s interest                                               LEXINGTON, SC 29072

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    LAB EQUIPMENT MAINTENANCE                DATA INNOVATIONS LLC
2. 48     lease is for and the nature                                            PO BOX 101978
          of the debtor’s interest                                               ATLANTA, GA 30392-1978
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   DAVID ROGERS
2. 49     lease is for and the nature                                            PO BOX 618
                                        MEDICAL DOCTOR (MD)
          of the debtor’s interest                                               EASLEY, SC 29641

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   DEREK ROPER
2. 50     lease is for and the nature                                            245 SAINT PAUL RD
                                        PHYSICIANS ASSISTANT (PA)
          of the debtor’s interest                                               EASLEY, SC 29642

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       DOMINION ENERGY
2. 51     lease is for and the nature                                            PO BOX 100255
                                        7-2101-0462-1414
          of the debtor’s interest                                               COLUMBIA, SC 29202-3255
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       DOMINION ENERGY
2. 52     lease is for and the nature                                            PO BOX 100255
                                        7-2101-0972-0386
          of the debtor’s interest                                               COLUMBIA, SC 29202-3255
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    REAL ESTATE LEASE                        DOUBLE DUTCH - MYRTLE BEACH
2. 53     lease is for and the nature                                            1801 NEW HANOVER MEDICAL PARK DRIVE
          of the debtor’s interest                                               WILMINGTON, NC 28403
          State the term remaining      EXPIRES: 8/31/2019
          List the contract number of
          any government contract




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                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    UTILITIES CONTRACT                       DUKE ENERGY PROGRESS
2. 54     lease is for and the nature                                            PO BOX 1003
                                        839 242 4076 & 461 795 1597
          of the debtor’s interest                                               CHARLOTTE, NC 28201-1003
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       DUKE ENERGY
2. 55     lease is for and the nature                                            PO BOX 70516
                                        1864762942 & 1122820272
          of the debtor’s interest                                               CHARLOTTE, NC 28272-0516
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       DUKE ENERGY
2. 56     lease is for and the nature                                            PO BOX 70516
                                        1788141408 & 1711026376
          of the debtor’s interest                                               CHARLOTTE, NC 28272-0516
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    COMPUTER AND PHONE SERVICES              DYNAMIC QUEST / ENROUTE
2. 57     lease is for and the nature                                            3775 ROSEWELL RD
          of the debtor’s interest                                               SUITE 350
          State the term remaining                                               MARIETTA, GA 30062
                                        UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       EASLEY COMB UTILITIES
2. 58     lease is for and the nature                                            PO BOX 619
                                        64622001
          of the debtor’s interest                                               EASLEY, SC 29641-0619
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    BILLING / CLINIC SOFTWARE                ECLINICAL WORKS, LLC
2. 59     lease is for and the nature                                            PO BOX 847950
                                        CONTRACT
          of the debtor’s interest                                               BOSTON, MA 02284-7950
                                        14142
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    UTILITIES CONTRACT                       ELECTRIC CITY UTILITIES CC
2. 60     lease is for and the nature                                            CITY OF ANDERSON
                                        500033640
          of the debtor’s interest                                               PO BOX 63061
          State the term remaining                                               CHARLOTTE, NC 28263
                                        UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   ELIZABETH SNODERLY
2. 61     lease is for and the nature                                            4691 MILL POND CT
                                        MEDICAL DOCTOR
          of the debtor’s interest                                               MURRELLS INLET, SC 29576

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    1099 INDEPENDENT CONTRACTOR              ERIC HARRELL - ECORP, LLC (1099) BAM
2. 62     lease is for and the nature                                            25 DRAPER STREET
                                        AGREEMENT
          of the debtor’s interest                                               UNIT 432
                                                                                 GREENVILLE, SC 29611
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    BILLING SOFTWARE / SUBSCRIPTION          EXPERIAN HEALTH, INC.
2. 63     lease is for and the nature                                            PO BOX 886133
                                        CONTRACT
          of the debtor’s interest                                               LOS ANGELES, CA 90088-6133
                                        A/C 123220
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    OFFSITE STORAGE CONTRACT                 EXTRA STORAGE SPACE
2. 64     lease is for and the nature                                            104 LA VON LN
          of the debtor’s interest                                               EASLEY, SC 29642
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   FELIX MUNIZ
2. 65     lease is for and the nature                                            1015 NUTT STREET
                                        MEDICAL DOCTOR (MD)
          of the debtor’s interest                                               APT. 334
                                                                                 WILMINGTON, NC 28401
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    EMPLOYEE BENEFITS CONTRACTS              FIDELITY SECURITY LIFE INS
2. 66     lease is for and the nature                                            FSL / EYEMED PREMIUMS
                                        1001030 &1001031
          of the debtor’s interest                                               PO BOX 632530
          State the term remaining                                               CINCINNATI, OH 45263-2530
                                        UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    BANKING AGREEMENTS - ETC                 FIRST CITIZENS BANK & TRUST COMPANY
2. 67     lease is for and the nature                                            ATTN: NATOSHA DREWS
          of the debtor’s interest                                               PO BOX 29
          State the term remaining
                                                                                 COLUMBIA, SC 29202
                                        UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    BILLING CONTRACT - EXPIRED BUT           GE HEALTHCARE, INC.
2. 68     lease is for and the nature                                            PO BOX 640200
                                        SETTLEMENT AGREEMEN
          of the debtor’s interest                                               PITTSBURGH, PA 15264-0200
                                        138172
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    COPIER CONTRACTS                         G-FIVE, INC.
2. 69     lease is for and the nature                                            297-H GARLINGTON RD
          of the debtor’s interest                                               GREENVILLE, SC 29615
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    PEST CONTROL CONTRACT                    GIBSON PEST CONTROL
2. 70     lease is for and the nature                                            3601 SWEETEN CREEK RD
          of the debtor’s interest                                               PO BOX 989
          State the term remaining                                               SKYLAND, NC 28776
                                        UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   GISELE GIRAULT
2. 71     lease is for and the nature                                            145 LAKE POINTE DR
                                        MEDICAL DOCTOR (MD)
          of the debtor’s interest                                               FORT MILL, SC 29708

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    ADMINISTRATIVE SERVICES                  GRANADA NEIL (1099) - BAM
2. 72     lease is for and the nature                                            1399 ASHLEYBROOK LANE
                                        AGREEMENT
          of the debtor’s interest                                               SUITE 100
                                                                                 WINSTON SALEM, NC 27103
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    REAL ESTATE LEASE                        GREAT HERON - W COLUMBIA EFT
2. 73     lease is for and the nature                                            FRANK HAHNE
          of the debtor’s interest                                               208 BARNACLE CIRCLE
          State the term remaining                                               LEXINGTON, SC 29072
                                        EXPIRES: 5/31/2020
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       GREENVILLE WATER SYSTEM
2. 74     lease is for and the nature                                            PO BOX 687
                                        0017695250 & 0017695252
          of the debtor’s interest                                               GREENVILLE, SC 29602-0687
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    REAL ESTATE LEASE - RELATED              GROVE 1005 LLC
2. 75     lease is for and the nature                                            25 AIRPARK COURT
                                        PARTY
          of the debtor’s interest                                               GREENVILLE, SC 29607

          State the term remaining      EXPIRES: 12/31/2028
          List the contract number of
          any government contract


          State what the contract or    COMPLIANCE SUBSCRIPTION                  HEALTHCARE COMPLIANCE PROS, INC.
2. 76     lease is for and the nature                                            10891 SCOTTY DRIVE
                                        CONTRACT
          of the debtor’s interest                                               SOUTH JORDAN, UT 84095

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    COPIER CONTRACTS                         HERALD 16297 (FLORENCE)
2. 77     lease is for and the nature                                            PO BOX 1288
                                        16297-0001
          of the debtor’s interest                                               DILLON, SC 29536
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    REAL ESTATE LEASE                        HIGHLAND CENTER DRIVE-COLUMBIA
2. 78     lease is for and the nature                                            C/O TRINITY PARTNERS MANAGEMENT - AR
          of the debtor’s interest                                               440 S CHURCH ST, STE 800
          State the term remaining                                               CHARLOTTE, NC 28202
                                        EXPIRES: 2/29/2020
          List the contract number of
          any government contract


          State what the contract or    BUSINESS CRIME POLICY - POLICY #         HISCOX INC - C/O WILLIS OF NORTH
2. 79     lease is for and the nature                                            CAROLINA, INC
                                        UC22283982 19
          of the debtor’s interest                                               29754 NETWORK PLACE
                                                                                 CHICAGO, IL 60673-1297
          State the term remaining      EXPIRES: 7/9/2020
          List the contract number of
          any government contract


          State what the contract or    CONSULTANT CONTRACT - FINANCIAL          HURON CONSULTING SERVICES, LLC
2. 80     lease is for and the nature                                            4795 PAYSPHERE CIRCLE
                                        ADVISORY
          of the debtor’s interest                                               CHICAGO, IL 60674

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    ULTRASOUND QUOTE AGREEMENT               IMAGING ASSOCIATES, INC. –
2. 81     lease is for and the nature                                            3223 32ND AVE S, STE 201
          of the debtor’s interest                                               FARGO, ND 58103-6278
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    IMAGING EQUIPMENT LEASE                  IMAGING SOLUTIONS, INC.
2. 82     lease is for and the nature                                            3223 32ND AVE S, STE 201
          of the debtor’s interest                                               FARGO, ND 58103-6278
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMAIL HOSTING AGREEMENT                  IMMEDION, LLC
2. 83     lease is for and the nature                                            PO BOX 745116
          of the debtor’s interest                                               ATLANTA, GA 30374-5116
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    REAL ESTATE LEASE                        INFINITY ENTERPRISES - FLORENCE
2. 84     lease is for and the nature                                            C/O DR DEAN BANKS
          of the debtor’s interest                                               9303 VENEZIA CIRCLE
          State the term remaining                                               MYRTLE BEACH, SC 29579
                                        EXPIRES: 5/5/2019
          List the contract number of
          any government contract


          State what the contract or    EQUIPMENT MAINTENANCE                    ION TECHNOLOGY SUPPORT INC
2. 85     lease is for and the nature                                            1204 COPELAND OAKS DRIVE
                                        CONTRACT
          of the debtor’s interest                                               MORRISVILLE, NC 27560

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    PAPERWORK STORAGE CONTRACT               IRON MOUNTAIN
2. 86     lease is for and the nature                                            PO BOX 27128
          of the debtor’s interest                                               NEW YORK, NY 10087-7128
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    CLINIC AND PROVIDER MEDICAL              IRONSHORE INSURANCE LIMITED
2. 87     lease is for and the nature                                            175 POWDER FOREST DR
                                        MALPRACTICE INSURANCE
          of the debtor’s interest                                               WEATOGUE, CT 06089

          State the term remaining      EXPIRES: 8/1/2020
          List the contract number of
          any government contract


          State what the contract or    1099 INDEPENDENT CONTRACTOR              J D HAAS, LLC (1099)
2. 88     lease is for and the nature                                            109 PEPPERWOOD DRIVE
                                        AGREEMENT
          of the debtor’s interest                                               GREENVILLE, SC 29611

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    TELE-RADIOLOGY SERVICES                  JAMES CAIN (1099) BAM
2. 89     lease is for and the nature                                            113 RATHFARNHAM CIRCLE
                                        AGREEMENT
          of the debtor’s interest                                               ASHEVILLE, NC 28803

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    CLEANING SERVICES AGREEMENT              JAMES EARLE`S CLEANING SERVICE(1099)
2. 90     lease is for and the nature                                            PO BOX 251
          of the debtor’s interest                                               SANDY SPRINGS, SC 29677
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT - NURSE             JAMMIE STEPHENS
2. 91     lease is for and the nature                                            256 COPPERLEAF DRIVE
                                        PRACTIONER (NP)
          of the debtor’s interest                                               MYRTLE BEACH, SC 29588

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   JAY PATEL
2. 92     lease is for and the nature                                            14 KETTERING COURT
                                        MEDICAL DOCTOR (MD)
          of the debtor’s interest                                               EASLEY, SC 29642

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   JEFFREY FARRICIELLI
2. 93     lease is for and the nature                                            3912 ASHTON SHORE LANE
                                        MEDICAL DOCTOR (MD)
          of the debtor’s interest                                               MOUNT PLEASANT, SC 29466

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT - NURSE             JESSICA BELL
2. 94     lease is for and the nature                                            210 CREEK FALLS XING
                                        PRACTITIONER (NP)
          of the debtor’s interest                                               EASLEY, SC 29640

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT - NURSE             JILL KESSLER
2. 95     lease is for and the nature                                            109 WINDSONG COURT
                                        PRACTITIONER (NP)
          of the debtor’s interest                                               ANDERSON, SC 29621

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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 List all contracts and unexpired leases                                State the name and mailing address for all
                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    EMPLOYMENT AGREEMENT -                   JOHN HAAS
2. 96     lease is for and the nature                                            109 PEPPERWOOD DRIVE
                                        PHYSICAL THERAPY DOCTOR (PT
          of the debtor’s interest                                               GREENVILLE, SC 29611

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    SECURITY MONITORING CONTRACT             JOHNSON CONTROLS SECURITY SOLUTIONS
2. 97     lease is for and the nature                                            PO BOX 371967
          of the debtor’s interest                                               PITTSBURGH, PA 15250-7967
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   JOSEPH O`QUINN
2. 98     lease is for and the nature                                            12 KETTERING COURT
                                        MEDICAL DOCTOR (MD)
          of the debtor’s interest                                               EASLEY, SC 29642

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    1099 INDEPENDENT CONTRACTOR              JOSEPH O`QUINN/JWO ENTE (1099) BAM
2. 99     lease is for and the nature                                            JWO ENTERPRISE, LLC
                                        AGREEMENT
          of the debtor’s interest                                               12 KETTERING CT
                                                                                 EASLEY, SC 29642
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT - NURSE             KATHY MOTES
2. 100    lease is for and the nature                                            260 BALLANTYNE COMMON CIRCLE
                                        PRACTITIONER
          of the debtor’s interest                                               APT. 204
                                                                                 HENDERSONVILLE, NC 28792
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    STAFFING AGENCY - AGREEMENT              KUDZU STAFFING, INC.
2. 101    lease is for and the nature                                            PO BOX 51627
          of the debtor’s interest                                               POWDERSVILLE, SC 29673
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    EXECUTIVE RISK PACKAGE - POLICY          LANDMARK AMERICAN INSURANCE COMPANY
2. 102    lease is for and the nature                                            C/O WILLIS OF NORTH CAROLINA, INC
                                        LHP677660
          of the debtor’s interest                                               29754 NETWORK PLACE
                                                                                 CHICAGO, IL 60673-1297
          State the term remaining      EXPIRES: 1/9/2020
          List the contract number of
          any government contract


          State what the contract or    PEST CONTROL CONTRACT                    LEXINGTON TERMITE & PEST CONTROL, INC.
2. 103    lease is for and the nature                                            439 HEARTWOOD DRIVE
          of the debtor’s interest                                               LEXINGTON, SC 29073
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYEE BENEFITS CONTRACTS              LIBERTY MUTUAL INSURANCE
2. 104    lease is for and the nature                                            PO BOX 188025
                                        401593660
          of the debtor’s interest                                               FAIRFIELD, OH 45018-8025
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYEE BENEFITS CONTRACTS              LINCOLN NATIONAL LIFE INSURANCE CO.
2. 105    lease is for and the nature                                            PO BOX 0821
                                        OTMCTRE-BL-1565801
          of the debtor’s interest                                               CAROL STREAM, IL 60132-0821
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    1099 INDEPENDENT CONTRACTOR              LISA FORGIONE BAM (1099)
2. 106    lease is for and the nature                                            301 HOLLY ST
                                        AGREEMENT
          of the debtor’s interest                                               CLINTON, SC 29325

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   LISA FORGIONE
2. 107    lease is for and the nature                                            301 HOLLY STREET
                                        MEDICAL DOCTOR (MD)
          of the debtor’s interest                                               CLINTON, SC 29325

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    REAL ESTATE LEASE                        LUTHERAN SERVICES - ARDEN, NC
2. 108    lease is for and the nature                                            ATTN: KIRBY NICKERSON
          of the debtor’s interest                                               PO BOX 947
          State the term remaining                                               SALISBURY, NC 28145
                                        EXPIRES: 1/21/2021
          List the contract number of
          any government contract


          State what the contract or    REAL ESTATE LEASE                        MAGNOLIA CENTER ONE, LLC
2. 109    lease is for and the nature                                            367 DEBORDIEU BLVD
          of the debtor’s interest                                               GEORGETOWN, SC 29440
          State the term remaining      EXPIRES: 8/31/2024
          List the contract number of
          any government contract


          State what the contract or    TANK RENTAL AND SERVICE                  MAR COR INC
2. 110    lease is for and the nature                                            16233 COLLECTIONS CENTER DR
                                        AGREEMENTS
          of the debtor’s interest                                               CHICAGO, IL 60693

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    REAL ESTATE LEASE                        MARY BLACK HEALTH - SPARTANBURG
2. 111    lease is for and the nature                                            SRHS-ACCOUNTING
          of the debtor’s interest                                               ATTN: DANA HORTON
          State the term remaining                                               SPARTANBURG, SC 29303
                                        EXPIRES: 7/31/2020
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT - NURSE             MARY COX
2. 112    lease is for and the nature                                            20 CHARTWELL CT
                                        PRACTITIONER (NP)
          of the debtor’s interest                                               SUMTER, SC 29154

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    1099 INDEPENDENT CONTRACTOR              MATT FURMAN BAM
2. 113    lease is for and the nature                                            100 BEAVER LAKE DR
                                        AGREEMENT
          of the debtor’s interest                                               ELGIN, SC 29045

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    REAL ESTATE LEASE - RELATED              MCCOLLUM BUSINESS LLC
2. 114    lease is for and the nature                                            435 PROVIDENCE DR
                                        PARTY
          of the debtor’s interest                                               EASLEY, SC 29642

          State the term remaining      EXPIRES: 12/29/2028
          List the contract number of
          any government contract


          State what the contract or    PROFESSIONAL SERVICES                    MCGUIREWOODS, LLP
2. 115    lease is for and the nature                                            TOWER TWO- SIXTY
          of the debtor’s interest                                               260 FORBES AVE
          State the term remaining                                               PITTSBURGH, PA 15222

          List the contract number of
          any government contract


          State what the contract or    LAB EQUIPMENT SERVICE CONTRACT           MEDICAL LABORATORY SOLUTIONS, INC.
2. 116    lease is for and the nature                                            270 RUTLEDGE RD, STE D
                                        438
          of the debtor’s interest                                               FLETCHER, NC 28732
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT - NURSE             MELODY DEANGELIS
2. 117    lease is for and the nature                                            198 OLD BLACKSMITH ROAD
                                        PRACTITIONER
          of the debtor’s interest                                               SIX MILE, SC 29682

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    CREDIT CARD PROCESSING                   MERCHANT CREDIT CARD PROCESSING
2. 118    lease is for and the nature                                            PO BOX 6600
                                        AGREEMENT
          of the debtor’s interest                                               HAGERSTOWN, MD 21741-6600

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    WEBSITE HOSTING AND                      MY WEB NINJA LLC
2. 119    lease is for and the nature                                            400 W LEGION BLVD
                                        MANAGEMENT
          of the debtor’s interest                                               OWENSBORO, KY 42303

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    EMPLOYMENT AGREEMENT - NURSE             NORMA SWEET
2. 120    lease is for and the nature                                            744 VIOLA COURT
                                        PRACTITIONER
          of the debtor’s interest                                               COLUMBIA, SC 29229

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    SECURITY MONITORING CONTRACT             PALMETTO SECURITY CO, INC.
2. 121    lease is for and the nature                                            4 MEDICAL COURT
          of the debtor’s interest                                               SUMTER, SC 29150
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    PAYMENT SERVICES CONTRACT                PAY PLUS / ZELLIS PAYMENTS
2. 122    lease is for and the nature                                            18167 US HIGHWAY 19 NORTH
          of the debtor’s interest                                               SUITE 300
          State the term remaining                                               CLEARWATER, FL 33764
                                        UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       PIEDMONT NATURAL GAS
2. 123    lease is for and the nature                                            PO BOX 660920
                                        7002854727002
          of the debtor’s interest                                               DALLAS, TX 75266-0920
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    POSTAGE MACHINE LEASE                    PITNEY BOWES
2. 124    lease is for and the nature                                            PO BOX 371887
          of the debtor’s interest                                               PITTSBURGH, PA 15250-7887
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    PDS SOFTWARE SYSTEM CONTRACT             PRACTICE DIAGNOSTIC SYSTEMS, LLC (PDS)
2. 125    lease is for and the nature                                            PRACTICAL DATA SOLUTIONS
          of the debtor’s interest                                               33 BULLET HILL RD
          State the term remaining
                                                                                 SOUTHBURY, CT 06488
                                        UNKNOWN
          List the contract number of
          any government contract




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      Additional Page if Debtor Has More Executory Contracts or Unexpired Lease
 List all contracts and unexpired leases                                State the name and mailing address for all
                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    NITROGEN SYSTEM CONTRACT                 PRAXAIR
2. 126    lease is for and the nature                                            1939 BLUFF ROAD
                                        PJ700
          of the debtor’s interest                                               COLUMBIA, SC 29201
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    MALPRACTICE INSURANCE -                  PREMIUM FUNDING ASSOCIATES, INC
2. 127    lease is for and the nature                                            1 WORLD FINANCIAL CENTER
                                        INSURANCE FINANCE
          of the debtor’s interest                                               200 LIBERTY STREET
                                                                                 NEW YORK, NY 10281
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    FINANCER OF IRON SHORE                   PREMIUM FUNDING ASSOCIATES, INC
2. 128    lease is for and the nature                                            1 WORLD FINANCIAL CENTER
                                        INSURANCE LIMITED
          of the debtor’s interest                                               200 LIBERTY STREET
                                        MALPRACTICE INSURANCE
                                                                                 NEW YORK, NY 10281
          State the term remaining      EXPIRES: 6/1/2020
          List the contract number of
          any government contract


          State what the contract or    SECURITY MONITORING CONTRACT             PRIORITY ONE SECURITY-GROVE
2. 129    lease is for and the nature                                            PO BOX 602577
          of the debtor’s interest                                               CHARLOTTE, NC 28260-2577
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    HSA BENEFITS CONTRACTS                   PROBENEFITS, INC.
2. 130    lease is for and the nature                                            PO BOX 896200
          of the debtor’s interest                                               CHARLOTTE, NC 28289
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    HR / PAYROLL SYSTEM CONTRACT             PROPEL HR, INC.
2. 131    lease is for and the nature                                            669 N ACADEMY ST
          of the debtor’s interest                                               GREENVILLE, SC 29601
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    EMPLOYEE BENEFITS CONTRACTS              PRUDENTIAL GROUP INSURANCE
2. 132    lease is for and the nature                                            PO BOX 101241
          of the debtor’s interest                                               ATLANTA, GA 30392-1241
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    REAL ESTATE LEASE                        ROBERTS DEVELOPMENT
2. 133    lease is for and the nature                                            PO BOX 393
          of the debtor’s interest                                               ANDERSON, SC 29622
          State the term remaining      EXPIRES: 7/31/2023
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   RYAN GROTH
2. 134    lease is for and the nature                                            70 BENT CREEK PRESERVE ROAD
                                        PHYSICIANS ASSISTANT (PA)
          of the debtor’s interest                                               ASHEVILLE, NC 28806

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   RYAN MITCHELL
2. 135    lease is for and the nature                                            1959 OSPREY DRIVE
                                        CHIROPRACTOR
          of the debtor’s interest                                               FLORENCE, SC 29501

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       SANTEE COOPER-EFT
2. 136    lease is for and the nature                                            PO BOX 188
                                        3937820000
          of the debtor’s interest                                               MONCKS CORNER, SC 29461-0188
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    SHREDDING CONTRACT                       SHRED A WAY
2. 137    lease is for and the nature                                            PO BOX 161732
          of the debtor’s interest                                               BOILING SPRINGS, SC 29316
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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 List all contracts and unexpired leases                                State the name and mailing address for all
                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    SHREDDING CONTRACT                       SHRED A WAY
2. 138    lease is for and the nature                                            PO BOX 51132
          of the debtor’s interest                                               PIEDMONT, SC 29673
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    SHREDDING CONTRACT                       SHRED IT
2. 139    lease is for and the nature                                            28883 NETWORK PLACE
          of the debtor’s interest                                               CHICAGO, IL 60673
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    SHREDDING CONTRACT                       SHRED360
2. 140    lease is for and the nature                                            7001 ST. ANDREWS RD #365
          of the debtor’s interest                                               COLUMBIA, SC 29212
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    SHREDDING CONTRACT                       SHUR SHRED
2. 141    lease is for and the nature                                            PO BOX 6776
          of the debtor’s interest                                               FLORENCE, SC 29502
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    CLIA LAB COMPLIANCE CERTIFICATE          SOUTH CAROLINA DEPARTMENT OF HEALTH
2. 142    lease is for and the nature                                            2600 BULL ST
          of the debtor’s interest                                               COLUMBIA, SC 29201
          State the term remaining      EXPIRES: 4/18/2022
          List the contract number of
          any government contract


          State what the contract or    BANKING AGREEMENTS - ETC                 SOUTH STATE BANK
2. 143    lease is for and the nature                                            200 EAST BROAD STREET, SUITE 100
          of the debtor’s interest                                               GREENVILLE, SC 29601
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    UTILITIES CONTRACT                       SPECTRUM BUSINESS
2. 144    lease is for and the nature                                            PO BOX 70872
                                        202-910821901
          of the debtor’s interest                                               CHARLOTTE, NC 28272-0872
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       SPECTRUM BUSINESS
2. 145    lease is for and the nature                                            PO BOX 742614
                                        202-916908101-001
          of the debtor’s interest                                               CINCINNATI, OH 45274-2614
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       SPECTRUM BUSINESS
2. 146    lease is for and the nature                                            PO BOX 742614
                                        202-910821901-001
          of the debtor’s interest                                               CINCINNATI, OH 45274-2614
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       SPECTRUM BUSINESS
2. 147    lease is for and the nature                                            PO BOX 742614
                                        8351 10 002 4592319
          of the debtor’s interest                                               CINCINNATI, OH 45274-2614
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       SPECTRUM BUSINESS
2. 148    lease is for and the nature                                            PO BOX 742614
                                        8345 79 680 0002727
          of the debtor’s interest                                               CINCINNATI, OH 45274-2614
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EXCESS PRIVATE MANAGEMENT                STARSTONE SPECIALTY INSURANCE
2. 149    lease is for and the nature                                            COMPANY
                                        LIABILITY
          of the debtor’s interest                                               C/O WILLIS OF NORTH CAROLINA, INC
                                        POLICY H70164180ASP
                                                                                 29754 NETWORK PLACE
          State the term remaining      EXPIRES: 1/9/2020                        CHICAGO, IL 60673-1297
          List the contract number of
          any government contract




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                                                                        executory contract or unexpired lease
          State what the contract or    CONSULTING AGREEMENT                     STEEPLECHASE PATHOLOGY, LLC(1099)
2. 150    lease is for and the nature                                            ATTN: RENEE THOMAS, MD
          of the debtor’s interest                                               1905 CARRIAGE HOUSE LANE
          State the term remaining                                               CAMDEN, SC 29020
                                        UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    MULTI SITE SERVICE AGREEMENT             STERICYCLE
2. 151    lease is for and the nature                                            PO BOX 6582
          of the debtor’s interest                                               CAROL STREAM, IL 60197-6582
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    PEST CONTROL CONTRACT                    STONE`S PEST SERVICES, LLC
2. 152    lease is for and the nature                                            PO BOX 13443
                                        1041
          of the debtor’s interest                                               FLORENCE, SC 29504
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   SYBIL REDDICK
2. 153    lease is for and the nature                                            32 QUAIL HILL DRIVE
                                        MEDICAL DOCTOR (MD)
          of the debtor’s interest                                               GREENVILLE, SC 29607

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    PEST CONTROL CONTRACT                    TERMINIX
2. 154    lease is for and the nature                                            CENTRAL ACCOUNTING OFFICE
          of the debtor’s interest                                               PO BOX 2627
          State the term remaining                                               COLUMBIA, SC 29202-2627
                                        UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYEE BENEFITS CONTRACTS              THE BENEFIT COMPANY, INC.
2. 155    lease is for and the nature                                            PO BOX 211486
          of the debtor’s interest                                               COLUMBIA, SC 29221
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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                                                                          384 (if known):
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      Additional Page if Debtor Has More Executory Contracts or Unexpired Lease
 List all contracts and unexpired leases                                State the name and mailing address for all
                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    1099 INDEPENDENT CONTRACTOR              THE CENTER FOR REGENERATIVE MEDICINE
2. 156    lease is for and the nature                                            JEFFREY FARRICIELLI
                                        AGREEMENT
          of the debtor’s interest                                               131 QUEENSBOROUGH BLVD, STE 102
                                                                                 MT PLEASANT, SC 29464
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    PROFESSIONAL SERVICES                    TIM DAILEADER (DRIVETRAIN) EFT
2. 157    lease is for and the nature                                            257 CENTRAL PARK WEST APT 7A
          of the debtor’s interest                                               NEW YORK, NY 10024
          State the term remaining
          List the contract number of
          any government contract


          State what the contract or    INDEPENDENT DIRECTORSHIP                 TIM DAILEADER (DRIVETRAIN) EFT
2. 158    lease is for and the nature                                            257 CENTRAL PARK WEST APT 7A
          of the debtor’s interest                                               NEW YORK, NY 10024
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       TIME WARNER
2. 159    lease is for and the nature                                            PO BOX 70872
                                        202-601898902-001
          of the debtor’s interest                                               CHARLOTTE, NC 28272-0872
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       TOWN OF WAYNESVILLE CC
2. 160    lease is for and the nature                                            9 S MAIN STREET
          of the debtor’s interest                                               SUITE 110
          State the term remaining                                               WAYNESVILLE, NC 28786
                                        UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    CONTRACT MANAGER AGREEMENT               TRIZETTO
2. 161    lease is for and the nature                                            DEPT CH 16897
                                        COFFEY FAMILY MEDICAL
          of the debtor’s interest                                               PALATINE, IL 60055-6897
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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      Additional Page if Debtor Has More Executory Contracts or Unexpired Lease
 List all contracts and unexpired leases                                State the name and mailing address for all
                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    CREDIT CARD PROCESSING                   TSYS HEALTH SERVICES
2. 162    lease is for and the nature                                            12202 AIRPORT WAY
                                        AGREEMENT
          of the debtor’s interest                                               SUITE 100
                                                                                 BROOMFIELD, CO 80021
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    PEST CONTROL CONTRACT                    U-AT & T
2. 163    lease is for and the nature                                            PO BOX 105262
                                        803 749-7751 001 1892
          of the debtor’s interest                                               ATLANTA, GA 30348-5262
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EXECUTIVE RISK PACKAGE - POLICY          UNDERWRITERS AT LLOYD`S LONDON
2. 164    lease is for and the nature                                            C/O WILLIS OF NORTH CAROLINA, INC
                                        DOH00746111
          of the debtor’s interest                                               29754 NETWORK PLACE
                                                                                 CHICAGO, IL 60673-1297
          State the term remaining      EXPIRES: 1/9/2020
          List the contract number of
          any government contract


          State what the contract or    ENDORSEMENT EXCESS LIABILITY -           UNDERWRITERS AT LLOYD`S LONDON
2. 165    lease is for and the nature                                            C/O WILLIS OF NORTH CAROLINA, INC
                                        POLICY ANV122398A
          of the debtor’s interest                                               29754 NETWORK PLACE
                                                                                 CHICAGO, IL 60673-1297
          State the term remaining      EXPIRES: 1/9/2020
          List the contract number of
          any government contract


          State what the contract or    PEST CONTROL CONTRACT                    UPSTATE EXTERMINATING & PEST CONTROL,
2. 166    lease is for and the nature                                            INC
          of the debtor’s interest                                               324 OUR ROAD
          State the term remaining
                                                                                 PICKENS, SC 29671
                                        UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    CELL PHONE CONTRACT                      VERIZON WIRELES
2. 167    lease is for and the nature                                            PO BOX 660108
                                        503926928-00001
          of the debtor’s interest                                               DALLAS, TX 75266-0108
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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                                                                          384 (if known):
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      Additional Page if Debtor Has More Executory Contracts or Unexpired Lease
 List all contracts and unexpired leases                                State the name and mailing address for all
                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    401K PLAN PROVIDER                       VOYA INSTITUTIONAL TRUST COMPANY
2. 168    lease is for and the nature                                            ATTN: LOCKBOX 3015
          of the debtor’s interest                                               4 CHASE METRO TECH CENTER, 7TH FLOOR
          State the term remaining                                               EAST
                                        UNKNOWN                                  BROOKLYN, NY 11245
          List the contract number of
          any government contract


          State what the contract or    STAFFING AGENCY - AGREEMENT              V-SOFT CONSULTING GROUP, INC
2. 169    lease is for and the nature                                            101 BULLITT LN, STE 205
          of the debtor’s interest                                               LOUISVILLE, KY 40222
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    PEST CONTROL CONTRACT                    W E BLACK TERMITE & PEST CONTROL INC
2. 170    lease is for and the nature                                            PO BOX 1053
          of the debtor’s interest                                               ANDERSON, SC 29622
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       WASTE INDUSTRIES
2. 171    lease is for and the nature                                            PO BOX 791519
                                        TRASH SERVICES - GROVE RD -
          of the debtor’s interest                                               BALTIMORE, MD 21279-1519
                                        001033843
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       WASTE MANAGEMENT
2. 172    lease is for and the nature                                            PO BOX 4648
                                        TRASH SERVICES - ARDEN - 20-00731-
          of the debtor’s interest                                               CAROL STREAM, IL 60197
                                        73009
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                WASTE MANAGEMENT
2. 173    lease is for and the nature
                                        TRASH SERVICES - W COLUMBIA # 19- PO BOX 4648
          of the debtor’s interest                                        CAROL STREAM, IL 60197
                                        56039-33001
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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      Additional Page if Debtor Has More Executory Contracts or Unexpired Lease
 List all contracts and unexpired leases                                State the name and mailing address for all
                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
          State what the contract or    UTILITIES CONTRACT                       WASTE MANAGEMENT
2. 174    lease is for and the nature                                            PO BOX 4648
                                        TRASH SERVICES - ANDERSON 10-
          of the debtor’s interest                                               CAROL STREAM, IL 60197
                                        36711-73008
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       WASTE MANAGEMENT
2. 175    lease is for and the nature                                            PO BOX 4648
                                        TRASH SERVICES - FLORENCE - 13-
          of the debtor’s interest                                               CAROL STREAM, IL 60197
                                        35010-62004
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    UTILITIES CONTRACT                       WASTE MANAGEMENT
2. 176    lease is for and the nature                                            PO BOX 4648
                                        TRASH SERVICES - EASLEY 10-36508-
          of the debtor’s interest                                               CAROL STREAM, IL 60197
                                        43002
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    EMPLOYMENT AGREEMENT -                   WOODWARD DIXON
2. 177    lease is for and the nature                                            515 DOODLE HILL ROAD
                                        MEDICAL DOCTOR (MD)
          of the debtor’s interest                                               ST. MATTHEWS, SC 29135

          State the term remaining      UNKNOWN
          List the contract number of
          any government contract


          State what the contract or    DATA EXTRACTION CONTRACT-                XACT DATA DISCOVERY
2. 178    lease is for and the nature                                            DBA XACT DATA DISCOVERY
                                        TERMINATED BY BALANCE DU
          of the debtor’s interest                                               5800 FOXRIDGE DR, STE 406
                                                                                 MISSION, KS 66202
          State the term remaining      UNKNOWN
          List the contract number of
          any government contract




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 Fill in this information to identify your case:       Document
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 Debtor 1       Oaktree Medical Centre, P.C.

 United States Bankruptcy Court for the:     Western                         District of   N Carolina
                                                                                           (State of)
 Case Number (if known):                                                       Chapter     7                                          Check if this is an
                                                                                                                                      amended filing

 Official Form 206H
 SCHEDULE H - CODEBTORS                                                                                                                            12/15

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
 consecutively. Attach the Additional Page to this page.


  1. Do you have any codebtors?
       No Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in
     the schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the
     creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a
     debt to more than one creditor, list each creditor separately in Column 2.
         Column 1: Codebtor                                                    Column 2: Creditor                                  Check all schedules
                                                                                                                                   that apply:
         Name and Mailing Address                                              Name
         DANIEL MCCOLLUM                                                       CREEKRIDGE CAPITAL, LLC                                D
2.1      435 PROVIDENCE DR
         EASLEY, SC 29642                                                                                                             E/F

                                                                                                                                      G


         DANIEL MCCOLLUM                                                       FIDUS INVESTMENT CORPORATION                           D (s106)
2.2      435 PROVIDENCE DR
         EASLEY, SC 29642                                                                                                             E/F

                                                                                                                                      G


         EAST TENNESSEE MEDICAL GROUP, P.C.                                    FIDUS INVESTMENT CORPORATION                           D (s106)
2.3      25 AIRPARK COURT
         GREENVILLE, SC 29607                                                                                                         E/F

                                                                                                                                      G


         EXIGO PHARMACEUTICALS, LLC                                            FIDUS INVESTMENT CORPORATION                           D (s106)
2.4      25 AIRPARK COURT
         GREENVILLE, SC 29607                                                                                                         E/F

                                                                                                                                      G


         FIRST CHOICE HEALTHCARE, P.C.                                         FIDUS INVESTMENT CORPORATION                           D (s106)
2.5      25 AIRPARK COURT
         GREENVILLE, SC 29607                                                                                                         E/F

                                                                                                                                      G


         LABSOURCE, LLC                                                        CREEKRIDGE CAPITAL, LLC                                D
2.6      25 AIRPARK COURT
         GREENVILLE, SC 29607                                                                                                         E/F

                                                                                                                                      G




Official Form 206H                                          Schedule H: Codebtors                                                    Page 1 of 2
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       Additional Page to List More Codebtors
          Column 1: Codebtor                                   Column 2: Creditor             Check all schedules
                                                                                              that apply:
          Name and Mailing Address                             Name
          LABSOURCE, LLC                                       FIDUS INVESTMENT CORPORATION     D (s106)
2.7       25 AIRPARK COURT
          GREENVILLE, SC 29607                                                                  E/F

                                                                                                G


          MCCOLLUM BUSINESS LLC                                CREEKRIDGE CAPITAL, LLC          D
2.8       435 PROVIDENCE DR
          EASLEY, SC 29642                                                                      E/F

                                                                                                G


          OAKTREE MEDICAL CENTRE, LLC                          FIDUS INVESTMENT CORPORATION     D (s106)
2.9       25 AIRPARK COURT
          GREENVILLE, SC 29607                                                                  E/F

                                                                                                G


          PAIN MANAGEMENT ASSOCIATES OF NORTH CAROLINA, P.C.   FIDUS INVESTMENT CORPORATION     D (s106)
2.10      25 AIRPARK COURT
          GREENVILLE, SC 29607                                                                  E/F

                                                                                                G




Official Form 206H                              Schedule H: Codebtors                           Page 2 of 2
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Fill in this information to identify the case:

             Oaktree Medical Centre, P.C.
Debtor name __________________________________________________________________
                                        Western
United States Bankruptcy Court for the: ______________________             N Carolina
                                                               District of _________
                                                                              (State)
Case number (If known):   _________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/1

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
            may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the            01/01/2019                                     
                                                                                               ✔   Operating a business               13,791,719.00
           fiscal year to filing date:     From ___________
                                                  MM / DD / YYYY
                                                                    to     Filing date            Other _______________________    $________________

                                                01/01/2018                 12/31/2018
           For prior year:                 From ___________         to     ___________         
                                                                                               ✔   Operating a business               28,139,510.00
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________
                                                01/01/2017                 12/31/2017
           For the year before that:       From ___________         to     ___________         
                                                                                               ✔   Operating a business               24,123,482.00
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                               Description of sources of revenue   Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                          Rental income from sub-leases         35,022.00
                                            01/01/2019                                        ___________________________          $________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY


                                                01/01/2018                  12/31/2018
           For prior year:                 From ___________         to      ___________       Rental income from sub-leases         50,283.00
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________



                                                01/01/2017                  12/31/2017
           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY
                                                                                              Rental income from sub-leases         52,849.00
                                                                                              ___________________________          $________________




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                    _______________________________________________________                    Case number (if known)_____________________________________
                    Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,25. (This amount may be
    adjusted on 4/01/ and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                         Dates        Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
              See attached Rider 2.3
             __________________________________________         ________       $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                          Services
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________
              
     3.2.

             __________________________________________         ________       $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                          Services
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,25. (This amount may be adjusted on 4/01/ and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                          Dates        Total amount or value         Reasons for payment or transfer
     4.1.
              See attached Rider 2.4
             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code


             Relationship to debtor
             __________________________________________


     4.2.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code



             Relationship to debtor

             __________________________________________



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                    Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     
     ✔      None
            Creditor’s name and address                             Description of the property                                    Date               Value of property
     5.1.

            __________________________________________              ___________________________________________                    ______________     $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code

     5.2.

            __________________________________________              ___________________________________________                    _______________      $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code


 6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     
     ✔      None
             Creditor’s name and address                              Description of the action creditor took                      Date action was       Amount
                                                                                                                                   taken

             __________________________________________             ___________________________________________                  _______________      $___________
             Creditor’s name
             __________________________________________             ___________________________________________
             Street
             __________________________________________
             __________________________________________             Last 4 digits of account number: XXXX– __ __ __ __
             City                          State       ZIP Code


  Part 3:          Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                                   Nature of case                           Court or agency’s name and address                  Status of case

     7.1.
              See attached Rider 3.7
             _________________________________            ______________________________          __________________________________________              Pending
                                                                                                  Name
                                                                                                                                                          On appeal
                                                                                                  __________________________________________
             Case number                                                                          Street                                                  Concluded
                                                                                                  __________________________________________
             _________________________________                                                    __________________________________________
                                                                                                  City                   State             ZIP Code
              

             Case title                                                                             Court or agency’s name and address
                                                                                                                                                          Pending
     7.2.
             _________________________________            ______________________________          __________________________________________              On appeal
                                                                                                  Name
                                                                                                  __________________________________________
                                                                                                                                                          Concluded
             Case number
                                                                                                  Street
                                                                                                  __________________________________________
             _________________________________
                                                                                                  __________________________________________
                                                                                                  City                           State     ZIP Code


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Debtor                Oaktree Medical Centre, PC
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                     Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     
     ✔      None
              Custodian’s name and address                          Description of the property                        Value

             __________________________________________             ______________________________________             $_____________
             Custodian’s name
                                                                    Case title                                         Court name and address
             __________________________________________
             Street
                                                                   ______________________________________            __________________________________________
             __________________________________________                                                              Name
             __________________________________________             Case number                                      __________________________________________
             City                          State       ZIP Code                                                      Street
                                                                   ______________________________________            __________________________________________
                                                                    Date of order or assignment                      __________________________________________
                                                                                                                     City                 State               ZIP Code

                                                                   ______________________________________

 Part 4:           Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     
     ✔      None
             Recipient’s name and address                           Description of the gifts or contributions                   Dates given           Value


            __________________________________________              ___________________________________________                 _________________   $__________
     9.1.
            Recipient’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code


              Recipient’s relationship to debtor
              __________________________________________


            __________________________________________              ___________________________________________                 _________________   $__________
     9.2. Recipient’s name

            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code

              Recipient’s relationship to debtor
              __________________________________________


 Part 5:           Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None
             Description of the property lost and how the loss      Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                               If you have received payments to cover the loss, for                            lost
                                                                    example, from insurance, government compensation, or
                                                                    tort liability, list the total received.
                                                                    List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                    Assets – Real and Personal Property).

              Theft of Medical Supplies / Treatment
             ___________________________________________             None
                                                                    ___________________________________________                  8/1/19
                                                                                                                                _________________    109,414.18
                                                                                                                                                    $__________
              Medications (2 offices)
             ___________________________________________


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                   Name




 Part 6:       Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

             See attached Rider 6.11
            __________________________________________
   11.1.                                                      ___________________________________________
                                                                                                                         ______________      $_________
            Address
                                                              ___________________________________________
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State      ZIP Code


            Email or website address
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________        ___________________________________________
                                                                                                                         ______________      $_________
            Address                                           ___________________________________________
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State      ZIP Code

            Email or website address
            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________


 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________        ___________________________________________                 ______________      $_________

            Trustee                                           ___________________________________________
            __________________________________________




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                   Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


          None

            Who received transfer?                               Description of property transferred or payments received   Date transfer      Total amount or
                                                                 or debts paid in exchange                                  was made           value



   13.1.     See attached Rider 6.13
            __________________________________________           ___________________________________________                ________________    $_________

                                                                 ___________________________________________
            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________




            Who received transfer?
                                                                 ___________________________________________                ________________    $_________

   13.2.    __________________________________________           ___________________________________________

            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________



 Part 7:       Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply
            Address                                                                                              Dates of occupancy


   14.1.     See attached Rider 7.14
            _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
            _______________________________________________________________________
            City                                             State         ZIP Code


   14.2.    _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
            _______________________________________________________________________
            City                                             State         ZIP Code


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                   Name




 Part 8:           Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
     
     ✔     Yes. Fill in the information below.
            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.1.     See attached Rider 8.15
            ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ____________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                           Paper

            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.2.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ___________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                           Paper

 Part 9:           Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

          No.
     
     ✔                                                                       Patient medical and insurance info, address, phone, dob & soc sec.nos.
           Yes. State the nature of the information collected and retained. ___________________________________________________________________
                   Does the debtor have a privacy policy about that information?
                
                      No
                 ✔    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                      No. Go to Part 10.
                   
                   ✔   Yes. Fill in below:
                          Name of plan                                                                           Employer identification number of the plan
                           Oaktree Medical Centre, PC Retirement Plan
                          _______________________________________________________________________                EIN: XX-XXXXXXX
                                                                                                                      ___ ___ – ___ ___ ___ ___ ___ ___ ___

                       Has the plan been terminated?
                       
                       ✔    No
                           Yes



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                     Name




 Part 10:            Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

            None
              Financial institution name and address       Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.        See attached Rider 10.18
               ______________________________________      XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
              Name
                                                                                            Savings
              ______________________________________
              Street                                                                        Money market
              ______________________________________
                                                                                            Brokerage
              ______________________________________
              City                  State       ZIP Code                                    Other______________

   18.2.       ______________________________________      XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
              Name
                                                                                            Savings
              ______________________________________
              Street                                                                        Money market
              ______________________________________
                                                                                            Brokerage
              ______________________________________
              City                  State       ZIP Code                                    Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

        ✔
             None

                Depository institution name and address    Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

               ______________________________________      __________________________________         __________________________________                 No
              Name
                                                           __________________________________         __________________________________
                                                                                                                                                         Yes
              ______________________________________
              Street                                       __________________________________         __________________________________             
              ______________________________________
              ______________________________________        Address
                                                                                                                                                     
              City                  State       ZIP Code
                                                           ____________________________________

                                                           ____________________________________

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

            None

                Facility name and address                  Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
                See attached Rider 10.20
               ______________________________________
              Name
                                                           __________________________________         __________________________________
                                                                                                                                                       Yes
              ______________________________________
                                                           __________________________________         __________________________________              
              Street                                       __________________________________         __________________________________
              ______________________________________
              ______________________________________         Address                                                                                  
              City                  State       ZIP Code
                                                           ________________________________

                                                           _________________________________



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                 Name




 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                              Location of the property                  Description of the property                 Value

                                                                                                                                                      $_______
          ______________________________________                __________________________________        __________________________________
          Name
                                                                __________________________________        __________________________________
          ______________________________________
          Street                                                __________________________________        __________________________________
          ______________________________________
          ______________________________________
          City                  State         ZIP Code




 Part 12:        Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                     Court or agency name and address                 Nature of the case                       Status of case

          _________________________________
                                                         _____________________________________            __________________________________         Pending
          Case number                                    Name
                                                                                                          __________________________________
                                                                                                                                                     On appeal

          _________________________________
                                                         _____________________________________
                                                         Street
                                                                                                                                                     Concluded
                                                                                                          __________________________________
                                                         _____________________________________                                                    
                                                         _____________________________________
                                                         City                    State     ZIP Code




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                           Governmental unit name and address               Environmental law, if known            Date of notice


          __________________________________             _____________________________________            __________________________________       __________
          Name                                           Name
                                                                                                          __________________________________
          __________________________________             _____________________________________
          Street                                         Street                                           __________________________________
          __________________________________             _____________________________________
          __________________________________             _____________________________________
          City                  State    ZIP Code        City                   State      ZIP Code




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                   Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                      Governmental unit name and address               Environmental law, if known                Date of notice


            __________________________________        ______________________________________           __________________________________           __________
            Name                                      Name
                                                                                                       __________________________________
            __________________________________        ______________________________________
            Street                                    Street                                           __________________________________
            __________________________________        ______________________________________
            __________________________________        ______________________________________
            City                  State    ZIP Code   City                 State        ZIP Code




 Part 13:            Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.

                                                                                                                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
   25.1.    __________________________________         _____________________________________________
            Name                                                                                                Dates business existed
                                                       _____________________________________________
            __________________________________
            Street                                     _____________________________________________
            __________________________________                                                                  From _______         To _______
            __________________________________
            City                  State    ZIP Code




            Business name and address                  Describe the nature of the business                      Employer Identification number
   25.2.                                                                                                        Do not include Social Security number or ITIN.

            __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                                                                                Dates business existed
                                                       _____________________________________________
            __________________________________
            Street                                     _____________________________________________
            __________________________________                                                                  From _______         To _______
            __________________________________
            City                  State    ZIP Code



            Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.

   25.3.    __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                       _____________________________________________            Dates business existed
            __________________________________
            Street                                     _____________________________________________
            __________________________________
            __________________________________
                                                                                                                From _______         To _______
            City                  State    ZIP Code




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                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                  Dates of service

                                                                                                                     4/11/16
                                                                                                                From _______          8/22/19
                                                                                                                                   To _______
   26a.1.     Christine Ouellette
              __________________________________________________________________________________
              Name
              7 Stono Drive
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
               Greenville                                   SC                  29609
              __________________________________________________________________________________
              City                                                State                 ZIP Code


              Name and address                                                                                  Dates of service

                                                                                                                     4/6/15
                                                                                                                From _______          3/8/19
                                                                                                                                   To _______
   26a.2.      David Webb
              __________________________________________________________________________________
              Name
               220 Chelsea Place Ave.
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
               Ormond Beach                                 FL                  32174
              __________________________________________________________________________________
              City                                                State                 ZIP Code



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                     Name and address                                                                           Dates of service

                                                                                                                From _______          present
                                                                                                                                   To _______
         26b.1.       Elliott Davis, LLC
                     ______________________________________________________________________________
                     Name
                      200 E. Broad Street
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                      Greenville                                   SC                  29601
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code


                     Name and address                                                                           Dates of service

                                                                                                                From _______       To _______
         26b.2.       Dixon Hughes Goodman, LP
                     ______________________________________________________________________________
                     Name
                      11 Brendan Way
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                      Greenville                                   SC                  29615
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                     Name and address                                                                           If any books of account and records are
                                                                                                                unavailable, explain why


         26c.1.       See attached Rider 13.26c
                     ______________________________________________________________________________             _________________________________________
                     Name
                                                                                                                _________________________________________
                     ______________________________________________________________________________
                     Street                                                                                     _________________________________________
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



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                     Name




                       Name and address                                                                         If any books of account and records are
                                                                                                                unavailable, explain why


           26c.2.      ______________________________________________________________________________           _________________________________________
                       Name
                                                                                                                _________________________________________
                       ______________________________________________________________________________
                       Street                                                                                   _________________________________________
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                    None

                       Name and address


           26d.1.       See attached Rider 13.26d
                       ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code


                       Name and address


           26d.2.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
  
  ✔         No
          Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                    inventory    other basis) of each inventory


              ______________________________________________________________________               _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State        ZIP Code




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            Name of the person who supervised the taking of the inventory                     Date of           The dollar amount and basis (cost, market, or
                                                                                              inventory         other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name
            ______________________________________________________________________
            Street
            ______________________________________________________________________
            ______________________________________________________________________
            City                                                    State         ZIP Code


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

            Name                                Address                                              Position and nature of any             % of interest, if any
                                                                                                     interest
             Dr. Daniel A. McCollum             435 Providence Way, Easley, SC 29642                  Owner / Shareholder                     100%
            ____________________________        _____________________________________________        ____________________________            _______________
             Aaron Kibbey                       1166 6th Ave., New York, NY 10036                       Chief Restructuring Officer
            ____________________________        _____________________________________________        ____________________________            _______________
             Timothy Daileader                  630 Third Ave., 21st Floor, New York, NY 10017          Independent Board Member
            ____________________________        _____________________________________________        ____________________________            _______________

            ____________________________        _____________________________________________        ____________________________            _______________

            ____________________________        _____________________________________________        ____________________________            _______________

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
        No
 
  ✔        Yes. Identify below.

            Name                                Address                                               Position and nature of          Period during which
                                                                                                      any interest                    position or interest was
                                                                                                                                      held
             Michael Brohm                      4221 River Bottom Drive, Norcross, GA 30092             Chief Executive Officer            4/18     3/19
            ____________________________        _____________________________________________         ______________________          From _____ To _____
             David Webb                         220 Chelsea Place Ave., Ormond Bch, FL 32174            Chief Financial Officer            4/15     3/19
            ____________________________        _____________________________________________         ______________________          From _____ To _____

            ____________________________        _____________________________________________         ______________________          From _____ To _____

            ____________________________        _____________________________________________         ______________________          From _____ To _____

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
 
  ✔        Yes. Identify below.

            Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                     description and value of                                providing the value
                                                                                     property


   30.1.
             See attached Rider 13.30
            ______________________________________________________________            _________________________           _____________       ____________
            Name
            ______________________________________________________________
            Street                                                                                                       _____________
            ______________________________________________________________
            ______________________________________________________________                                               _____________
            City                                     State          ZIP Code

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13
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Debtor                Oaktree Medical Centre, PC
                     _______________________________________________________                        Case number (if known)_____________________________________
                     Name




              Name and address of recipient
                                                                                            __________________________     _____________       ______________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________
              ______________________________________________________________
              Street                                                                                                       _____________
              ______________________________________________________________
              ______________________________________________________________                                               _____________
              City                                            State      ZIP Code


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
            No
     
     ✔       Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation
               Oaktree Medical Centre, P.C.
              ______________________________________________________________                                    5 ___
                                                                                                         EIN: ___  8 – ___
                                                                                                                        2 ___
                                                                                                                           3 ___
                                                                                                                              3 ___
                                                                                                                                 2 ___
                                                                                                                                    0 ___
                                                                                                                                       8 ___
                                                                                                                                          1



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 Part 14:              Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on        09 / 18 / 2019
                               _________________
                                MM / DD / YYYY



             ___________________________________________________________                              Aaron Kibbey
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Chief Restructuring Officer
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14
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Debtor: Oaktree Medical Centre, P.C.                                                                    Case number (if known):

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   and every 3 years after that with respect to cases filed on or after the date of adjustment.)
      None

       Creditor's name and address                           Dates              Total amount or value        Reasons for payment or transfer
3.1    ACCIDENT FUND (WORKERS COMP)-EFT                     07/15/2019                     $4,046.90         OTHER INSURANCE
       PO BOX 77000
       DEPT 77125                                           08/12/2019                     $3,988.48         OTHER INSURANCE
       DETROIT, MI 48277-0125                                              SUBTOTAL        $8,035.38




3.2    ACCOUNTEMPS - ROBERT HALF                            07/05/2019                     $3,445.34         TEMP SERVICES
       12400 COLLECTIONS CENTER DRIVE
       CHICAGO, IL 60693                                    07/19/2019                     $6,415.06         TEMP SERVICES
                                                            08/26/2019                     $5,607.16         TEMP SERVICES
                                                                           SUBTOTAL       $15,467.56


3.3    AGILENT TECHNOLOGIES, INC.                           06/21/2019                     $2,590.92         LAB SUPPLIES
       4187 COLLECTIONS CENTER DRIVE
       CHICAGO, IL 60693                                    07/05/2019                     $4,016.55         LAB SUPPLIES
                                                            07/19/2019                     $4,986.56         LAB SUPPLIES
                                                                           SUBTOTAL       $11,594.03


3.4    AMERICAN EXPRESS                                     07/12/2019                    $29,524.40         CREDIT CARD
       PO BOX 650448
       DALLAS, TX 75265-0448                                08/19/2019                     $5,000.00         CREDIT CARD
                                                                           SUBTOTAL       $34,524.40



3.5    ASBURY MED-SURE, LLC (ROGER YAPP)                    07/12/2019                    $24,813.08         PROFESSIONAL FEES
       1560 ASBURY AVE
       WINNETKA, IL 60093                                                  SUBTOTAL       $24,813.08




3.6    BIOVENTUS LLC                                        06/28/2019                      $900.00          DIRECT MEDICAL
       PO BOX 732823
       DALLAS, TX 75373-2823                                07/05/2019                     $7,800.00         DIRECT MEDICAL
                                                                           SUBTOTAL        $8,700.00



3.7    BMC GROUP INC                                        08/22/2019                    $12,500.00         PROFESSIONAL FEES
       600 FIRST AVE
       SEATTLE, WA 98104                                    09/12/2019                     $2,460.00         PROFESSIONAL FEES
                                                                           SUBTOTAL       $14,960.00



3.8    BOSTON SCIENTIFIC CORP                               06/21/2019                     $3,515.15         DIRECT MEDICAL
       PO BOX 951653
       DALLAS, TX 75395-1653                                06/28/2019                     $2,338.21         DIRECT MEDICAL
                                                            07/05/2019                     $2,786.03         DIRECT MEDICAL
                                                            07/12/2019                      $860.26          DIRECT MEDICAL
                                                            07/19/2019                     $5,090.30         DIRECT MEDICAL
                                                                           SUBTOTAL       $14,589.95

3.9    COFFEY FAMILY MEDICAL                                06/20/2019                    $55,000.00         INTERCOMPANY TRANSFER
       281 UNDERPASS DR
       ONEIDA, TN 37841                                     06/28/2019                     $4,190.80         INTERCOMPANY TRANSFER
                                                            07/03/2019                    $80,000.00         INTERCOMPANY TRANSFER
                                                            07/18/2019                    $30,000.00         INTERCOMPANY TRANSFER
                                                                           SUBTOTAL     $169,190.80




Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                            Page 1 of 6

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   and every 3 years after that with respect to cases filed on or after the date of adjustment.)
       None

       Creditor's name and address                           Dates              Total amount or value        Reasons for payment or transfer
3.10    COVERYS (MALPRACTICE)                               06/28/2019                     $9,164.00         MALPRACTICE INSURANCE
        PO BOX 981024
        BOSTON, MA 02298                                                   SUBTOTAL        $9,164.00




3.11    DYNAMIC QUEST FKA ENROUTE                           07/12/2019                    $31,177.74         IT SERVICES
        4821 KOGER BLVD
        GREENSBORO, NC 27407                                08/16/2019                    $32,361.60         IT SERVICES
                                                                           SUBTOTAL       $63,539.34



3.12    FAGRON STERILE SERVICES (JCB)                       06/21/2019                      $660.00          DIRECT MEDICAL
        8710 E 34TH ST. N
        WICHITA, KS 67226                                   06/28/2019                     $1,402.50         DIRECT MEDICAL
                                                            07/05/2019                     $2,227.50         DIRECT MEDICAL
                                                            07/12/2019                     $1,443.75         DIRECT MEDICAL
                                                            07/19/2019                     $1,155.00         DIRECT MEDICAL
                                                                           SUBTOTAL        $6,888.75

3.13    FIDUS INVESTMENT CORPORATION                        09/09/2019                  $206,000.00          PAYMENT FOR LIEN RELEASE
        AS LENDER AND COLLATERAL AGENT
        1603 ORRINGTON #810                                 09/17/2019                    $57,037.50         PAYMENT FOR LIEN RELEASE
        EVANSTON, IL 60201                                                 SUBTOTAL     $263,037.50




3.14    FIRST CITIZENS BANK-VISA                            06/28/2019                    $15,349.35         CREDIT CARD
        PO BOX 63038
        CHARLOTTE, NC 28263-3038                                           SUBTOTAL       $15,349.35




3.15    GOS-GREENVILLE OFFICE SUPPLY                        06/21/2019                     $2,615.64         OFFICE SUPPLIES
        PO BOX 3358
        GREENVILLE, SC 29602                                06/28/2019                     $3,107.39         OFFICE SUPPLIES
                                                            07/05/2019                     $2,763.65         OFFICE SUPPLIES
                                                            07/12/2019                     $1,146.60         OFFICE SUPPLIES
                                                            07/19/2019                      $369.30          OFFICE SUPPLIES
                                                                           SUBTOTAL       $10,002.58

3.16    HENRY SCHEIN                                        06/21/2019                     $3,025.73         DIRECT MEDICAL
        PO BOX 371952
        PITTSBURG, PA 15250-7952                            06/28/2019                     $7,624.05         DIRECT MEDICAL
                                                            07/05/2019                     $9,436.41         DIRECT MEDICAL
                                                            07/12/2019                     $7,633.47         DIRECT MEDICAL
                                                            07/19/2019                     $7,805.17         DIRECT MEDICAL
                                                            07/26/2019                    $10,297.97         DIRECT MEDICAL
                                                                           SUBTOTAL       $45,822.80

3.17    HI-BLUECHOICE HEALTHPLAN                            07/19/2019                  $153,381.00          HEALTH INSURANCE
        PO BOX 6000
        COLUMBIA, SC 29260-6000                             08/14/2019                  $153,490.25          HEALTH INSURANCE
                                                                           SUBTOTAL     $306,871.25




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   and every 3 years after that with respect to cases filed on or after the date of adjustment.)
       None

       Creditor's name and address                           Dates              Total amount or value        Reasons for payment or transfer
3.18    HI-LINCOLN NATIONAL LIFE INSURANCE CO.              07/19/2019                     $9,706.82         OTHER INSURANCE
        PO BOX 0821
        CAROL STREAM, IL 60132-0821                                        SUBTOTAL        $9,706.82




3.19    HI-LINCOLN NATIONAL LIFE-DENTAL                     08/02/2019                     $9,503.42         OTHER INSURANCE
        PO BOX 0821
        CAROL STREAM, IL 60132                              08/09/2019                     $9,119.90         OTHER INSURANCE
                                                                           SUBTOTAL       $18,623.32



3.20    HI-PROBENEFITS, INC. - EFT                          06/25/2019                     $2,983.53         OTHER INSURANCE
        PO BOX 896200
        CHARLOTTE, NC 28289                                 07/09/2019                     $4,915.12         OTHER INSURANCE
                                                            07/23/2019                     $8,016.89         OTHER INSURANCE
                                                            08/06/2019                     $8,235.55         OTHER INSURANCE
                                                            08/26/2019                     $4,590.14         EMPLOYEE BENEFITS
                                                                           SUBTOTAL       $28,741.23

3.21    HI-PRUDENTIAL GROUP INSURANCE                       08/02/2019                    $10,203.41         OTHER INSURANCE
        PO BOX 101241
        ATLANTA, GA 30392-1241                                             SUBTOTAL       $10,203.41




3.22    HURON CONSULTING SERVICES, LLC                      06/28/2019                  $199,402.26          PROFESSIONAL FEES
        4795 PAYSPHERE CIRCLE
        CHICAGO, IL 60674                                   08/09/2019                  $234,396.57          PROFESSIONAL FEES
                                                            08/28/2019                    $56,000.00         PROFESSIONAL FEES
                                                            09/11/2019                  $188,000.00          PROFESSIONAL FEES
                                                            09/17/2019                    $64,179.55         PROFESSIONAL FEES
                                                            09/18/2019                  $148,734.00          PROFESSIONAL FEES
                                                                           SUBTOTAL     $890,712.38

3.23    IMMEDION, LLC                                       06/21/2019                     $2,125.00         IT SUPPORT
        PO BOX 745116
        ATLANTA, GA 30374-5116                              07/05/2019                    $10,800.45         IT SUPPORT
                                                            09/06/2019                     $6,319.70         IT SERVICES
                                                                           SUBTOTAL       $19,245.15


3.24    ION TECHNOLOGY SUPPORT INC                          06/28/2019                     $6,444.00         LAB SUPPLIES
        1204 COPELAND OAKS DRIVE
        MORRISVILLE, NC 27560                               07/05/2019                     $2,550.00         LAB SUPPLIES
                                                                           SUBTOTAL        $8,994.00



3.25    MCGUIREWOODS LLP                                    06/28/2019                  $213,699.63          PROFESSIONAL FEES
        ATTN: ACCOUNTS RECEIVABLE
        800 E CANAL STREET                                  08/09/2019                  $163,808.60          PROFESSIONAL FEES
        RICHMOND, VA 23219-3916                             08/23/2019                  $150,000.00          PROFESSIONAL FEES
                                                            08/28/2019                    $50,000.00         PROFESSIONAL FEES
                                                            09/11/2019                    $84,000.00         PROFESSIONAL FEES
                                                            09/18/2019                    $61,620.00         PROFESSIONAL FEES
                                                                           SUBTOTAL     $723,128.23




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   and every 3 years after that with respect to cases filed on or after the date of adjustment.)
       None

       Creditor's name and address                           Dates              Total amount or value        Reasons for payment or transfer
3.26    MCKESSON MEDICAL-SURGICAL                           06/21/2019                      $759.32          DIRECT MEDICAL
        PO BOX 634404
        CINCINNATI, OH 45263-4404                           07/12/2019                     $9,206.85         DIRECT MEDICAL
                                                            07/19/2019                      $404.19          DIRECT MEDICAL
                                                                           SUBTOTAL       $10,370.36


3.27    MEDTRONIC INC. USA                                  06/28/2019                     $9,561.21         DIRECT MEDICAL
        PO BOX 409201
        ATLANTA, GA 30384-9201                              07/19/2019                      $455.80          DIRECT MEDICAL
                                                                           SUBTOTAL       $10,017.01



3.28    RE - ROJAS LANDSCAPING, LLC (1099)                  06/21/2019                     $5,160.00         VENDOR
        228 OLD CEDAR ROCK RD
        EASLEY, SC 29640                                    07/05/2019                     $5,365.00         VENDOR
                                                            07/19/2019                     $8,222.50         VENDOR
                                                                           SUBTOTAL       $18,747.50


3.29    RENT - DOUBLE DUTCH - MYRTLE BEACH                  07/03/2019                     $8,317.55         RENT
        1801 NEW HANOVER MEDICAL PARK DRIVE
        WILMINGTON, NC 28403                                               SUBTOTAL        $8,317.55




3.30    RENT - GREAT HERON - W COLUMBIA EFT                 07/03/2019                     $7,460.00         RENT
        FRANK HAHNE
        208 BARNACLE CIRCLE                                                SUBTOTAL        $7,460.00
        LEXINGTON, SC 29072




3.31    RENT - GROVE 1005 - GROVE RD                        07/03/2019                    $23,450.81         RENT - RELATED PARTY
        GREENVILLE
        25 AIRPARK COURT                                    08/15/2019                    $23,317.45         RENT - RELATED PARTY
        GREENVILLE, SC 29607                                               SUBTOTAL       $46,768.26




3.32    RENT - HIGHLAND CENTER DRIVE-                       07/03/2019                    $11,079.12         RENT
        COLUMBIA
        C/O TRINITY PARTNERS MANAGEMENT - AR                               SUBTOTAL       $11,079.12
        440 S CHURCH ST, STE 800
        CHARLOTTE, NC 28202




3.33    RENT - INFINITY ENTERPRISES - FLORENCE              07/03/2019                    $26,029.83         RENT
        C/O DR DEAN BANKS
        9303 VENEZIA CIRCLE                                                SUBTOTAL       $26,029.83
        MYRTLE BEACH, SC 29579




3.34    RENT - MARY BLACK HEALTH -                          07/03/2019                    $24,048.44         RENT
        SPARTANBURG
        SRHS-ACCOUNTING                                                    SUBTOTAL       $24,048.44
        ATTN: DANA HORTON
        SPARTANBURG, SC 29303




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       None

       Creditor's name and address                           Dates              Total amount or value        Reasons for payment or transfer
3.35    SC DEPARTMENT OF REVENUE                            06/20/2019                     $8,900.00         IRS RE-PAYMENT
        WITHHOLDING -EFT
        WITHHOLDING                                         07/22/2019                     $8,900.00         IRS RE-PAYMENT
        COLUMBIA, SC 29214-0004                             08/20/2019                     $8,900.00         IRS RE-PAYMENT
                                                                           SUBTOTAL       $26,700.00


3.36    SE CONSTRUCTION, LLC                                06/28/2019                     $3,490.00         REPAIRS
        PO BOX 428
        PIEDMONT, SC 29673                                  07/12/2019                     $2,100.00         REPAIRS
                                                            07/19/2019                     $2,100.00         REPAIRS
                                                                           SUBTOTAL        $7,690.00


3.37    SOUTH STATE BANK                                    07/08/2019                     $2,181.42         BANK FEES
        200 EAST BROAD STREET, SUITE 100
        GREENVILLE, SC 29601                                08/07/2019                     $2,864.95         BANK FEES
                                                            08/30/2019                       $15.00          BANK FEES
                                                            09/09/2019                     $2,389.66         BANK FEES
                                                                           SUBTOTAL        $7,451.03

3.38    TIM DAILEADER (DRIVETRAIN) EFT                      07/12/2019                    $45,979.53         PROFESSIONAL FEES
        257 CENTRAL PARK WEST APT 7A
        NEW YORK, NY 10024                                                 SUBTOTAL       $45,979.53




3.39    TRIZETTO                                            07/19/2019                    $13,084.98         BILLING SYSTEM
        DEPT CH 16897
        PALATINE, IL 60055-6897                             08/02/2019                    $14,927.79         BILLING SYSTEM
                                                                           SUBTOTAL       $28,012.77



3.40    TSYS HEALTH SERVICES                                06/27/2019                       $70.00          BILLING SYSTEM
        12202 AIRPORT WAY
        SUITE 100                                           07/10/2019                     $4,932.97         BILLING SYSTEM
        BROOMFIELD, CO 80021                                07/22/2019                      $762.31          BILLING SYSTEM
                                                            07/23/2019                      $145.00          BILLING SYSTEM
                                                            08/02/2019                      $197.00          BILLING SYSTEM
                                                            08/12/2019                     $5,163.38         BILLING SYSTEM
                                                            08/15/2019                       $60.00          BILLING SYSTEM
                                                            08/20/2019                       $75.00          BILLING SYSTEM
                                                                           SUBTOTAL       $11,405.66

3.41    UNITED STATES TREASURY IRS                          06/25/2019                  $100,000.00          IRS RE-PAYMENT
        C/O INTERNAL REVENUE SERVICE
        KANSAS CITY, MO 64999-0202                          07/25/2019                  $100,000.00          IRS RE-PAYMENT
                                                                           SUBTOTAL     $200,000.00




Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                            Page 5 of 6

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       None

       Creditor's name and address                           Dates              Total amount or value        Reasons for payment or transfer
3.42    UPS - 0EY445 - OMC LAB                              06/21/2019                     $1,124.02         SHIPPING
        PO BOX 7247-0244
        PHILADELPHIA, PA 19170-0001                         06/28/2019                     $1,257.14         SHIPPING
                                                            07/05/2019                      $888.54          SHIPPING
                                                            07/12/2019                     $1,042.42         SHIPPING
                                                            07/19/2019                     $1,116.08         SHIPPING
                                                            07/26/2019                      $922.85          SHIPPING
                                                            08/02/2019                      $915.07          SHIPPING
                                                            08/09/2019                      $868.15          SHIPPING
                                                            08/15/2019                      $568.70          SHIPPING
                                                            08/23/2019                      $465.84          SHIPPING COSTS
                                                                           SUBTOTAL        $9,168.81

3.43    US BANK EQUIPMENT FINANCE                           06/21/2019                     $5,333.75         EQUIPMENT LEASE
        1310 MADRID DT
        MARSHALL, MN 56258                                  07/22/2019                     $5,333.75         EQUIPMENT LEASE
                                                                           SUBTOTAL       $10,667.50



3.44    US COMPOUNDING                                      06/21/2019                     $5,250.00         DIRECT MEDICAL
        1270 DON`S LANE
        CONWAY, AR 72032                                    07/05/2019                     $4,150.00         DIRECT MEDICAL
                                                                           SUBTOTAL        $9,400.00



3.45    WEST INVESTMENT HOLDINGS, LLC                       09/09/2019                  $206,000.00          PAYMENT FOR LIEN RELEASE
        1603 ORRINGTON #810
        EVANSTON, IL 60201                                  09/17/2019                    $57,037.50         PAYMENT FOR LIEN RELEASE
                                                                           SUBTOTAL     $263,037.50



3.46    WILLIS OF NORTH CAROLINA, INC. EFT                  08/01/2019                  $179,735.00          D&O INSURANCE
        29754 NETWORK PLACE
        CHICAGO, IL 60673-1297                              09/17/2019                    $79,500.00         MALPRACTICE INSURANCE
                                                                           SUBTOTAL     $259,235.00



3.47    XACT DATA DISCOVERY                                 07/12/2019                    $20,000.00         DATA SERVICES
        DBA XACT DATA DISCOVERY
        5800 FOXRIDGE DR, STE 406                                          SUBTOTAL       $20,000.00
        MISSION, KS 66202




                                                                            TOTAL      $3,793,491.18




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Debtor: Oaktree Medical Centre, P.C.                                                                     Case number (if known):

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   relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
      None

      Insider's name and address                               Dates             Total amount or value     Reasons for payment or transfer
4.1    BROHM, MICHAEL                                         9/28/2018                     $938.31       1099 PAYMENT
       7203 GLEN FOREST DR                                    9/28/2018                  $12,634.21       WAGES, NET
       GREENVILLE, SC 29607
                                                              10/12/2018                    $938.31       1099 PAYMENT
       Relationship to debtor                                 10/12/2018                 $12,838.97       WAGES, NET
       FORMER CHIEF EXECUTIVE OFFICER                         10/26/2018                    $938.31       1099 PAYMENT
                                                              10/26/2018                 $13,466.07       WAGES, NET
                                                              11/9/2018                     $938.31       1099 PAYMENT
                                                              11/9/2018                  $13,462.81       WAGES, NET
                                                              11/23/2018                    $938.31       1099 PAYMENT
                                                              11/23/2018                 $13,462.81       WAGES, NET
                                                              12/5/2018                     $938.31       1099 PAYMENT
                                                              12/7/2018                  $12,089.90       WAGES, NET
                                                              12/19/2018                    $938.31       1099 PAYMENT
                                                              12/21/2018                 $12,089.91       WAGES, NET
                                                               1/4/2019                    $938.31        1099 PAYMENT
                                                               1/4/2019                  $11,060.91       WAGES, NET
                                                              1/16/2019                     $938.31       1099 PAYMENT
                                                              1/18/2019                  $11,062.15       WAGES, NET
                                                              1/30/2019                    $938.31        1099 PAYMENT
                                                               2/1/2019                  $11,062.15       WAGES, NET
                                                              2/14/2019                     $938.31       1099 PAYMENT
                                                              2/15/2019                  $11,062.14       WAGES, NET
                                                              2/28/2019                    $938.31        1099 PAYMENT
                                                               3/1/2019                  $10,237.12       WAGES, NET
                                                              3/29/2019                    $1,806.44      WAGES, NET
                                                              8/16/2019                    $1,450.00      1099 PAYMENT
                                                                          SUBTOTAL      $159,045.31




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Debtor: Oaktree Medical Centre, P.C.                                                                     Case number (if known):

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   relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
      None

      Insider's name and address                               Dates             Total amount or value     Reasons for payment or transfer
4.2    COFFEY FAMILY MEDICAL                                  9/27/2018                  $25,000.00       CASH FUNDING FOR OPERATIONS
       281 UNDERPASS DR                                       9/28/2018                  $15,000.00       CASH FUNDING FOR OPERATIONS
       ONEIDA, TN 37841
                                                              10/2/2018                    $1,004.01      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
       Relationship to debtor                                 10/9/2018                    $1,752.43      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
       MANAGED BY OAKTREE MEDICAL CENTRE, LLC                 10/23/2018                     $25.06       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              10/24/2018                    $158.20       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              10/24/2018                    $150.00       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              10/24/2018                    $151.25       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              10/25/2018                      $47.39      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              10/25/2018                   $6,747.87      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                               11/7/2018                   $1,752.43      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              11/12/2018                      $95.20      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              12/1/2018                  $14,116.00       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              12/7/2018                   $1,752.43       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              12/19/2018                     $29.68       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              12/19/2018                    $148.79       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              12/20/2018                   $1,354.26      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              12/23/2018                   $5,332.00      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              12/31/2018                 $47,897.00       CASH FUNDING FOR OPERATIONS
                                                               1/7/2019                   $1,752.43       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                               2/4/2019                    $4,755.00      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                               2/7/2019                    $1,752.43      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              2/14/2019                  $70,000.00       CASH FUNDING OF PAYROLL
                                                              2/28/2019                 $140,875.91       CASH FUNDING OF PAYROLL
                                                               3/7/2019                    $1,752.43      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              3/14/2019                     $255.58       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              3/15/2019                  $25,000.00       CASH FUNDING FOR OPERATIONS
                                                              3/28/2019                    $453.95        PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                               4/1/2019                    $1,950.75      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                               4/8/2019                    $1,752.43      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                               5/1/2019                    $1,033.05      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                               5/7/2019                     $412.57       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              5/20/2019                     $433.57       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              5/20/2019                      $44.45       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              5/21/2019                      $31.27       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              5/21/2019                     $172.32       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                               6/7/2019                   $6,900.00       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              6/20/2019                  $55,000.00       CASH FUNDING FOR OPERATIONS
                                                               7/3/2019                  $80,000.00       CASH FUNDING FOR OPERATIONS
                                                              7/10/2019                    $182.83        PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              7/10/2019                     $155.23       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              7/10/2019                      $45.75       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              7/11/2019                      $45.00       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              7/11/2019                     $121.99       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              7/18/2019                  $30,000.00       CASH FUNDING FOR OPERATIONS
                                                              7/23/2019                      $44.20       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              7/23/2019                      $94.50       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              7/24/2019                     $161.81       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                          SUBTOTAL      $547,693.45




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Debtor: Oaktree Medical Centre, P.C.                                                                   Case number (if known):

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      None

      Insider's name and address                               Dates          Total amount or value      Reasons for payment or transfer
4.3    COREY SMITH                                             9/28/2018               UNKNOWN           WAGES, NET
       111 BROOK STONE DR                                     10/12/2018               UNKNOWN           WAGES, NET
       EASLEY, SC 29642
                                                              10/26/2018               UNKNOWN           WAGES, NET
       Relationship to debtor                                  11/9/2018               UNKNOWN           WAGES, NET
       NEPHEW OF OAKTREE MEDICAL CENTRE PC OWNER              11/23/2018               UNKNOWN           WAGES, NET
                                                               12/7/2018               UNKNOWN           WAGES, NET
                                                              12/21/2018               UNKNOWN           WAGES, NET
                                                               1/4/2019                UNKNOWN           WAGES, NET
                                                              1/18/2019                UNKNOWN           WAGES, NET
                                                               2/1/2019                UNKNOWN           WAGES, NET
                                                              2/15/2019                UNKNOWN           WAGES, NET
                                                               3/1/2019                UNKNOWN           WAGES, NET
                                                              3/15/2019                UNKNOWN           WAGES, NET
                                                              3/29/2019                UNKNOWN           WAGES, NET
                                                              4/12/2019                UNKNOWN           WAGES, NET
                                                              4/26/2019                UNKNOWN           WAGES, NET
                                                              5/10/2019                UNKNOWN           WAGES, NET
                                                              5/24/2019                UNKNOWN           WAGES, NET
                                                               6/7/2019                UNKNOWN           WAGES, NET
                                                              6/21/2019                UNKNOWN           WAGES, NET
                                                               7/5/2019                UNKNOWN           WAGES, NET
                                                              7/19/2019                UNKNOWN           WAGES, NET
                                                               8/2/2019                UNKNOWN           WAGES, NET
                                                              8/16/2019                UNKNOWN           WAGES, NET
                                                              8/30/2019                UNKNOWN           WAGES, NET
                                                                       SUBTOTAL        UNKNOWN




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      None

      Insider's name and address                               Dates          Total amount or value      Reasons for payment or transfer
4.4    DALTON, MANDY                                           9/28/2018               UNKNOWN           WAGES, NET
       247 AUDUBON ACRES DRIVE                                10/12/2018               UNKNOWN           WAGES, NET
       EASLEY, SC 29642
                                                              10/26/2018               UNKNOWN           WAGES, NET
       Relationship to debtor                                  11/9/2018               UNKNOWN           WAGES, NET
       EX-WIFE OF OAKTREE MEDICAL CENTRE PC OWNER             11/23/2018               UNKNOWN           WAGES, NET
                                                               12/7/2018               UNKNOWN           WAGES, NET
                                                              12/21/2018               UNKNOWN           WAGES, NET
                                                               1/4/2019                UNKNOWN           WAGES, NET
                                                              1/18/2019                UNKNOWN           WAGES, NET
                                                               2/1/2019                UNKNOWN           WAGES, NET
                                                              2/15/2019                UNKNOWN           WAGES, NET
                                                               3/1/2019                UNKNOWN           WAGES, NET
                                                              3/15/2019                UNKNOWN           WAGES, NET
                                                              3/29/2019                UNKNOWN           WAGES, NET
                                                              4/12/2019                UNKNOWN           WAGES, NET
                                                              4/26/2019                UNKNOWN           WAGES, NET
                                                              5/10/2019                UNKNOWN           WAGES, NET
                                                              5/24/2019                UNKNOWN           WAGES, NET
                                                               6/7/2019                UNKNOWN           WAGES, NET
                                                              6/21/2019                UNKNOWN           WAGES, NET
                                                               7/5/2019                UNKNOWN           WAGES, NET
                                                              7/19/2019                UNKNOWN           WAGES, NET
                                                               8/2/2019                UNKNOWN           WAGES, NET
                                                              8/16/2019                UNKNOWN           WAGES, NET
                                                              8/30/2019                UNKNOWN           WAGES, NET
                                                                       SUBTOTAL        UNKNOWN




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      None

      Insider's name and address                               Dates             Total amount or value     Reasons for payment or transfer
4.5    DANIEL MCCOLLUM                                        9/28/2018                  $13,813.80       1099 PAYMENT
       435 PROVIDENCE DR                                      9/28/2018                   $8,604.95       WAGES, NET
       EASLEY, SC 29642
                                                              10/12/2018                 $13,813.80       1099 PAYMENT
       Relationship to debtor                                 10/12/2018                  $8,604.95       WAGES, NET
       100% OWNERSHIP INTEREST IN DEBTOR                      10/26/2018                 $13,813.80       1099 PAYMENT
                                                              10/26/2018                  $8,608.24       WAGES, NET
                                                              11/9/2018                  $13,813.80       1099 PAYMENT
                                                              11/9/2018                   $8,604.94       WAGES, NET
                                                              11/23/2018                 $13,813.80       1099 PAYMENT
                                                              11/23/2018                  $8,604.95       WAGES, NET
                                                              12/7/2018                  $13,813.80       1099 PAYMENT
                                                              12/7/2018                   $8,604.95       WAGES, NET
                                                              12/21/2018                 $13,813.80       1099 PAYMENT
                                                              12/21/2018                  $8,604.94       WAGES, NET
                                                               1/4/2019                  $13,813.80       1099 PAYMENT
                                                               1/4/2019                  $26,751.41       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                               1/4/2019                    $7,092.13      WAGES, NET
                                                              1/18/2019                    $5,379.38      WAGES, NET
                                                              1/22/2019                  $13,813.80       1099 PAYMENT
                                                               2/1/2019                  $13,813.80       1099 PAYMENT
                                                               2/1/2019                   $5,379.38       WAGES, NET
                                                              2/15/2019                  $13,813.80       1099 PAYMENT
                                                              2/15/2019                   $5,379.37       WAGES, NET
                                                               3/1/2019                  $13,813.80       1099 PAYMENT
                                                               3/1/2019                   $5,379.38       WAGES, NET
                                                              3/14/2019                  $13,813.80       1099 PAYMENT
                                                              3/15/2019                   $5,379.37       WAGES, NET
                                                              3/28/2019                  $13,813.80       1099 PAYMENT
                                                              3/29/2019                   $5,460.37       WAGES, NET
                                                              4/11/2019                  $13,813.80       1099 PAYMENT
                                                              4/12/2019                   $5,379.37       WAGES, NET
                                                              4/26/2019                  $13,813.80       1099 PAYMENT
                                                              4/26/2019                   $5,379.38       WAGES, NET
                                                               5/9/2019                  $13,813.80       1099 PAYMENT
                                                              5/10/2019                   $5,379.38       WAGES, NET
                                                              5/23/2019                  $13,813.80       1099 PAYMENT
                                                              5/24/2019                   $5,379.37       WAGES, NET
                                                               6/6/2019                  $13,813.80       1099 PAYMENT
                                                               6/7/2019                   $5,379.38       WAGES, NET
                                                              6/20/2019                  $13,813.80       1099 PAYMENT
                                                              6/21/2019                   $5,411.96       WAGES, NET
                                                               7/3/2019                  $13,813.80       1099 PAYMENT
                                                               7/5/2019                    $5,942.65      WAGES, NET
                                                              7/19/2019                    $5,942.65      WAGES, NET
                                                               8/2/2019                    $2,678.49      WAGES, NET
                                                              8/16/2019                    $1,648.06      WAGES, NET
                                                                          SUBTOTAL      $465,049.20




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      None

      Insider's name and address                               Dates          Total amount or value      Reasons for payment or transfer
4.6    EXIGO                                                  9/27/2018                 $5,000.00        CASH FUNDING FOR OPERATIONS
       25 AIRPARK COURT                                       9/27/2018                 $1,000.00        CASH FUNDING FOR OPERATIONS
       GREENVILLE, SC 29607
                                                              10/10/2018              $110,805.95        PAYMENT FOR EXPENSES ON COMPANYS BEHALF
       Relationship to debtor                                 12/11/2018                  $300.00        CASH FUNDING FOR OPERATIONS
       100% OWNED BY DEBTOR’S OWNER                           12/12/2018                $1,000.00        CASH FUNDING FOR OPERATIONS
                                                               2/14/2019                $8,500.00        CASH FUNDING FOR OPERATIONS
                                                              2/14/2019                $10,000.00        CASH FUNDING FOR OPERATIONS
                                                              2/14/2019                $10,000.00        CASH FUNDING FOR OPERATIONS
                                                              2/22/2019                 $2,000.00        CASH FUNDING FOR OPERATIONS
                                                              2/28/2019                 $8,500.00        CASH FUNDING FOR OPERATIONS
                                                              3/14/2019                 $5,000.00        CASH FUNDING FOR OPERATIONS
                                                              3/22/2019                $13,000.00        CASH FUNDING FOR OPERATIONS
                                                              3/27/2019                $10,000.00        PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                               5/8/2019                   $550.00        PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              5/10/2019                 $5,000.00        PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              5/21/2019                  $102.21         PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                              5/23/2019                 $5,000.00        PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                               6/7/2019                 $5,500.00        CASH FUNDING FOR OPERATIONS
                                                              6/11/2019                 $5,000.00        PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                               7/3/2019                 $3,100.00        CASH FUNDING FOR OPERATIONS
                                                              7/19/2019                 $1,000.00        CASH FUNDING FOR OPERATIONS
                                                                       SUBTOTAL       $210,358.16


4.7    GRANADA NEIL (1099) - BAM                              10/12/2018                $2,500.00        1099 PAYMENT
       1399 ASHLEYBROOK LANE                                  11/16/2018                $2,500.00        1099 PAYMENT
       SUITE 100
       WINSTON SALEM, NC 27103                                 12/7/2018                $2,500.00        1099 PAYMENT
                                                               1/4/2019                 $2,500.00        1099 PAYMENT
       Relationship to debtor                                 1/25/2019                 $2,500.00        1099 PAYMENT
       FRIENDLY SHAREHOLDER OF PMA OF NC                      2/14/2019                 $2,500.00        1099 PAYMENT
                                                               3/7/2019                 $1,134.00        1099 PAYMENT
                                                              3/14/2019                 $2,500.00        1099 PAYMENT
                                                              4/15/2019                 $2,500.00        1099 PAYMENT
                                                              5/15/2019                 $2,500.00        1099 PAYMENT
                                                              6/14/2019                 $2,500.00        1099 PAYMENT
                                                              7/15/2019                 $2,500.00        1099 PAYMENT
                                                              8/15/2019                 $2,500.00        1099 PAYMENT
                                                                       SUBTOTAL        $31,134.00




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Debtor: Oaktree Medical Centre, P.C.                                                                   Case number (if known):

Part 2:      List Certain Transfers Made Before Filing for Bankruptcy
4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
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   adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line
   3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
   relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
      None

      Insider's name and address                               Dates          Total amount or value      Reasons for payment or transfer
4.8    JOSEPH O`QUINN                                          9/28/2018                $6,633.49        WAGES, NET
       12 KETTERING COURT                                     10/12/2018                $6,634.49        WAGES, NET
       EASLEY, SC 29642
                                                              10/26/2018                $6,635.49        WAGES, NET
       Relationship to debtor                                  11/9/2018                $6,636.49        WAGES, NET
       100% OWNER OF FIRST CHOICE HEALTHCARE                  11/23/2018                $6,637.49        WAGES, NET
                                                               12/7/2018                $6,638.49        WAGES, NET
                                                              12/21/2018                $6,639.49        WAGES, NET
                                                               1/4/2019                 $6,640.49        WAGES, NET
                                                              1/18/2019                 $6,641.49        WAGES, NET
                                                               2/1/2019                 $6,642.49        WAGES, NET
                                                              2/15/2019                 $6,643.49        WAGES, NET
                                                               3/1/2019                 $6,644.49        WAGES, NET
                                                              3/15/2019                 $6,645.49        WAGES, NET
                                                              3/29/2019                 $6,646.49        WAGES, NET
                                                              4/12/2019                 $6,647.49        WAGES, NET
                                                              4/26/2019                 $6,648.49        WAGES, NET
                                                              5/10/2019                 $6,649.49        WAGES, NET
                                                              5/24/2019                 $6,650.49        WAGES, NET
                                                               6/7/2019                 $6,651.49        WAGES, NET
                                                              6/21/2019                 $6,652.49        WAGES, NET
                                                               7/5/2019                 $6,653.49        WAGES, NET
                                                              7/19/2019                 $6,654.49        WAGES, NET
                                                               8/2/2019                 $6,655.49        WAGES, NET
                                                              8/16/2019                 $6,656.49        WAGES, NET
                                                              8/30/2019                 $6,657.49        WAGES, NET
                                                                       SUBTOTAL       $166,137.25




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Debtor: Oaktree Medical Centre, P.C.                                                                   Case number (if known):

Part 2:      List Certain Transfers Made Before Filing for Bankruptcy
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   relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
      None

      Insider's name and address                               Dates          Total amount or value      Reasons for payment or transfer
4.9    JOSEPH O`QUINN/JWO ENTE (1099) BAM                      9/28/2018                $3,846.15        1099 PAYMENT
       JWO ENTERPRISE, LLC                                    10/12/2018                $3,846.15        1099 PAYMENT
       12 KETTERING CT
       EASLEY, SC 29642                                       10/26/2018               $11,846.15        1099 PAYMENT
                                                               11/9/2018                $3,846.15        1099 PAYMENT
       Relationship to debtor                                 11/23/2018                $3,846.15        1099 PAYMENT
       100% OWNER OF FIRST CHOICE HEALTHCARE                   12/5/2018                $3,846.15        1099 PAYMENT
                                                              12/19/2018                $3,846.15        1099 PAYMENT
                                                               1/4/2019                 $3,846.15        1099 PAYMENT
                                                              1/16/2019                 $3,846.15        1099 PAYMENT
                                                              1/30/2019                 $3,846.15        1099 PAYMENT
                                                              2/14/2019                 $3,846.15        1099 PAYMENT
                                                              2/28/2019                 $3,846.15        1099 PAYMENT
                                                              3/14/2019                 $3,846.15        1099 PAYMENT
                                                              3/28/2019                 $3,846.15        1099 PAYMENT
                                                              4/11/2019                 $3,846.15        1099 PAYMENT
                                                              4/26/2019                 $3,846.15        1099 PAYMENT
                                                              5/10/2019                 $3,846.15        1099 PAYMENT
                                                              5/23/2019                 $3,846.15        1099 PAYMENT
                                                               6/6/2019                 $3,846.15        1099 PAYMENT
                                                              6/20/2019                 $3,846.15        1099 PAYMENT
                                                              6/28/2019                  $600.00         1099 PAYMENT
                                                               7/3/2019                 $3,846.15        1099 PAYMENT
                                                              7/18/2019                 $3,846.15        1099 PAYMENT
                                                              7/26/2019                  $155.00         1099 PAYMENT
                                                               8/1/2019                 $3,846.15        1099 PAYMENT
                                                              8/15/2019                 $3,846.15        1099 PAYMENT
                                                              8/29/2019                 $3,846.15        1099 PAYMENT
                                                              9/17/2019                $12,980.77        1099 PAYMENT
                                                                       SUBTOTAL       $117,889.52




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Debtor: Oaktree Medical Centre, P.C.                                                                     Case number (if known):

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   3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
   relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
       None

       Insider's name and address                              Dates             Total amount or value     Reasons for payment or transfer
4.10   MCCOLLUM, JAMES                                        9/21/2018                     $557.15       1099 PAYMENT
       409 HAVERHILL CIRCLE                                   10/5/2018                    $1,606.13      1099 PAYMENT
       EASLEY, SC 29642
                                                              10/19/2018                    $401.28       1099 PAYMENT
       Relationship to debtor                                  11/2/2018                    $654.18       1099 PAYMENT
       RELATIVE OF OWNER                                      11/16/2018                    $351.50       1099 PAYMENT
                                                              11/30/2018                    $363.50       1099 PAYMENT
                                                              12/14/2018                    $391.22       1099 PAYMENT
                                                              12/28/2018                   $1,622.08      1099 PAYMENT
                                                              1/11/2019                     $298.52       1099 PAYMENT
                                                              1/25/2019                     $687.86       1099 PAYMENT
                                                               2/8/2019                     $900.68       1099 PAYMENT
                                                              2/22/2019                    $1,538.84      1099 PAYMENT
                                                               3/8/2019                     $441.37       1099 PAYMENT
                                                              3/22/2019                     $309.49       1099 PAYMENT
                                                               4/5/2019                     $500.94       1099 PAYMENT
                                                              4/19/2019                     $346.39       1099 PAYMENT
                                                               5/3/2019                     $852.50       1099 PAYMENT
                                                              5/17/2019                     $431.03       1099 PAYMENT
                                                              5/31/2019                     $355.36       1099 PAYMENT
                                                              6/14/2019                     $502.33       1099 PAYMENT
                                                              6/28/2019                     $595.42       1099 PAYMENT
                                                               7/5/2019                     $525.00       1099 PAYMENT
                                                              7/12/2019                     $435.12       1099 PAYMENT
                                                              7/19/2019                     $775.00       1099 PAYMENT
                                                              7/26/2019                     $451.47       1099 PAYMENT
                                                              8/26/2019                    $2,319.08      1099 PAYMENT
                                                                          SUBTOTAL       $18,213.44


4.11   PROCARE FLIGHT, LLC                                     1/4/2019                  $26,751.41       REIMBURSEMENT FOR TRAVEL
       25 AIRPARK CT                                                      SUBTOTAL       $26,751.41
       GREENVILLE, SC 29607

       Relationship to debtor
       100% OWNED BY DEBTOR’S OWNER


4.12   RENT - GROVE 1005 - GROVE RD                           9/28/2018                  $35,053.00       RENT PAYMENT
       GREENVILLE                                             11/5/2018                  $35,053.00       RENT PAYMENT
       25 AIRPARK COURT
       GREENVILLE, SC 29607                                   11/30/2018                 $22,100.00       RENT PAYMENT
                                                              12/28/2018                 $22,000.00       RENT PAYMENT
       Relationship to debtor                                  2/1/2019                  $22,100.00       RENT PAYMENT
       100% OWNED BY DEBTOR’S OWNER                            3/4/2019                  $21,000.00       RENT PAYMENT
                                                              3/14/2019                     $938.31       1099 PAYMENT
                                                              3/29/2019                  $23,412.12       RENT PAYMENT
                                                               5/3/2019                  $21,924.82       RENT PAYMENT
                                                              5/31/2019                  $21,929.38       RENT PAYMENT
                                                               7/3/2019                  $23,450.81       RENT PAYMENT
                                                              8/15/2019                  $23,317.45       RENT PAYMENT
                                                                          SUBTOTAL      $272,278.89




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Debtor: Oaktree Medical Centre, P.C.                                                                   Case number (if known):

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   relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
       None

       Insider's name and address                              Dates           Total amount or value     Reasons for payment or transfer
4.13   TIM DAILEADER (DRIVETRAIN) EFT                         10/19/2018               $23,024.32        INDEPENDENT BOARD MEMBER FEES
       257 CENTRAL PARK WEST APT 7A                            3/12/2019               $50,424.66        INDEPENDENT BOARD MEMBER FEES
       NEW YORK, NY 10024
                                                               5/3/2019                $46,176.19        INDEPENDENT BOARD MEMBER FEES
       Relationship to debtor                                 7/12/2019                $45,979.53        INDEPENDENT BOARD MEMBER FEES
       BOARD MEMBER OF DEBTOR                                          SUBTOTAL       $165,604.70


4.14   WEBB, DAVID                                             9/28/2018                 $5,662.10       WAGES, NET
       220 CHELSEA PLACE AVE                                  10/12/2018                 $5,662.10       WAGES, NET
       ORMOND, FL 32174
                                                              10/26/2018                 $5,664.91       WAGES, NET
       Relationship to debtor                                  11/9/2018                 $5,662.11       WAGES, NET
       FORMER CHIEF FINANCIAL OFFICER                         11/23/2018                 $5,662.10       WAGES, NET
                                                               12/7/2018                 $5,659.50       WAGES, NET
                                                              12/21/2018                 $5,833.60       WAGES, NET
                                                               1/4/2019                  $5,063.57       WAGES, NET
                                                              1/18/2019                  $5,064.82       WAGES, NET
                                                               2/1/2019                  $5,064.82       WAGES, NET
                                                              2/15/2019                  $5,064.82       WAGES, NET
                                                               3/1/2019                  $5,064.82       WAGES, NET
                                                                       SUBTOTAL        $65,129.27


4.15   WEBB, KIMBERLY                                          9/28/2018               UNKNOWN           WAGES, NET
       220 CHELSEA PLACE AVE                                  10/12/2018               UNKNOWN           WAGES, NET
       APT A
       ORMOND, FL 32174                                       10/26/2018               UNKNOWN           WAGES, NET
                                                               11/9/2018               UNKNOWN           WAGES, NET
       Relationship to debtor                                 11/23/2018               UNKNOWN           WAGES, NET
       SPOUSE OF FORMER CHIEF FINANCIAL OFFICER                12/7/2018               UNKNOWN           WAGES, NET
                                                              12/21/2018               UNKNOWN           WAGES, NET
                                                               1/4/2019                UNKNOWN           WAGES, NET
                                                              1/18/2019                UNKNOWN           WAGES, NET
                                                               2/1/2019                UNKNOWN           WAGES, NET
                                                              2/15/2019                UNKNOWN           WAGES, NET
                                                               3/1/2019                UNKNOWN           WAGES, NET
                                                              3/15/2019                UNKNOWN           WAGES, NET
                                                              3/29/2019                UNKNOWN           WAGES, NET
                                                              4/12/2019                UNKNOWN           WAGES, NET
                                                              4/26/2019                UNKNOWN           WAGES, NET
                                                              5/10/2019                UNKNOWN           WAGES, NET
                                                              5/24/2019                UNKNOWN           WAGES, NET
                                                               6/7/2019                UNKNOWN           WAGES, NET
                                                              6/21/2019                UNKNOWN           WAGES, NET
                                                                       SUBTOTAL        UNKNOWN


                                                                           TOTAL     $2,245,284.60 PLUS UNKNOWN




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Oaktree Medical Centre, P.C.                                                                                                                         Case Number:
          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 3:
          Legal Actions of Assignments
7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits within 1 year before filing this case




          CASE TITLE                               CASE NUMBER                 NATURE OF CASE                               COURT OR AGENCY'S NAME AND ADDRESS            STATUS

7.1       Georgetown Physician Services v. FCHC,   CA No. 2017‐CP‐26‐03112    Lawsuit from provider's former             15th Judicial Circuit ‐ Horry County, SC         Active ‐ Discovery
          Dr. Snoderly                                                        employer                                   1301 2nd Ave., Conway, SC 29626


7.2       Leche v. EmergencyMD (v. PMA)            CA No. 2018‐CP‐23‐01439    PMA became third‐party defendant to        13th Judicial Circuit ‐ Greenville County, SC    Active ‐ Discovery
                                                                              provider's lawsuit against former          305 E North St. #325, Greenville, SC 29601
                                                                              employer.




7.3       Cassidy v. OMC, Dr. Morris Solis         CA No. 2018‐CP‐21‐2365     Medical malpractice lawsuit against Dr.    12th Judicial Circuit ‐ Florence County, SC      Active ‐ Discovery
                                                                              Morris Solis and Oaktree re: patient       180 N Irby St #11
                                                                              overdose death                             Florence, SC 29501
7.4       Elleithee v. Oaktree, Dr. Morris Solis   CA No. 2018‐CP‐32‐03126    Medical malpractice lawsuit against Dr.    Lexington County, SC                             Active ‐ Discovery
                                                                              Morris Solis and Oaktree                   205 E Main St Suite 309, Lexington, SC
7.5       Norma Lee Wilson v. Colton Lowe,         2019‐CV‐9264               Sexual assault claims lawsuit against      Scott County Circuit Court ‐ TN                  Active ‐ Discovery
          Advanced Spine and Pain, PC, et al.                                 former Coffey physician assistant Colton   575 Scott High Dr #B, Huntsville, TN 37756
                                                                              Lowe, Bruce Coffey, and
                                                                              CFMC/Advanced Spine and Pain
7.6       Donna Rauch v. OMC, McCollum, and        CA No. 2019‐CP‐23‐02961    Lawsuit from former employee alleging      13th Judicial Circuit ‐ Greenville County, SC    Active ‐ Discovery
          Webb                                                                breach of settlement agreement from        305 E North St. #325, Greenville, SC 29601
                                                                              prior lawsuit
7.7       Imaging Solutions                        CA No. 2017‐CP‐23‐07952    Judgment against Oaktree PC for $150K      13th Judicial Circuit ‐ Greenville County, SC    Judgment
                                                                              in North Dakota for breach of contract     305 E North St. #325, Greenville, SC 29601
                                                                              with leasing company
7.8       Karen Mathewson v. OMC                   EEOC #: 14C‐2017‐00802     Age discrimination complaint from          EEOC; DOL                                        Settled
                                                   and SHAC # 2‐17‐307D, A,   former employee
                                                   RET
7.9       Sapp v. FCHC, Carol Ann Berry            CA No. 2018‐CP‐21‐862      Medical malpractice lawsuit against        12th Judicial Circuit ‐ Florence County, SC      Settled
                                                                              Carol Ann Berry (mid‐level provider in     180 N Irby St #11
                                                                              Florence) and FirstChoice                  Florence, SC 29501
7.10      Stephanie Webb v. OMC                    CA No. 2018‐CP‐32‐0____; Discrimination complaint from former         11th Judicial Circuit ‐ Lexington County, SC;    Settled
                                                   Case No.: 3:18‐cv‐00924‐   employee (Dr. Webb) for pregnancy and      US District Court for the District of South
                                                   JMC‐SVH                    and sex discrimination                     Carolina
7.11      In re: SC Opioid Litigation              CA No. 2018‐CP‐23‐01294 Lawsuit on behalf of county                   13th Judicial Circuit ‐ Greenville County, SC    Active ‐ Pleadings
                                                                              governments against dozens of              305 E North St. #325, Greenville, SC 29601
                                                                              pharmacies, practices, providers, etc.,
                                                                              including CVS, Walgreens, Walmart, etc.
7.12      Forgione Patient Complaint               N/A                        Dr. Forgione received a letter from a      N/A                                              Active ‐ Awaiting
                                                                              patient's attorney, demanding that                                                          response from OC
                                                                              patient be released from the practice
                                                                              and demanding that Forgione cease
                                                                              harassing the patient.
7.13      Dixon Board Complaint                    2019‐247                   Patient complaint to the SC DLLR           South Carolina Department of Labor,              Active ‐ Pending
                                                                              accusing Dr. Dixon of                      Licensing and Regulation                         review by OIE
                                                                              neglect/abandonment                        110 Centerview Dr, Columbia, SC 29210
7.14      US v. United Allergy Services, et al.    CA No. 1:14‐cv‐01486.LMM Whistleblower suit from former               US District Court for the Northern District of   Active ‐ Pleadings
                                                                              employee of United Allergy Services,       Georgia
                                                                              with whom OMC did business. Suit           75 Ted Turner Dr NW, Suite 2211, Atlanta,
                                                                              alleges False Claims Act violations.       GA 30303
7.15      US v. OMC PC, et al.                     CA No. 6:15‐cv‐01589‐DCC‐KFConsolidated whistleblower actions re      US District Court for the District of South      Active ‐ Pleadings
                                                                              False Claims Act                           Carolina
                                                                                                                         300 E Washington St #304, Greenville, SC
                                                                                                                         29601
7.16      City of Charleston v. Purdue Pharma LO., CA No. 2019‐CP‐10‐4294     RE: South Carolina Opioid Litigation       South Carolina Court of Common Pleas Ninth       Active ‐ Pending
          et al                                                                                                          Circuit District
                                                                                                                         100 Broad St
                                                                                                                         Charleston, SC 29401
7.17      Coffey v. Coffey Family Medical et al.   11,023                     Alledged breach of lease agreement         Scott Country Chancer Court                      Active ‐ Pleadings
                                                                              with Dr. Coffey                            575 Scott High Dr.
                                                                                                                         Huntsville, TN 37756



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Oaktree Medical Centre, P.C.                                                                                                               Case Number:
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Part 3:
          Legal Actions of Assignments
7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits within 1 year before filing this case




          CASE TITLE                               CASE NUMBER              NATURE OF CASE                           COURT OR AGENCY'S NAME AND ADDRESS   STATUS
7.18      Coffey v. Coffey Family Medical et al.   11,022                  Alledged breach of employment          Scott Country Chancer Court             Active ‐ Pleadings
                                                                           agreement with Dr. Coffey              575 Scott High Dr.
                                                                                                                  Huntsville, TN 37756




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Oaktree Medical Centre, P.C.                                                                                                 Case Number:
          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 6:
          Certain Payments or Transfers
11. Payments related to bankruptcy within 1 year prior to filing.

                                                                                                                     If not money
                                                                                                   Who made
                                                                                                                     describe any
                                                                               Email or            payment, if not   property                    Total amount
          Name                         Address                                 website             debtor?           transferred      Dates      or value

11.1      BMC Group, Inc               600 First Avenue                                                                              8/22/2019          $12,500.00
                                       Seattle, WA 98104
11.2      BMC Group, Inc               600 First Avenue                                                                              9/12/2019           $2,460.00
                                       Seattle, WA 98104
11.3      Huron Consulting             4795 Paysphere Circle                                                                        09/30/2018        $300,000.00
                                       Chicago, IL 60674
11.4      Huron Consulting             4795 Paysphere Circle                                                                        10/25/2018         $50,000.00
                                       Chicago, IL 60674
11.5      Huron Consulting             4795 Paysphere Circle                                                                        11/01/2018         $75,000.00
                                       Chicago, IL 60674
11.6      Huron Consulting             4795 Paysphere Circle                                                                        11/08/2018         $20,515.84
                                       Chicago, IL 60674
11.7      Huron Consulting             4795 Paysphere Circle                                                                        12/31/2018        $319,026.00
                                       Chicago, IL 60674
11.8      Huron Consulting             4795 Paysphere Circle                                                                        03/11/2019        $983,361.25
                                       Chicago, IL 60674
11.9      Huron Consulting             4795 Paysphere Circle                                                                        05/02/2019        $200,253.66
                                       Chicago, IL 60674
11.10     Huron Consulting             4795 Paysphere Circle                                                                        06/07/2019         $98,624.01
                                       Chicago, IL 60674
11.11     Huron Consulting             4795 Paysphere Circle                                                                        06/14/2019         $98,624.01
                                       Chicago, IL 60674
11.12     Huron Consulting             4795 Paysphere Circle                                                                        06/28/2019        $199,402.26
                                       Chicago, IL 60674
11.13     Huron Consulting             4795 Paysphere Circle                                                                        08/09/2019         $46,991.94
                                       Chicago, IL 60674
11.14     Huron Consulting             4795 Paysphere Circle                                                                        08/09/2019        $187,404.63
                                       Chicago, IL 60674
11.15     Huron Consulting             4795 Paysphere Circle                                                                        08/28/2019         $56,000.00
                                       Chicago, IL 60674
11.16     Huron Consulting             4795 Paysphere Circle                                                                        09/11/2019        $188,000.00
                                       Chicago, IL 60674
11.17     Huron Consulting             4795 Paysphere Circle                                                                        09/17/2019         $22,000.00
                                       Chicago, IL 60674
11.18     Huron Consulting             4795 Paysphere Circle                                                                        09/18/2019        $148,734.00
                                       Chicago, IL 60674
11.19     McGuireWoods LLP             Attn: Accounts Receivable                                                                    09/21/2018         $83,234.26
                                       800 E. Canal Street
                                       Richmond, VA 23219-3916
11.20     McGuireWoods LLP             Attn: Accounts Receivable                                                                    10/19/2018         $24,866.62
                                       800 E. Canal Street
                                       Richmond, VA 23219-3916

NOTE: The payments made by Goodrich Petroleum Company, L.L.C. were on behalf of itself and related companies in
contemplation of and connection with the pending bankruptcy cases filed herein.                                                                          Page 1 of 2
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Oaktree Medical Centre, P.C.                                                                                                 Case Number:
          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 6:
          Certain Payments or Transfers
11. Payments related to bankruptcy within 1 year prior to filing.

                                                                                                                     If not money
                                                                                                   Who made
                                                                                                                     describe any
                                                                               Email or            payment, if not   property                    Total amount
          Name                         Address                                 website             debtor?           transferred      Dates      or value

11.21     McGuireWoods LLP             Attn: Accounts Receivable                                                                    12/31/2018         $60,000.00
                                       800 E. Canal Street
                                       Richmond, VA 23219-3916
11.22     McGuireWoods LLP             Attn: Accounts Receivable                                                                    03/12/2019        $173,065.78
                                       800 E. Canal Street
                                       Richmond, VA 23219-3916
11.23     McGuireWoods LLP             Attn: Accounts Receivable                                                                    05/02/2019        $236,252.63
                                       800 E. Canal Street
                                       Richmond, VA 23219-3916
11.24     McGuireWoods LLP             Attn: Accounts Receivable                                                                    06/07/2019         $57,422.00
                                       800 E. Canal Street
                                       Richmond, VA 23219-3916
11.25     McGuireWoods LLP             Attn: Accounts Receivable                                                                    06/14/2019         $57,422.00
                                       800 E. Canal Street
                                       Richmond, VA 23219-3916
11.26     McGuireWoods LLP             Attn: Accounts Receivable                                                                    06/28/2019        $213,699.63
                                       800 E. Canal Street
                                       Richmond, VA 23219-3916
11.27     McGuireWoods LLP             Attn: Accounts Receivable                                                                    08/09/2019        $163,808.60
                                       800 E. Canal Street
                                       Richmond, VA 23219-3916
11.28     McGuireWoods LLP             Attn: Accounts Receivable                                                                    08/23/2019        $150,000.00
                                       800 E. Canal Street
                                       Richmond, VA 23219-3916
11.29     McGuireWoods LLP             Attn: Accounts Receivable                                                                    08/28/2019         $50,000.00
                                       800 E. Canal Street
                                       Richmond, VA 23219-3916
11.30     McGuireWoods LLP             Attn: Accounts Receivable                                                                    09/11/2019         $84,000.00
                                       800 E. Canal Street
                                       Richmond, VA 23219-3916
11.31     McGuireWoods LLP             Attn: Accounts Receivable                                                                    09/18/2019         $61,620.00
                                       800 E. Canal Street
                                       Richmond, VA 23219-3916




NOTE: The payments made by Goodrich Petroleum Company, L.L.C. were on behalf of itself and related companies in
contemplation of and connection with the pending bankruptcy cases filed herein.                                                                          Page 2 of 2
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Oaktree Medical Centre, P.C.                                                                               Case Number:
          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 6:
          Certain Payments or Transfers
13. Transfers not already listed on this statement


                                                Description of property transferred
          Recipient of Transfer                 or payments received or debts paid Date transfer was       Total amount or
          Name and address                      in exchange                         made                   value

13.1      Elite Diagnostics                     Sale of FirstChoice Lab Equipment              8/23/2019         $125,000.00
          9731 ‐ J Southern Pine Blvd.
          Charlotte, NC 28273
13.2      Clarity                               Sale of Other Lab Equipment (POL)              8/28/2019          $24,000.00
          3312 N. Oak St. Ext. Ste. B3
          Valdosta, CA 31605
13.3      Georgia MedPro LLC                    Sale of West Columbia Equipment                8/29/2019          $27,000.00
          125 Talmadge Dr SE
          Moultrie, GA 31768
13.4      Multi Specialty Billing LLC           Sale of Easley Storage Units                   9/16/2019           $1,000.00
          247 Audubon Acres Dr
          Easley, SC 29642
          (Former Employee's Business)
13.5      Total Medical Equipment Sales and     Sale of Easley Clinic Equipment     9/6/2019 & 9/10/2019          $26,000.00
          Service
          1525 Morrison Parkway
          Alpharetta, GA 30009
13.6      Total Medical Equipment Sales and     Sale of Easley X‐Ray                           9/10/2019           $5,000.00
          Service
          1525 Morrison Parkway
          Alpharetta, GA 30009
13.7      Multi Specialty Billing LLC           Sale of Easley Furniture                       9/11/2019           $7,000.00
          247 Audubon Acres Dr
          Easley, SC 29642
          (Former Employee's Business)
13.8      Total Medical Equipment Sales and     Sale of Grove Road Clinic Equipment 9/6/2019 & 9/10/2019          $45,000.00
          Service
          1525 Morrison Parkway
          Alpharetta, GA 30009
13.9      Multi Specialty Billing LLC           Sale of Grove Furniture                        9/11/2019           $5,000.00
          247 Audubon Acres Dr
          Easley, SC 29642
          (Former Employee's Business)
13.10     Superior Pain Management              Sale of Anderson Clinic Equipment              8/28/2019          $35,500.00
          108 Montgomery Drive
          Anderson, SC 29621
          (Former Employee's business)
13.11     Georgia MedPro LLC                    Sale of NE Columbia Equipment       9/5/2019 & 9/10/2019          $21,500.00
          125 Talmadge Dr SE
          Moultrie, GA 31768
13.12     Dr. Jeffrey Farricielli MD            Sale of Florence Clinic Equipment              8/29/2019          $22,500.00
          3912 Ashton Shore Lane
          Mount Pleasant, SC 29466
13.13     Georgia MedPro LLC                    Sale of Sumter Clinic Equipment                9/10/2019          $25,000.00
          125 Talmadge Dr SE
          Moultrie, GA 31768
13.14     L5+S1 Med Holdings                    Sale of Sumter Clinic                           9/5/2019          $11,500.00



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Oaktree Medical Centre, P.C.                                                                                  Case Number:
          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 6:
          Certain Payments or Transfers
13. Transfers not already listed on this statement


                                                Description of property transferred
          Recipient of Transfer                 or payments received or debts paid Date transfer was          Total amount or
          Name and address                      in exchange                         made                      value

13.15     Georgia MedPro LLC                    Sale of Myrtle Beach Clinic            9/5/2019 & 9/10/2019          $28,000.00
          125 Talmadge Dr SE                    Equipment
          Moultrie, GA 31768
13.16     Total Medical Equipment Sales and     Sale of Spartanburg X‐Ray                         9/10/2019          $12,000.00
          Service
          1525 Morrison Parkway
          Alpharetta, GA 30009
13.17     Georgia MedPro LLC                    Sale of Spartanburg Clinic Equipment              9/16/2019           $7,500.00
          125 Talmadge Dr SE
          Moultrie, GA 31768
13.18     Multi Specialty Billing LLC           Sale of Spartanburg Clinic Furniture              9/11/2019           $5,000.00
          247 Audubon Acres Dr
          Easley, SC 29642
          (Former Employee's Business)
13.19     Computers on Main                     Sale of IT Assets ‐ Workstations +                 9/9/2019          $16,000.00
          641 N Main St                         Monitors
          Greenville, SC 29609
13.20     Dawn Richards                         Sale of 2013 Lexus ES                             8/29/2019           $6,800.00
          126 Morning Lake Drive
          Moore, SC 29369
13.21     Superior Pain Management              Sale of Ultrasound Machine                        9/11/2019           $2,500.00
          108 Montgomery Drive
          Anderson, SC 29621
          (Former Employee's business)
13.22     Toyota of Easley                      Sale of Toyota ‐ 2008 Matrix                       9/9/2019           $2,000.00
          5643 Calhoun Memorial Hwy
          Easley, SC 29642




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Oaktree Medical Centre, P.C.                                                          Case Number:

          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 7:
          Previous Locations
14. Previous addresses

                                                                                            Dates of Occupancy
          Address 1               Address 2         City               State    Zip       From              To

14.1      25 Airpark Court        Greenville        SC                  29607               1/1/2016       8/30/2019



14.2      777 Lowery Road,        Greenville        SC                  29607               1/1/2016       8/30/2019
          Building 2, Suite 102

14.3      1005 Grove Road         Greenville        SC                  29605               1/1/2016       8/30/2019



14.4      108 Montgomery Drive Anderson             SC                  29621               1/1/2016       8/30/2019



14.5      115 Brushy Creek Road Easley              SC                  29642               1/1/2016       8/30/2019



14.6      1650 Skylyn Drive,      Spartanburg       SC                  29307               1/1/2016       9/30/2016
          Suite 210

14.7      120 Highland Center     (NE) Columbia     SC                  29223               1/1/2016       8/30/2019
          Park, Suite 105

14.8      1920 2nd Loop Road      Florence          SC                  29501               1/1/2016       8/30/2019



14.9      4600 Oleander Drive,    Myrtle Beach      SC                  29577               1/1/2016       8/30/2019
          Suite. 1

14.10     10 Miller Road          Sumter            SC                  29150               1/1/2016       8/30/2019



14.11     2561 Hendersonville     Arden             NC                  28704               1/1/2016       8/30/2019
          Road

14.12     49 Galloway Street      Waynesville       NC                  28786              4/21/2016        7/1/2019



14.13     3410 Sunset Boulevard West Columbia       SC                  29169               1/1/2016       8/30/2019



14.14     2270 Ashley Crossing    Charleston        SC                  29407               1/1/2016       3/10/2017
          Drive
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Oaktree Medical Centre, P.C.                                                                                 Case Number:
          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 8:
          Health Care Bankruptcies
15. Health Care Bankruptcies


                                                                                Number of                                       Electronic
                                                                                patients in     Location where records are      and/or Paper
          Facility Name and Address         Nature of the Business              Debtor's care   maintained                      Record Storage

15.1      Pain Management Associates ‐      Medical diagnosis, treatment, and            4,365 Electronic and Offsite Storage   Both
          Greenville                        medication management                              with Shred America LLC
          1005 Grove Road
          Greenville, SC 29605
15.2      Pain Management Associates ‐      Medical diagnosis, treatment, and            2,479 Electronic and Offsite Storage   Both
          Anderson                          medication management                              with Shred America LLC
          108 Montgomery Drive
          Anderson SC 29621
15.3      Pain Management Associates ‐      Medical diagnosis, treatment, and            5,214 Electronic and Offsite Storage   Both
          Easley                            medication management                              with Shred America LLC
          115 Brushy Creek Road
          Easley, SC 29642
15.4      Pain Management Associates ‐      Medical diagnosis, treatment, and            3,642 Electronic and Offsite Storage   Both
          Spartanburg                       medication management                              with Shred America LLC
          1650 Skylyn Drive, Suite 210
          Spartanburg, SC 29307
15.5      The Pain Center ‐ Northeast       Medical diagnosis, treatment, and            2,194 Electronic and Offsite Storage   Both
          Columbia                          medication management                              with Shred America LLC
          120 Highland Center Park
          Suite 105
          Columbia SC 29223
15.6      The Pain Center at FirstChoice    Medical diagnosis, treatment, and            3,235 Electronic and Offsite Storage   Both
          Healthcare ‐ Florence             medication management                              with Shred America LLC
          1920 2nd Loop Road
          Florence, SC 29501
15.7      The Pain Center at FirstChoice    Medical diagnosis, treatment, and            1,967 Electronic and Offsite Storage   Both
          Healthcare ‐ Myrtle Beach         medication management                              with Shred America LLC
          4600 Oleander Drive
          Suite 1
          Myrtle Beach, SC 29577
15.8      The Pain Center of FirstChoice    Medical diagnosis, treatment, and            1,604 Electronic and Offsite Storage   Both
          Healthcare ‐ Sumter               medication management                              with Shred America LLC
          10 Miller Road
          Sumter, SC 29150
15.9      Pain Management Associates of     Medical diagnosis, treatment, and            1,579 Electronic and Offsite Storage   Both
          North Carolina, PC ‐ Arden        medication management                              with Shred America LLC
          2561 Hendersonville Road
          Arden, NC 28704
15.10     The Pain Center ‐ West Columbia   Medical diagnosis, treatment, and           2,119 Electronic and Offsite Storage    Both
          3410 Sunset Boulevard             medication management                             with Shred America LLC
          West Columbia, SC 29169




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Oaktree Medical Centre, P.C.                                                                        Case Number:
       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 10:
       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts within 1 year prior to filing.

                                                                                            Date account was        Last balance
           Financial insititution                           Last 4 digits of   Type of
                                    Address                                                 closed, sold, moved,   before closing
           name                                             account number     account                               or transfer
                                                                                            or transferred

18.1       Countybank               419 Main Street         9201               Depository   Closed 12/26/18               $25.00
                                    Greenwood, SC 29646

18.2       U.S. Bank                425 Walnut Street       6541               Depository   Closed 12/4/18               $956.71
                                    Cincinnnati, OH 45202


18.3       U.S. Bank                425 Walnut Street       4208               Depository   Closed 1/3/19                   $5.00
                                    Cincinnnati, OH 45202




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Oaktree Medical Centre, P.C.                                                                                   Case Number:
         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 10:
         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
20. Off-premises storage where property kept within 1 year before filing.

                                                                                                                               Does debtor
                                                        Name of anyone                                                         still have it?
           Facility name         Facility address       with access to it   Address                Description of the contents       Y/N)


20.1       Extra Storage Space   04 La Von Ln           Daniel McCollum     435 Providence Way     Furniture and Fixtures        No
                                 Easley, SC 29642                           Easley, SC 29642

20.2       Extra Storage Space   04 La Von Ln           Mandy Dalton        247 Audobon Acres Dr   Furniture and Fixtures        No
                                 Easley, SC 29642                           Easley, SC 29642

20.3       Iron Mountain         PO Box 27128           Huron Consulting    1166 6th Avenue        Paperwork                     Yes
                                 New York, NY 10087                         New York, NY 10036


20.4       ShredAmerica Records 1682 Katy Lane          Patrick Lawton      226 Peters Glenn Ct    Paperwork Only                Yes
           Storage              Fort Mill, SC 29708                         Simpsonville, SC 29681


20.5       Life Storage          1701 Woodruff Lane     Patrick Lawton      226 Peters Glenn Ct    Corporate Documents /        Yes
                                 Greenville, SC 29607                       Simpsonville, SC 29681 Physical Corporate Servers /
                                                                                                   Other remaining equipment
20.6       Enroute Networks      3775 Roswell Rd                                                   Online Active Servers with    Yes
                                 Marietta, GA 30062                                                Accounting and all other
                                                                                                   records




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Oaktree Medical Centre, P.C.                                                            Case Number:
       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 13:
       Details About the Debtor's Business or Connections to Any Business
26. Books, records, and financial statements
   26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case filed.


                                                                                                       If any books of account and records
           Name                                    Address                                             are unavailable, explain why


26c.1      Iron Mountain                           1166 6th Avenue                                     Paperwork Only
                                                   New York, NY 10036
26c.2      ShredAmerica Records Storage            1682 Katy Lane                                      Paperwork Only
                                                   Fort Mill, SC 29708
26c.3      Life Storage                            1701 Woodruff Road                                  Corporate Documents / Physical
                                                   Greenville, SC 29607                                Corporate Servers / Other remaining
                                                                                                       Equipment
26c.4      Enroute Networks                        3775 Roswell Rd                                     Online Active Servers with Accounting
                                                   Marietta, GA 30062                                  and all other records
26c.5      Aaron Kibbey ‐ Huron Consulting         1166 Avenue of the Americas, Suite 300              CRO ‐ Various Records
                                                   New York, NY 10036
26c.6      Propel HR                               669 N Academy St                                    Human Resources / Payroll Data
                                                   Greenville, SC 29601




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Oaktree Medical Centre, P.C.                                                                      Case Number:
        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 13:
        Details About the Debtor's Business or Connections to Any Business
26. Books, records, and financial statements
   26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom
   the debtor issued a financial statement within 2 years before filing this case

           Name                                  Address                            City          State Zip

26d.1      Alleon Capital                        1086 Teaneck Rd Suite              Teaneck        NJ         07666

26d.2      Camac Partners                        401 Park Ave S                     New York       NY         10016

26d.3      Capitol Pain (a/k/a CPI)              8015 Shoal Creek Blvd Suite #103   Austin         TX         75757

26d.4      New State Capital                     2001 Palmer Ave Suite 205          Larchmont      NY         10538

26d.5      JMB Capital                           999 Avenue of the Stars            Los Angeles    CA         90067

26d.6      Lifebrite                             Christian Fletcher                 Atlanta       GA          30329
                                                 9 Corporate Blvd NE, Suite 150
26d.7      National Spine & Pain Ceters, LLC     Robert L. Manning                  Rockville     MD          20852
                                                 11921 Rockville Pike, Suite 505
26d.8      United States Department of Justice   Attn: Christopher Teranova         Washington    DC          20002
                                                 175 N. Street NE




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Debtor: Oaktree Medical Centre, P.C.                                                                    Case number (if known):

Part 13: Details About the Debtor’s Business or Connections to Any Business
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?
       No
       Yes. Identify below.

       Name and address of recipient                  Amount of money or description        Dates           Reasons for
                                                      and value of property                                 providing the value
30.1   BROHM, MICHAEL                                                       $12,634.21      9/28/2018      WAGES, NET
       7203 GLEN FOREST DR                                                     $938.31      9/28/2018      1099 PAYMENT
       GREENVILLE, SC 29607
                                                                            $12,838.97     10/12/2018      WAGES, NET
       Relationship to debtor                                                  $938.31     10/12/2018      1099 PAYMENT
                                                                            $13,466.07     10/26/2018      WAGES, NET
       FORMER CHIEF EXECUTIVE OFFICER
                                                                               $938.31     10/26/2018      1099 PAYMENT
                                                                            $13,462.81      11/9/2018      WAGES, NET
                                                                               $938.31      11/9/2018      1099 PAYMENT
                                                                            $13,462.81     11/23/2018      WAGES, NET
                                                                              $938.31      11/23/2018      1099 PAYMENT
                                                                              $938.31       12/5/2018      1099 PAYMENT
                                                                            $12,089.90      12/7/2018      WAGES, NET
                                                                               $938.31     12/19/2018      1099 PAYMENT
                                                                            $12,089.91     12/21/2018      WAGES, NET
                                                                               $938.31      1/4/2019       1099 PAYMENT
                                                                            $11,060.91       1/4/2019      WAGES, NET
                                                                               $938.31      1/16/2019      1099 PAYMENT
                                                                            $11,062.15      1/18/2019      WAGES, NET
                                                                               $938.31      1/30/2019      1099 PAYMENT
                                                                            $11,062.15       2/1/2019      WAGES, NET
                                                                               $938.31      2/14/2019      1099 PAYMENT
                                                                            $11,062.14      2/15/2019      WAGES, NET
                                                                               $938.31      2/28/2019      1099 PAYMENT
                                                                            $10,237.12       3/1/2019      WAGES, NET
                                                                             $1,806.44      3/29/2019      WAGES, NET
                                                                             $1,450.00      8/16/2019      1099 PAYMENT
                                                         SUBTOTAL          $159,045.31




Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                          Page 1 of 9
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Debtor: Oaktree Medical Centre, P.C.                                                                    Case number (if known):

Part 13: Details About the Debtor’s Business or Connections to Any Business
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?
       No
       Yes. Identify below.

       Name and address of recipient                  Amount of money or description        Dates           Reasons for
                                                      and value of property                                 providing the value
30.2   COFFEY FAMILY MEDICAL                                                $25,000.00      9/27/2018      CASH FUNDING FOR OPERATIONS
       281 UNDERPASS DR                                                     $15,000.00      9/28/2018      CASH FUNDING FOR OPERATIONS
       ONEIDA, TN 37841
                                                                             $1,004.01      10/2/2018      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
       Relationship to debtor                                                $1,752.43      10/9/2018      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                                $25.06     10/23/2018      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
       MANAGED BY OAKTREE MEDICAL CENTRE,
       LLC                                                                    $158.20      10/24/2018      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                              $150.00      10/24/2018      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                              $151.25      10/24/2018      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                               $47.39      10/25/2018      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                             $6,747.87     10/25/2018      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                             $1,752.43      11/7/2018      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                                $95.20     11/12/2018      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                            $14,116.00      12/1/2018      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                             $1,752.43      12/7/2018      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                                $29.68     12/19/2018      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                              $148.79      12/19/2018      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                             $1,354.26     12/20/2018      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                             $5,332.00     12/23/2018      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                            $47,897.00     12/31/2018      CASH FUNDING FOR OPERATIONS
                                                                             $1,752.43      1/7/2019       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                             $4,755.00      2/4/2019       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                             $1,752.43       2/7/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                            $70,000.00      2/14/2019      CASH FUNDING OF PAYROLL
                                                                           $140,875.91      2/28/2019      CASH FUNDING OF PAYROLL
                                                                             $1,752.43       3/7/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                               $255.58      3/14/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                            $25,000.00      3/15/2019      CASH FUNDING FOR OPERATIONS
                                                                              $453.95       3/28/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                             $1,950.75       4/1/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                             $1,752.43      4/8/2019       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                             $1,033.05      5/1/2019       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                              $412.57        5/7/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                              $433.57       5/20/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                               $44.45       5/20/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                               $31.27       5/21/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                              $172.32       5/21/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                             $6,900.00       6/7/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                            $55,000.00      6/20/2019      CASH FUNDING FOR OPERATIONS
                                                                            $80,000.00       7/3/2019      CASH FUNDING FOR OPERATIONS
                                                                              $182.83       7/10/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                              $155.23       7/10/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                               $45.75       7/10/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                               $45.00       7/11/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                               $121.99      7/11/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                            $30,000.00      7/18/2019      CASH FUNDING FOR OPERATIONS
                                                                               $44.20       7/23/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                               $94.50       7/23/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                               $161.81      7/24/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                         SUBTOTAL          $547,693.45




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Debtor: Oaktree Medical Centre, P.C.                                                                    Case number (if known):

Part 13: Details About the Debtor’s Business or Connections to Any Business
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?
       No
       Yes. Identify below.

       Name and address of recipient                  Amount of money or description        Dates           Reasons for
                                                      and value of property                                 providing the value
30.3   COREY SMITH                                                         UNKNOWN          9/28/2018      WAGES, NET
       111 BROOK STONE DR                                                  UNKNOWN         10/12/2018      WAGES, NET
       EASLEY, SC 29642
                                                                           UNKNOWN         10/26/2018      WAGES, NET
       Relationship to debtor                                              UNKNOWN          11/9/2018      WAGES, NET
                                                                           UNKNOWN         11/23/2018      WAGES, NET
       NEPHEW OF OAKTREE MEDICAL CENTRE
       PC OWNER                                                            UNKNOWN          12/7/2018      WAGES, NET
                                                                           UNKNOWN         12/21/2018      WAGES, NET
                                                                           UNKNOWN           1/4/2019      WAGES, NET
                                                                           UNKNOWN          1/18/2019      WAGES, NET
                                                                           UNKNOWN           2/1/2019      WAGES, NET
                                                                           UNKNOWN          2/15/2019      WAGES, NET
                                                                           UNKNOWN           3/1/2019      WAGES, NET
                                                                           UNKNOWN          3/15/2019      WAGES, NET
                                                                           UNKNOWN          3/29/2019      WAGES, NET
                                                                           UNKNOWN          4/12/2019      WAGES, NET
                                                                           UNKNOWN          4/26/2019      WAGES, NET
                                                                           UNKNOWN          5/10/2019      WAGES, NET
                                                                           UNKNOWN          5/24/2019      WAGES, NET
                                                                           UNKNOWN           6/7/2019      WAGES, NET
                                                                           UNKNOWN          6/21/2019      WAGES, NET
                                                                           UNKNOWN           7/5/2019      WAGES, NET
                                                                           UNKNOWN          7/19/2019      WAGES, NET
                                                                           UNKNOWN           8/2/2019      WAGES, NET
                                                                           UNKNOWN          8/16/2019      WAGES, NET
                                                                           UNKNOWN          8/30/2019      WAGES, NET
                                                         SUBTOTAL          UNKNOWN

30.4   DALTON, MANDY                                                       UNKNOWN          9/28/2018      WAGES, NET
       247 AUDUBON ACRES DRIVE                                             UNKNOWN         10/12/2018      WAGES, NET
       EASLEY, SC 29642
                                                                           UNKNOWN         10/26/2018      WAGES, NET
       Relationship to debtor                                              UNKNOWN          11/9/2018      WAGES, NET
                                                                           UNKNOWN         11/23/2018      WAGES, NET
       EX-WIFE OF OAKTREE MEDICAL CENTRE
       PC OWNER                                                            UNKNOWN          12/7/2018      WAGES, NET
                                                                           UNKNOWN         12/21/2018      WAGES, NET
                                                                           UNKNOWN          1/4/2019       WAGES, NET
                                                                           UNKNOWN          1/18/2019      WAGES, NET
                                                                           UNKNOWN           2/1/2019      WAGES, NET
                                                                           UNKNOWN          2/15/2019      WAGES, NET
                                                                           UNKNOWN           3/1/2019      WAGES, NET
                                                                           UNKNOWN          3/15/2019      WAGES, NET
                                                                           UNKNOWN          3/29/2019      WAGES, NET
                                                                           UNKNOWN          4/12/2019      WAGES, NET
                                                                           UNKNOWN          4/26/2019      WAGES, NET
                                                                           UNKNOWN          5/10/2019      WAGES, NET
                                                                           UNKNOWN          5/24/2019      WAGES, NET
                                                                           UNKNOWN           6/7/2019      WAGES, NET
                                                                           UNKNOWN          6/21/2019      WAGES, NET
                                                                           UNKNOWN           7/5/2019      WAGES, NET
                                                                           UNKNOWN          7/19/2019      WAGES, NET
                                                                           UNKNOWN           8/2/2019      WAGES, NET
                                                                           UNKNOWN          8/16/2019      WAGES, NET
                                                                           UNKNOWN          8/30/2019      WAGES, NET
                                                         SUBTOTAL          UNKNOWN


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Debtor: Oaktree Medical Centre, P.C.                                                                    Case number (if known):

Part 13: Details About the Debtor’s Business or Connections to Any Business
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?
       No
       Yes. Identify below.

       Name and address of recipient                  Amount of money or description        Dates           Reasons for
                                                      and value of property                                 providing the value
30.5   DANIEL MCCOLLUM                                                      $13,813.80      9/28/2018      1099 PAYMENT
       435 PROVIDENCE DR                                                     $8,604.95      9/28/2018      WAGES, NET
       EASLEY, SC 29642
                                                                            $13,813.80     10/12/2018      1099 PAYMENT
       Relationship to debtor                                                $8,604.95     10/12/2018      WAGES, NET
                                                                             $8,608.24     10/26/2018      WAGES, NET
       100% OWNERSHIP INTEREST IN DEBTOR
                                                                            $13,813.80     10/26/2018      1099 PAYMENT
                                                                             $8,604.94      11/9/2018      WAGES, NET
                                                                            $13,813.80      11/9/2018      1099 PAYMENT
                                                                             $8,604.95     11/23/2018      WAGES, NET
                                                                            $13,813.80     11/23/2018      1099 PAYMENT
                                                                             $8,604.95      12/7/2018      WAGES, NET
                                                                            $13,813.80      12/7/2018      1099 PAYMENT
                                                                             $8,604.94     12/21/2018      WAGES, NET
                                                                            $13,813.80     12/21/2018      1099 PAYMENT
                                                                             $7,092.13      1/4/2019       WAGES, NET
                                                                            $26,751.41      1/4/2019       PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                            $13,813.80      1/4/2019       1099 PAYMENT
                                                                             $5,379.38      1/18/2019      WAGES, NET
                                                                            $13,813.80      1/22/2019      1099 PAYMENT
                                                                            $13,813.80      2/1/2019       1099 PAYMENT
                                                                             $5,379.38      2/1/2019       WAGES, NET
                                                                            $13,813.80      2/15/2019      1099 PAYMENT
                                                                             $5,379.37      2/15/2019      WAGES, NET
                                                                            $13,813.80      3/1/2019       1099 PAYMENT
                                                                             $5,379.38      3/1/2019       WAGES, NET
                                                                            $13,813.80      3/14/2019      1099 PAYMENT
                                                                             $5,379.37      3/15/2019      WAGES, NET
                                                                            $13,813.80      3/28/2019      1099 PAYMENT
                                                                             $5,460.37      3/29/2019      WAGES, NET
                                                                            $13,813.80      4/11/2019      1099 PAYMENT
                                                                             $5,379.37      4/12/2019      WAGES, NET
                                                                            $13,813.80      4/26/2019      1099 PAYMENT
                                                                             $5,379.38      4/26/2019      WAGES, NET
                                                                            $13,813.80       5/9/2019      1099 PAYMENT
                                                                             $5,379.38      5/10/2019      WAGES, NET
                                                                            $13,813.80      5/23/2019      1099 PAYMENT
                                                                             $5,379.37      5/24/2019      WAGES, NET
                                                                            $13,813.80      6/6/2019       1099 PAYMENT
                                                                             $5,379.38      6/7/2019       WAGES, NET
                                                                            $13,813.80      6/20/2019      1099 PAYMENT
                                                                             $5,411.96      6/21/2019      WAGES, NET
                                                                            $13,813.80      7/3/2019       1099 PAYMENT
                                                                             $5,942.65      7/5/2019       WAGES, NET
                                                                             $5,942.65      7/19/2019      WAGES, NET
                                                                             $2,678.49       8/2/2019      WAGES, NET
                                                                             $1,648.06      8/16/2019      WAGES, NET
                                                         SUBTOTAL          $465,049.20




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Debtor: Oaktree Medical Centre, P.C.                                                                    Case number (if known):

Part 13: Details About the Debtor’s Business or Connections to Any Business
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?
       No
       Yes. Identify below.

       Name and address of recipient                  Amount of money or description        Dates           Reasons for
                                                      and value of property                                 providing the value
30.6   EXIGO                                                                 $5,000.00      9/27/2018      CASH FUNDING FOR OPERATIONS
       25 AIRPARK COURT                                                      $1,000.00      9/27/2018      CASH FUNDING FOR OPERATIONS
       GREENVILLE, SC 29607
                                                                           $110,805.95     10/10/2018      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
       Relationship to debtor                                                  $300.00     12/11/2018      CASH FUNDING FOR OPERATIONS
                                                                             $1,000.00     12/12/2018      CASH FUNDING FOR OPERATIONS
       100% OWNED BY DEBTOR’S OWNER
                                                                             $8,500.00      2/14/2019      CASH FUNDING FOR OPERATIONS
                                                                            $10,000.00      2/14/2019      CASH FUNDING FOR OPERATIONS
                                                                            $10,000.00      2/14/2019      CASH FUNDING FOR OPERATIONS
                                                                             $2,000.00      2/22/2019      CASH FUNDING FOR OPERATIONS
                                                                             $8,500.00      2/28/2019      CASH FUNDING FOR OPERATIONS
                                                                             $5,000.00      3/14/2019      CASH FUNDING FOR OPERATIONS
                                                                            $13,000.00      3/22/2019      CASH FUNDING FOR OPERATIONS
                                                                            $10,000.00      3/27/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                              $550.00        5/8/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                             $5,000.00      5/10/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                              $102.21       5/21/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                             $5,000.00      5/23/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                             $5,500.00       6/7/2019      CASH FUNDING FOR OPERATIONS
                                                                             $5,000.00      6/11/2019      PAYMENT FOR EXPENSES ON COMPANYS BEHALF
                                                                             $3,100.00       7/3/2019      CASH FUNDING FOR OPERATIONS
                                                                             $1,000.00      7/19/2019      CASH FUNDING FOR OPERATIONS
                                                         SUBTOTAL          $210,358.16

30.7   GRANADA NEIL (1099) - BAM                                             $2,500.00     10/12/2018      1099 PAYMENT
       1399 ASHLEYBROOK LANE                                                 $2,500.00     11/16/2018      1099 PAYMENT
       SUITE 100
       WINSTON SALEM, NC 27103                                               $2,500.00      12/7/2018      1099 PAYMENT
                                                                             $2,500.00       1/4/2019      1099 PAYMENT
       Relationship to debtor
                                                                             $2,500.00      1/25/2019      1099 PAYMENT
       FRIENDLY SHAREHOLDER OF PMA OF NC                                     $2,500.00      2/14/2019      1099 PAYMENT
                                                                             $1,134.00       3/7/2019      1099 PAYMENT
                                                                             $2,500.00      3/14/2019      1099 PAYMENT
                                                                             $2,500.00      4/15/2019      1099 PAYMENT
                                                                             $2,500.00      5/15/2019      1099 PAYMENT
                                                                             $2,500.00      6/14/2019      1099 PAYMENT
                                                                             $2,500.00      7/15/2019      1099 PAYMENT
                                                                             $2,500.00      8/15/2019      1099 PAYMENT
                                                         SUBTOTAL           $31,134.00




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Debtor: Oaktree Medical Centre, P.C.                                                                    Case number (if known):

Part 13: Details About the Debtor’s Business or Connections to Any Business
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?
       No
       Yes. Identify below.

       Name and address of recipient                  Amount of money or description        Dates           Reasons for
                                                      and value of property                                 providing the value
30.8   JOSEPH O`QUINN                                                        $6,633.49      9/28/2018      WAGES, NET
       12 KETTERING COURT                                                    $6,634.49     10/12/2018      WAGES, NET
       EASLEY, SC 29642
                                                                             $6,635.49     10/26/2018      WAGES, NET
       Relationship to debtor                                                $6,636.49      11/9/2018      WAGES, NET
                                                                             $6,637.49     11/23/2018      WAGES, NET
       100% OWNER OF FIRST CHOICE
       HEALTHCARE                                                            $6,638.49      12/7/2018      WAGES, NET
                                                                             $6,639.49     12/21/2018      WAGES, NET
                                                                             $6,640.49       1/4/2019      WAGES, NET
                                                                             $6,641.49      1/18/2019      WAGES, NET
                                                                             $6,642.49       2/1/2019      WAGES, NET
                                                                             $6,643.49      2/15/2019      WAGES, NET
                                                                             $6,644.49       3/1/2019      WAGES, NET
                                                                             $6,645.49      3/15/2019      WAGES, NET
                                                                             $6,646.49      3/29/2019      WAGES, NET
                                                                             $6,647.49      4/12/2019      WAGES, NET
                                                                             $6,648.49      4/26/2019      WAGES, NET
                                                                             $6,649.49      5/10/2019      WAGES, NET
                                                                             $6,650.49      5/24/2019      WAGES, NET
                                                                             $6,651.49       6/7/2019      WAGES, NET
                                                                             $6,652.49      6/21/2019      WAGES, NET
                                                                             $6,653.49       7/5/2019      WAGES, NET
                                                                             $6,654.49      7/19/2019      WAGES, NET
                                                                             $6,655.49       8/2/2019      WAGES, NET
                                                                             $6,656.49      8/16/2019      WAGES, NET
                                                                             $6,657.49      8/30/2019      WAGES, NET
                                                         SUBTOTAL          $166,137.25




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Debtor: Oaktree Medical Centre, P.C.                                                                    Case number (if known):

Part 13: Details About the Debtor’s Business or Connections to Any Business
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?
       No
       Yes. Identify below.

       Name and address of recipient                  Amount of money or description        Dates           Reasons for
                                                      and value of property                                 providing the value
30.9   JOSEPH O`QUINN/JWO ENTE (1099) BAM                                    $3,846.15      9/28/2018      1099 PAYMENT
       JWO ENTERPRISE, LLC                                                   $3,846.15     10/12/2018      1099 PAYMENT
       12 KETTERING CT
       EASLEY, SC 29642                                                     $11,846.15     10/26/2018      1099 PAYMENT
                                                                             $3,846.15      11/9/2018      1099 PAYMENT
       Relationship to debtor
                                                                             $3,846.15     11/23/2018      1099 PAYMENT
       100% OWNER OF FIRST CHOICE                                            $3,846.15      12/5/2018      1099 PAYMENT
       HEALTHCARE
                                                                             $3,846.15     12/19/2018      1099 PAYMENT
                                                                             $3,846.15       1/4/2019      1099 PAYMENT
                                                                             $3,846.15      1/16/2019      1099 PAYMENT
                                                                             $3,846.15      1/30/2019      1099 PAYMENT
                                                                             $3,846.15      2/14/2019      1099 PAYMENT
                                                                             $3,846.15      2/28/2019      1099 PAYMENT
                                                                             $3,846.15      3/14/2019      1099 PAYMENT
                                                                             $3,846.15      3/28/2019      1099 PAYMENT
                                                                             $3,846.15      4/11/2019      1099 PAYMENT
                                                                             $3,846.15      4/26/2019      1099 PAYMENT
                                                                             $3,846.15      5/10/2019      1099 PAYMENT
                                                                             $3,846.15      5/23/2019      1099 PAYMENT
                                                                             $3,846.15       6/6/2019      1099 PAYMENT
                                                                             $3,846.15      6/20/2019      1099 PAYMENT
                                                                               $600.00      6/28/2019      1099 PAYMENT
                                                                             $3,846.15       7/3/2019      1099 PAYMENT
                                                                             $3,846.15      7/18/2019      1099 PAYMENT
                                                                               $155.00      7/26/2019      1099 PAYMENT
                                                                             $3,846.15       8/1/2019      1099 PAYMENT
                                                                             $3,846.15      8/15/2019      1099 PAYMENT
                                                                             $3,846.15      8/29/2019      1099 PAYMENT
                                                                            $12,980.77      9/17/2019      1099 PAYMENT
                                                         SUBTOTAL          $117,889.52




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Debtor: Oaktree Medical Centre, P.C.                                                                    Case number (if known):

Part 13: Details About the Debtor’s Business or Connections to Any Business
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?
       No
       Yes. Identify below.

      Name and address of recipient                   Amount of money or description        Dates           Reasons for
                                                      and value of property                                 providing the value
30.10 MCCOLLUM, JAMES                                                         $557.15       9/21/2018      1099 PAYMENT
      409 HAVERHILL CIRCLE                                                   $1,606.13      10/5/2018      1099 PAYMENT
      EASLEY, SC 29642
                                                                               $401.28     10/19/2018      1099 PAYMENT
       Relationship to debtor                                                 $654.18       11/2/2018      1099 PAYMENT
                                                                              $351.50      11/16/2018      1099 PAYMENT
       RELATIVE OF OWNER
                                                                              $363.50      11/30/2018      1099 PAYMENT
                                                                              $391.22      12/14/2018      1099 PAYMENT
                                                                             $1,622.08     12/28/2018      1099 PAYMENT
                                                                               $298.52      1/11/2019      1099 PAYMENT
                                                                              $687.86       1/25/2019      1099 PAYMENT
                                                                              $900.68        2/8/2019      1099 PAYMENT
                                                                             $1,538.84      2/22/2019      1099 PAYMENT
                                                                               $441.37       3/8/2019      1099 PAYMENT
                                                                              $309.49       3/22/2019      1099 PAYMENT
                                                                              $500.94        4/5/2019      1099 PAYMENT
                                                                              $346.39       4/19/2019      1099 PAYMENT
                                                                              $852.50        5/3/2019      1099 PAYMENT
                                                                              $431.03       5/17/2019      1099 PAYMENT
                                                                              $355.36       5/31/2019      1099 PAYMENT
                                                                              $502.33       6/14/2019      1099 PAYMENT
                                                                              $595.42       6/28/2019      1099 PAYMENT
                                                                              $525.00        7/5/2019      1099 PAYMENT
                                                                              $435.12       7/12/2019      1099 PAYMENT
                                                                              $775.00       7/19/2019      1099 PAYMENT
                                                                              $451.47       7/26/2019      1099 PAYMENT
                                                                             $2,319.08      8/26/2019      1099 PAYMENT
                                                         SUBTOTAL           $18,213.44

30.11 PROCARE FLIGHT, LLC                                                   $26,751.41      1/4/2019       REIMBURSEMENT FOR TRAVEL
      25 AIRPARK CT                                      SUBTOTAL           $26,751.41
      GREENVILLE, SC 29607

       Relationship to debtor
       100% OWNED BY DEBTOR’S OWNER
30.12 RENT - GROVE 1005 - GROVE RD                                          $35,053.00      9/28/2018      RENT PAYMENT
      GREENVILLE                                                            $35,053.00      11/5/2018      RENT PAYMENT
      25 AIRPARK COURT
      GREENVILLE, SC 29607                                                  $22,100.00     11/30/2018      RENT PAYMENT
                                                                            $22,000.00     12/28/2018      RENT PAYMENT
       Relationship to debtor
                                                                            $22,100.00      2/1/2019       RENT PAYMENT
       100% OWNED BY DEBTOR’S OWNER                                         $21,000.00      3/4/2019       RENT PAYMENT
                                                                               $938.31      3/14/2019      1099 PAYMENT
                                                                            $23,412.12      3/29/2019      RENT PAYMENT
                                                                            $21,924.82       5/3/2019      RENT PAYMENT
                                                                            $21,929.38      5/31/2019      RENT PAYMENT
                                                                            $23,450.81       7/3/2019      RENT PAYMENT
                                                                            $23,317.45      8/15/2019      RENT PAYMENT
                                                         SUBTOTAL          $272,278.89

30.13 TIM DAILEADER (DRIVETRAIN) EFT                                        $23,024.32     10/19/2018      INDEPENDENT BOARD MEMBER FEES
      257 CENTRAL PARK WEST APT 7A                                          $50,424.66      3/12/2019      INDEPENDENT BOARD MEMBER FEES
      NEW YORK, NY 10024
                                                                            $46,176.19       5/3/2019      INDEPENDENT BOARD MEMBER FEES
       Relationship to debtor                                               $45,979.53      7/12/2019      INDEPENDENT BOARD MEMBER FEES
                                                         SUBTOTAL          $165,604.70
       BOARD MEMBER OF DEBTOR


Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                          Page 8 of 9
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                    19-31286 Doc        Filed09/19/19
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Debtor: Oaktree Medical Centre, P.C.                                                                     Case number (if known):

Part 13: Details About the Debtor’s Business or Connections to Any Business
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?
       No
       Yes. Identify below.

      Name and address of recipient                   Amount of money or description         Dates           Reasons for
                                                      and value of property                                  providing the value
30.14 WEBB, DAVID                                                             $5,662.10      9/28/2018      WAGES, NET
      220 CHELSEA PLACE AVE                                                   $5,662.10     10/12/2018      WAGES, NET
      ORMOND, FL 32174
                                                                              $5,664.91     10/26/2018      WAGES, NET
       Relationship to debtor                                                 $5,662.11      11/9/2018      WAGES, NET
                                                                              $5,662.10     11/23/2018      WAGES, NET
       FORMER CHIEF FINANCIAL OFFICER
                                                                              $5,659.50      12/7/2018      WAGES, NET
                                                                              $5,833.60     12/21/2018      WAGES, NET
                                                                              $5,063.57       1/4/2019      WAGES, NET
                                                                              $5,064.82      1/18/2019      WAGES, NET
                                                                              $5,064.82       2/1/2019      WAGES, NET
                                                                              $5,064.82      2/15/2019      WAGES, NET
                                                                              $5,064.82      3/1/2019       WAGES, NET
                                                         SUBTOTAL            $65,129.27

30.15 WEBB, KIMBERLY                                                        UNKNOWN          9/28/2018      WAGES, NET
      220 CHELSEA PLACE AVE                                                 UNKNOWN         10/12/2018      WAGES, NET
      APT A
      ORMOND, FL 32174                                                      UNKNOWN         10/26/2018      WAGES, NET
                                                                            UNKNOWN          11/9/2018      WAGES, NET
       Relationship to debtor
                                                                            UNKNOWN         11/23/2018      WAGES, NET
       SPOUSE OF FORMER CHIEF FINANCIAL                                     UNKNOWN          12/7/2018      WAGES, NET
       OFFICER
                                                                            UNKNOWN         12/21/2018      WAGES, NET
                                                                            UNKNOWN           1/4/2019      WAGES, NET
                                                                            UNKNOWN          1/18/2019      WAGES, NET
                                                                            UNKNOWN           2/1/2019      WAGES, NET
                                                                            UNKNOWN          2/15/2019      WAGES, NET
                                                                            UNKNOWN           3/1/2019      WAGES, NET
                                                                            UNKNOWN          3/15/2019      WAGES, NET
                                                                            UNKNOWN          3/29/2019      WAGES, NET
                                                                            UNKNOWN          4/12/2019      WAGES, NET
                                                                            UNKNOWN          4/26/2019      WAGES, NET
                                                                            UNKNOWN          5/10/2019      WAGES, NET
                                                                            UNKNOWN          5/24/2019      WAGES, NET
                                                                            UNKNOWN           6/7/2019      WAGES, NET
                                                                            UNKNOWN          6/21/2019      WAGES, NET
                                                         SUBTOTAL           UNKNOWN


                                                            TOTAL          $2,245,284.60 PLUS UNKNOWN




Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                          Page 9 of 9
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Case
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      19-31286 Doc        Filed09/19/19
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Case
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                                          Entered09/19/19
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AAPC-ADVANCING THE BUSINESS OF
HEALTHCARE
PO BOX 35199
SEATTLE, WA 98124



ABBOTT FKA ST. JUDE
22400 NETWORK PLACE
CHICAGO, IL 60673



ABHAY PATEL
9 NEW ALTAMONT TERRACE
GREENVILLE, SC 29609



ACCENT
PO BOX 952366
ST. LOUIS, MO 63195-2366



ACCIDENT FUND WORKERS COMP -EFT
PO BOX 77000
DEPT 77125
DETROIT, MI 48277-0125



ACCIDENT FUND WORKERS COMPENSATION
INSURANCE COMPANY OF AMERICA
PO BOX, MI 48901-7990



ACCOUNTEMPS - ROBERT HALF
12400 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693



ACCURATE DIAGNOSTICS
1635 E NORTH STREET
GREENVILLE, SC 29607



ACEVEDO, DANIELLA
1122 TALL OAKS CIRCLE
PIEDMONT, SC 29673
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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ADAMS, LEON
11 GREEN OAK DRIVE
SIMPSONVILLE, SC 29680



ADOBE SYSTEMS INC
29322 NETWORK PLACE
CHICAGO, IL 60673-1293



ADT - 1108 M-AND - EFT
PO BOX 371878
PITTSBURGH, PA 15250-7878



ADT - 2049 GR-GV - EFT
PO BOX 371878
PITTSBURGH, PA 15250-7878



ADT - 7420 25 H-ARD - EFT
PO BOX 371878
PITTSBURGH, PA 15250-7878



ADT
PO BOX 371878
PITTSBURGH, PA 15250-7878



AFLAC
ATTN: REMITTANCE PROCESSING SERVICES
1932 WYNNTON ROAD
COLUMBUS, GA 31993-0797



AGILENT TECHNOLOGIES, INC.
4187 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693



AHL, KRISTI
782 EAST BUTLER ROAD
APT. NBR 1118
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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MAULDIN, SC 29662



AIRGAS USA, LLC - 2865184
PO BOX 734672
DALLAS, TX 75373



AIRGAS USA, LLC - 2900062
PO BOX 734672
DALLAS, TX 75373



AIRGAS USA, LLC
PO BOX 734672
DALLAS, TX 75373



ALEXANDER, ANTHONY
4323 BYRNES BOULEVARD
FLORENCE, SC 29506



ALFONSO INTERPRETING AND TRANSPORTING
INC
PO BOX 27309
GREENVILLE, SC 29616-2204



ALHAMBRA US
8 GOVERNOR WENTWORTH HWY
WOLFEBORO, NH 03894



ALI, ROWAN
3536 W FOREST LAKE DRIVE
FLORENCE, SC 29501



ALLAN, RICHMOND
502 THORNHILL DR
SPARTANBURG, SC 29301-6425



ALLEN, JADA
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
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143 BLOSSOM ROAD
MARION, SC 29571



ALLERGAN USA, INC.
12975 COLLECTIONS CENTER DR
CHICAGO, IL 60693-0129



ALLISON, CHRISTLE
143 BLOSSOM RD
MARION, SC 29571



ALLSCRIPTS LLC --6688 FLORENCE - EFT
24630 NETWORK PLACE
CHICAGO, IL 60673-1246



ALLSCRIPTS LLC
24630 NETWORK PLACE
CHICAGO, IL 60673-1246



ALLSCRIPTS
24630 NETWORK PLACE
CHICAGO, IL 60673-1246



ALLSCRIPTS
24630 NETWORK PLAE
CHICAGO, IL 60673-1246



ALLSEP, JESSICA
113 PERRY BEND CIRCLE
APT. 101
EASLEY, SC 29640



ALVAREZ, ELIZABETH
8 JANICES LANE
FLETCHER, NC 28732
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
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                                          Entered09/19/19
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ALY ELLEITHEE
C/O JANET, JANET AND SUGGS, LLC
GERALD DRAYTON JOWERS, JR
500 TAYLOR ST., STE 301
COLUMBIA, SC 29201



AMBROSE, CAROL
113 OLD BETHLEHEM SCHOOL ROAD
PICKENS, SC 29671



AMERICAN EXPRESS 1101
PO BOX 650448
DALLAS, TX 75265-0448



AMERICAN EXPRESS
PO BOX 650448
DALLAS, TX 75265-0448



AMERITAS LIFE INSURANCE CORP-DENTAL
PO BOX 81889
LINCOLN, NE 68501-1889



AMFIRST INSURANCE COMPANY
PO BOX 211747
EAGAN, MN 55121-3711



AMMONS, CHRISTINA
129 ASH TERRACE
CANTON, NC 28716



AMY HANCOCK
5804 SPINETAIL DR
NORTH MYRTLE BEACH, SC 29582



ANALYTICAL SALES AND SERVICE, INC.
237 WEST PARKWAY, UNIT ONE
POMPTON PLAINS, NJ 07444
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
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ANCRUM, ALEXA
220 EVANS DRIVE
ROEBUCK, SC 29376



ANDERSON, CALVIN
305 EAST MARLBORO STREET
FLORENCE, SC 29506



ANDERSON, LATOYA
7 SHULER DRIVE
SUMTER, SC 29150



ANSWERPROCOMMUNICATIONS, LLC
PO BOX 890340
CHARLOTTE, NC 28289-0340



ANSWERPROCOMMUNICATIONS, LLC---4180
PO BOX 890340
CHARLOTTE, NC 28289-0340



ARNALL GOLDEN GREGORY LLP - NBR 32386
171 17TH STREET NW
SUITE 2100
ATLANTA, GA 30363



ARTLIP, MIKALAH
1313 KENNEDY ROAD
LUGOFF, SC 29078



ASBURY MED-SURE, LLC ROGER YAPP
1560 ASBURY AVE
WINNETKA, IL 60093



ASHER COOPER, EMILY
189 TWIN CREEK DRIVE
BOILING SPRINGS, SC 29316
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
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ASHEVILLE FIRE PROTECTION CO., INC.
PO BOX 6798
ASHEVILLE, NC 28816



ASHLEY CRISP
1651 UNION SCHOOL RD
MCBEE, SC 29101



ASHMORE, DEVIAUNA
124 RIVERDALE RD
SIMPSONVILLE, SC 29680



AT AND T- FIRST CHOICE LAB EFT
PO BOX 5019
CAROL STREAM, IL 60197-5019



ATHENAHEALTH –
311 ARSENAL STREET
WATERTOWN, MA 02472



ATKINSON, JENNIFER
518 RENA ATKINSON ROAD
JOHNSONVILLE, SC 29555



ATLANTIC LAB EQUIPMENT, INC.
PO BOX 4405
SALEM, MA 01970



AUSA MASTERCARE GROUP INSURANCE
PO BOX 1868
GRAPEVINE, TX 76099-1868



AZELKAS, LINDSEY
2038 AVANT CIRCLE
ANDERSON, SC 29625
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
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BAGWELL, KALLEY
PO BOX 680
PIEDMONT, SC 29673



BAILEY, DAMIEN
202 COBBLESTONE XING
GAFFNEY, SC 29341



BAILEY, NICOLE
4551 OLD SPARTANBURG ROAD
APT. 518
TAYLORS, SC 29687



BAKER, RITA
200 BLUFF DRIVE
GREENVILLE, SC 29605



BALDWIN, CARLY
2194 OLD LIBERTY RD
LIBERTY, SC 29657



BALLENGER, CAYLIE
419 VICTORY LANE
MOORE, SC 29369



BANNISTER, WYATT AND STALVERY, LLC
401 PETTIGRU STREET
GREENVILLE, SC 29601



BARBARE, AMBER
PO BOX 193
FINGERVILLE, SC 29338



BARFIELD, MELISSA
217 ARBOR OAKS CIRCLE
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
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IRMO, SC 29063



BARLOW, TIFFANY
168 ENON CHURCH ROAD
EASLEY, SC 29640



BARTON, AMANDA
3524 HILL SPRINGS DRIVE
LEXINGTON, SC 29073



BAYNE, KAYLA
10 RIVEREEN WAY
SIMPSONVILLE, SC 29680



BAYNE, KIMBERLY
148 MAY APPLE DRIVE
HENDERSONVILLE, NC 28792



BCBS OF NC
FINANCIAL PROCESSING SERVICES
PO BOX 30048
DURHAM, NC 27702



BCBS
ATTN: REFUNDS
PO BOX 6000
COLUMBIA, SC 29260-6000



BCBSSC
ATTN:LOCKBOX, AX-A31
I-20 E AT ALPINE RD
COLUMBIA, SC 29219-0001



BEARD, DEIDRA
45 THOROUGHBRED CIRCLE
ARDEN, NC 28704
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
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BEATTIE B. ASHMORE P.A.
650 E. WASHINGTON STREET
GREENVILLE, SC 29601



BELL, JESSICA
210 CREEK FALLS XING
EASLEY, SC 29640



BELLAMY, LISA
402 BRIGHT WATER LANE
GREENVILLE, SC 29609



BENAVIDEZ, HEATHER
1032 SANDIELD ROAD
BLYTHEWOOD, SC 29016



BENSON, ANGELA
108 VIEW PLACE
EASLEY, SC 29640



BERRY, ALYSSA
20 LONE OAK LANE
CANDLER, NC 28715



BERRY, CAROL
2843 HERMITAGE LANE
FLORENCE, SC 29501



BERRYHILL, AMANDA
PO BOX 15316
GREENVILLE, SC 29610



BESSE MEDICAL SUPPLY - 000096572 - BC-ES
1576 SOLUTIONS CENTER
CHICAGO, IL 60677-1005
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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BHHS JOHN M BRABHAM REAL ESTATE
DAVIS PROPERTIES
1081 ALICE DRIVE
SUMTER, SC 29151



BILLADEAU, BRITTANI
5 CRYSTAL SPRINGS RD
APT 750
GREENVILLE, SC 29615



BIOCHEMICAL DIAGNOSTICS, INC
180 HEARTLAND BOULEVARD
EDGEWOOD, NY 11717



BIOVENTUS LLC
PO BOX 732823
DALLAS, TX 75373-2823



BLACK, DEBORAH
102 B FAIRWAY DRIVE
PICKENS, SC 29671



BLACK, MELISSA
644 OLD CEDAR ROCK ROAD
EASLEY, SC 29640



BLACKWELL, ROBERT
706 ARCADIAN WAY
CHARLESTON, SC 29407



BLAIR, MEGAN
208 CASTLE DRIVE NBR 1384
MYRTLE BEACH, SC 29579



BLAKE LECHE - KONIG DM, LLC 1099
BLAKE LECHE
109 WAVERLY HALL LN
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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SIMPSONVILLE, SC 29681



BLAKE LECHE
109 WAVERLY HALL LN
SIMPSONVILLE, SC 29681



BLAKE LECHE
DUNLAEVY LAW FIRM
C/O JEFFREY P. DUNLAEVY
37 VILLA RD., STE. 440
GREENVILLE, SC 29615



BLANTON, CHASITY
117 GREENBRIAR DRIVE
C/O BRENDA JOLLEY
SIMPSONVILLE, SC 29680



BLUECHOICE HEALTH PLAN
PO BOX 6000
COLUMBIA, SC 29260-6000



BLUEGRASS BIOMEDICAL INC
363 SOUTH 4TH STREET
PO BOX 296
DANVILLE, KY 40422



BMC GROUP INC
600 FIRST AVE
SEATTLE, WA 98104



BOBBY BUFFKIN
4864 JORDAN CIRCLE
TIMMONSVILLE, SC 29161



BOJKO, JOLENE
119 HAVEN REST
EASLEY, SC 29641
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
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BOON ADMINISTRATIVE SERVICES
ATTN CLAIMS
AUSTIN, TX 78755



BOSTON SCIENTIFIC CORP
PO BOX 951653
DALLAS, TX 75395-1653



BOSTON SCIENTIFIC CORP-NBR 169041-EASLEY
PO BOX 951653
DALLAS, TX 75395-1653



BOSTON SCIENTIFIC CORP--NBR 169768 GROVE
PO BOX 951653
DALLAS, TX 75395-1653



BOSTON SCIENTIFIC CORP--NBR 386416 - MB
PO BOX 951653
DALLAS, TX 75395-1653



BOUSE, ELAINE
123 QUINCY DRIVE
GREER, SC 29650



BRADLEY SWENSON
2900 RAMBLING PATH
ANDERSON, SC 29621



BRADY, KIMBERLY
128 EDGEWOOD AVE
EASLEY, SC 29640



BRAILSFORD, DANIELLE
PO BOX 925
SUMMERTON, SC 29148
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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BRAND, JENNIFER
439 SOUTH BUNCOMBE ROAD
APT NBR 525
GREER, SC 29650



BRANDY KNIGHT
C/O BLUESTEIN THOMPSON SULLIVAN, LLC
ALLISON PAIGE SULLIVAN
PO BOX 7965
COLUMBIA, SC 29202



BRANHAM, JINA
422 SPRING VILLAGE ROAD
LUGOFF, SC 29078



BRANT TURNER -PRECISE HEALTH RES-BAM
BRANT TURNER
1276 SHADOW WAY
GREENVILLE, SC 29615



BRANT TURNER
1276 SHADOW WAY
GREENVILLE, SC 29615



BRIGHT, CARLEE
115 ROSEBERRY HILL DRIVE
LYMAN, SC 29365



BRINKLEY, ASHLEY
655 BRIDGE STREET
BAMBERG, SC 29003



BRINKMAN, CARL
6727 SILVERTON LANE
DELAWARE, OH 43015
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
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                                                            14:28:40 Desc
                                                                      DescMain
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BRINSTON, HILLARY
103 AUGUSTA STREET
EASLEY, SC 29640



BRITO, SHERI
PO BOX 1023
ENKA, NC 28728



BRODIE, JANET
283 RAILROAD AVENUE NORTH
SALLEY, SC 29137



BROHM, MICHAEL
7203 GLEN FOREST DR
GREENVILLE, SC 29607



BROOKS, LATOYA
2670 DRY POCKET
APT. 628
GREER, SC 29650



BROWN, CANDICE
7243 FONTANA DR
COLUMBIA, SC 29209



BROWN, CAROLINE
119 RICKMAN DRIVE
APT 7
CENTRAL, SC 29630



BROWN, JACQUELINE
800 LARGO CT
LYMAN, SC 29365



BROWN, LISA
212 BERLIN ROAD
SALLEY, SC 29137
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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BROWN, REGAN
342 HARTVIEW CIRCLE
ANDERSON, SC 29625



BROWN, ROBIN
403 HIGH VALLEY BOULEVARD
GREENVILLE, SC 29605



BROWN, TAMEKA
627 MAXIE DRIVE
ANDERSON, SC 29624



BRUNSON, JASMINE
1068 OLD POCALLA ROAD
SUMTER, SC 29150



BRUNSON, MARISSA
1213 PRINGLE ROAD
PINEWOOD, SC 29125



BRYANT, KHAIRIYA
2900 E NORTH ST
APT. 84
WADE HAMPTON, SC 29615-1880



BRYANT, LESIA
255 GARVIN RD
LIBERTY, SC 29657



BRYANT, STEPHANIE
82 MONTAGUE RD
GREENVILLE, SC 29617



BRYSON, TRACEY
425 SELLWOOD CIRCLE
SIMPSONVILLE, SC 29680
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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BUCHANAN, MEGAN
3365 POTTS LANE
DALZELL, SC 29040



BUCKNER, JENNI
337 SPLIT PINE COVE
CLYDE, NC 28721



BULLINGTON ASSOCIATES INC.
4240 N BLACKSTOCK ROAD
SPARTANBURG, SC 29301



BURCH, MARCELLE
1580 PLEASANT GROVE RD
LYNCHBURG, SC 29080



BURNS, STEPHANIE
10 AVEBURY COURT
TRAVELERS REST, SC 29690



BURR FORMAN MCNAIR LLP
PO BOX 11390
COLUMBIA, SC 29211



BUZYAN, MARINA
1037 S MAIN ST
MARS HILL, NC 28754-6270



BYRD, ELESHA
12201 GARRET PARK LANE
UNIT 112
LOUISVILLE, KY 40223



CACTUS, LLC
1040 LEGRAND BLVD
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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SUITE D
CHARLESTON, SC 29492



CADWELL LABORATORIES, INC.
909 N KELLOGG ST
KENNEWICK, WA 99336



CAIN, LINDSEY
710 COLLEGE AVE
ANDERSON, SC 29621



CAINE AND WEINER
PO BOX 5010
WOODLAND HILLS, CA 91365-5010



CALDWELL, INDIA
511 HARRIER CLIFF COURT
BOILING SPRINGS, SC 29316



CALHOUN, CRYSTAL
2200 ANDERSON HWY
WILLIAMSTON, SC 29697



CALVERT, CHRISTY
206 LEWIS ROAD
WILLIAMSTON, SC 29697



CANTRELL, MISTY
87 E MAIN ST.
INMAN, SC 29349



CAPITAL REPORTING COMPANY
PO BOX 71303
CHICAGO, IL 60694



CAPPS, LINDSEY
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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                                       Page 226 of 384


1425 MASSEY RD
PENDLETON, SC 29670



CAREER BUILDER LLC
13047 COLLECTION CENTER DRIVE
CHICAGO, IL 60693-0130



CARLEE BRIGHT
115 ROSEBERRY HILL DRIVE
LYMAN, SC 29365



CAROL BERRY
2843 HERMITAGE LANE
FLORENCE, SC 29501



CAROLINA SURFACE RESTORATION LLC
2131 CAMELOT COURT
FLORENCE, SC 29505



CARTER, ALYSSA
1504 DELOACHE ST.
CAMDEN, SC 29020



CARTER, KATHRYN
504 SOUTH B ST
EASLEY, SC 29640



CASE, CASSIDY
1741 HIGHWAY 11
LANDRUM, SC 29356



CASE, ELIZABETH
2711 GENOA DRIVE
SUMTER, SC 29153



CATHERINE THOMPSON AS PERSONAL REP.
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
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C/O WILLIAM J TUCK, P A, WILLIAM J TUCK
FOR THE ESTATE OF REBECCA MAYHEW CASSIDY
PO BOX 933
DARLINGTON, SC 29540



CCP HARBINGER, LLC - FCH LAB
C/O COMMONWEALTH COMMERICAL PARTNERS LLC
PO BOX 71150
RICHMOND, VA 23225



CERILLIANT CORPORATION
811 PALOMA DRIVE, SUITE A
ROUND ROCK, TX 78665



CHAPMAN AND CUTLER, LLP
PO BOX 71291
CHICAGO, IL 60694



CHARLES, LATOYA
3022 LONGFELLOW DRIVE
FLORENCE, SC 29505



CHAVEZ, MARIA
333 BRISTOL ST
FLORENCE, SC 29501



CHEMELL, MORRIS
9207 ARDMORE SPRINGS CIRCLE
GREENVILLE, SC 29615



CHEW-ROBINSON, BRISHAUNA
169 CARRIE LANE
GASTON, SC 29053



CHILDERS, REBEKAH
104 IVYWAY LANE
LIBERTY, SC 29657
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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                                       Page 228 of 384




CHOICE MED HEALTHCARE INC
9245 LAGUNA SPRINGS STE 200
ELK GROVE, CA 95758



CHRISLEY, DIANE
1205 ROYAL SUMMIT DR
SENECA, SC 29678



CHRISTOPHER RUBEL
480 WEBBER ROAD
SPARTANBURG, SC 29307



CHUBB GROUP
3440 TORINGDON WAY, SUITE 307
CHARLOTTE, NC 28277



CITY OF ASHEVILLE WATER BILL
PO BOX 733
ASHEVILLE, NC 28802-0733



CITY OF CHARLESTON
ADDRESS UNAVAILABLE AT TIME OF FILING



CITY OF FLORENCE -8471 CC
CITY SERVICES BILL
PO BOX 602756
CHARLOTTE, NC 28260-2756



CITY OF MYRTLE BEACH BUSINESS LICENSE
UTILITY BILLING
PO BOX 2468
MYRTLE BEACH, SC 29578-2468



CITY OF WEST COLUMBIA CC
WATER COLLECTION DIVISION - CITY HALL
PO BOX 4044
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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                                       Page 229 of 384


WEST COLUMBIA, SC 29171-4044



CLAY, SILVER
3408 WALHALLA HIGHWAY
SIX MILE, SC 29682



CLEAPOR, AMANDA
770 PEACHTREE ROAD
CHESNEE, SC 29323



CLIA LABORATORY PROGRAM
PO BOX 3056
PORTLAND, OR 97208-3056



CLINKSCALES, JESSICA
3522 WOODCONE TRAIL
ANDERSON, SC 29624



CLINT PHARMACEUTICALS
629 SHUTE LANE
OLD HICKORY, TN 37138



CMI INC
2090 RELIABLE PARKWAY
CHICAGO, IL 60686



CMS IMAGIN, INC. /AVREO, INC –
4050 AZALEA DR
NORTH CHARLESTON, SC 29405



CMS IMAGING, INC.
4050 AZALEA DR
NORTH CHARLESTON, SC 29405



COASTAL SANITARY SUPPLY CO.
PO BOX 12490
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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FLORENCE, SC 29504



COFFEY FAMILY MEDICAL
281 UNDERPASS DR
ONEIDA, TN 37841



COGGIN, SHARON
640 NORTH BENNETT ST.
SOUTHERN PINES, NC 28387



COGGINS, ASHLEY
1713 BURNT GIN RD
GAFFNEY, SC 29340



COKER, SHANNON
720 DIX LANE
FLORENCE, SC 29505



COLEY, ETHEL
5294 GEORGIA HIGHWAY 144
BAXLEY, GA 31513



COLLEGE OF AMERICAN PATHOLOGISTS
PO BOX 71698
CHICAGO, IL 60694-1698



COLLINS, FARANGIS
4 TALL PINE LANE
SURFSIDE BEACH, SC 29575



COLLINS, JOSHUA
1353 PHILADELPHIA ST.
HARTSVILLE, SC 29550



COMCAST
PO BOX 105257
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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ATLANTA, GA 30348-5257



COMPANION LIFE
PO BOX 100102
COLUMBIA, SC 29202



COMPANION MCGEE
PO BOX 100102
COLUMBIA, SC 29202



COMTRON, INC.
11 GRACE AVE
SUITE 208
GREAT NECK, NY 11021



CONCUR / BAMBORA
62157 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693



CONE INSTRUMENTS INC.
DEPT 2465
PO BOX 11407
BIRMINGHAM, AL 35246



CONSOLIDATED NEURO SUPPLY
6682 WATERS EDGE
LOVELAND, OH 45140



COOK, SHANNON
116 DONNA LANE
EASLEY, SC 29642



COOLEY, AMANDA
1540 EBENEZER ROAD
DARLINGTON, SC 29532
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
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COOLEY, KAYLA
505 WEST MAIN STREET
APT. NBR 5
EASLEY, SC 29640



COPE, HEATHER
3958 PANTHER CREEK ROAD
CLYDE, NC 28721



COREY SMITH
111 BROOK STONE DR
EASLEY, SC 29642



COSMAN MEDICAL
22 TERRY AVE.
BURLINGTON, MA 01803



COULTER, MAGGIE
52 NATURAL SPRING LOOP
WAYNESVILLE, NC 28786



COUNTY OF GREENVILLE
C/O HARRISON WHITE, PC
JOHN B WHITE, JR
178 W MAIN ST.
SPARTANBURG, SC 29306



COVERYS MALPRACTICE
PO BOX 981024
BOSTON, MA 02298



COVERYS
PO BOX 981024
BOSTON, MA 02298



COX, ELIZABETH
219 LONGVIEW DR
WILLIAMSTON, SC 29697
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
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                        Document
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COX, MARY
20 CHARTWELL CT
SUMTER, SC 29154



COX, TORIA
119 ALEX TRAIL
WAYNESVILLE, NC 28786



CRAIS, DANIELLE
113 HOLLY LEAF LANE
LEXINGTON, SC 29072



CRANE, ASHLEY
105 WINSTON WAY
EASLEY, SC 29640



CREEKRIDGE CAPITAL VENDOR FINANCING
7808 CREEKRIDGE CIRCLE
SUITE 250
MINNEAPOLIS, MN 55439



CREEKRIDGE CAPITAL, LLC
7808 CREEKRIDGE CIRCLE
SUITE 250
MINNEAPOLIS, MN 55439-2647



CREEKRIDGE CAPITAL, LLC
PO BOX 1880
MINNEAPOLIS, MN 55480-1880



CRISALLI, JENESSA
135 OSPREY COVE LOOP
MYRTLE BEACH, SC 29588



CRISP, ASHLEY
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
                        Document
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                                       Page 234 of 384


1651 UNION SCHOOL RD
MCBEE, SC 29101



CROCKER, KAYLA
8444 OCONNOR CRESENT
NORFOLK, VA 23503



CROOKE, RYAN
724 MUDDY SPRINGS ROAD
LEXINGTON, SC 29073



CRUELL, SAPRINA
208 SOUTH CAROLINA AVENUE
SPARTANBURG, SC 29306



CRUM, BRANDI
1417 ZION SCHOOL ROAD
EASLEY, SC 29642



CRYSTAL SPRINGS - 11357 - M-AND - EFT
PO BOX 660579
DALLAS, TX 75266-0579



CRYSTAL SPRINGS VARIOUS
PO BOX 660579
DALLAS, TX 75266-0579



CRYSTAL SPRINGS
PO BOX 660579
DALLAS, TX 75266-0579



CSP INSURANCE SERVICES
2420 HOFFMEYER RD, SUITE D
FLORENCE, SC 29501



CUMMINGS, MARTHA
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
                        Document
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                                       Page 235 of 384


4 RHONDA CT
GREENVILLE, SC 29617



CUSTOM INDOOR SERVICES CLEANING
106 SHERBERT COURT
SPARTANBURG, SC 29303



DALTON, MANDY
247 AUDUBON ACRES DRIVE
EASLEY, SC 29642



DAMERON, DELAINA
206 SPRING ESTATES DR
LIBERTY, SC 29657



DAMIEN BAILEY
202 COBBLESTONE XING
GAFFNEY, SC 29341



DANIEL MCCOLLUM
435 PROVIDENCE DR
EASLEY, SC 29642



DANIELLE CRAIS
113 HOLLY LEAF LANE
LEXINGTON, SC 29072



DATA INNOVATIONS LLC
PO BOX 101978
ATLANTA, GA 30392-1978



DAVID BRUCE COFFEY
261 UNDERPASS DR.
ONEIDA, TN 37841-5885



DAVID BRUCE COFFEY
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
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C/O CLINCH RIVER LAW, PLC
ROBERT DZIEWULSKI
300 MARKET ST.
CLINTON, TN 37716



DAVID BRUCE COFFEY
C/O CLINCH RIVER LAW, PLLC
ROBERT DZIEWULSKI
300 MARKET ST.
CLINTON, TN 37716



DAVID ROGERS
PO BOX 618
EASLEY, SC 29641



DAVIS, RENITA
273 SOUTHLAND AVE
29316
BOILING SPRINGS, SC 29316-9610



DAVIS, YATIA
123 CRAWFORD ROAD
COLUMBIA, SC 29203



DAWSON, ASIA
905 PINE TOP CIRCLE
ANDERSON, SC 29626



DEANGELIS, MELODY
198 OLD BLACKSMITH ROAD
SIX MILE, SC 29682



DELLA SALA, SANDRA
202 POSSOM TROT ROAD
BLACKSBURG, SC 29702



DEREK ROPER
245 SAINT PAUL RD
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
                        Document
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EASLEY, SC 29642



DIAGNOSTIC PRODUCTS INTERNATIONAL, INC
1395 S MARIETTA PKWY
BLDG 200, STE 200
MARIETTA, GA 30067



DICKSON, KATIE
109 WOODLAND DRIVE
GREENVILLE, SC 29617



DICOLA, SARA
441 SOUTH COLLEGE STREET
HEATH SPRINGS, SC 29058



DILLARD, CYNTHIA
2016 CULPEPPERWOODS DR
DUNCAN, SC 29334



DIMAS-VILLANUEVA, DIANNA
417 SMOKEY JOE COURT
LEXINGTON, SC 29073



DIXON BOARD
OFC OF INVESTIGATIONS, C FELTON–BARNER
SC DEPT OF LABOR LICENSING AND REGUL.
P.O. BOX 11329
COLUMBIA, SC 29211-1329



DIXON HUGHES GOODMAN, LLP
PO BOX 602828
CHARLOTTE, NC 28260-2828



DIXON, WOODWARD
515 DOODLE HILL ROAD
ST. MATTHEWS, SC 29135
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
                        Document
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DOCKERY, CRYSTAL
148 DUSTIN ST
EASLEY, SC 29642



DOMINION ENERGY - 0386 HIGHLAND EFT
PO BOX 100255
COLUMBIA, SC 29202-3255



DOMINION ENERGY
PO BOX 100255
COLUMBIA, SC 29202-3255



DOMINION ENERGY-COLA NE 1414 SCE AND G
PO BOX 100255
COLUMBIA, SC 29202-3255



DONNA RAUCH
C/O BLUESTEIN THOMPSON SULLIVAN, LLC
ALLISON PAIGE SULLIVAN
PO BOX 7965
COLUMBIA, SC 29202



DONNA RAUCH
C/O ROTHSTEIN LAW FIRM, P A
DAVID E ROTHSTEIN
1312 AUGUSTA ST.
GREENVILLE, SC 29605



DOUBLE DUTCH - MYRTLE BEACH
1801 NEW HANOVER MEDICAL PARK DRIVE
WILMINGTON, NC 28403



DR. DAVID BRUCE COFFEY
281 UNDERPASS DR
ONEIDA, TN 37841



DUBOSE, JAIMIE
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
                        Document
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37B PALMETTO DRIVE
INMAN, SC 29349



DUKE ENERGY - 2942-GR-GV EFT
PO BOX 70516
CHARLOTTE, NC 28272-0516



DUKE ENERGY --0272 M-AND EFT
PO BOX 70515
CHARLOTTE, NC 28272-0516



DUKE ENERGY PROGRESS
PO BOX 1003
CHARLOTTE, NC 28201-1003



DUKE ENERGY PROGRESS-4782-ARDEN
PO BOX 1003
CHARLOTTE, NC 28201



DUKE ENERGY PROGRESS-6321-FLO EFT
PO BOX 1003
CHARLOTTE, NC 28201-1003



DUKE ENERGY
PO BOX 70516
CHARLOTTE, NC 28272-0516



DUKE ENERGY---1408 M-AND EFT
PO BOX 70516
CHARLOTTE, NC 28272-0516



DUKE ENERGY-3267-RICK ERWIN APT EFT
ADDRESS UNAVAILABLE AT TIME OF FILING



DUKE ENERGY---6376 GR-GV EFT
PO BOX 70516
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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CHARLOTTE, NC 28272-0516



DUNCAN, ERIKA
9 WRENS NEST ROAD
SWANNANOA, NC 28778



DUNCAN, JASMINE
702 GABBY COURT
WOODRUFF, SC 29388



DURRAH, STEPHANIE
329 SUGAR RIDGE ROAD
INMAN, SC 29349



DUVALL, TIFFANI
213 SWEETGUM CIRCLE
WILLIAMSTON, SC 29697



DYER, BRITTANY
136 ROCHESTER ROAD
EASLEY, SC 29640



DYNAMIC QUEST / ENROUTE
3775 ROSEWELL RD SUITE 350
MARIETTA, GA 30062



DYNAMIC QUEST / ENROUTE
3775 ROSEWELL RD
SUITE 350
MARIETTA, GA 30062



DYNAMIC QUEST FKA ENROUTE
4821 KOGER BLVD
GREENSBORO, NC 27407



EA MEDICAL
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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10541 STATE HIGHWAY 81
CANTON, MO 63435



EAGLE PHARMACY
2200 RIVERCHASE CENTER
SUITE 675
HOOVER, AL 35244



EARLE, NATALIE
918 CRESTVIEW RD
APT A-3
EASLEY, SC 29642



EASLEY COMB UTILITIES
PO BOX 619
EASLEY, SC 29641-0619



EASLEY COMB UTILITIES-64622001-BC-ES EF
PO BOX 619
EASLEY, SC 29641-0619



EBENBOECK, JULIA
16 PITTMAN ROAD
LYMAN, SC 29365



EBERT, BRANDI
171 HICKORY RD
WILLIAMSTON, SC 29697



ECLINICAL WORKS, LLC ECW
PO BOX 847950
BOSTON, MA 02284-7950



ECLINICAL WORKS, LLC
PO BOX 847950
BOSTON, MA 02284-7950
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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EDDINS, THOMAS
70 CORNELIUS DRIVE
PISGAH FOREST, NC 28768



EDWARDS, GARY
119 ELLIOT LANE
EASLEY, SC 29640



EDWARDS, MELODY
698 FOSTER ROAD
WELLFORD, SC 29385



EFFLER, ASHTON
13 STRANGE ST
SUMTER, SC 29153



ELECTRIC CITY UTILITIES CC
CITY OF ANDERSON
PO BOX 63061
CHARLOTTE, NC 28263



ELECTRODE STORE, THE
PO BOX 188
ENUMCLAW, WA 98022



ELECTROMEDICAL
4371 SHALLOWFORD IND PKWY
PO BOX 670893
MARIETTA, GA 30066



ELIZABETH SNODERLY
4691 MILL POND CT
MURRELLS INLET, SC 29576



ELLIOTT DAVIS DECOSIMO, LLC
PO BOX 6286
GREENVILLE, SC 29606-6286
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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ELLIOTT DAVIS DECOSIMO, LLC-AUDIT
PO BOX 6286
GREENVILLE, SC 29606-6286



ELLIOTT DAVIS DECOSIMO, LLC-TAX
PO BOX 6286
GREENVILLE, SC 29606-6286



ELLIS, RENEE
103 PECAN TREE CIRCLE
EASLEY, SC 29640



ELLIS, TAYLOR
111 GREEN AVE
FOUNTAIN INN, SC 29644



ELMORE, KYLE
14 LAUREL DRIVE
TAYLORS, SC 29687



EMPLOYMENT SCREENING SERVICES, INC
DEPT K, PO BOX 830520
BIRMINGHAM, AL 35283



ENTZMINGER, LARISSA
624 BRIARCLIFF WEST
ELGIN, SC 29045



ENVIRONMENTAL SAFETY PROFESSIONALS, INC
7419 KNIGHTDALE BLVD SUITE 115
KNIGHTDALE, NC 27545



EPIMED, INT
141 SAL LANDRIO DR
CROSSROAD BUSINESS PARK
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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                                                                      DescMain
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JOHNSTOWN, NY 12095



EPPS, HEIDI
15 HAMMETT STREET EXTENSION
GREENVILLE, SC 29609



ERIC HARRELL - ECORP, LLC 1099 BAM
25 DRAPER STREET
UNIT 432
GREENVILLE, SC 29611



EVANS, REBECCA
1090 LAKE LOGAN ROAD
CANTON, NC 28716



EVER GREEN ENVIROMENTAL, LLC
PO BOX 25627
GREENVILLE, SC 29616



EVINS, ABRIANNA
300 DOONBEG DRIVE
APT. 29
DUNCAN, SC 29334



EXIGO
25 AIRPARK COURT
GREENVILLE, SC 29607



EXPERIAN HEALTH, INC.
PO BOX 886133
LOS ANGELES, CA 90088-6133



EXPERIAN HEALTH, INC.-BILLING
PO BOX 886133
LOS ANGELOS, CA 90088-6133
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                           Main
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EXTRA STORAGE SPACE
104 LA VON LN
EASLEY, SC 29642



FAGRON STERILE SERVICES JCB
8710 E 34TH ST. N
WICHITA, KS 67226



FARRICIELLI, JEFFREY
3912 ASHTON SHORE LANE
MOUNT PLEASANT, SC 29466



FARROW, KAREN
415 ROE ROAD
GREENVILLE, SC 29611



FELIX MUNIZ
1015 NUTT STREET
APT. 334
WILMINGTON, NC 28401



FERRELL, KANESHIA
107 REBECCA STREET
GREENVILLE, SC 29607



FIBRENEW
117 BOARDWALK RUN
ROCK HILL, SC 29732



FIDELITY SECURITY LIFE INS
FSL / EYEMED PREMIUMS
PO BOX 632530
CINCINNATI, OH 45263-2530



FIDUS INVESTMENT CORPORATION
AS LENDER AND COLLATERAL AGENT
1603 ORRINGTON NBR 810
EVANSTON, IL 60201
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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FIDUS INVESTMENT CORPORATION
US BANK CORPORATE TRUST BOSTON
SDS 12-2302
MINNEAPOLIS, MN 55486-2302



FIELDER, QUANTINA
204 CAMDEN LANE
GREENVILLE, SC 29605



FIELDS, CHERA
619 JASMIN DR
ANDERSON, SC 29626-1237



FIELDS, GENENE
110 THORNBY ROAD
IRMO, SC 29063



FIRST CITIZENS BANK AND TRUST COMPANY
ATTN: NATOSHA DREWS
PO BOX 29
COLUMBIA, SC 29202



FIRST CITIZENS BANK-VISA
PO BOX 63038
CHARLOTTE, NC 28263-3038



FISHER SCIENTIFIC
PO BOX 404705
ATLANTA, GA 30384-4705



FISHER, MELONDY
43 MARAVISTA AVENUE
GREENVILLE, SC 29617



FLANAGAN, MORGAN
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
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830 THREE AND TWENTY ROAD
EASLEY, SC 29642



FLOWERS, TASHA
205 GREEN VALLEY ROAD
STARR, SC 29684



FORD, MELANIE
304 NORTHBROWN ROAD
COLUMBIA, SC 29229



FORETHOUGHT
PO BOX 16500
CLEARWATER, FL 33766-6500



FORGIONE
C/O DAVID GOULD
DASH AND ASSOCS., ATTN: MOLLY ROWAN
ONE LIBERTY PLAZA, 165 BROADWAY, FL. 23
NEW YORK, NY 10006



FORGIONE, LISA
301 HOLLY STREET
CLINTON, SC 29325



FOSTER, LADAWN
603 RIDGE TRAIL DR
COLUMBIA, SC 29229



FOSTER, TRACY
117 FRANCIS RD
EASLEY, SC 29640



FRIDDLE, MELISSA
106 AUBURN TOP LANE
MAULDIN, SC 29662
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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FUJIFILM MEDICAL SYSTEMS USA, INC
419 W AVENUE
STAMFORD, CT 06902



FULMORE, VANESSA
1509 MCMILLAN LN
FLORENCE, SC 29506



FURMAN, MATTHEW
100 BEAVER LAKE DRIVE
ELGIN, SC 29045



GADDIS, FELECIA
162 FULBRIGHT ROAD
WAYNESVILLE, NC 28785



GADDIS, KENDRA
55 BAM LOFT LANE
CANTON, NC 28716



GALLANT, KRISTEN
19 ALEXANDER ST.
LIBERTY, SC 29657



GALLMAN, TARA
100 BROWN DRIVE
EASLEY, SC 29642



GAMBINO, PATRICIA
29 KONNAROCK CIRCLE
GREENVILLE, SC 29617



GARFIELD SIGNS AND GRAPHICS, LLC
203 FORD STREET
GREER, SC 29650
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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GE HEALTHCARE IITS USA CORP
15724 COLLECTIONS CENTER DR
CHICAGO, IL 60693



GE HEALTHCARE, INC.
PO BOX 640200
PITTSBURGH, PA 15264-0200



GE HEALTHCARE-CHICAGO SOFTWARE AND
TRAINING
C/O OEC MEDICAL SYSTEMS INC.
2984 COLLECTIONS CENTER DR
CHICAGO, IL 60693



GE HEALTHCARE-CHICAGO
C/O OEC MEDICAL SYSTEMS INC.
2984 COLLECTIONS CENTER DR
CHICAGO, IL 60693



GEHA
PO BOX 410014
KANSAS CITY, MO 64179-9775



GEORGETOWN PHYSICIAN SERVICES LLC
C/O NELSON MULLINS RILEY AND SCARBOROUGH
SUSAN P MACDONALD
PO BOX 3939
MYRTLE BEACH, SC 29578



GEORGETOWN PHYSICIAN SERVICES, LLC
NELSON MULLINS RILEY AND SCARBOROUGH LLP
C/O THOMAS F. MORAN
3751 ROBERT GRISSOM PKY., FL. 3
MYRTLE BEACH, SC 29577



GEORGIA MEDPRO
3195 FREEDOM LANE
MOULTRIE, GA 31788
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                           Main
                        Document
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G-FIVE, INC.
297-H GARLINGTON RD
GREENVILLE, SC 29615



GIBBS, KWAKITA
705 RICHLAND ST
APT 2
COLUMBIA, SC 29201



GIBSON PEST CONTROL
3601 SWEETEN CREEK RD
PO BOX 989
SKYLAND, NC 28776



GIBSON, LINDSEY
1615 GLADDEN ST.
COLUMBIA, SC 29205



GILL, SABRINA
228 HAYES ROAD
PICKENS, SC 29671



GILSTRAP, JULIE
649 MASSINGILL MEMORIAL DR
PICKENS, SC 29671



GILSTRAP, JULIE
649 MASSINGILL MEMORIAL DRIVE
PICKENS, SC 29671



GIRAULT, GISELE
145 LAKE POINTE DR
FORT MILL, SC 29708



GISELE GIRAULT
145 LAKE POINTE DR
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                           Main
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FORT MILL, SC 29708



GLOBAL STAR MEDICAL
1901 E 50TH ST
TEXARKANA, AR 71854



GLOVER, MAISHA
116 LAMBETH DRIVE
COLUMBIA, SC 29209



GODFREY, DEBORAH
280 CHEDDAR ROAD
BELTON, SC 29697



GOINS, KRISTINA
121 CAMELIA DRIVE
SUMMERVILLE, SC 29485



GOLDSMITH, HANNAH
115 PEARSON TERRACE DR
APT. C
EASLEY, SC 29642



GONZALEZ, ANA
201 EAST BEATTIE STREET
LIBERTY, SC 29657



GOODWIN, AMANDA
5822 STAGECOACH ROAD
EFFINGHAM, SC 29541



GOS-GREENVILLE OFFICE SUPPLY
PO BOX 3358
GREENVILLE, SC 29602



GOWAN, TAYLOR
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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1450 OLD NC 20
LEICESTER, NC 28748



GOWIN, ELLIE
232 HALO DRIVE
WELLFORD, SC 29385



GRAHAM, ERICA
326 ORANGE STREET
LOT 37
DARLINGTON, SC 29532



GRAINGER
730 CONGAREE RD
GREENVILLE, SC 29607



GRANADA NEIL 1099 - BAM
1399 ASHLEYBROOK LANE
SUITE 100
WINSTON SALEM, NC 27103



GRAYBILL, HEATHER
1409 ROPER MOUNTAIN ROAD
APT. 323
GREENVILLE, SC 29615



GREAT HERON - W COLUMBIA EFT
FRANK HAHNE
208 BARNACLE CIRCLE
LEXINGTON, SC 29072



GREENE, JOSHUA
222 PINE CONE LOOP
BISHOPVILLE, SC 29010



GREENVILLE OFFICE SUPPLY GOS
PO BOX 3358
GREENVILLE, SC 29602
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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GREENVILLE WATER- RICK ERWIN APT- CC
PO BOX 687
GREENVILLE, SC 29602-0687



GREENVILLE WATER SYSTEM
PO BOX 687
GREENVILLE, SC 29602-0687



GREENVILLE WATER SYSTEM-5250-GR-GV CC
PO BOX 687
GREENVILLE, SC 29602-0687



GREENVILLE WATER SYSTEM-5252- GR-GV CC
PO BOX 687
GREENVILLE, SC 29602-0687



GREER, JODY
112 FOLKSTONE CT
EASLEY, SC 29640



GRIFFIN, JESSICA
304 RICK COURT
PELZER, SC 29669



GROTH, RYAN
70 BENT CREEK PRESERVE ROAD
ASHEVILLE, NC 28806



GROVE 1005 - GROVE RD GREENVILLE
25 AIRPARK COURT
GREENVILLE, SC 29607



GROVE 1005 LLC
25 AIRPARK COURT
GREENVILLE, SC 29607
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
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                                                   10/01/1917:13:58
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GUNTER, NATALIE
1227 PRICEVILLE ROAD
GILBERT, SC 29054



HAAS, JOHN
109 PEPPERWOOD DRIVE
GREENVILLE, SC 29611



HALLMAN, CAMERON
14 SCARLETT STREET
GREENVILLE, SC 29607



HALTIWANGER, LESLYE
208 LONGVIEW DRIVE
PIEDMONT, SC 29673



HALYARD SALES, LLC AVANOS
PO BOX 732583
DALLAS, TX 75373-2583



HAMBY, LESLEY
226 MURPHY ROAD
BELTON, SC 29627



HAMILTON, PURITY
199 FAIR ORCHARD WAY
DUNCAN, SC 29334



HAMM, JESSICA
6 EBENWAY LN
SIMPSONVILLE, SC 29680



HANCOCK, AMY
5804 SPINETAIL DR
NORTH MYRTLE BEACH, SC 29582
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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HANNIGAN, KAYLEE
108 EDGEWOOD DRIVE
DUNCAN, SC 29334



HARBIN, TRACY
101 CANFIELD RD
HONEA PATH, SC 29654-9511



HARE, ASHLEY
301 MORNING CREEK DRIVE
EASLEY, SC 29640



HARRELL, ERIC
25 DRAPER STREET
APT 432
GREENVILLE, SC 29611



HARRINGTON, STEPHANIE
2205 BROAD DRIVE
FLORENCE, SC 29505



HARSEY, STEPHANIE
121 FLEETWOOD DRIVE
LEXINGTON, SC 29073



HARTSELL, WINNON
167 BAGWELL STREET
EASLEY, SC 29640



HARVEY, IRENE
9 DELORES STREET
GREENVILLE, SC 29605



HATCHELL LANDSCAPE-FLO
PO BOX 5320
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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FLORENCE, SC 29502



HAWKINS, SHANNON
116 STARRWOOD DR
STARR, SC 29684



HAWKINS, TRACY
1233 NAZARETH RD
SPARTANBURG, SC 29301



HAYNSWORTH SINKLER BOYD, PA
ONE NORTH MAIN , 2ND FLOOR
PO BOX 2048
GREENVILLE, SC 29601-2048



HEALTHCARE COMPLIANCE PROS, INC.
10891 SCOTTY DRIVE
SOUTH JORDAN, UT 84095



HEALTHFIRST
DEPT CH 14330
PALATINE, IL 60055-4330



HEBRON, ANTONIA
51 LIVINGSTON TER
GREENVILLE, SC 29607-4397



HEMINGWAY, LUCINDA
209 FORESTWOOD DRIVE
COLUMBIA, SC 29223



HEMPHILL, ASHELY
116 GETTYS DR
GAFFNEY, SC 29341



HENRY SCHEIN- 4636 - EFT
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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PO BOX 371952
PITTSBURG, PA 15250-7952



HENRY SCHEIN
135 DURYEA RD
MELVILLE, NY 11747



HENRY SCHEIN
PO BOX 371952
PITTSBURG, PA 15250-7952



HENRY, RAVEN
119 DUKE AVE.
COLUMBIA, SC 29203



HERALD 16297 FLORENCE
PO BOX 1288
DILLON, SC 29536



HERNANDEZ, CYNTHIA
168 HARRIS TRL RD
GAFFNEY, SC 29341



HESS, NICHOLE
891 SOUTH MECHANIC STREET
PENDLETON, SC 29670



HI-AMERITAS LIFE INSURANCE CORP-DENTAL
PO BOX 81889
LINCOLN, NE 68501-1889



HI-ASSURANT HEALTH-COMPAS
PO BOX 624
MILWAUKEE, WI 53201-0624



HI-BLUECHOICE HEALTHPLAN
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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PO BOX 6000
COLUMBIA, SC 29260-6000



HICKSON, RANDOLYN
1558 RUGER DR
SUMTER, SC 29150



HI-COMPANION LIFE
PO BOX 100102
COLUMBIA, SC 29202



HI-FIDELITY SECURITY LIFE INS
FSL / EYEMED PREMIUMS
PO BOX 632530
CINCINNATI, OH 45263-2530



HIGHLAND CENTER DRIVE-COLUMBIA
C/O TRINITY PARTNERS MANAGEMENT - AR
440 S CHURCH ST, STE 800
CHARLOTTE, NC 28202



HIGHLAND IMAGING
PO BOX 63
ALLARDT, TN 38504



HI-LIBERTY MUTUAL INSURANCE
PO BOX 188025
FAIRFIELD, OH 45018-8025



HI-LINCOLN NATIONAL LIFE INSURANCE CO.
PO BOX 0821
CAROL STREAM, IL 60132-0821



HI-LINCOLN NATIONAL LIFE-DENTAL
PO BOX 0821
CAROL STREAM, IL 60132
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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HILL, KAREN
25 CRYSTAL AVE.
GREENVILLE, SC 29605



HILL, MORGAN
161 WILLOWOOD DR
SPARTANBURG, SC 29303



HILL, SAMUEL
3944 FORRESTER ROAD
GREER, SC 29651



HINTON, BRITTNI
4807 OLD SPARTANBURG RD
1500-K
TAYLORS, SC 29687-4238



HINTON, JULIE
5 MERRYWOOD DR
TAYLORS, SC 29687



HIOTT PRINTING COMPANY
207 JOHNSON STREET
PO BOX 997
PICKENS, SC 29671



HIOTT, TIFFANY
240 SYLVIA ROAD
BELTON, SC 29627



HI-PROBENEFITS, INC. - EFT
PO BOX 896200
CHARLOTTE, NC 28289



HI-PRUDENTIAL GROUP INSURANCE
PO BOX 101241
ATLANTA, GA 30392-1241
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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HIRT, KATIE
245 HADLEY COMMONS DR
MAULDIN, SC 29662



HISCOX INC
C/O WILLIS OF NORTH CAROLINA, INC
29754 NETWORK PLACE
CHICAGO, IL 60673-1297



HI-THE BENEFIT COMPANY, INC
PO BOX 211486
COLUMBIA, SC 29221



HOLMAN, LAUREN
103 RED LEAF CT
EASLEY, SC 29642



HONAKER, PATRICK
412 KIMBALL DRIVE
MARION, SC 29571



HONEA, KATIE
110 DRURY LANE
MAULDIN, SC 29662



HOOD, HALLE
114 SNIPE LANE
EASLEY, SC 29642



HORTON, BRITTANI
434 PLEASANT GREEN DR
INMAN, SC 29349



HOUCK-MORRIS, MELISSA
120 PENN CIRCLE
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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GALIVANTS FERRY, SC 29544



HOWARD, EUGENIA
PO BOX 42
ARCADIA, SC 29320



HUBER, CHRISTA
110 ROYAL COURT
GREENVILLE, SC 29611



HUBER, MARGARET
6780 RACKING LANE
WEDGEFIELD, SC 29168



HUDGENS, CAMEISHA
741 WOODRUFF RD
APT. 2512
GREENVILLE, SC 29607



HUDSON, EMILEE
200 N LYLES AVENUE
LANDRUM, SC 29356



HUDSON, ZENOBIA
7585 HIGH MAPLE COURT
NORTH CHARLESTON, SC 29418



HUFF, KATIE
402 A NORTH MAIN STREET
GREER, SC 29650



HUGHES, KARLA
131 SHARLA CT
LIBERTY, SC 29657



HUMANA GOLD CHOICE
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
                        Document       Page 262 of 384
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PO BOX 14601
LEXINGTON, KY 40512-4601



HURON CONSULTING SERVICES, LLC DEFERRED
4795 PAYSPHERE CIRCLE
CHICAGO, IL 60674



HURON CONSULTING SERVICES, LLC
4795 PAYSPHERE CIRCLE
CHICAGO, IL 60674



HUTLEY, JOYCE
2 AIKEN UNO LANE
TAYLORS, SC 29687



IBRAHIM, ANGELIA
4005 GROUSEWOOD DRIVE
MYRTLE BEACH, SC 29588



IBUY OFFICESUPPLY
14940 28TH AVE NORTH
PLYMOUTH, MN 55447



IMAGING ASSOCIATES, INC. –
3223 32ND AVE S, STE 201
FARGO, ND 58103-6278



IMAGING SOLUTIONS HEALTHCARE LLC
ANDERSON, BOTTRELL, SANDEN AND THOMPSON
C/O MICHAEL J. HOFER
5257 27TH ST. S., STE. 101
FARGO, ND 58104



IMAGING SOLUTIONS HEALTHCARE LLC
C/O ANDERSON BOTTRELL SANDEN AND
THOMPSON, DAVID J HAUFF
PO BOX 10247
FARGO, ND 58104
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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IMAGING SOLUTIONS, INC.
3223 32ND AVE S, STE 201
FARGO, ND 58103-6278



IMCS INTEGRATED MICRO-CHROMATOGRAPHY
SYST
110 CENTRUM DRIVE
IRMO, SC 29063



IMHOF, BEVERLY
200 CROSSVINE WAY
SIMPSONVILLE, SC 29680



IMMEDION, LLC
PO BOX 745116
ATLANTA, GA 30374-5116



INDEXX, INC.
303 HAYWOOD ROAD
GREENVILLE, SC 29607



INFINITY ENTERPRISES - FLORENCE
C/O DR DEAN BANKS
9303 VENEZIA CIRCLE
MYRTLE BEACH, SC 29579



INFINITY MED CHOICE ORTHOPEDIC
8698 ELK GROVE BLVD
STE 1 - 208
ELK GROVE, CA 95624



INGRAM, BROOKE
1010 OLD HUNTS BRIDGE ROAD
GREENVILLE, SC 29617
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
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INNES, JOANNE
214 DRAYTON STREET
WINNSBORO, SC 29180



INTEGRA PAIN MANAGEMENT
PO BOX 100416
ATLANTA, GA 30384



INTERNAL REVENUE SERVICE

KANSAS CITY, MO 64999-0202



INTERSTATE HEALTH PHYSICS CONSULTING LLC
112 DEERCHASE LANE
LEXINGTON, SC 29072



ION TECHNOLOGY SUPPORT INC
1204 COPELAND OAKS DRIVE
MORRISVILLE, NC 27560



IRON MOUNTAIN - SC77X
PO BOX 27128
NEW YORK, NY 10087-7128



IRON MOUNTAIN - SC826-SHRED SUMTER
PO BOX 27128
NEW YORK, NY 10087



IRON MOUNTAIN - SR995-STORAGE
PO BOX 27128
NEW YORK, NY 10087-7128



IRON MOUNTAIN
PO BOX 27128
NEW YORK, NY 10087-7128
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
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IRONSHORE INSURANCE LIMITED
175 POWDER FOREST DR
WEATOGUE, CT 06089



ISLER, MARY
8 JACKSON DRIVE
STARTEX, SC 29377



IT-RECOUP LLC
1709 LAKE DRIVE WEST
CHANHASSEN, MN 55317



J D HAAS, LLC 1099
109 PEPPERWOOD DRIVE
GREENVILLE, SC 29611



JACKSON AND COKER PERMANENT, LLC.
2655 NORTHWINDS PARKWAY
ALPHARETTA, GA 30009



JACKSON, DE-ADRIENNE
116 ELETA DRIVE
LEXINGTON, SC 29073



JACKSON, TAMEKA
206 CATTERICK WAY
FOUNTAIN INN, SC 29644



JAMES CAIN 1099 BAM
113 RATHFARNHAM CIRCLE
ASHEVILLE, NC 28803



JAMES EARLES CLEANING SERVICE 1099
PO BOX 251
SANDY SPRINGS, SC 29677
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
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JAMMIE STEPHENS
256 COPPERLEAF DRIVE
MYRTLE BEACH, SC 29588



JANT PHARMACAL
16530 VENTURA BLVD
SUITE 512
ENCINO, CA 91436



JAY PATEL
14 KETTERING COURT
EASLEY, SC 29642



JEFFERIES, ASHLEY
140 MANOR HOUSE LANE
CHESNEE, SC 29323



JEFFREY FARRICIELLI
3912 ASHTON SHORE LANE
MOUNT PLEASANT, SC 29466



JENKINS, KRYSTAL
120 MERRITT DRIVE
EASLEY, SC 29642



JENKINS, TRISHA
2212 PAMPLICO HIGHWAY
APT. J3
FLORENCE, SC 29505



JENNIFER TROISE
101 MILLER SPRINGS DR
MOORE, SC 29369



JENNINGS, KAYLA
587 LIBERTY HIGHWAY
LIBERTY, SC 29657
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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JESSICA BELL
210 CREEK FALLS XING
EASLEY, SC 29640



JETER, LAKEILA
449 GRANADA DRIVE
SPARTANBURG, SC 29303



JILL KESSLER
109 WINDSONG COURT
ANDERSON, SC 29621



JOBES, LYNNE
1340 LONGCREEK DRIVE
COLUMBIA, SC 29210



JOHANNING, JODI
106 PHILLIPS LANE
GREER, SC 29650



JOHN HAAS
109 PEPPERWOOD DRIVE
GREENVILLE, SC 29611



JOHNSON CONTROLS SECURITY SOLUTIONS
PO BOX 371967
PITTSBURGH, PA 15250-7967



JOHNSON, CHASITY
110 K C BERRY ROAD
STARR, SC 29684



JOHNSON, DEBORAH
108 COUNTRY COVE LANE
GREER, SC 29651
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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JONES DAY
1420 PEACHTREE STREET, N E , SUITE 800
ATLANTA, GA 30309



JONES, CORINE
230 ROPER MOUNTAIN ROAD EXTENSION
APT 703G
GREENVILLE, SC 29615



JONES, MALIKA
300 SULPHUR SPRINGS RD
APT NBR 06
GREENVILLE, SC 29617



JONES, VALARIE
252 DANBY CT
COLUMBIA, SC 29212-1844



JOSEPH OQUINN
12 KETTERING COURT
EASLEY, SC 29642



JOSEPH OQUINN/JWO ENTE 1099 BAM
JWO ENTERPRISE, LLC
12 KETTERING CT
EASLEY, SC 29642



JUSTICE, RAGEN
508 TARRANT STREET
CENTRAL, SC 29630



KATHY MOTES
260 BALLANTYNE COMMON CIRCLE
APT. 204
HENDERSONVILLE, NC 28792
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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KEARSE, SHERICA
20 RIVERSIDE DRIVE
TAYLORS, SC 29687



KEFFER, SARAH
335 ZIMMERMAN ROAD
INMAN, SC 29349



KEITH, CHELLA
111 MAYWOOD DRIVE
TAYLORS, SC 29687



KEITH, CHRISTINA
625 FARRS BRIDGE ROAD
GREENVILLE, SC 29611



KENNEDY, AMY
PO BOX 194
WAGENER, SC 29164



KENNEDY, TANGELA
10 CAPEWOOD ROAD
APT 127
SIMPSONVILLE, SC 29680



KERSHAW, DESTINY
222 LUKESVILLE ROAD
BUFFALO, SC 29321



KESSLER, JILL
109 WINDSONG COURT
ANDERSON, SC 29621



KING, NATASHA
2784 CRICKINTREE LANE
DARLINGTON, SC 29532
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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KING, SHEMA
706 FOUNTAINBROOK LANE
FOUNTAIN INN, SC 29644



KING, SHEMA
706 FOUNTAINBROOK LN
FOUNTAIN INN, SC 29644



KINNUNEN, COURTNEY
1628 SOUTH MCELHANEY ROAD
GREER, SC 29651



KIRKLAND, KARA
177 GARVIN DRIVE
WAGENER, SC 29164



KONIG PM LLC
C/O BLAKE LECHE
109 WAVERLY HALL LN.
SIMPSONVILLE, SC 29681



KONIG PM LLC
C/O DUNLAEVY LAW FIRM
JEFFREY P DUNLAEVY
37 VILLA RD , STE 440
GREENVILLE, SC 29615



KUDZU STAFFING, INC.
PO BOX 51627
POWDERSVILLE, SC 29673



LABTECH DIAGNOSTICS
1502 E GREENVILLE STREET
ANDERSON, SC 29621



LACROIX, AMI
328 GEORGES CREEK DR
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
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EASLEY, SC 29640



LANCASTER, MEGAN
36 RIDGE TOP ACRES
CANDLER, NC 28715



LANCE, MORGAN
368 MOUNT BETHEL RD
PICKENS, SC 29671



LANDMARK AMERICAN INSURANCE COMPANY
C/O WILLIS OF NORTH CAROLINA, INC
29754 NETWORK PLACE
CHICAGO, IL 60673-1297



LAWSON, ASHLEY
321 LINDEN HALL LANE
EASLEY, SC 29640



LAWTON, DESTINY
1834 WESTRIDGE BLVD
CONWAY, SC 29527



LEAGUE, JAMES
209 WOODY CREEK ROAD
GREER, SC 29650



LEAVENWORTH, JOY
219 CATTERICK WAY
FOUNTAIN INN, SC 29644



LECHE, AMANDA
305 CHENOWETH DRIVE
SIMPSONVILLE, SC 29681



LECHE, BLAKE
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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109 WAVERLY HALL LN
SIMPSONVILLE, SC 29681



LEE, KELLY
PO BOX 271
VANCE, SC 29163



LEE, SHANNON
4637 OXFORD ROAD
COLUMBIA, SC 29209



LEONARD MEYER LLP
120 N LASALLE ST, STE 2000
CHICAGO, IL 60601



LEVASSEUR, DAWN
41 WESTERN AVENUE
FAIRFIELD, ME 04937



LEXINGTON TERMITE AND PEST CONTROL, INC.
439 HEARTWOOD DRIVE
LEXINGTON, SC 29073



LIBERTY MUTUAL INSURANCE
PO BOX 188025
FAIRFIELD, OH 45018-8025



LIBERTY MUTUAL INSURANCE-EFT
PO BOX 188025
FAIRFIELD, OH 45018-8025



LICHOTA, LISA
516 FOXCROFT RD
GREENVILLE, SC 29615



LINCE, KATHY
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
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30 HARLEY CREEK ROAD
CANTON, NC 28716



LINCOLN NATIONAL LIFE INSURANCE CO.
PO BOX 0821
CAROL STREAM, IL 60132-0821



LINCOLN NATIONAL LIFE-DENTAL
PO BOX 0821
CAROL STREAM, IL 60132



LINDA SULLIVAN
115 ODELL RD
LIBERTY, SC 29657



LINDLER, CAMERON
22 FRIARTUCK ROAD
GREENVILLE, SC 29608



LINDLER, TINA
11245 GARNERS FERRY RD
EASTOVER, SC 29044



LIPOMED
150 CAMBRIDGE PARK DRIVE
SUITE 705
CAMBRIDGE, MA 02140



LISA FORGIONE BAM 1099
301 HOLLY ST
CLINTON, SC 29325



LISA FORGIONE
301 HOLLY STREET
CLINTON, SC 29325
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
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LITTLEJOHN, AQUINNDA
426 ESTELLE ROAD
GAFFNEY, SC 29341



LIVEYON
7700 IRVINE CNTR DR NBR 800
IRVINE, CA 92618



LLOYD, HEATHER
114 NORTHVIEW RD
WEST COLUMBIA, SC 29169



LOHMAN, REBECKAH
104 FAWN CT
LEXINGTON, SC 29072



LONG, KAITLYN
4875 BUFFALO WEST SPRINGS HIGHWAY
PAULINE, SC 29374



LONG, SHANE
231 CORN ROAD
GREENVILLE, SC 29607



LOWE, KAREN
386 THISTLE LN
MYRTLE BEACH, SC 29579



LUCAS, AMANDA
168 SANDY CREEK CT
GASTON, SC 29053



LUCIOUS DANA SAPP
C/O PARHAM SMITH AND ARCHENHOLD, LLC
ASHLEE EDWARDS WINKLER
15 WASHINGTON PARK
GREENVILLE, SC 29601
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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LUCKY, KIM
207 14TH STREET APT E-11
HARTSVILLE, SC 29550



LUMPKIN, CONSTANT
346 CAUDELL DRIVE
LAVONIA, GA 30553



LUTHERAN SERVICES - ARDEN, NC
ATTN: KIRBY NICKERSON
PO BOX 947
SALISBURY, NC 28145



LYKES, AMY
211 FOXGLOVE DRIVE
SWANSEA, SC 29160



LYLES, PAMELA
284 FERNDALE DRIVE
BOILING SPRINGS, SC 29316



LYONS, BRITTANY
610 FOREST CREEK CIRCLE
GREER, SC 29651



MACK, ERICA
170 SHERMAN DRIVE
BOILING SPRINGS, SC 29316



MAG MUTUAL INSURANCE AGENCY, LLC
PO BOX 52979
ATLANTA, GA 30305



MAG MUTUAL INSURANCE AGENCY, LLC
PO BOX 52979
ATLANTA, GA 30355-0979
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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MAGNACARE
PO BOX 1001
GARDEN CITY, NY 11530



MAGNOLIA CENTER ONE, LLC
367 DEBORDIEU BLVD
GEORGETOWN, SC 29440



MAR COR INC
16233 COLLECTIONS CENTER DR
CHICAGO, IL 60693



MARION DAVIS INC.
PO BOX 2429
EASLEY, SC 29641-2429



MARLENE SAPP
C/O PARHAM SMITH AND ARCHENHOLD, LLC
ASHLEE EDWARDS WINKLER
15 WASHINGTON PARK
GREENVILLE, SC 29601



MARLING, BREANNE
203 SHUTTER ROAD
CENTRAL, SC 29630



MARTIN, KAREENA
2554 BOILING SPRINGS ROAD
BOILING SPRINGS, SC 29316



MARTINDALE, KIMBERLY
18 MANIOUS DRIVE
ARDEN, NC 28704



MARTINEZ, BRENDA
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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116 OLD STONE ROAD
COLUMBIA, SC 29229



MARY BLACK HEALTH - SPARTANBURG
SRHS-ACCOUNTING
ATTN: DANA HORTON
SPARTANBURG, SC 29303



MARY COX
20 CHARTWELL CT
SUMTER, SC 29154



MASON, DIANA
10 MILL PARK COURT
GREENVILLE, SC 29611



MASSEY, ELISABETH
19 DANBURY DRIVE
GREENVILLE, SC 29615



MATT FURMAN BAM
100 BEAVER LAKE DR
ELGIN, SC 29045



MAULDIN, KARESA
306 PARK WEST CIRCLE
EASLEY, SC 29642



MAYES, DANA
1710 WOODS DRIVE
FLORENCE, SC 29505



MAYS, ROBERT
310 ELM DRIVE
MAULDIN, SC 29662
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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MCBEE, TOBEY
116 ALLSBROOK PLACE
MOORE, SC 29369



MCCARLEY, JOSHUA
225 CARDINAL LN
CHESNEE, SC 29323



MCCASKILL, PATRICIA
305 FALLEN TIMBER TRAIL
BLYTHEWOOD, SC 29016



MCCLAM, MARY
1321 GILBERT DRIVE
FLORENCE, SC 29506



MCCOLLUM BUSINESS LLC
435 PROVIDENCE DR
EASLEY, SC 29642



MCCOLLUM, JAMES
409 HAVERHILL CIR
EASLEY, SC 29642



MCCOLLUM, JAMES
409 HAVERHILL CIRCLE
EASLEY, SC 29642



MCDOUGAL, ASHLEY
1614 CHEROKEE ROAD
FLORENCE, SC 29501



MCFADDEN, JANEISHA
1226 PATTY RD
CADES, SC 29518
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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MCGEE, CHARRA
1634 DOGWOOD STREET
CAYCE, SC 29033



MCGOWENS, MAKENZIE
447 LATHAM ROAD
EASLEY, SC 29640



MCGUIREWOODS, LLP
TOWER TWO- SIXTY
260 FORBES AVE
PITTSBURGH, PA 15222



MCHENRY, KIMBERLY
101 SHARON HEIGHTS DR
LIBERTY, SC 29657



MCKESSON MEDICAL-SURGICAL
PO BOX 634404
CINCINNATI, OH 45263-4404



MCKINNEY, LISA
210 WINCHEST DRIVE
CENTRAL, SC 29630



MEDICAL LABORATORY SOLUTIONS, INC.
270 RUTLEDGE RD, STE D
FLETCHER, NC 28732



MEDIPLUS
PO BOX 9126
DES MOINES, IA 50306



MEDLIN, LISA
159 GLENDALE LN
EASLEY, SC 29640
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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MEDLINE INDUSTRIES, INC.
DEPT CH 14400
PALATINE, IL 60055-4400



MEDSUPPLY PARTNERS
3715 ATLANTA INDUSTRIAL PKWY
SUITE B
ATLANTA, GA 30331



MEDTRONIC INC. USA
PO BOX 409201
ATLANTA, GA 30384-9201



MEEHAN, GRETA
1026 WALDEN CREEK WAY
GREENVILLE, SC 29615



MEEKINS, TONISHA
223 JIMMY LOVE LANE
COLUMBIA, SC 29212



MEHAFFEY, BRITTANY
9 HOWARD DRIVE
CANTON, NC 28716



MELODY DEANGELIS
198 OLD BLACKSMITH ROAD
SIX MILE, SC 29682



MERCEDES MEDICAL
7590 COMMERCE COURT
SARASOTA, FL 34243



MERCHANT CREDIT CARD PROCESSING
PO BOX 6600
HAGERSTOWN, MD 21741-6600
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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MERITMEDICAL INC.
PO BOX 204842
DALLAS, TX 75320-4842



MICHELE THOMSON
963 MT SHOALS RD
ENOREE, SC 29335



MIKELL, SUSAN
7013 OLD GREENVILLE HWY
LIBERTY, SC 29657



MILES, TONYA
113 SHELBY DRIVE
PICKENS, SC 29671



MILLER, JAKAILA
129 NORFOLK CIRCLE
ANDERSON, SC 29625



MILLER, JAMES
104 LONG CREEK COURT
INMAN, SC 29349



MILLER, KAITLYN
716 MEECE MILL ROAD
PICKENS, SC 29671



MIMMS CONTRACTING LLC
PO BOX 6732
COLUMBIA, SC 29260



MINKS, DENISE
1032 PORTICO LOOP
MYRTLE BEACH, SC 29577
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
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                                                                           Main
                        Document
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MITCHELL, CHARLES
108 COMMON OAKS CT
SIMPSONVILLE, SC 29681-3931



MITCHELL, RYAN
1959 OSPREY DRIVE
FLORENCE, SC 29501



MOKAN, ROMAN
429 MEADOW ROAD
INMAN, SC 29349



MOLONEY, KEVIN
105 LAPORT DR
MAULDIN, SC 29662



MOODY, KELSEY
964 G W WHITMIRE ROAD
ROSMAN, NC 28772



MOORE, CHRISTY
1011 WEST SHOCKLEY FERRY ROAD
ANDERSON, SC 29626



MOORE, MIRANDA
1708 CHIMNEY SWIFT LN
WEST COLUMBIA, SC 29169-5418



MOREHEAD, NICHOLE
1715 DR JOHNS RD
WESTMINSTER, SC 29693-5254



MORGANO, GABRIELLE
6 CHUCKWOOD COURT
SIMPSONVILLE, SC 29680
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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MORRIS, REGINA
556 BRONZE DRIVE
LEXINGTON, SC 29072



MORRIS, WENDY
3367 YOUNG CHARLES DR
FLORENCE, SC 29501



MOSES, ANGELA
100 PRINCETON DR
EASLEY, SC 29640



MOSS, KAYLYN
414 KILLION DR
GAFFNEY, SC 29340



MOSS, KESHIA
312 TERILYN COURT
GREENVILLE, SC 29611



MOTES, KATHY
260 BALLANTYNE COMMON CIRCLE
APT. 204
HENDERSONVILLE, NC 28792



MOTT, TRACY
211 PINECREST DRIVE
MAULDIN, SC 29662



MOUNTAINSIDE MEDICAL EQUIPMENT
5955 NY-291
MARCY, NY 13403



MP COMPUTER SYSTEMS INC
PO BOX 5752
FLORENCE, SC 29502
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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MSA CARE GUARD
PO BOX 827
BURLINGTON, MA 01803



MULL, CAROLA
230 DONNAN ROAD
APT 1B
TAYLORS, SC 29687



MUMFORD, ANGEL
621 ASPEN ST
FLORENCE, SC 29501



MUNEZA, SERAPHINE
5300 AUGUSTA RD
APT 81
GREENVILLE, SC 29605



MUNIZ, FELIX
1015 NUTT STREET
APT. 334
WILMINGTON, NC 28401



MURIEL CALHOUN
C/O BLUESTEIN THOMPSON SULLIVAN, LLC
ALLISON PAIGE SULLIVAN
PO BOX 7965
COLUMBIA, SC 29202



MY WEB NINJA LLC
400 W LEGION BLVD
OWENSBORO, KY 42303



MYERS, RICHARD
411 RIVER STREET
APT NBR 303
GREENVILLE, SC 29601
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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                                                                           Main
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NABORS, TERRI
505 WESTCHESTER RD
EASLEY, SC 29640



NALC - CIGNA
PO BOX 188004
CHATTANOOGA, TN 37422



NATUS NEUROLOGY INCORPORATED
PO BOX 3604
CAROL STREAM, IL 60132-3604



NAZERY, XAVIER
312 PERSIAN COURT
HOPKINS, SC 29061



NEFF, MELANIE
1800 FM 1640 ROAD NBR 416
RICHMOND, TX 77469



NELMES, SHANNON
207 WALNUT DRIVE
PICKENS, SC 29671



NELSON MULLINS RILEY AND SCARBOROUGH
LLP EFT
104 SOUTH MAIN STREET NINTH FLOOR
GREENVILLE, SC 29601



NELSON, BRITTNEY
911 SASSAFRAS DR
SUMTER, SC 29150



NEWCOMER, JOANNA
18 MONTFORD CT
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
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TRAVELERS REST, SC 29690



NEWMAN, MELANIE
121 GRANT STREET
EASLEY, SC 29640



NEXT LEVEL FLOORING SOLUTIONS, LLC
444 BEAUCATCHER UNIT 6
ASHEVILLE, NC 28805



NICHOLSON RUSHTON, ANN
324 SMOKEY COURT
LEXINGTON, SC 29073



NIXON, IESHA
1514 GLENWOOD ROAD
SPARTANBURG, SC 29307



NORMA LEE WILSON
C/O GEORGE BROWN
LOWE YEAGER AND BROWN PLCC
900 S. GAY ST., STE. 2102
KNOXVILLE, TN 37902



NORMA SWEET
744 VIOLA COURT
COLUMBIA, SC 29229



NORTON, MICHELLE
110 PINE LAKE DRIVE
EASLEY, SC 29642



OCONNOR, ANGIE
741 WOODRUFF ROAD
APT 2035
GREENVILLE, SC 29607
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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ODOM, JESSICA
158 PLEMMONS RD
LYMAN, SC 29365



OGLETREE DEAKINS
PO BOX 89
COLUMBIA, SC 29202



OLDHAM, KIMBERLY
311 WATTS HILL RD
ELGIN, SC 29045-8860



OQUINN, JOSEPH
12 KETTERING COURT
EASLEY, SC 29642



ORASURE TECHNOLOGIES, INC. CC
PO BOX 780518
PHILADELPHIA, PA 19178-0518



ORTHOGEN RX
LOCKBOX 28390
28390 NETWORK PLACE
CHICAGOE, IL 60673-1283



OSBORNE, LAVOSKSKIE
108 SANDPINE CIRCLE
COLUMBIA, SC 29229



OTIS ELEVATOR COMPANY
PO BOX 73579
CHICAGO, IL 60673



OUELLETTE, CHRISTINE
7 STONO DRIVE
GREENVILLE, SC 29609
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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OWENS, MIRANDA
428 CHILDRESS RD
EASLEY, SC 29640



PAGE, JENNIFER
641 SLATTON SHOALS ROAD
PELZER, SC 29669



PAGE, KILEY
218 SHADOW CREEK LANE
ANDERSON, SC 29621



PALL CORP
PO BOX 419501
BOSTON, MA 02241



PALMER, ANGELA
227 CAMELLIA CIR
GAFFNEY, SC 29341-1138



PALMER, SOMMER
109 JAMES RD
EASLEY, SC 29642



PALMETTO GBA/MEDICARE - SC
FINANCE AND ACCOUNTING
PO BOX 100246
COLUMBIA, SC 29202-3280



PALMETTO SECURITY CO, INC.
4 MEDICAL COURT
SUMTER, SC 29150



PALMETTO UNIFORM, INC.
2015 J WEST EVANS ST
FLORENCE, SC 29501
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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PARKER, SYLNOVIA
457 MOORER RD
SAINT MATTHEWS, SC 29135



PATEL, ABHAY
9 NEW ALTAMONT TERRACE
GREENVILLE, SC 29609



PATEL, JAY
14 KETTERING COURT
EASLEY, SC 29642



PATRICIA MINTLINE
251 HICKS DR
INMAN, SC 29349



PATTERSON, BRANDON
7 SANDRINGHAM ROAD
TAYLORS, SC 29687



PAUL, LURIKA
100 FAIRFOREST ROAD
APT. B-1
COLUMBIA, SC 29212



PAULINE, CELIA
1587 GILES ROAD
LEXINGTON, NC 27295



PAY PLUS / ZELLIS PAYMENTS
18167 US HIGHWAY 19 NORTH
SUITE 300
CLEARWATER, FL 33764



PELKEY, CHRISTY
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
                        Document
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412 FOREST HILL ROAD
WAYNESVILLE, NC 28785



PERKINELMER HEALTH SCIENCES INC.
13633 COLLECTIONS CENTER DR
CHICAGO, IL 60693-0136



PERKINS, AMY
5 SKILTON DR
TRAVELERS REST, SC 29690



PERKINS, CAROLINE
433 HUNTER MILL RD
LIBERTY, SC 29657



PERKINS, LYNN
145 RIVERWOOD TRAIL
MARIETTA, SC 29661



PERMA
PO BOX 183188
COLUMBUS, OH 43218



PHENOMENEX
411 MADRID AVENUE
TORRANCE, CA 90501-1430



PHILLIPS, CASSIE
210 DANIEL STREET
ANDERSON, SC 29625



PHILLIPS, CHRISTA
405 LENHARDT ROAD
EASLEY, SC 29640



PIEDMONT NATURAL GAS
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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PO BOX 660920
DALLAS, TX 75266-0920



PIEDMONT NATURAL GAS-7002-ANDERSON EFT
PO BOX 1246
CHARLOTTE, NC 28201-1246



PIONEER CREDIT RECOVERY
PO BOX 979113
SAINT LOUIS, MO 63197-9000



PIPETTE.COM
10360 SORRENTO VALLEY RD, SUITE E
SAN DIEGO, CA 92121



PITNEY BOWES
PO BOX 371887
PITTSBURGH, PA 15250-7887



PJP MARKETPLACE
9355 BLUE GRASS ROAD
PHILADELPHIA, PA 19114



PLATINUM CODE
8095 215TH STREET W
LAKEVILLE, MN 55044



PLUMBERS AND PIPEFITTERS
PO BOX 840
MACON, GA 31202



PMD - LAKESIDE
209 DEPOT STREET
SUITE B
GREER, SC 29651
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
                        Document
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POMCO
PO BOX 118
SYRACUSE, NY 13206



POSTON, HANNAH
105 WINSTON WAY
EASLEY, SC 29640



POSTON, MARIAN
119 COPPERMINE DRIVE
EASLEY, SC 29642



POUGH, QUEEN
13405 CRESCENT SPRINGS DRIVE NBR 4
CHARLOTTE, NC 28273



POWELL, AMY
113 SHEFFIELD ROAD
EASLEY, SC 29642



POWELL, RALONDA
237 LAUREL LANE NBR 25
FLORENCE, SC 29506



PR-AARP MEDDICARE COMPLETE
PO BOX 31362
SALT LAKE CITY, UT 84131



PR-ABSOLUTE TOTAL CARE
PO BOX 3050
FARMINGTON, MO 63640-3821



PR-ABSOLUTETOTAL CARE
PO BOX 602939
CHARLOTTE, NC 28260
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
                        Document
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PR-ACCENT COST CONTAINMENT SOLUTIONS
PO BOX 542007
OMAHA, NE 68154-8007



PR-ACCENT
PO BOX 952366
SAINT LOUIS, MO 63195-2366



PRACTICE DIAGNOSTIC SYSTEMS, LLC PDS
PRACTICAL DATA SOLUTIONS
33 BULLET HILL RD
SOUTHBURY, CT 06488



PR-ADVANCED PHYSICAL THERAPY
5284 CALHOUN MEM HWY
STE L
EASLEY, SC 29640



PR-AETNA
PO BOX 14079
LEXINGTON, KY 40512-4079



PR-AMERICAN RETIREMENT LIFE INS
PO BOX 30010
AUSTIN, TX 78755



PR-AMERICAS 1ST CHOICE
PO BOX 210769
COLUMBIA, SC 29221-0769



PR-ANS SOLUTIONS LLC
92 E MAIN STREET SUITE 307
SOMERVILLE, NJ 08876



PRAXAIR
1939 BLUFF ROAD
COLUMBIA, SC 29201
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                           Main
                        Document
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PRAXAIR
PO BOX 120812 DEPT 0812
DALLAS, TX 75312-0812



PRAXAIR, INC - 76578884-EQUIP LEASE
PO BOX 120812 DEPT 0812
DALLAS, TX 75312-0812



PRAXAIR, INC. - 71713891 SHARE LS
PO BOX 120812 DEPT 0812
DALLAS, TX 75312-0812



PR-BCBS OF NC
FINANCIAL PROCESSING SERVICES
PO BOX 30048
DURHAM, NC 27702



PR-BCBSSC
ATTN:LOCKBOX, AX-A31
I-20 E AT ALPINE RD
COLUMBIA, SC 29219-0001



PR-BENEFIT ADMINISTRATIVE SYSTEMS, LLC
17475 JOVANNA DRIVE, SUITE 1D
HOMEWOOD, IL 60430-1082



PR-BLUE CROSS BLUE SHIELD OF SC
PO BOX 100300
COLUMBIA, SC 29212



PR-BLUECHOICE HEALTH PLAN
21555 OXNARD ST
WOODLAND HILLS, CA 91367



PR-BROADSPIRE SERVICES, INC.
PO BOX 14645
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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LEXINGTON, KY 40572



PR-CAINE AND WEINER
PO BOX 5010
WOODLAND HILLS, CA 91365



PR-CARE IMPROVEMENT PLUS
PO BOX 822657
PHILADELPHIA, PA 19182-2657



PR-CGS ADMINISTRATORS LLC
PO BOX 955152
ST LOUIS, MO 63195



PR-CHAPPELL, SMITH AND ARDEN, PA
PO BOX 12330
COLUMBIA, SC 29211



PR-CHRISTIAN AND DAVIS
1007 E WASHINGTON ST
GREENVILLE, SC 29601



PR-CIGNA
PO BOX 188061
CHATTANOOGA, TN 37422-8061



PR-COLLINS AND LACY
PO BOX 12487
COLUMBIA, SC 29211



PR-CONDUENT PAYMENT INTEGRITY SOLUTIONS
REFUND DEPT
PO BOX 3009
NAPPERVILLE, IL 60566



PR-CONSUMERS CHOICE HEALTH PLAN
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
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                        Document
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ATTN: RECOVERIES DIVISION
PO BOX 779
LITTLE ROCK, AR 72203



PR-CONTINENTAL BENEFITS
PO BOX 3610
BRANDON, FL 33509



PR-COTIVITI HEALTHCARE
ATTN: FIRST CHOICE VIP CARE CLAIMS
555 NORTH LANE, SUITE 6020
CONSHOHOCKEN, PA 19428



PR-DEPARTMENT OF VETERANS AFFAIRS
1100 TUNNELL ROAD
ASHEVILLE, NC 28801



PRECISE HEALTH RESOURCES, LLC
C/O BRANT TURNER
102 SWEETWATER CT
GREER, SC 29650



PREFERRED HEALTH
3209 SW PORT ST. LUCIE BLVD NBR 114
PORT ST. LUCIE, FL 34953



PREFERRED MEDICAL PRODUCTS
PO BOX 100
DUCKTOWN, TN 37326



PREMIER FIRE PROTECTION
PO BOX 1765
SIMPSONVILLE, SC 29681



PREMIER MEDICAL LAB SERVICES
PO BOX 2009
FOUNTAIN INN, SC 29644
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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PREMIUM FUNDING ASSOCIATES, INC
1 WORLD FINANCIAL CENTER
200 LIBERTY STREET
NEW YORK, NY 10281



PR-EMPLOYERS PREFFERED INS CO
PO BOX 71088
CHARLOTTE, NC 28272



PRESCOTT, GLYNIS
516 N NETTLES ST.
BISHOPVILLE, SC 29010



PRESCRIBERS LETTER
3120 W MARCH LANE
PO BOX 8190
STOCKTON, CA 95297-0842



PRESTIGE STAFFING LLC
8010 ROSWELL ROAD
SUITE 330
ATLANTA, GA 30350



PRESTON LOUNDS
5 NORTH PLAINVIEW DR
GREENVILLE, SC 29611



PR-FORETHOUGHT
PO BOX 16500
CLEARWATER, FL 33766-6500



PR-GEHA
PO BOX 410014
KANSAS CITY, MO 64179-9775



PR-GHI
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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PO BOX 2814
NEW YORK, NY 10116-2814



PR-HARTSVILLE PHYSICAL THERAPY
1920 SECOND LOOP RD
STE 5
FLORENCE, SC 29501



PR-HEALTH SCOPE BENEFITS
ATTN: RECOVERIES DIVISION
27 COPRORATE HILL DRIVE
LITTLE ROCK, AR 72205



PR-HEALTHNET FEDERAL SERVICES VETERANS
PO BOX 2748
VIRGINIA BEACH, VA 23450



PR-HEWITT, COLEMAN AND ASSOCIATES, INC
ATTN: WESLEY COMMONS
PO BOX 6708
GREENVILLE, SC 29606



PR-HOWARD, HOWARD, FRANCIS AND REID
PO BOX 10383
GREENVILLE, SC 29603



PR-HUMANA GOLD CHOICE
PO BOX 14601
LEXINGTON, KY 40512-4601



PR-HUMANA HEALTH CARE PLANS
PO BOX 931655
ATLANTA, GA 31193-1655



PR-HUMANA INC
PO BOX 14601
LEXINGTON, KY 40512-4601
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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PRICE, MARY
421 FANNIE MAE LANE
WAYNESVILLE, NC 28786



PRIME LINE INC
PO BOX 51569
PIEDMONT, SC 29673



PRINCE, LAUREN
108 GRAY LOG TURN
PIEDMONT, SC 29673



PRINCIPAL FINANCIAL GROUP
PO BOX 10372
DES MOINES, IA 50306-0372



PRINCIPAL LIFE
PO BOX 39710
COLORODO SPRINGS, CO 80949-3910



PR-INTEGRA BMS, INC.
A/R DEPARTMENT
PO BOX 1240
MATTHEWS, NC 28106-1240



PRINTTEK
57 BATESVILLE COURT
GREER, SC 29650



PRIORITY ONE SECURITY-GROVE
PO BOX 602577
CHARLOTTE, NC 28260-2577



PRIORITY ONE
PO BOX 602577
CHARLOTTE, NC 28260-2577
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
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                                                                           Main
                        Document
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PR-JENNIFER TROISE
101 MILLER SPRINGS DR
MOORE, SC 29369



PR-LINDA SULLIVAN
115 ODELL RD
LIBERTY, SC 29657



PR-MCCARTHY, BURGESS AND WOLFF
MB AND W BUILDING
26000 CANNON RD
CLEVELAND, OH 44146



PR-MCWHIRTER, BELLINGER AND ASSOC
1807 HAMPTON ST.
COLUMBIA, SC 29201



PR-MEDICARE PART B
PALMETTO GBA/MEDICARE
MEDICARE PART B-FINANCE AND ACCOUNTING
COLUMBIA, SC 29202-3280



PR-MICHELE THOMSON
963 MT SHOALS RD
ENOREE, SC 29335



PR-MOAA MEDIPLUS
PO BOX 9126
DES MOINES, IA 50306



PR-MOLINA HEALTHCARE OF OHIO
DEPT 781661
PO BOX 78000
DETROIT, MI 48278-1661
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
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PR-MOLINA HEALTHCARE OF S C
PO BOX 602960
CHAROLOTTE, NC 28260-2960



PR-MSA CARE GUARD
PO BOX 827
BURLINGTON, MA 01803



PR-NATIONAL ELEVATOR INDUSTRY
19 CAMPUS BLVD STE 200
NEWTON SQUARE, PA 19073-3288



PROBENEFITS, INC.
PO BOX 896200
CHARLOTTE, NC 28289



PROCARE FLIGHT, LLC
25 AIRPARK CT
GREENVILLE, SC 29607



PROGRESSIVE BUISNESS PUBLICATIONS
370 TECHNOLOGY DRIVE
MALVERN, PA 19355



PR-OMNI HELATHCARE LLC
270 CARPENTER DRIVE NE
SUITE 695
ATLANTA, GA 30328



PROPEL HR, INC.
669 N ACADEMY ST
GREENVILLE, SC 29601



PROPES, AMELIA
106 ZION STREET
EASLEY, SC 29640
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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PROPES, HEATHER
106 ZION STREET
EASLEY, SC 29640



PROPHET, SHANDA
113 MIMOSA DRIVE
GASTON, SC 29053



PROPROFS
6800 ALTAMOR DR
LOS ANGELES, CA 90045



PROTURF BUILDER
DOUGLAS J YOUNG
27 CONWAY DR
GREENVILLE, SC 29615



PROVIDENCE HOMEOWNERS ASSOCIATION
216 PROVIDENCE WAY
EASLEY, SC 29642



PR-PALMETTO GBA/MEDICARE
PO BOX 100190
COLUMBIA, SC 29202-3190



PR-PATRICIA MINTLINE
251 HICKS DR
INMAN, SC 29349



PR-PERMA
PO BOX 183188
COLUMBUS, OH 43218



PR-PIONEER CREDIT RECOVERY
PO BOX 979113
SAINT LOUIS, MO 63197-9000
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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PR-PLANNED ADMIN INC
PO BOX 6927,
COLUMBIA, SC 29260



PR-PLANNED ADMINISTRATORS, INC
ATTN: REFUNDS
PO BOX 6927
COLUMBIA, SC 29260



PR-POMCO
PO BOX 159 EASTWOOD STATION
SYRACUSE, NY 13206



PR-PRS-PAYMENT RESOLUTION SERVICE
PO BOX 415000
NASHVILLE, TN 37241-0836



PR-RECEIVABLE MANAGEMENT SERVIC
1250 E DIEHL RD STE 300
NAPERVILLE, IL 60563



PRS
PO BOX 292437
NASHVILLE, TN 37229-2437



PR-SALLEY LAW FIRM
129 EAST MAIN ST
LEXINGTON, SC 29072



PR-SC DEPARTMENT OF HEALTH AND HUMAN
CASH RECEIPTS
PO BOX 8355
COLUMBIA, SC 29202-8355



PR-SC MEDICAID
PO BOX 1412
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
                        Document
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COLUMBIA, SC 29202-1412



PR-SEDGWICK CLAIMS MANAGEMENT SERVICES
PO BOX 14434
LEXINGTON, KY 40512-4434



PR-SENTRY SELECT INSURANCE CO.
PO BOX 8032
STEVENS POINT, WI 54481



PR-TCC
ATTN: SANDRA MYRICK
PO BOX 22557
CHARLESTON, SC 29413



PR-THE DENNISON LAW FIRM
PO BOX 2468
GREENVILLE, SC 29602



PR-THE JOEL BIEBER FIRM
15 S MAIN STREET SUITE 600
GREENVILLE, SC 29601



PR-TRAVELERS INS PROPERTY CASUALTY
PO BOX 4614
BUFFALO, NY 14240



PR-TRICARE FOR LIFE
PO BOX 7928
MADISON, WI 53707-7928



PR-TRUSTMARK LIFE INSURANCE
PO BOX 2942
CLINTON, IA 52733-2942



PRUDENTIAL GROUP INSURANCE
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
                        Document
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PO BOX 101241
ATLANTA, GA 30392-1241



PRUITT, JAMIE
209 MAPLE DRIVE
ANDERSON, SC 29621



PR-UMR EATON CORPORATION
PO BOX 30541
SALT LAKE CITY, UT 84130



PR-UNIFIED LIFE INSURANCE CO
PO BOX 25326
OVERLAND PARK, KS 66225



PR-UNITED HEALTHCARE SERVICES, INC.
PO BOX 31362
SALT LAKE CITY, UT 84130-0555



PR-UNITED HEALTHCARE
PO BOX 101760
ATLANTA, GA 30392-1760



PR-UPMC HEALTHPLAN
PO BOX 2999
PITTSBURG, PA 15230



PR-UTICA MUTUAL INSURANCE COMPANY
ATTN: REFUNDS
PO BOX 5310
BINGHAMPTON, NY 13902-9955



PR-VERISA HOGLEN
285 PISGAH VIEW RD
ASHEVILLE, NC 28806
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
                        Document
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PR-VHG RECOVERY SERVICES
PO BOX 740804
ATLANTA, GA 30374



PR-WELLCARE RECOVERY DEPT
PO BOX 31658
TAMPA, FL 33631-3584



PR-WELLCARE
PO BOX 31658
TAMPA, FL 33631



PR-WILLIAM GRAY
209 RIVERBREEZE RD
GREENVILLE, SC 29611



PR-WILLIAMS AND KAMB
PO BOX 10693
GREENVILLE, SC 29603



PR-XEROX RECOVERY SERVICES
31355 OAK CREST DRIVE
SUITE 100
WESTLAKE VILLAGE, CA 91361



PR-ZIPPERER LORBERBAUM AND BEAUVAIS
PO BOX 9147
SAVANNAH, GA 31412



PSNC ENERGY
PO BOX 100256
COLUMBIA, SC 29202-3256



PSS CAROLINAS 2231 MYRTLE BEACH
PO BOX 741378
ATLANTA, GA 30374-1378
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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PT - ANDERSON COUNTY TREASURER
PO BOX 1658
ANDERSON, SC 29622



PT - BEAUFORT COUNTY TREASURER
BUSINESS LICENSE DEPARTMENT
PO DRAWER 1228
BEAUFORT, SC 29901-1228



PT - BUNCOMBE COUNTY TAX COLLECTOR-ARDEN
35 WOODFIN STREET, SUITE 204
ASHEVILLE, NC 28801-3014



PT - CHARLESTON COUNTY TREASURER
PO BOX 100242
COLUMBIA, SC 29202-3242



PT - GREENVILLE COUNTY TAX COLLECTOR
DEPARTMENT 390
PO BOX 100221
COLUMBIA, SC 29202-3221



PT - HORRY COUNTY TREASURER
DEPT 330 PO BOX 100215
COLUMBIA, SC 29202-3215



PT - INFINITY ENTERPRISES LLC
DEAN BANKS
1906 OSPREY DR
FLORENCE, SC 29501-6123



PT - LAURIE WALSH CARPENTER FLORENCE
PO BOX 100501
FLORENCE, SC 29502-0501



PT - OREN L BRADY III COUNTY TREASURER
PO BOX 5807
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
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SPARTANBURG, SC 29304



PT - PICKENS COUNTY TREASURER
222 MCDANIEL AVENUE
B-6
PICKENS, SC 29671-2754



PT - RICHLAND COUNTY TREASURER
PO BOX 11947
COLUMBIA, SC 29211



PT - SPARTANBURG COUNTY TAX COLLECTOR
PO BOX 3060
SPARTANBURG, SC 29304



PTG INC
114 WILLIAMS STREET
GROUND LEVEL
GREENVILLE, SC 29601



PULSE MEDICAL INC DBA RADIATION CONCEPT
1130 ADA STREET SUITE B
BLUE RIDGE, GA 30513



PURCHASE POWER - 0541-9860 POSTAGE
PO BOX 371874
PITTSBURGH, PA 15250-7874



PURCHASE POWER - 0962-0380 CORP EFT
PO BOX 371874
PITTSBURGH, PA 15250-7874



PURITY MEDICAL PRODUCTS
PO BOX 940
PLACENTIA, CA 92871
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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PYE-BARKER FIRE AND SAFETY LLC
PO BOX 69
ROSEWELL, GA 30077



QS/1 DATA SYSTEMS
201 W ST. JOHN ST
SPARTANBURG, SC 29306



QUADRANGLE RESEARCH
PO BOX 12873
RESEARCH TRIANGLE PARK, NC 27709



QUALCARE, INC
PO BOX 249
PISCATAWAY, NJ 08855-0241



QUALITY SERVICE COMPANY, LLC
2208 NATIONAL AVENUE
FLORENCE, SC 29501



QUARTZY, INC.
DEPT 3895
PO BOX 123895
DALLAS, TX 75312-3895



QUEST DIAGNOSTICS
PO BOX 740709
ATLANTA, GA 30374-0709



QUILL CORPORATION
PO BOX 37600
PHILADELPHIA, PA 19101-0600



R AND L CARRIERS
PO BOX 271
WILMINGTON, OH 45177-0271
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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RACKLEY, BRIANNA
321 TEAKWOOD DRIVE
EASLEY, SC 29640



RACKLEY, MELISSA
321 TEAKWOOD DR
EASLEY, SC 29640



RADFORD, TRACY
218 SPRING ESTATES DR
LIBERTY, SC 29657



RADIOLOGY ASSOCIATES OF THE CAROLINAS
PO BOX 669
SIMPSONVILLE, SC 29681



RAINBOW SIGNS, INC.
PO BOX 712
GREENWOOD, SC 29648



RAJMAN 02, LLC
ATTN: MRS KAILASH PANDYA
274-B COMMONWEALTH DR
GREENVILLE, SC 29615



RAMOS, KIMBERLY
222 ABERDEEN DRIVE
ANDERSON, SC 29621



RAMSAY, JILLIAN
115 C DEERFIELD CT
EASLEY, SC 29640



RANDALL, ANNE
26 BEE MEADOWS CIR
SWANNANOA, NC 28778
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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RATLIFF, WANDA
303 HUDDERSFIELD DRIVE
PIEDMONT, SC 29673



RAWLINS, ASIA SIMONE
1022 MANOR LANE
CONWAY, SC 29526



RAY, CATHY
165 KNIGHT DRIVE
CLYDE, NC 28721



RE - BLACK BEAR CONSULTING 1099
411 RIVER ST., APT 303
GREENVILLE, SC 29601



RE - BLAKE LECHE - KONIG DM, LLC 1099
BLAKE LECHE
109 WAVERLY HALL LN
SIMPSONVILLE, SC 29681



RE - BLAKE LECHE - KONIG DM, LLC
109 WAVERLY HALL LN
SIMPSONVILLE, SC 29681



RE - BRADLEY SWENSON 1099
2900 RAMBLING PATH
ANDERSON, SC 29621



RE - BRANT TURNER-PRECISE HEALTH RES-BAM
BRANT TURNER
1276 SHADOW WAY
GREENVILLE, SC 29615



RE - C AND D CUSTOM DESIGN
CORNELL DANEY
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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1242 BLUE JOHNSON RD
HOPKINS, SC 29061



RE - CANDICE BROWN
7243 FONTANA DR
COLUMBIA, SC 29209



RE - CHAPMAN CARPET CLEANING 1099
PO BOX 1414
GREER, SC 29652



RE - CHARLES RAY MITCHELL LOCUM/1099
116 AUBURN TOP LANE
MAULDIN, SC 29662



RE - CUSTOM INDOOR SERVICES CLEANING
106 SHERBERT COURT
SPARTANBURG, SC 29303



RE - DAWN RICHARDS BAM
126 MORNING LAKE DRIVE
MOORE, SC 29369



RE - DOUGLAS B MASSEY 1099
303 FAIRFOREST WAY
PICKENS, SC 29671



RE - DWIGHT JACOBUS
401 DEERFIELD DR
GREER, SC 29650



RE - ERIC HARRELL - ECORP, LLC 1099 BAM
25 DRAPER STREET
UNIT 432
GREENVILLE, SC 29611
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
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                                                   10/01/1917:13:58
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RE - ERIC HARRELL - ECORP, LLC
25 DRAPER STREET
UNIT 432
GREENVILLE, SC 29611



RE - ERIC HARRELL BAM
108 FOX LANE
PICKENS, SC 29671



RE - FALICIA SCOTT
2805 CARRIAGE LANE
FLORENCE, SC 29505



RE - FELIX MUNIZ MD
1015 NUTT STREET APT 334
WILMINGTON, NC 28401



RE - GENENE FIELDS
110 THORNBY ROAD
IRMO, SC 29063



RE - GINNA EUGENIA HOWARD 1099
PO BOX 42
ARCADIA, SC 29320



RE - GRANADA NEIL 1099 - BAM
1399 ASHLEYBROOK LANE
SUITE 100
WINSTON SALEM, NC 27103



RE - GRIFFIN PAINTING OF THE UPSTATE
PO BOX 502
EASLEY, SC 29641



RE - J D HAAS, LLC 1099
109 PEPPERWOOD DRIVE
GREENVILLE, SC 29611
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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RE - JAMES CAIN 1099 BAM
113 RATHFARNHAM CIRCLE
ASHEVILLE, NC 28803



RE - JAMES EARLES CLEANING SERVICE 1099
PO BOX 251
SANDY SPRINGS, SC 29677



RE - JAMES M MCCOLLUM
409 HAVERHILL CIRCLE
EASLEY, SC 29642



RE - JAMES MILTON BAGWELL 1099
406 HAVERHILL CIRCLE
EASLEY, SC 29642



RE - JANET BRODIE BAM
125 SLOANS AVE
PERRY, SC 29137



RE - JOSEPH OQUINN/JWO ENTE 1099 BAM
JWO ENTERPRISE, LLC
12 KETTERING CT
EASLEY, SC 29642



RE - JOSH GREENE BAM
222 PINE CONE LOOP
BISHOPVILLE, SC 29010



RE - JULIA EBENBOECK BAM
16 PITTMAN RD
LYMAN, SC 29365



RE - KAITLYN WHITE 1099
19 WOODHAVEN WAY
EASLEY, SC 29642
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
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                                                   10/01/1917:13:58
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RE - MATT FURMAN BAM
100 BEAVER LAKE DR
ELGIN, SC 29045



RE - REAGAN MEDICAL CONSULTING, LLC 1099
C/O DR CHRISTOPHER J RUBEL
20 LOWTHER HALL LANE
GREENVILLE, SC 29615



RE - RICHARD MINKS BAM
1032 PORTICO LOOP
MYRTLE BEACH, SC 29577



RE - ROBERT BLACKWELL 1099 BAM
706 ARCADIAN WAY
CHARLESTON, SC 29407



RE - ROJAS LANDSCAPING, LLC 1099
228 OLD CEDAR ROCK RD
EASLEY, SC 29640



RE - SANDRA MITCHUM BAM
2245 LLOYD DR
SUMTER, SC 29154



RE - SERVICE PA CHARLES PARKE 1099
ATTN: MS TERESA SIMONS
390 E HENRY ST
SPARTANBURG, SC 29302



RE - SIDNEY FLEEGLE 1099
3958 PANTHER CREEK RD
CLYDE, NC 28721



RE - SIMPLE SOLUTIONS ACCOUNTING LLC
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
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123 QUINCY DR
GREER, SC 29650



RE - STEEPLECHASE PATHOLOGY, LLC 1099
ATTN: RENEE THOMAS, MD
1905 CARRIAGE HOUSE LANE
CAMDEN, SC 29020



RE - SYBIL REDDICK-REAL OPTIONS 1099 BAM
SYBIL REDDICK
32 QUAIL HILL DRIVE
GREENVILLE, SC 29607



RE - TERESA LESLIE 1099
102 ROSS ROAD
LIBERTY, SC 29657



RE - TIDEWATER RADIOLOGY LLC DR DOUD
216 CHECHESSEE RD
OKATIE, SC 29909



RE - WILLIAM H WHITLOCK 1099
201 BUCKINGHAM RD
EASLEY, SC 29640



RE -REFLECTIONS MAINTENANCE SERVICES INC
PO BOX 2105
LEICESTER, NC 28748



READYREFRESH BY NESTLE
PO BOX 856192
LOUISVILLE, KY 40285-6192



REDDICK, SYBIL
32 QUAIL HILL DRIVE
GREENVILLE, SC 29607
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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REDSTONE TECHNOLOGIES, LLC
PO BOX 50972
SUMMERVILLE, SC 29485



REFLECTIONS MAINTENANCE SERVICES INC
PO BOX 2105
LEICESTER, NC 28748



REFLECTIONS MAINTENANCE SERVICES INC.
29 RUMBOUGH PLACE
ASHEVILLE, NC 28806



REGISTERED AGENT SOLUTIONS INC
1701 DIRECTORS BLVD
SUITE 300
AUSTIN, TX 78744



REGISTERED AGENT SOLUTIONS, INC
1701 DIRECTORS BLVD SUITE 300
AUSTIN, TX 78744



RELIANT MEDICAL SERVICES, INC.-EFT
3081 W MCNAB ROAD
POMPANO BEACH, FL 33069-1525



RENAUD, EMILY
1000 GOLDEN CREEK RD
LIBERTY, SC 29657-9398



RENT - BHHS JOHN M BRABHAM REAL ESTATE
DAVIS PROPERTIES
1081 ALICE DRIVE
SUMTER, SC 29151



RENT - CCP HARBINGER, LLC - FCH LAB
C/O COMMONWEALTH COMMERICAL PARTNERS LLC
PO BOX 71150
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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RICHMOND, VA 23225



RENT - DAVIS PROPERTIES, INC.
C/O JOE DAVIS
227 ALICE DRIVE, STE 2
SUMTER, SC 29151



RENT - DOUBLE DUTCH - MYRTLE BEACH
1801 NEW HANOVER MEDICAL PARK DRIVE
WILMINGTON, NC 28403



RENT - EOS REAL ESTATE MANAGEMENT GROUP
201 EAST MCBEE AVENUE, STE 202
GREENVILLE, SC 29601



RENT - G AND E HC REIT II - OC-CK
62668 COLLECTIONS CENTER DR
CHICAGO, IL 60693



RENT - GA HC REIT II - B-COL
62756 COLLECTIONS CENTER DR
CHICAGO, IL 60693-0627



RENT - GREAT HERON - W COLUMBIA EFT
FRANK HAHNE
208 BARNACLE CIRCLE
LEXINGTON, SC 29072



RENT - GREEN CITY - CN
200 E BROAD ST., STE 220
GREENVILLE, SC 29601



RENT - GREENWOOD RENTAL - E-GW
109 WEST COURT AVE, GREENWOOD, SC 29646
P O BOX 457, SC 29648
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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RENT - GROVE 1005 - GROVE RD GREENVILLE
25 AIRPARK COURT
GREENVILLE, SC 29607



RENT - HIGHLAND CENTER DRIVE-COLUMBIA
C/O TRINITY PARTNERS MANAGEMENT - AR
440 S CHURCH ST, STE 800
CHARLOTTE, NC 28202



RENT - HIGHLAND CENTER OWNERS ASSOCIATIO
PO BOX 2267
COLUMBIA, SC 29202



RENT - INFINITY ENTERPRISES - FLORENCE
C/O DR DEAN BANKS
9303 VENEZIA CIRCLE
MYRTLE BEACH, SC 29579



RENT - IRMO MEDICAL - STA-COL
1 WELLNESS BLVD, STE 200
IRMO, SC 29063



RENT - LUTHERAN SERVICES - ARDEN, NC
ATTN: KIRBY NICKERSON
PO BOX 947
SALISBURY, NC 28145



RENT - MAGNOLIA CENTER ONE, LLC - MB
1367 DEBORDIEU BLVD
GEORGETOWN, SC 29440



RENT - MARY BLACK HEALTH - SPARTANBURG
SRHS-ACCOUNTING
ATTN: DANA HORTON
SPARTANBURG, SC 29303



RENT - MCCOLLUM BUSINESS - BC-ES
PO BOX 484
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
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EASLEY, SC 29641



RENT - MR. JAMES G OWEN-SIGN-WAYNESVILLE
725 STRATFORD WOODS RD
MATTHEWS, NC 28105



RENT - NORTH GROVE MEDICAL - BS-SP
151 HAROLD FLEMING COURT
SPARTANBURG, SC 29303



RENT - PARK PLACE HOLDINGS - CP-SEN
C/O ARTHUR KHURSHUDYAN AND DIANE BOSTROM
REMAX FOOTHILLS
CLEMSON, SC 29631



RENT - PAUL MATYS PEPPERWOOD
181 JONES CREEK DR
JUPITER, FL 33458



RENT - PIEDMONT NEUROSURGICAL - M-AND
ATTN: PATTI MORGAN
3 ST. FRANCES DR
GREENVILLE, SC 29601



RENT - ROBERTS DEVELOPMENT - ANDERSON
PO BOX 393
ANDERSON, SC 29622



RENT - SANDRA COOPER OWEN - WAYNESVILLE
78 WAYNEWOOD DRIVE
WAYNESVILLE, NC 28786



RENT - TERRA PARKGREEN - OMC LAB
FBO TERRA PARKGREEN, LLC
PO BOX 645372
CINCINNATI, OH 45264-5372
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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RENT - TONS OF RENTALS.COM
DR BLACKWELLS RENT
PO BOX 580
ARDEN, NC 28704



RENT - WEST ASHLEY MEDICAL CENTER
C/O LEE AND ASSOCIATES
960 MORRISON DR , STE 400
CHARLESTON, SC 29403



RENT-DR BRUCE C AND DIANA H RIDDLE - FRK
1386 IOTA CHURCH ROAD
FRANKLIN, NC 28734



RENT-NAI EARLE FURMAN, LLC-MILESTONE WA
ATTN: PROPERTY MANAGEMENT
101 E WASHINGTON STREET
GREENVILLE, SC 29601



RENT-RICK ERWINS WEST END PROPERTY, LLC
40 W BROAD STREET
STE 301
GREENVILLE, SC 29601



RENT-TRI COASTAL PROPERTIES III - MP-CH
9263 MEDICAL PLAZA DRIVE, STE E
CHRLESTON, SC 29406



RENT-TURNER PADGET GRAHAM AND LANEY -ALL
200 EAST BROAD ST, SUITE 250
GREENVILLE, SC 29601



RESERVE NATIONAL INSURANCE COMPANY
601 EAST BRITTON RD
OKLAHOMA CITY, OK 73114-7710



REYNOLDS, DANIELLE
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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116 WOODWARD WAY
EASLEY, SC 29640



RHODALL, JASMINE
34 GOLDENROD DR
BARNWELL, SC 29812



RHODES, JEMICA
328 DANIEL CT
MAULDIN, SC 29662



RHODES, KIMBERLY
148 BROOK MEADOW LANE
LIBERTY, SC 29657



RICHARDS, DAWN
126 MORNING LAKE DRIVE
MOORE, SC 29369



RICHARDSON, ALICIA
223 BLUFF DR
GREENVILLE, SC 29605



RICHEY AND RICHEY, P A
PO BOX 10916
GREENVILLE, SC 29603



RICHEY, DIANNA
200 WHITMIRE ROAD
EASLEY, SC 29640



RICHLAND COUNTY BUSINESS LICENSE
BUSINESS SERVICE CENTER
2020 HAMPTON ST., SUITE 1050
COLUMBIA, SC 29202
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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RICK ERWINS - APARTMENT RENT
40 W BROAD STREET
STE 301
GREENVILLE, SC 29601



RICKS SEWER AND DRAIN, INC.
305 SEMINOLE DRIVE
SIMPSONVILLE, SC 29680



RICKY FLEMING
119 BOYCE PAGE ROAD
HONEA PATH, SC 29654



RIGDON, JENNIFER
5209 SLATER RD
ANDERSON, SC 29621



RIGGINS, REGINA
299 DAVENTON ROAD
PELZER, SC 29669



RIGHTWAY REFRIGERATION, INC.
PO BOX 732
LIBERTY, SC 29657



RILEY, NIEMA
108 ROOSEVELT AVENUE
APT. C
GREENVILLE, SC 29607



RITHUM AUTOMATION
112 PATRIOT DR, STE A
MIDDLETOWN, DE 19709



RIVERBARK, LLC
121 FATHER HUGO DR
GREER, SC 29650
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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RMG - OSTEOARTHRITIS CENTERS OF AMER
OSTEOARTHRITIS CENTERS OF AMERICA
1937 WEST PALMETTO ST.
FLORENCE, SC 29501



ROBERSON, KATARI
653 BRANCH VIEW DRIVE
BOILING SPRINGS, SC 29316



ROBERT MATHEWSON
C/O LOUTHIAN LAW FIRM, P A
HERBERT W LOUTHIAN, JR
PO BOX 1299
COLUMBIA, SC 29202



ROBERTS DEVELOPMENT - ANDERSON
PO BOX 393
ANDERSON, SC 29622



ROBERTS DEVELOPMENT
PO BOX 393
ANDERSON, SC 29622



ROBINSON BRADSHAW AND HINSON, P A
101 N TRYON STREET
SUITE 1900
CHARLOTTE, NC 28246



ROBINSON, BATISTA
103 EAST RIDGEMONT COURT
GREENVILLE, SC 29617



ROBLES, ANGEL
17 HAUGHTY CT
GREENVILLE, SC 29609-3043
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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RODGERS, DANA
453 TIMBERVIEW LANE
SIMPSONVILLE, SC 29681



ROGERS, DAVID
143 RICES CREEK CHURCH ROAD
LIBERTY, SC 29657



ROJAS LANDSCAPING, LLC 1099
228 OLD CEDAR ROCK RD
EASLEY, SC 29640



ROPER, DEREK
245 SAINT PAUL RD
EASLEY, SC 29642



ROSE, OLIVIA
109 CHANDLER STREET
GREENVILLE, SC 29609



ROSEBOROUGH, SYNEPHINY
561 LONE RIDER PATH
DUNCAN, SC 29334



ROSEMOND, PHYLLIS
305 CRESTFIELD ROAD
GREENVILLE, SC 29605



ROSSMAN AND CO./PCB
PO BOX 2051
NEW ALBANY, OH 43054



ROSS-RICHTER.COM, LLC
ATTN: FRED PERLMAN
273 JONATHAN DR
STAMFORD, CT 06903
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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RUBEL, CHRISTOPHER
480 WEBBER ROAD
SPARTANBURG, SC 29307



RUSSELL, SHARON
209 LILA ST
GREENVILLE, SC 29609-4418



RXPADS.COM
200 RIVERSIDE INDUSTRIAL PARKWAY
PORTLAND, ME 04103



RYAN GEOFFREY LLC - 1099
115 N CLEARSTONE CT
EASLEY, SC 29642



RYAN GROTH DBA CPU SOFTWARE AND
CONSULTING
C/O RYAN GROTH
70 BENTCREEK RESERVE RD
ASHEVILLE, NC 28806



RYAN GROTH
70 BENT CREEK PRESERVE ROAD
ASHEVILLE, NC 28806



RYAN MITCHELL
1959 OSPREY DRIVE
FLORENCE, SC 29501



S C DEPARTMENT OF REVENUE
ATTN: HAL BANKS
211 CENTURY DR , STE 210-B
GREENVILLE, SC 29607



SAFETY-KLEEN SYSTEMS, INC.
PO BOX 650509
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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DALLAS, TX 75265-0509



SALAS, BEATRIZ
50 BELLWOOD FARM LANE
GREENVILLE, SC 29607



SAMS CLUB
PO BOX 659782
SAN ANTONIO, TX 78265-9782



SAMUEL CONTRACT STAFFING, LLC
PO BOX 488
GILBERT, AZ 85299-0488



SANTEE COOPER-393782 EFT
PO BOX 188
MONCKS CORNER, SC 29461-0188



SANTEE COOPER-EFT
PO BOX 188
MONCKS CORNER, SC 29461-0188



SARQUIST, CYNTHIA
130 HUGHEY RD
CHESNEE, SC 29323



SC CHAPTER OF NATIONAL SAFETY COUNCIL
121 MINISTRY DR
IRMO, SC 29063



SC CHIROPRACTIC ASSOCIATION
PO BOX 1763
COLUMBIA, SC 29202



SC DEPARTMENT OF LABOR, LISCE
110 CENTERVIEW DRIVE
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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                                       Page 328 of 384


SUITE 202
COLUMBIA, SC 29211-1289



SC DEPARTMENT OF MOTOR VEHICLES
PO BOX 1498
BLYTHEWOOD, SC 29016-0008



SC DEPARTMENT OF REVENUE
CORPORATION
COLUMBIA, SC 29214-0006



SC DEPARTMENT OF REVENUE
TAX COMPLIANCE OFFICE
PO BOX 125
COLUMBIA, SC 29214-0785



SC DEPT OF HEALTH AND ENVIRONMENTAL
PO BOX 100103
COLUMBIA, SC 29202-3103



SC DEPT OF LABOR LICENSING AND REGULA
PO BOX 11329
COLUMBIA, SC 29211-1329



SC DEPT OF REVENUE - GREENVILLE
DEPT 02/W/01
545 N PLEASANTBURG DR
GREENVILLE, SC 29607



SC DEPT OF REVENUE WITHHOLDING -EFT
WITHHOLDING
COLUMBIA, SC 29214-0004



SC DEPT. OF HEALTH AND HUMAN SERVICES
DEPT. OF HEALTH AND HUMAN SERVICES
PO BOX 8297
COLUMBIA, SC 29202-8297
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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                                       Page 329 of 384




SC DHEC-RAD HEALTH
ATTN: BUREAU OF FINANCIAL MANAGEMENT
PO BOX 100103
COLUMBIA, SC 29202-3103



SC EMPLOYMENT SECURITY COMMISION
ATTN: BPC COLLECTIONS UNIT
PO BOX 2644
COLUMBIA, SC 29202



SC JOINT UNDERWRITING ASSOCIATION-SC JUA
LOCK BOX 932523
ATLANTA, GA 31193-2523



SC LLR BOARD OF MEDICAL EXAMINERS
PO BOX 11289
COLUMBIA, SC 29211



SC MEDICAL ASSOCIATION SCMA
PO BOX 11188
COLUMBIA, SC 29211



SC PATIENTS COMPENSATION FUND
PO BOX 210738
COLUMBIA, SC 29221-0738



SC SECRETARY OF STATE
301 UNIVERSITY RIDGE NBR 2400
GREENVILLE, SC 29601



SC STATE EDUCATION ASSISTANCE AUTHORITY
PO BOX 102425
COLUMBIA, SC 29224



SC VOC REHAB
DISABILITY DETERMINATION SERVICES
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
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PO BOX 80
WEST COLUMBIA, SC 29171-9892



SC WORKERS COMPENSATION COMMISION
MEDICAL SERVICES DIVISION
PO BOX 1715
COLUMBIA, SC 29202-1715



SCAPA
PO BOX 2054
LEXINGTON, SC 29071



SCDEW
PO BOX 995
COLUMBIA, SC 29202



SCDHHS
BENEFIT RECOVERY
PO BOX 8355
COLUMBIA, SC 29202-8355



SCE AND G
PO BOX 100255
COLUMBIA, SC 29202-3255



SCESC
PO BOX 995
COLUMBIA, SC 29202



SCHULTS, STEPHANIE
273 DARTMOOR DR
SPARTANBURG, SC 29301



SCITECK CLINICAL LABORATORY
PO BOX 562
ARDEN, NC 28704
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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SCOTT, DEWAYNE
502 SHILOH CH RD
WELLFORD, SC 29385



SCRUB SHOP, THE
1000 N PINE ST NBR 4
SPARTANBURG, SC 29303



SCWCEA
3 CAVENDISH COURT
IRMO, SC 29063



SE CONSTRUCTION, LLC
PO BOX 428
PIEDMONT, SC 29673



SEARS, DONNA
7 DIAMOND HILL COURT
GREER, SC 29651



SECRETARY OF STATE
1205 PENDLETON STREET SUITE 525
COLUMBIA, SC 29201



SECURITY CENTRAL
PO BOX 602371
CHARLOTTE, NC 28260-2371



SEETON, WHITNEY
1299 CLEO CHAPMAN HIGHWAY
SUNSET, SC 29685



SELCO MANAGEMENT INC.
85 IVANHOE AVE
ASHVILLE, NC 28806
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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SELECT HEALTH
PO BOX 7120
LONDON, KY 40742



SELECT LABORATORY - SC
PO BOX 13030
GREENSBORO, NC 27415



SELECT LABORATORY PARTNERS, INC.
PO BOX 13029
GREENSBORO, NC 27415



SELECT MEDICAL SYSTEMS, INC.
4001 RIVER VIEW DRIVE
BIRMINGHAM, AL 35243



SELECTIVE INSURANCE COMPANY OF AMERCIA
PO BOX 371468
PITTSBURGH, PA 15250-7468



SELENA BLAD
140 OLA BEA DR
WAYNESVILLE, NC 28785



SELF REGIONAL HEALTHCARE
ATTN: CASHIER
1325 SPRING STREET
GREENWOOD, SC 29646



SELLS X-RAY
PO BOX 339
CROSSVILLE, TN 38557



SEQGEN, INC.
1725 DEL AMO BLVD
TORRANCE, CA 90501
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
                        Document
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SERENITY REHAB AND WELLNESS CENTER, LLC
3 CANNER CT
GREENVILLE, SC 29605



SERVPRO
PO BOX 8337
GREENVILLE, SC 29604



SFM RISK SOLUTIONS
PO BOX 9416
MINNEAPOLIS, MN 55440



SFPS- UPSTATE CARDIOLOGY
2 INNOVATION DR
SUITE 400
GREENVILLE, SC 29607



SHARP BUSINESS SYSTEMS
DEPT. AT 40387
ATLANTA, GA 31192-0387



SHAUL LAW
3330 CUMBERLAND BLVD SE
SUITE 925
ATLANTA, GA 30339



SHAW, MARY
101 LOW COUNTRY LOOP
MURRELLS INLET, SC 29576



SHAWS GARAGE
3306 HWY 123
GREENVILLE, SC 29611



SHEPPARD, MAXINA
2505 ROLLING GREEN ROAD
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
                        Document
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                                       Page 334 of 384


ANDERSON, SC 29621



SHEPPARD, SHERON
105 HADDINGTON DR
COLUMBIA, SC 29229-8786



SHERTECH PHARMACY
1360 DRAYTON RD
SPARTANBURG, SC 29307



SHERWIN- WILLIAMS
6128 CALHOUN MEMORIAL HWY
EASLEY, SC 29640



SHIRLEY, KRISTI
211 PUCKETT MILL DR
CENTRAL, SC 29630



SHIVAR, MICHELLE
303 HIGHLAND GLEN COURT
WALHALLA, SC 29691



SHRED A WAY - 25H-ARD
PO BOX 161732
BOILING SPRINGS, SC 29316



SHRED A WAY - S-SP
PO BOX 161732
BOILING SPRINGS, SC 29307



SHRED A WAY
PO BOX 161732
BOILING SPRINGS, SC 29316



SHRED A WAY
PO BOX 51132
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
                        Document
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PIEDMONT, SC 29673



SHRED A WAY-OMC AND ALL
PO BOX 51132
PIEDMONT, SC 29673



SHRED IT
28883 NETWORK PLACE
CHICAGO, IL 60673



SHRED360
7001 ST. ANDREWS RD NBR 365
COLUMBIA, SC 29212



SHUMPERT, KARLEY
271 EDINFIELD COURT
GASTON, SC 29053



SHUR SHRED
PO BOX 6776
FLORENCE, SC 29502



SIEMENS
51 VALLEY STREAM PARKWAY
MALVERN, PA 19355



SIGMA-ALDRICH INC.
PO BOX 535182
ATLANTA, GA 30353-5182



SIGN DESIGNS INC. DBA
SPARTAN STAMP AND SIGN COMPANY
113 IAN COURT
SPARTANBURG, SC 29306



SILVA, CHRISTIANNA
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
                        Document
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1013 SIOUX ST
ANDERSON, SC 29625



SILVER, CARRIE
316 LAUREL HILL DRIVE
PIEDMONT, SC 29673



SIMPLEX GRINNELL
DEPT. CH 10320
PALATINE, IL 60055-0320



SIMS, ELIZABETH
124 PALM BRANCH WAY
ANDERSON, SC 29621



SINGLETARY, SAMANTHA
215 CHURCH ST.
OLANTA, SC 29114



SKINNER LAW FIRM
PO BOX 1843
GREENVILLE, SC 29602



SKYEDANCER LISA LICHOTA
516 FOXCROFT RD
GREENVILLE, SC 29615



SLAGLE, ALEXANDRA
614 GRAY FOX SQ
TAYLORS, SC 29687-4064



SLEEPWORKS, LLC
PO BOX 932865
THOMASVILLE, GA 31757



SLV POA
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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                                                                      DescMain
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C/O AUGUST LUEDECKE
124 MAGNOLIA DRIVE
MCCORMICK, SC 29835



SMITH AND POE
ATTN: KEITH
634B FAIRVIEW RD NBR 2
SIMPSONVILLE, SC 29680



SMITH JORDAN AND LAVERY PA 18-0329E
PO BOX 1207
EASLEY, SC 29641



SMITH, CODIE
1311 DOUBLE BRANCH ROAD
COWPENS, SC 29330



SMITH, JORDAN AND LAVERY, PA
ATTN: GRADY JORDAN
PO BOX 1207
EASLEY, SC 29641



SMITH, JOSHUA
282 JAMES DUNBAR ROAD
PELION, SC 29123



SMITH, RITA
125 QUIET LN
EASLEY, SC 29640



SMITH, ROBERT
54 COUNTRYSIDE DRIVE
PROSPERITY, SC 29127



SMITH, ROSA
7903 E NATIONAL CEMETARY RD
FLORENCE, SC 29506
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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                                       Page 338 of 384




SMITH,JORDAN,LAVERY AND LEE
PO BOX 1207
EASLEY, SC 29641



SMITHS TERMITE AND PEST CONTROL INC.
PO BOX 670
ABBEVILLE, SC 29620



SMOKEY MOUNTAIN BOTTLED WATER
PO BOX 1123
FAIRVIEW, NC 28730



SNODERLY, ELIZABETH
4691 MILL POND CT
MURRELLS INLET, SC 29576



SOCIETY FOR HUMAN RESOURCE MANAGEMENT
PO BOX 791139
BALTIMORE, MD 21279-1139



SOCIETY FOR PAIN PRACTICE MANAGEMENT
PO BOX 7228
OVERLAND PARK, KS 66207



SOERRIES CODING AND BILLING -COMPASS
1412 SW EAGLES PARKWAY
GRAIN VALLEY, MO 64029



SOLOR, INC.
1021 SHOAL CREEK WAY
EASLEY, SC 29642



SOLSTAS LAB PARTNERS
PO BOX 751337
CHARLOTTE, NC 28275-1337
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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SOLUTIONS MOVING SERVICES
1315 ASHEVILLE SPRINGS CIRCLE
ASHEVILLE, NC 28806



SOMMER LEWIS
444 BONITA DR
EASLEY, SC 29642



SONOGRAPHY SERVICES, INC
101 GINGER LN
TAYLORS, SC 29687



SOUND MEDICAL SUPPLY PARTNERS, LLC
C/O STERLING COMMERCIAL CREDIT
PO BOX 602630
CHARLOTTE, NC 28260-2630



SOUTH CAROLINA DEPARTMENT OF HEALTH
2600 BULL ST
COLUMBIA, SC 29201



SOUTH CAROLINA SAFETY COMPANY, INC.
FIRE EXTINGUISHERS AND SYSTEMS
2535 TAHOE DRIVE
SUMTER, SC 29150



SOUTH STATE BANK
200 EAST BROAD STREET, SUITE 100
GREENVILLE, SC 29601



SOUTHEAST COMMUNITY CARE
PO BOX 4946
COVINA, CA 91723



SOUTHEASTERN CHAPTER NATIONL SAFETY COUN
121 MINISTRY DRIVE
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
                        Document
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IRMO, SC 29063



SOUTHEASTERN FREIGHT LINES, INC.
PO BOX 1691
COLUMBIA, SC 29202



SOUTHERLAND CONSTRUCTION INC.
135 SOUTH MAIN STREET
GREENVILLE, SC 29601



SOUTHERN ALARM AND SECURITY
PO BOX 428
HENDERSONVILLE, NC 28793



SOUTHERN FENCE COMPANY
2828 SALUDA DAM RD
EASLEY, SC 29640



SOUTHERN GUARANTY INS COMPANY
PO BOX 14770
LEXINGTON, KY 40512-4000



SOUTHERN MICROSCOPE, INC.
PO BOX 966
HAW RIVER, NC 27258



SOWELL GRAY STEPP AND LAFFITTE
PO BOX 11449
COLUMBIA, SC 29211



SPALTY, ERIKA
1207 WEATHERFORD LN
FLORENCE, SC 29506



SPARTANBURG COUNTY CLERK OF COURT
PO BOX 3483
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
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SPARTANBURG, SC 29304-3483



SPARTANBURG COUNTY TAX COLLECTOR
DRAWER 3060
SPARTANBURG, SC 29304



SPARTANBURG COUNTY TREASURER
COUNTY TREASURER
PO BOX 5807
SPARTANBURG, SC 29304



SPARTANBURG HERALD-JOURNAL
ATTN: ANTHONY PRICE
189 WEST MAIN ST.
SPARTANBURG, SC 29301



SPARTANBURG REG MED CNTR
PO BOX 277700
ATLANTA, GA 30384-7700



SPARTANBURG WATER SYSTEM--3324-04
PO BOX 251
SPARTANBURG, SC 29304-0251



SPEARS MEDICAL
PO BOX 153
BALLENTINE, SC 29002



SPECIAL FUNDS
60 E 42ND ST
NEW YORK, NY 10165-2799



SPECIALIZED MEDICAL SYSTEMS
PO BOX 2393
WILTON, NY 12831
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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SPECTRIO
PO BOX 890271
CHARLOTTE, NC 28289-0271



SPECTRUM BUSINES - MAIN CONTROL ACCOUNT
PO BOX 742614
CINCINNATI, OH 45274-2614



SPECTRUM BUSINESS -GROVE - 2319 EFT
PO BOX 742614
CINCINNATI, OH 45274



SPECTRUM BUSINESS- MAIN CONTROL 1901
PO BOX 70872
CHARLOTTE, NC 28272-0872



SPECTRUM BUSINESS
PO BOX 70872
CHARLOTTE, NC 28272-0872



SPECTRUM BUSINESS
PO BOX 742614
CINCINNATI, OH 45274-2614



SPEWARE CORP
PO BOX 1608
BALDWIN PARK, CA 91706



SPINELLI, MICHAEL
128 WILSHIRE DRIVE
GREENVILLE, SC 29609



SPRAGUE, ASHLEY
1013 MIMOSA COURT
CONWAY, SC 29527
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
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SPRY, SANDRA
123 MADDOX LANE
APT. C
MYRTLE BEACH, SC 29588



ST. CLAIR SIGNS INC.
1334 MILLER RD
GREENVILLE, SC 29607



ST. FRANCES HOSPITAL
MEDICAL STAFF OFFICE
ONE ST FRANCIS DR
GREENVILLE, SC 29615



ST. JUDE MEDICAL-TEXAS
6901 PRESTON RD
PLANO, TX 75024



STABLE LIFE WORSHIP CENTER
299 BLACKSTOCK RD
INMAN, SC 29349



STACY FLOORING, LLC
PO BOX 516
1611 EASLEY HWY
PELZER, SC 29669



STANCIL COOLEY ESTEP AND STAMEY, LLP
P O DRAWER 1279
SENECA, SC 29679



STANDARD DISTRIBUTORS LLC
4811 N DIXIE HIGHWAY
BOCA RATON, FL 33431



STANDEFFER AND HARBIN
PO BOX 35
ANDERSON, SC 29622-0035
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
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STANFORD DOSIMETRY LLC
1204 RAYMOND ST.
BELLINGHAM, WA 98229



STAPLES BUSINESS ADVANTAGE
PO BOX 105638
ATLANTA, GA 30348-5638



STARK EXTERMINATORS
PO BOX 894
SUMMERVILLE, SC 29483-0894



STARMARK - FCH
400 FIELD DR
LAKE FOREST, IL 60045-2581



STARMARK RACHEL
75 REMITTANCE DR - SUITE 3087
CHICAGO, IL 60675-3087



STARSTONE SPECIALTY INSURANCE COMPANY
C/O WILLIS OF NORTH CAROLINA, INC
29754 NETWORK PLACE
CHICAGO, IL 60673-1297



STAT MEDICAL EQUIPMENT SERVICE
102 SYLVAN DRIVE
GREER, SC 29650



STATE ACCIDENT FUND
PO BOX 102100
COLUMBIA, SC 29221-5000



STATE COMPENSATION INSURANCE FUND
PO BOX 3171
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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SUISUN CITY, CA 94585-6171



STATE FARM
PO BOX 588002
NORTH METRO, GA 30029-8002



STATE OF GEORGIA EX REL TERRI NIX
C/O OFFICE OF THE ATTY GENERAL, S. VANN
GA MEDICAID FRAUD CONTROL UNIT
200 PIEDMONT AVE. SE, WEST TOWER, FL 19
ATLANTA, GA 30334



STEEPLECHASE PATHOLOGY, LLC 1099
ATTN: RENEE THOMAS, MD
1905 CARRIAGE HOUSE LANE
CAMDEN, SC 29020



STEPHANIE WEBB
C/O RICHARDSON PLOWDEN ANDROBINSON, P A
C CLIFFORD ROLLINS
PO BOX 7788
COLUMBIA, SC 29202



STEPHENS OFFICE SYSTEMS, INC.
300 FOSTER AVE.
CHARLOTTE, NC 28203



STEPHENS, JAMMIE
256 COPPERLEAF DRIVE
MYRTLE BEACH, SC 29588



STERBENZ, ABIGAIL
1012 HERMOSA COURT
MYRTLE BEACH, SC 29579



STERICYCLE INC-8270496
PO BOX 6582
CAROL STREAM, IL 60197-6582
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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STERICYCLE INC-8290165
PO BOX 6582
CAROL STREAM, IL 60197-6582



STERICYCLE
PO BOX 6582
CAROL STREAM, IL 60197-6582



STERLING LIFE INSURANCE COMPANY
ATTN: TREASURY
PO BOX 1917
BELLINGHAM, WA 98227-9715



STERLING, COURTNEY
542 FOREMOST DRIVE
LEXINGTON, SC 29073



STERLING, KRISTEN
217 BARRED OWL DRIVE
FOUNTAIN INN, SC 29644



STEVENS, AMBER
121 PACES RUN COURT
COLUMBIA, SC 29223



STEVENSON, KRISTA
44 COTTONWOOD LANE
WAYNESVILLE, NC 28785



STEWART LAW FIRM
PO BOX 670
ROCK HILL, SC 29731



STIMSOURCE, INC
2840 LEECHBURG RD
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                        Document
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LOWER BURRELL, PA 15068



STONE AND ASSOCIATES
1100A RUTHERFORD RD
GREENVILLE, SC 29609



STONELL, ELIZABETH
801 OLD LIBERTY RD
EASLEY, SC 29640



STONES PEST SERVICES, LLC
PO BOX 13443
FLORENCE, SC 29504



STONEY POINT BUILDING ONE, LLC - RENT
C/O CAROLINA ACCOUNTING CONSULTANTS, LLC
PO BOX 291346
COLUMBIA, SC 29229



STRATEGIC DIRECTIONS, INC.
ATTN: SAM TOLBERT
115 PARKWOOD RD
GREENWOOD, SC 29646



STRATEGIC PERFORMANCE GROUP LLC
11120 EAGLE RIDGE CT
CHISAGO CITY, MN 55013-7342



STRATUS BUILDING SOLUTIONS, INC BC-ES
420 E PARK AVE SUITE 302
GREENVILLE, SC 29601



STRINGER RESOURCE GROUP
PO BOX 2078
GREER, SC 29652
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
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STRIPE-IT LLC
2213 B W PALMETTO ST.
FLORENCE, SC 29501



STRYKER SALES CORP CACTUS
PO BOX 70119
CHICAGO, IL 60673-0119



STURKIE, BRITTANY
1920 WIRE ROAD
AIKEN, SC 29805



SUBER, BRENDA
1711 WOODFORD ROAD
COLUMBIA, SC 29209



SUBSTANCE ABUSE DRUG REGULATORY
DHHS - SAS REGISTRATION
2025 MAIL SERVICE CENTER
RALEIGH, NC 27699-2025



SUGGS, DERRICK
3071 WEST CT
FLORENCE, SC 29501



SULLIVAN, AARON
2311 WADE HAMPTON BLVD
APT. B6
GREENVILLE, SC 29615



SULLIVAN, JYEISHA
31B WEDGEFIELD DRIVE
BOILING SPRINGS, SC 29316



SULLIVAN, SARAH
376 HUNTS BRIDGE ROAD
FOUNTAIN INN, SC 29644
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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                                       Page 349 of 384




SUMMERS, PAMELA
114 VINE HILL ROAD
GREENVILLE, SC 29607



SUMMIT MEDICAL PRODUCTS
504 WEST 8360 SOUTH
SANDY, UT 84070



SUNBELT MEDICAL SERVICES INC
639 VESTAL RD
SARDIS, GA 30456



SUNCOAST ELEVATOR INSPECTIONS LLC
799 SOUTH DIXIE RD
WAGENER, SC 29164



SUNCOAST FIRE AND SAFETY
PO BOX 6133
ANDERSON, SC 29623



SUNSHADERS PROFESSIONAL WINDOW TINTING
WILLIAM T MOTHERSHEAD
121 ASHTON CIRCLE
MYRTLE BEACH, SC 29588



SUPERIOR TAYLOR MAID LLC
444 BEAUCATHER RD UNIT 6
ASHEVILLE, NC 28805



SUPERO HEALTHCARE SOLUTIONS, LLC
9805 SPANISH WELLS DR
AUSTIN, TX 78717



SUPPLYNET
706 EXECUTIVE BLVD
VALLEY COTTAGE, NY 10989
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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SURGICAL TABLES, INC
2 DEBUSH AVENUE NBR C3
MIDDLETON, MA 01949



SWARM INTERACTIVE, INC.
1506 EAST FRANKLIN STREET, STE 101
CHAPEL HILL, NC 27514



SWEET, NORMA
744 VIOLA COURT
COLUMBIA, SC 29229



SWENSON, BRADLEY
2900 RAMBLING PATH
ANDERSON, SC 29621



SYBIL REDDICK
32 QUAIL HILL DRIVE
GREENVILLE, SC 29607



SYNERGY MEDICAL, LLC - OMC
110 N RANDOLPH AVE
LANDRUM, SC 29356



TAB PRODUCTS CO. LLC
24923 NETWORK PLACE
CHICAGO, IL 60673-1249



TAMARA A FINNEY, LISW
14 GILDER POINT CT
SIMPSONVILLE, SC 29681



TAYLOR OWENS, ISABEL
131 SYLVAN CT
EASLEY, SC 29640
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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TAYLOR, AMANDA
2572 HILLDALE DR
SUMTER, SC 29154



TAYLOR, APRIL
236 PINE KNOLL DRIVE
EASLEY, SC 29642



TAYLOR, ELIZABETH
5074 DACUSVILLE HWY
MARIETTA, SC 29661



TAYLORS ELECTRIC OF THE UPSTATE, LLC
919 MAULDIN RD
GREENVILLE, SC 29607



TECAN U S
PO BOX 13953
RESEARCH TRIANGLE PARK, NC 27709



TELECHECK - EFT
PO BOX 60028
CITY OF INDUSTRY, CA 91716-0028



TELEQUEST
PO BOX 3222
SPARTANBURG, SC 29304



TELEVOX
DEPARTMENT NBR 1343
DENVER, CO 80256-0001



TELLIS, GLORIA
2069 PHILADELPHIA ST
DARLINGTON, SC 29532
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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TENNESSEE DEPARTMENT OF REVENUE
500 DEADERICK STREET
ANDREW JACKSON STTE OFFICE BUILDING
NASHVILLE, TN 37242



TEQUIPMENT.NET
205 WESTWOOD AVENUE
LONG BRANCH, NJ 07740



TERATECH CORPORATION DBA TERASON
DEPT CH 19759
PALATINE, IL 60055-9759



TERMINIX
CENTRAL ACCOUNTING OFFICE
PO BOX 2627
COLUMBIA, SC 29202-2627



TERRI NIX
C/O BRACKER AND MARCUS LLC
JASON MARCUS
3225 SHALLOWFORD RD , STE 1120
MARIETTA, GA 30062



TERRY, MELANIE
144 COUNTRY COURT
EASLEY, SC 29642



THARP, JESSICA
150 BROOKSTONE DRIVE
EASLEY, SC 29642



THARP, SHAINA
226 COX DRIVE
WILLIAMSTON, SC 29697
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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THE BENEFIT COMPANY, INC.
PO BOX 211486
COLUMBIA, SC 29221



THE CENTER FOR REGENERATIVE MEDICINE
JEFFREY FARRICIELLI
131 QUEENSBOROUGH BLVD, STE 102
MT PLEASANT, SC 29464



THE CENTER FOR REGENERATIVE MEDICINE
JEFFREY FARRICIELLI
131 QUEENSBOROUGH BLVD, STE 102
MT PLEASANT, SC 29464



THE CODING INSTITUTE
PO BOX 413006
NAPLES, FL 34101



THE COMPUTER GUYZ
2612 LARCH LANE
SUITE 104
MT. PLEASANT, SC 29466



THE DOCTORS COMPANY
PO BOX 52780
PHOENIX, AZ 85072-2780



THE EASLEY PROGRESS
PO BOX 624
UNION, SC 29379



THE GREENVILLE NEWS
PO BOX 677566
DALLAS, TX 75267-7566



THE HARTFORD - FCH
PO BOX 660916
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
                                                                           Main
                        Document
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DALLAS, TX 75266-0916



THE HARTFORD WORKERS COMP. MEDICAL BILL
PO BOX 14170
LEXINGTON, KY 40512



THE HARTFORD-EFT
PO BOX 2907
HARTFORD, CT 06104-2907



THE LITTLE BLUE BOOK
P O NPC 8316
PHILADELPHIA, PA 19101



THE LOHNEN GROUP - EFT
9 BUENA VISTA WAY, STE B
GREENVILLE, SC 29615



THE NETWORK CLOUD CO
THE NETWORK CLOUD COMPANY
PO BOX 56722
ATLANTA, GA 30343-0722



THE PAIN SOCIETY OF THE CAROLINAS
145 KIMEL PARK DRIVE
SUITE 330
WINSTON-SALEM, NC 27103



THE PHONE DOCTOR, LLC
3530 OATES HWY
LAMAR, SC 29069



THE SOUTH CAROLINA CHAPTER, NSC
ATTN: KATHY HARRIS
121 MINISTRY DRIVE
IRMO, SC 29063
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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THE SPRINGER SHOP
223 SPRING ST.
NEW YORK, NY 10013



THOMAS, FISHER, SINCLAIR AND EDWARDS, PA
PO BOX 2248
GREENVILLE, SC 29602-2248



THOMAS, KEONDRA
813 MARIPOSA COURT
LEXINGTON, SC 29072



THOMPSON MECHANICAL INC
PO BOX 663
FLETCHER, NC 28732-0663



THOMPSON, JESSICA
4590 PEACHTREE ROAD
CHESNEE, SC 29323



THORNE, KATIE
231 OBED CREEK RD
INMAN, SC 29349



THORPE, MELANIE
109 CROSSWINDS ST
GREER, SC 29650



THRIVENT
PO BOX 14057
CLEARWATER, FL 33766



THURO CLEAN CARPET AND UPHOLSTERY LLC.
4540 HOMEPLACE CIRCLE
MYRTLE BEACH, SC 29588
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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TIAN MEDICAL LCC
244 E ROOSEVELT RD
LOMBARD, IL 60148



TIAN MEDICAL
244 E ROOSEVELT RD
LOMBARD, IL 60148-4647



TIM DAILEADER DRIVETRAIN EFT
257 CENTRAL PARK WEST APT 7A
NEW YORK, NY 10024



TIME WARNER - HIGHLAND EFT
PO BOX 70872
CHARLOTTE, NC 28272-0872



TIME WARNER CABLE - CLOSED - B-COL
PO BOX 70872
CHARLOTTE, NC 28272-0872



TIME WARNER
PO BOX 70872
CHARLOTTE, NC 28272-0872



TIMMS, CATHERINE
303 MONTI DR
ANDERSON, SC 29625



TINSLEY, MARTHA
104 KALMIA PLACE
EASLEY, SC 29640



TLBB
PO BOX 8316
PHILADELPHIA, PA 19101-8316
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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TLD CONSULTING
316 TROTTERS RIDGE DRIVE
RALEIGH, NC 27614



TODAYS OPTIONS
PO BOX 505057
ST LOUIS, MO 63150-2127



TOMLIN, BEATRICE
1943 CORAL WAY
SUMTER, SC 29150



TONEY, TRISHA
101 HILLANDALE CT NBR 8
EASLEY, SC 29642



TORRES, ELIZABETH
116 EVERGREEN CT
CENTRAL, SC 29630



TOTAL ADMINISTRATIVE SERVICES CORP.
CLIENT SERVICES
PO BOX 88278
MILWAUKEE, WI 53288-0001



TOTAL COMFORT
346 ORCHARD DR STE A
WEST COLUMBIA, SC 29170



TOTAL MEDICAL EQUIPMENT SALES INC
KYLE BLACKWELL
3000 OLD ALABAMA RD 119-110
ALPHARETTA, GA 30022



TOTAL VEIN SYSTEMS
901 YALE STREET
HOUSTON, TX 77008
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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TOWE, COURTNEY
671 SPRINGHILL AVENUE
SPARTANBURG, SC 29303



TOWN AND COUNTRY
307 EAST MAIN STREET
PICKENS, SC 29671



TOWN OF IRMO BUSINESS LICENSE
PO BOX 406
IRMO, SC 29063-0406



TOWN OF SALEM WATER DEPARTMENT
5-A PARK AVENUE
SALEM, SC 29676



TOWN OF WAYNESVILLE CC
9 S MAIN STREET
SUITE 110
WAYNESVILLE, NC 28786



TRACY HAWKINS
C/O KASSEL MCVEY
JOHN D KASSEL
PO BOX 1476
COLUMBIA, SC 29202



TRANE U S INC.
PO BOX 406469
ATLANTA, GA 30384-6469



TRANSMED CO, LLC
DRUG TESTING AND LABORATORY SUPPLIES
1595 PEACHTREE PKWY, SUITE 204-350
CUMMING, GA 30041
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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                                       Page 359 of 384



TRANTHAM, ALICIA
249 BURNETTE COVE ROAD
CANTON, NC 28716



TRANTHAM, MEGAN
PO BOX 871
HAZELWOOD, NC 28738



TRAVELERS INS PROPERTY CASUALTY
PO BOX 4614
BUFFALO, NY 14240



TRAVELERS
PO BOX 660317
DALLAS, TX 75266



TRICARE
PO BOX 7031
CAMDEN, SC 29020-7031



TRIDENT MEDICAL CNTR MEDICAL STAFF FUND
ATTN: MEDICAL STAFF SERVICES - JEAN
9330 MEDICAL PLAZA DR
CHARLESTON, SC 29406



TRIZETTO
DEPT CH 16897
PALATINE, IL 60055-6897



TSYS HEALTH SERVICES
12202 AIRPORT WAY
SUITE 100
BROOMFIELD, CO 80021



TUCK AND HOWELL, INC
PO BOX 970
GREER, SC 29652-0970
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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                                       Page 360 of 384




TUCKER, DENITA
115 HICKORY ST.
CALHOUN FALLS, SC 29628



TURF MANAGEMENT SERVICES, LLC
141 MASSEY ROAD
PIEDMONT, SC 29673



TURNER PADGET GRAHAM AND LANEY, PA
ATTN: MICHAEL D BUTLER
PO BOX 1473
COLUMBIA, SC 29202



TURNER PROPERTIES,LLC
ATTN: CHRIS TURNER
ONE HARBISON WAY
COLUMBIA, SC 29212



TURNER, BRANT
1276 SHADOW WAY
GREENVILLE, SC 29615



TWISS HOLLIN
882 MILL ROAD
EAST AURORA, NY 14052



TWO NOTCH MARKET
7501 TWO NOTCH RD
COLUMBIA, SC 29223



TYCO- FLORENCE
DEPT CH 10320
PALATINE, IL 60055



U-AIRGAS USA, LLC - 2717681
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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                                       Page 361 of 384


PO BOX 532609
ATLANTA, GA 30353-2609



U-AT AND T
PO BOX 105262
ATLANTA, GA 30348-5262



U-BLUE RIDGE SECRITY
PO BOX 1448
ANDERSON, SC 29622



U-CITY OF ASHEVILLE WATER BILL
PO BOX 733
ASHEVILLE, NC 28802-0733



U-CITY OF FLORENCE -8471 CC
CITY SERVICES BILL
PO BOX 602756
CHARLOTTE, NC 28260-2756



U-CITY OF FRANKLIN
PO BOX 1479
FRANKLIN, NC 28744



U-CITY OF GREENWOOD
PO BOX 40
GREENWOOD, SC 29648-0040



U-CITY OF TOCCOA -- FRK,NC
291 WESTGATE PLAZA
FRANKLIN, NC 28734-1316



U-CITY OF WEST COLUMBIA CC
WATER COLLECTION DIVISION - CITY HALL
PO BOX 4044
WEST COLUMBIA, SC 29171-4044
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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U-CURTIS BAY ENERGY INC - 5613 OMC LAB
PO BOX 65047
BALTIMORE, MD 21264-5047



U-DOMINION ENERGY - 0386 HIGHLAND EFT
PO BOX 100255
COLUMBIA, SC 29202-3255



U-DOMINION ENERGY-COLA NE 1414 SCE AND G
PO BOX 100255
COLUMBIA, SC 29202-3255



U-DUKE ENERGY - 2942-GR-GV EFT
PO BOX 70516
CHARLOTTE, NC 28272-0516



U-DUKE ENERGY PROGRESS-1597-SUMTER
PO BOX 1003
CHARLOTTE, NC 28201-1003



U-DUKE ENERGY---1408 M-AND EFT
PO BOX 70516
CHARLOTTE, NC 28272-0516



U-EASLEY COMB UTILITIES-64622001-BC-ESEF
PO BOX 619
EASLEY, SC 29641-0619



U-ELECTRIC CITY UTILITIES CC
CITY OF ANDERSON
PO BOX 63061
CHARLOTTE, NC 28263



U-FTC
PO BOX 588
KINGSTREE, SC 29556
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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U-GREENVILLE WATER SYSTEM
PO BOX 687
GREENVILLE, SC 29602-0687



U-GREENVILLE WATER SYSTEM-5252- GR-GV CC
PO BOX 687
GREENVILLE, SC 29602-0687



UHS-PEP
PO BOX 75690
BALTIMORE, MD 21275-5690



ULINE
ACCOUNTS RECEIVABLE
PO BOX 88741
CHICAGO, IL 60680-1741



ULTIMATE FITNESS SOLUTIONS
PO BOX 761
LYMAN, SC 29365



UNDERWOOD, BRENDA
122 GALLANT LANE
ANDERSON, SC 29621



UNDERWRITERS AT LLOYDS LONDON
C/O WILLIS OF NORTH CAROLINA, INC
29754 NETWORK PLACE
CHICAGO, IL 60673-1297



UNIFIRST CORPORATION 835558 GR
322 STANDING SPRINGS CT
SIMPSONVILLE, SC 29680



UNIFORM ADVANTAGE
ATTN: ACCOUNTS RECEIVABLE
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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PO BOX 14190
FORT LAUDERDALE, FL 33302



UNIFORM OUTLET - SAVANNAH
11 GATEWAY BLVD S NBR 54
SAVANNAH, GA 31419



UNIQUE PHOTO.COM
123 US HWY 46 WEST
FAIRFIELD, NJ 07004



UNISON
PO BOX 8207
KINGSTON, NY 12402



UNITED ALLERGY SERVICES
100 NE LOOP 410
STE 200
SAN ANTONIO, TX 78216



UNITED CHEMICAL AND SUPPLY CO. INC.--120
PO BOX 5066
GREENVILLE, SC 29606-5066



UNITED CHEMICAL AND SUPPLY CO.
PO BOX 5066
GREENVILLE, SC 29606



UNITED HEALTH CARE RACHEL
DEPT. CH10151
PALATINE, IL 60055-0151



UNITED OF OMAHA-REFUND
LIFE INSURANCE COMPANY
MUTUAL OF OMAHA PLAZA
OMAHA, NE 68175-0001
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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UNITED STATES DEPARTMENT OF LABOR
ERISA-CIVIL PENALTIES
PO BOX 71360
PHILADELPHIA, PA 19176-1360



UNITED STATES POSTAL SERVICE
810 SOUTH PENDLETON
EASLEY, SC 29640



UNITED STATES TREASURY -
DEPARTMENT OF TREASURY
INTERNAL REVENUE SERVICE
OGDEN, UT 84201



UNITED STATES TREASURY IRS
C/O INTERNAL REVENUE SERVICE
KANSAS CITY, MO 64999-0202



UNIVERSAL HEALTHCARE
PO BOX 3211
ST PETERSBURG, FL 33731-3211



UNIVERSAL MEDICAL
PO BOX 467
NORWOOD, MA 02062-0467



UNLIMITED TECHNOLOGY SYSTEMS, LLC
MATT GOCKERMAN
5905 EAST GALBRAITH ROAD - SUITE 8000
CINCINNATI, OH 45236



UNPA- UPSTATE NURSE PARACTITIONER ASS
PO BOX 26732
GREENVILLE, SC 29165



U-PIEDMONT NATURAL GAS---3003-SBURG
PO BOX 660920
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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DALLAS, TX 75266-0920



U-PIEDMONT NATURAL GAS-7002-ANDERSON EFT
PO BOX 1246
CHARLOTTE, NC 28201-1246



UPPER CUMBERLAND REGIONAL AIRPORT
750 AIRPORT RD
SPARTA, TN 38583



UPS - 097VR2 - ARDEN
PO BOX 7247-0244
PHILADELPHIA, PA 19170-0001



UPS - 0EY445 - OMC LAB
PO BOX 7247-0244
PHILADELPHIA, PA 19170-0001



UPSTATE BEHAVIORAL HEALTH, LLC
25 WOODS LAKE ROAD, BLDG 3, SUITE 324
GREENVILLE, SC 29607



UPSTATE CARDIOLOGY
2 INNOVATION DR
STE 400
GREENVILLE, SC 29607-5270



UPSTATE CAROLINA RADIOLOGY
PO BOX 138
COLUMBIA, GA 31902-0138



UPSTATE EXTERMINATING AND PEST
CONTROL, INC
324 OUR ROAD
PICKENS, SC 29671
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
                                                            14:28:40 Desc
                                                                      DescMain
                                                                           Main
                        Document
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UPSTATE MEDICAL PHARMACY
PO BOX 9002
GREENVILLE, SC 29604



UPSTATE PHARMACY
111 DOCTORS DR
GREENVILLE, SC 29605



UPSTATE PRINTING AND PUBLISHING
3242 PARRIS BRIDGE RD
BOILING SPRINGS, SC 29316



URBAN TRUST BANK
PO BOX 77407
EWING, NJ 08628



US BANK EQUIPMENT FINANCE
1310 MADRID DT
MARSHALL, MN 56258



US BANK EQUIPMENT FINANCE
1310 MADRID ST
MARSHALL, MN 56258



US COMPOUNDING
1270 DONS LANE
CONWAY, AR 72032



US DIAGNOSTICS
2 PARADE ST
HUNTSVILLE, AL 35806



US LAWNS OF ASHEVILLE
5660 OLD HAYWOOD RD
MILLS RIVER, NC 28759
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
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US OF AMERICA EX REL DONNA RAUCH
C/O OFFICES OF THE U S ATTORNEYS
ELIZABETH C WARREN, MURIEL CALHOUN, AND
BRANDY KNIGHT, 1441 MAIN ST., STE 500
COLUMBIA, SC 29201



US OF AMERICA EX REL ROBERT MATHEWSON
C/O OFFICES OF THE U S ATTORNEYS
ELIZABETH C WARREN
1441 MAIN ST., STE 500
COLUMBIA, SC 29201



US OF AMERICA EX REL TERRI NIX
C/O OFFICE OF THE U S ATTORNEY—ATL600
NEELI BEN–DAVID, NORTHERN DISTRICT OF GA
600 U S COURTHOUSE, 75 TED TURNER DR SW
ATLANTA, GA 30303



US OF AMERICA EX REL TRACY HAWKINS
C/O OFFICES OF THE U S ATTORNEYS
ELIZABETH C WARREN
1441 MAIN ST., STE 500
COLUMBIA, SC 29201



USA MOBILITY
PO BOX 660770
DALLAS, TX 75266-0770



U-SCE AND G - 4686 MP-CH
PO BOX 100255
COLUMBIA, SC 29202



U-SENECA LIGHT AND WATER
PO BOX 4773
SENECA, SC 29679-4773



U-SPECTRUM BUSINESS
PO BOX 70872
CHARLOTTE, NC 28272-0872
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
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U-SPECTRUM BUSINESS
PO BOX 742614
CINCINNATI, OH 45274-2614



U-TIME WARNER - HIGHLAND EFT
PO BOX 70872
CHARLOTTE, NC 28272-0872



U-TOCCOA NATURAL GAS
291 WESTGATE PLAZA
FRANKLIN, NC 28734



U-TOWN OF FRANKLIN
PO BOX 1479
FRANKLIN, NC 28744



U-TOWN OF WAYNESVILLE CC
9 S MAIN STREET
SUITE 110
WAYNESVILLE, NC 28786



U-VERIZON WIRELES
PO BOX 660108
DALLAS, TX 75266-0108



U-WASTE INDUSTRIES
PO BOX 791519
BALTIMORE, MD 21279-1519



U-WASTE MANAGEMENT- ARDEN - EFT
PO BOX 4648
CAROL STREAM, IL 60197



U-WINDSTREAM
PO BOX 9001950
LOUISVILLE, KY 40290-1950
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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VANDEKERKHOVE, AMANDA
105 CONE RIDGE DRIVE
EASLEY, SC 29640



VANDETTE, AMBER
104 DEERLAND DRIVE
PIEDMONT, SC 29673



VARGAS, LISA
311 KATHERINE STREET
EASLEY, SC 29640



VASQUEZ, GINA
18 LA JUAN DR
GREENVILLE, SC 29617



VAUGHN, ELIZABETH
212 PINE STREET
EASLEY, SC 29640



VAZQUEZ, CLARIBEL
14 TRICIA COURT
GREENVILLE, SC 29611



VEGA, CHRISTINE
512 JONES PEAK DR
SIMPSONVILLE, SC 29681



VERISA HOGLEN
285 PISGAH VIEW RD
ASHEVILLE, NC 28806



VERIZON WIRELES
PO BOX 660108
DALLAS, TX 75266-0108
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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VERIZON WIRELESS-9782-00001 EFT
PO BOX 660108
DALLAS, TX 75266-0108



VESEY, DEBORAH
105 PINE COURT
LIBERTY, SC 29657



VESSEL MEDICAL
6000A PELHAM RD
GREENVILLE, SC 29615



VFG- WELLS FARGO EQUIPMENT FINANCE, INC.
615 IRON CITY DRIVE
PITTSBURGH, PA 15205



VINES PLUMBING LLC
489 MYRTLE RIDGE DR
CONWAY, SC 29526



VINSON, JENNA
185 JB IVEY LANE
LAKE JUNALUSKA, NC 28745



VONAGE BUS. SOLUTIONS- VOCALOCITY AMEX
1375 PEACHTREE ST. NE, SUITE 200
ATLANTA, GA 30309



VOYA INSTITUTIONAL TRUST COMPANY
ATTN: LOCKBOX 3015
4 CHASE METRO TECH CENTER 7TH FLOOR EAST
BROOKLYN, NY 11245



V-SOFT CONSULTING GROUP, INC
101 BULLITT LN, STE 205
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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LOUISVILLE, KY 40222



VWR
PO BOX 640169
PITTSBURG, PA 15264-0169



W E BLACK TERMITE AND PEST CONTROL INC
PO BOX 1053
ANDERSON, SC 29622



W N WATSON TIRE AND AUTOMOTIVE
333 W BROAD ST.
GREENVILLE, SC 29601



WAGE WORKS, INC.
PO BOX 870725
KANSAS CITY, MO 64187-0725



WAGNER, WILLIAM
208 HOLLAND RD
SIMPSONVILLE, SC 29681



WALDROP MECHANICAL SERVICES
8345 TAYLOR COLQUITT ROAD
SPARTANBURG, SC 29303



WALKER ELECTRICAL CONTRACTOR
235 TURPIN DRIVE
EASLEY, SC 29640



WALKER, STEPHEN
2519 MCKINLEY DRIVE
ANDERSON, SC 29621



WALTERS, DEDRA
639 BESSIE RD
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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PIEDMONT, SC 29673



WANDA PHILLIPS
1106 LAKE SHORE DR
TOWNVILLE, SC 29689



WARDLAW, ALICIA
200 CLARK STREET NBR 302
GREENVILLE, SC 29607



WARDLAW, TYRA
2809 AIRLINE RD
ANDERSON, SC 29624



WARE, TOCCARA
9 MONA WAY
GREENVILLE, SC 29611



WARREN, HOLLIE
4100 STILL POND RD
CONWAY, SC 29526



WARREN, STEPHANIE
165 MEDFORD BRANCH RD
CANDLER, NC 28715



WASP BARCODE TECHNOLOGIES
1400 10TH ST.
PLANTO, TX 75074-8648



WASTE INDUSTRIES - 3843-GR-GV EFT
PO BOX 791519
BALTIMORE, MD 21279-1519



WASTE INDUSTRIES
PO BOX 791519
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
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BALTIMORE, MD 21279-1519



WASTE MANAGEMENT- ARDEN - EFT
PO BOX 4648
CAROL STREAM, IL 60197



WASTE MANAGEMENT- BC-ES - EFT
PO BOX 4648
CAROL STREAM, IL 60197-4648



WASTE MANAGEMENT- L-FLO - EFT
PO BOX 4648
CAROL STREAM, IL 60197-4648



WASTE MANAGEMENT- M-AND - EFT
PO BOX 4648
CAROL STREAM, IL 60197-4648



WASTE MANAGEMENT
PO BOX 105430
ATLANTA, GA 30348



WASTE MANAGEMENT
PO BOX 4648
CAROL STREAM, IL 60197



WASTE MANAGEMENT-W COL - EFT
PO BOX 4648
CAROL STREAM, IL 60197-4648



WATKINS ELECTRIC
143 ROLLING GREEN CIRCLE
GREENVILLE, SC 29615



WATSON, CHEYENNE
7407 BRIDGEFIELD DRIVE
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
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                                                   10/01/1917:13:58
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POWELL, TN 37849



WATSON, MALLORY
510 BROOKS ROAD
MAULDIN, SC 29662



WATTS, ROXIE
1741 SHAW ROAD
WOODRUFF, SC 29388



WAY-MAN, LLC
10 QUAIL HILL DRIVE
GREENVILLE, SC 29607



WAYNE HELD
106 ESTHER DRIVE
EASLEY, SC 29642



WC BUNCH AND ASSOCIATES
PO BOX 32037
LAKELAND, FL 33802-2002



WC STATE OF CONNECTICUT
55 ELM ST
HARTFORD, CT 06106-1746



WCA WASTE CORP
PO BOX 553166
DETROIT, MI 48255-3166



WCO BROADSPIRE/MEDCOR - WCO
PO BOX 14645
LEXINGTON, KY 40512



WCO CONNECTICUT INTERLOCAL RISK
MANAGEMENT A
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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PO BOX 9558
NEW HAVEN, CT 06535-0558



WCO GALLAGHER BASSETT SERVICES
PO BOX 2831
CLINTON, IA 52733-2801



WCO MEDIVEST
2100 ALAFAYA TRL
OVIEDO, FL 32765



WEAVER, MICHAEL
118 TREEBROOKE DR
GREENVILLE, SC 29607



WEBB, DAVID
220 CHELSEA PLACE AVE
ORMOND, FL 32174



WEBB, KIMBERLY
220 CHELSEA PLACE AVE
APT A
ORMOND, FL 32174



WEBPASS - OMC 8948
USED FOR NON-ATHENA PAYMENTS
ADDRESS UNAVAILABLE AT TIME OF FILING



WELCH ALLYN
4341 STATE STREET RD
SKANEATELES FALLS, NY 13153-5301



WELCH, ROBERTS, AND AMBURN
157 EAST BAY STREET
CHARLESTON, SC 29401
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
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WELLS FARGO BANK
ATTN: BRIAN HUNGERFORD
MAC D3310-033
GREENVILLE, SC 29602



WESLEY JANITORIAL SERVICE LLC
PO BOX 3553
COLUMBIA, SC 29230



WEST CRT HEAVY, LLC
1603 ORRINGTON NBR 810
EVANSTON, IL 60201



WEST FAMILY INVESTMENTS, INC.
1603 ORRINGTON NBR 810
EVANSTON, IL 60201



WEST INTERACTIVE SERVICES CORPORATION
PO BOX 1343
DENVER, CO 80256-1484



WEST INVESTMENT CORPORATION
1603 ORRINGTON NBR 810
EVANSTON, IL 60201



WEST INVESTMENT HOLDINGS, LLC WIRE
WEST FAMILY INVESTMENTS-ANDREA BORREGO
1603 ORRINGTON AVE, SUITE 810
EVANSTON, IL 60201



WEST INVESTMENT HOLDINGS, LLC
1603 ORRINGTON NBR 810
EVANSTON, IL 60201



WEST PHYSICS CONSULTING LLC
3825 PACES WALK SE
SUITE 250
ATLANTA, GA 30339
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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WEST-GARY CRT 1 LLC
WEST FAMILY INVESTMENTS-ANDREA BORREGO
1603 ORRINGTON AVE, SUITE 810
EVANSTON, IL 60201



WESTROL ENTERPRISES, LLC
308 SCARBOROUGH DR
GREER, SC 29650



WESTROL, ROBERT
308 SCARBOROUGH DR
GREER, SC 29650



WHARTON, SONJA
102 CARRIAGE FARMS COURT
GRAY COURT, SC 29645



WHITAKER, DAWN
304 WILLOW SPRINGS DRIVE
GREENVILLE, SC 29607



WHITE OAK PHARMACY INC
1233 BOILING SRINGS RD
SPARTANBURG, SC 29303



WHITE, KAITLYN
19 WOODHAVEN WAY
EASLEY, SC 29642



WHITES APPLIANCE INC.
2013 EAST MAIN ST
EASLEY, SC 29640



WHITESIDE, JONAH
108 WILLOW CREEK DRIVE
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
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IRMO, SC 29063



WIGGINS, HEATHER
1935 MCCLELLAN STREET
FLORENCE, SC 29505



WILHIDE, BETH
130 FREDRICKSBURG WAY
COLUMBIA, SC 29210



WILKINS, TALISHA
2455 MELVIN HILL RD
CAMPOBELLO, SC 29322



WILLIAM D SUCHANEK, LLC
300 GUNNISON DR
SIMPSONVILLE, SC 29642



WILLIAM GRAY
209 RIVERBREEZE RD
GREENVILLE, SC 29611



WILLIAMS, CHARLTEMAN
233 DARTMOOR DRIVE
SPARTANBURG, SC 29301



WILLIAMS, MELINDA
119 COPPERMINE DR
EASLEY, SC 29642



WILLIAMS, MILLICENT
1323 DEENA LANE
FLORENCE, SC 29506



WILLIAMSON PRINTING, INC.
PO BOX 474
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
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MARION, SC 29571



WILLIAMSON, SONYA
126 PARTRIDGE HILL DRIVE
WEST COLUMBIA, SC 29172



WILLIAMSON, VALENCIA
108 ROOSELVELT AVENUE
APT D
GREENVILLE, SC 29607



WILLIS OF NORTH CAROLINA, INC. EFT
29754 NETWORK PLACE
CHICAGO, IL 60673-1297



WILLOCHELL, GUINNEVERE
1021 HAVELOCK DRIVE
TAYLORS, SC 29687



WILSON, ASHLEY
3633 WEST GEORGIA RD
PELZER, SC 29669



WILSON, CHRISSIE
108 FOREST DR
LIBERTY, SC 29657



WILSON, JANA
65 VILLA ROAD
APT 506
GREENVILLE, SC 29615



WILSON, JONES, CARTER AND BAXLEY, PA
872 S PLEASANTBURG DR
GREENVILLE, SC 29607
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
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WILSON, RAKENDRA
495 PRESTON ROAD
PELZER, SC 29669



WILSON, SHANNON
2212 PAMPLICO HWY
APT B5
FLORENCE, SC 29505



WINDHAM, URSULA
125 TRAVELERS TRAIL
LEXINGTON, SC 29073



WINDSTREAM - 1517 EFT
PO BOX 9001950
LOUISVILLE, KY 40290-1950



WINGATE, NYISHA
450 HARBOROUGH COURT
FLORENCE, SC 29501



WMHS WOODSTOCK COLLECTION
PO BOX 660345
DALLAS, TX 75266



WOLTERS KLUWER HEALTH/
PO BOX 1610
HAGERSTOWN, MD 21741-1610



WOODWARD DIXON
515 DOODLE HILL ROAD
ST. MATTHEWS, SC 29135



WOODY, REMONA
65 BUCCANEER DRIVE
WAYNESVILLE, NC 28785
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                        Document
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WORKSMART STAFFING
1318 HAYWOOD ROAD STE A
GREENVILLE, SC 29615



WORSHAM, AMBER
349 BARTON LOOP
MYRTLE BEACH, SC 29579



WPS TRICARE ADMINISTRATION
ATTN: REFUND
PO BOX 7928
MADISON, WI 53707-7928



WRIGHT, JESSICA
541 HARVEST TIME LN
INMAN, SC 29349



WUKELA LAW FIRM
PO BOX 13057
FLORENCE, SC 29504-3057



WYATT EARLY HARRIS WHEELER
1912 EASTCHESTER DRIVE
HIGH POINT, NC 27265



WYCHE P A
44 EAST CAMPERDOWN WAY
PO BOX 728
GREENVILLE, SC 29602-0728



XACT DATA DISCOVERY
DBA XACT DATA DISCOVERY
5800 FOXRIDGE DR, STE 406
MISSION, KS 66202



XEROX CORPORATION
PO BOX 827598
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
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PHILADELPHIA, PA 19182-7598



X-RAY COMPLIANCE SOLUTION, LLC
2080 OWENS RD
LEESVILLE, SC 29070



X-RAY EXPRESS INC
1244 KARLA DR
SUITE 210
HURST, TX 76053-4437



YEARGIN, YVONNE
209 HIOTT ROAD
ANDERSON, SC 29625



YELLOW PAGES DIRECTORIES
PO BOX 111455
CARROLLTON, TX 75011-1455



YORK X-RAY--M325 EASLEY
PO BOX 326
20 HAMPTON ROAD
LYMAN, SC 29365



YORK X-RAY--M498 - ANDERSON
PO BOX 326
20 HAMPTON ROAD
LYMAN, SC 29365



YORK X-RAY--M568 WEST COLUMBIA
PO BOX 326
20 HAMPTON RD
LYMAN, SC 29365



YOUNGBLOOD, KARA
2640 GOLDENEYE RIDGE
SUMTER, SC 29150
Case
 Case19-05155-dd Doc1 1 Filed
      19-31286 Doc        Filed09/19/19
                                09/19/19 Entered
                                          Entered09/19/19
                                                   10/01/1917:13:58
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                                                                      DescMain
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                        Document
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YP ADVERTISING
PO BOX 5010
CAROL STREAM, IL 60197-5010



ZALDIVAR, JOCELYN
5530 TERRI DRIVE
MYRTLE BEACH, SC 29588



ZATORSKY, SHANNON
7 PELZER ST.
BELTON, SC 29627



ZIEHM IMAGING, INC.
ATTN: ACCOUNTS RECEIVABLE
6280 HAZELTINE NATIONAL DRIVE
ORLANDO, FL 32822



ZOZRE GREENVILLE, LLC
PO BOX 12098
NEWARK, NJ 07101-5098
